Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 1 of 464 PageID #: 768




        EXHIBIT A
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 2 of 464 PageID #: 769




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS


   WAPP TECH LIMITED PARTNERSHIP
   |and WAPP TECH CORP.,

                   Plaintiffs,
                                                           C.A. No. 4:18-cv-00519-ALM
           v.
                                                            JURY TRIAL DEMANDED
   BANK OF AMERICA CORP.,

                   Defendants.


                DISCLOSURE OF INITIAL INFRINGEMENT CONTENTIONS
                           PURSUANT TO P.R. 3-1 AND 3-2

        Plaintiffs Wapp Tech Limited Partnership and Wapp Tech Corp. (“Plaintiffs” or “Wapp”)

 makes the following infringement disclosures to Defendant Bank of America Corp. (“Bank of

 America”) under the Patent Local Rules with respect to U.S. Patent No. 9,971,678, (“the ’678

 patent”), U.S. Patent No. 9,298,864 (“the ‘864 Patent”), and U.S. Patent No. 8,924,192 (“the

 ‘192 patent”). Wapp’s investigation is ongoing, discovery has only just commenced, and the

 Defendant has yet to produce any documents in this case. Accordingly, Wapp’s disclosures are

 based on publicly available and/or publicly discernable materials regarding the accused

 instrumentalities that describe or discuss aspects of the operation of the instrumentalities. Wapp

 reserves the right to supplement or alter its disclosures herein based on additional information

 obtained through further investigation, discovery, claim construction, expert analysis, or any

 position taken by Defendant.




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                                                                                       EXHIBIT A--1
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 3 of 464 PageID #: 770




 I.        DISCLOSURE OF ASSERTED CLAIMS AND PRELIMINARY
           INFRINGEMENT CONTENTIONS

           A.     Infringed Claims and Infringing Products

           HPE commercialized the HP LoadRunner and HP Performance Center 11.50 offerings

 in 2012, with the follow up launch of HP LoadRunner and HP Performance Center 12.0

 offerings for “Mobile and Cloud-based Application Testing” in March of 2014, including the

 subsequent release of HP StormRunner Load in September of 2014 as part of the HP

 Performance Testing Suite2 and the follow up release of HP Mobile Center in October of 2014,

 among other additional mobile product offerings. After the HPE-Micro Focus spin-out merger,

 these product offerings were renamed using the term Micro Focus. Hereafter, these products

 are referred to as the “Micro Focus Software Suite.”

           Defendant has been making and/or using (including for testing purposes) and continues

 to make and/or use (including for testing purposes) systems for testing an application for a

 mobile device, the systems for testing (“Micro Focus-related Accused Systems”) including, but

 not limited to, the Micro Focus Software Suite, which includes HP LoadRunner, HP

 Performance Center, HP StormRunner, HP Mobile Center, Shunra Network Virtualization, HP

 Network Virtualization engine, HP Network Virtualization for Mobile, HP Network Capture,

 and/or any Micro Focus products related to any of the foregoing.

           Defendant through its making, using, and/or development of the Micro Focus-related

 Accused Systems has infringed and continues to infringe at least claims 1-3, 26, 37, and 45 of

 the ‘678 patent, claims 1-3, 8-12, 20, and 29 of the ‘864 patent, and claims 1-3 of the ‘192

 patent.

           In addition, Wapp believes that Defendant is infringing each of the three patents

 through its making, using, and/or development of additional products such as UI TestRunner

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                                                                                         EXHIBIT A--2
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 4 of 464 PageID #: 771




 (“Additional Accused Systems”). However, because Wapp is in the process of seeking

 discovery about those additional products and infringement of these Additional Accused

 Systems involves applying software limitations, Wapp is presently unable to be more specific

 about where such limitations are met in the Additional Accused Systems. (See Patent Local

 Rule 3.1(g) as set out by Judge Mazzant in his Scheduling Order of November 1, 2019.) Based

 on the present information, Wapp believes that Defendant’s making, using, and/or development

 of the Additional Accused Systems may infringe each of claims 1-50 of the ‘678 patent, claims

 1-41 of the ‘864 patent, and claims 1-16 and 60-69 of the ‘192 patent.

        Wapp reserves the right to add, delete, substitute, or otherwise amend and/or

 supplement this identification of asserted claims should further discovery, the Court’s claim

 construction, or other circumstances so merit. Wapp further reserves the right to amend the

 attached charts, as well as other information contained in this document and the attachments

 hereto, to incorporate new information learned during the course of discovery.

        B.      Claim Charts

        Wapp’s detailed preliminary infringement assertions for the Micro Focus-Related

 Accused Systems are contained in the claim charts provided as Attachment 1.

        Attached as Attachment 2 are Wapp’s preliminary infringement assertions for the

 Additional Accused Systems.

        Wapp further reserves the right to amend the claim charts, as well as other information

 contained in this document and the attachment hereto, pursuant to Patent Local Rule 3-6.

        C.      Doctrine of Equivalents

        Wapp asserts that, under the proper construction of the asserted claims and their claim

 terms, the limitations of the asserted claims of the Wapp patents are literally present in the


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                                                                                         EXHIBIT A--3
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 5 of 464 PageID #: 772




 Micro Focus-Related Accused Systems and the Additional Accused Systems, as set forth in the

 claim charts attached hereto. For any limitation that is found to be not literally present, Wapp

 asserts that Defendant induces and/or contributes to infringement by others and/or that such

 limitation is present under the doctrine of equivalents. At present, Wapp lacks knowledge as to

 which, if any, limitations of the asserted claims Defendant believes not to be literally embodied

 by the Micro Focus-Related Accused Systems and the Additional Accused Systems and, hence,

 as to whether Wapp will be contending that any limitations of the asserted claims (and, if so,

 which ones) are equivalently embodied by those systems.

        Moreover, pursuant to Patent Local Rule 3-6, Wapp reserves the right to amend its

 Infringement Contentions to specifically assert infringement by the doctrine of equivalents in

 light of the Court’s claim construction.

        D.      Priority Claim to an Earlier Application

         The ‘678 patent claims priority to at least the following applications: U.S. Patent

Application Ser. No. 13/673,692, filed November 9, 2012 (now U.S. Pat. No. 8,924,192), which

is a continuation of U.S. Patent Application Ser. No. 12/759,543, filed April 13, 2010 (now U.S.

Pat. No. 8,332,203), which is a continuation of U.S. Patent Application Ser. No. 11/449,958,

filed June 9, 2006 (now U.S. Pat. No. 7,813,910) which claims priority to U.S. Patent

Application Ser. No. 60/689,101, filed June 10, 2005.

         The ‘864 patent claims priority to at least the following applications: U.S. Patent

Application Ser. No. 12/705,913, filed February 15, 2010 (now U.S. Pat. No. 8,589,140), which

claims priority to United States Application Ser. No. 61/152,934, filed Feb. 16, 2009, and is a

continuation-in-part of United States Ser. No. 11/449,958, filed June 9, 2006 (now U.S. Pat. No.

7,813,910), which claims priority to United states Application Ser. No. 60/689,101, filed June

10, 2005.
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                                                                                        EXHIBIT A--4
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 6 of 464 PageID #: 773




        The ‘192 patent claims priority to at least the following applications: U.S. Patent

Application Ser. No. 12/759,543, filed April 13, 2010, which is a continuation of United States

Patent Application Ser. No. 11/449,958, filed June 9, 2006 (now U.S. Pat. No. 7,813,910),

which claims priority to U.S. Patent Application Ser. No. 60/689,101, filed June 10, 2005.

        E.      Practice of the Claimed Invention

        Wapp does not contend that it practices the asserted claims of the asserted patent.

 II.    DOCUMENT PRODUCTION

        A.      Disclosure Prior to Application Date

       Wapp will permit inspection and copying of, or shall otherwise produce, at a mutually

convenient time documents in its possession, custody, and control pertaining to the disclosure

to, or other manner of providing to a third party, or sale of or offer to sell the claimed inventions

prior to the dates of application for the patents in suit at an agreed time and once the parties have

concluded discussions as to an appropriately-modified Protective Order in this action.

        B.      Conception and Reduction to Practice

        Wapp will permit inspection and copying of, or shall otherwise produce, at a mutually

 convenient time documents in its possession, custody, and control evidencing the conception,

 reduction to practice, design, and development of each claimed invention that were created on

 or before the relevant priority date identified above at an agreed time and once the parties have

 concluded discussions as to an appropriately-modified Protective Order in this action.




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                                                                                         EXHIBIT A--5
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 7 of 464 PageID #: 774




        C.     File History for Patents-In-Suit

        Wapp will permit inspection and copying of, or shall otherwise produce, the patent file

histories for the ’678, ‘864, and ‘192 patents at a mutually convenient time.




 Dated: November 7, 2019                      DEVLIN LAW FIRM, LLC

                                              /s/ Henrik D. Parker
                                              Timothy Devlin
                                              Henrik D. Parker
                                              DEVLIN LAW FIRM LLC
                                              1526 Gilpin Ave
                                              Wilmington, DE 19806
                                              (302) 449-9010
                                              tdevlin@devlinlawfirm.com
                                              hparker@devlinlawfirm.com

                                              Jeffrey G. Toler
                                              Texas State Bar No. 24011201
                                              TOLER LAW GROUP, PC
                                              8500 Bluffstone Cove, Suite A201
                                              Austin, TX 78759
                                              (512) 327-5515
                                              jtoler@tlgiplaw.com

                                              ATTORNEYS FOR PLAINTIFFS
                                              WAPP TECH LIMITED PARTNERSHIP
                                              AND WAPP TECH CORP




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                                                                                     EXHIBIT A--6
 Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 8 of 464 PageID #: 775




                                   CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2019, I caused a copy of this document to be served by

transmitting it via e-mail or electronic transmission to counsel of record for Defendant.



                                                /s/ Henrik D. Parker
                                                   Henrik D. Parker




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                                                                                            EXHIBIT A--7
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 9 of 464 PageID #: 776




                       EXHIBIT 1




                                                                                  EXHIBIT A--8
    Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 10 of 464 PageID #: 777



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                                                Filed        Page
                                                      07/20/18    19 10
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                          Each  Micro Focus-related Accused System (which includes HP LoadRunner, HP Performance Center, HP
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                                                        Center, Shunra Network Virtualization, HP Network Virtualization engine, HP
WHVWLQJDQDSSOLFDWLRQ   +31HWZRUN9LUWXDOL]DWLRQHQJLQH+31HWZRUN9LUWXDOL]DWLRQIRU0RELOH+31HWZRUN&DSWXUHDQGRUDQ\
                          Network Virtualization for Mobile, HP Network Capture, and/or any Micro Focus products related to any of
IRUDPRELOHGHYLFH      0LFUR)RFXVSURGXFWVUHODWHGWRDQ\RIWKHIRUHJRLQJ LVDV\VWHPIRUWHVWLQJDQDSSOLFDWLRQIRUDPRELOH
                          the foregoing) meets the elements of this claim (individually or collectively the “Micro Focus-related
FRPSULVLQJ              GHYLFH
                          Infringing Products”). Please note that “HP”, “HPE” and “Micro Focus” are used interchangeably herein.
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                             LQFRUSRUDWLQJUHDOZRUOGQHWZRUNFRQGLWLRQVLQWRWKHORDGDQGSHUIRUPDQFHWHVWHQYLURQPHQWHQVXULQJ
                             WKDW WKH WHVW UHVXOWV DUH PRUH UHOLDEOH DQG DFFXUDWH7KH FRPELQDWLRQ RI +3 /RDG5XQQHU RU
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                              JDSEHWZHHQGHYHORSPHQWDQGGHSOR\PHQWE\HQDEOLQJ\RXUPRELOHDSSOLFDWLRQGHYHORSPHQWWHDP
                              WRIXOO\DQGDFFXUDWHO\DVVHVVWKHEHKDYLRUDQGLPSDFWRIWKHQHWZRUNRQPRELOHDSSVEHIRUHWKH\DUH
                              LQWURGXFHG WR HQG XVHUV %\ YLUWXDOL]LQJ UHDOZRUOG PRELOH QHWZRUN FRQGLWLRQV ZLWKLQ WHVWLQJ
                              HQYLURQPHQWV \RXU WHVW UHVXOWV DUH PRUH UHOLDEO\ SUHGLFWLYH RI KRZ DQ DSSOLFDWLRQ ZLOO EHKDYH IRU
                              HQGXVHUV´
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                              +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH3DJH([%
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                          7KHDQQRWDWHGLPDJHEHORZLOOXVWUDWHVWKHXVHULQWHUIDFHIRUWKH/RDG5XQQHUSODWIRUPDV\VWHPIRUWHVWLQJDQ
                          DSSOLFDWLRQIRUDPRELOHGHYLFH
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              Case  4:18-cv-00519-ALM Document 42-21-15
                                         Document     Filed 12/23/19
                                                          Filed        Page
                                                                07/20/18    25 of
                                                                          Page    464
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VRIWZDUHFRQILJXUHG     Each  Micro Focus-related Accused System is further configured to include software [e.g., LoadRunner]
                         7KH$FFXVHG6\VWHPLQFOXGHVVRIWZDUH>HJ/RDG5XQQHU@FRQILJXUHGWRVLPXOWDQHRXVO\YLVXDOO\VLPXODWH
WRVLPXODWHYLDRQHRU configured  to simultaneously visually simulate, via one or more profile display windows [e.g., the window
                         YLDRQHRUPRUHSURILOHGLVSOD\ZLQGRZV>HJWKHZLQGRZKLJKOLJKWHGLQJUHHQLQWKHDQQRWDWHGLPDJH
PRUHSURILOHGLVSOD\    EHORZ@DSOXUDOLW\RIRSHUDWRUQHWZRUNFKDUDFWHULVWLFV>HJFRPPXQLFDWLRQWHFKQRORJ\VXFKDV**
                         highlighted   in green in the annotated image below], a plurality of operator network characteristics [e.g.,
                         :L)LHWF@LQGLFDWLYHRISHUIRUPDQFH>HJWKHFRPPXQLFDWLRQWHFKQRORJ\FRUUHVSRQGVWREDQGZLGWK
ZLQGRZVDSOXUDOLW\ communication        technology such as 2.5G, 3.5G, WiFi, etc.] indicative of performance [e.g., the
RIQHWZRUN              DYDLODELOLW\LQGLFDWLYHRISHUIRUPDQFH@RIWKHPRELOHGHYLFHZKHQH[HFXWLQJWKHDSSOLFDWLRQ&RPPXQLFDWLRQ
                         communication     technology corresponds to bandwidth availability indicative of performance] of the
FKDUDFWHULVWLFV         WHFKQRORJ\RSWLRQVDUHVKRZQLQWKHKLJKOLJKWHGJUHHQER[LQWKHDQQRWDWHGLPDJHEHORZ
                         mobile device when executing the application. Communication technology options are shown in the
LQGLFDWLYHRI           
                         highlighted  green box in the annotated image below.
SHUIRUPDQFHRIWKH      
PRELOHGHYLFHZKHQ      
H[HFXWLQJWKH           
DSSOLFDWLRQ            
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    Case  4:18-cv-00519-ALM Document 42-21-15
                               Document     Filed 12/23/19
                                                Filed        Page
                                                      07/20/18    26 of
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             ³+3 1HWZRUN 9LUWXDOL]DWLRQ IRU 0RELOH DOORZV WHVWV WR EH PDQDJHG DQG UHVXOWV DQDO\]HG IURP DQ\
             ODSWRSRU:L)LFRQQHFWHGPRELOHGHYLFH7KHVRIWZDUHFDQLPSRUWUHDOZRUOGPRELOHQHWZRUNSURILOHV
             FDSWXUHGE\+31HWZRUN&DSWXUHRUSURYLGHGE\WKH+31HWZRUN9LUWXDOL]DWLRQ/LEUDU\RIPRELOHDQG
             EURDGEDQGQHWZRUNFRQGLWLRQV´
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             +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH3DJH([%
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              ³%HFDXVHPRELOHQHWZRUNFRQGLWLRQVDUHG\QDPLFDQGYDU\E\FDUULHUORFDWLRQDQGWLPHRIGD\LWLV
              HVVHQWLDOIRUWHVWLQJHQYLURQPHQWVWRDFFXUDWHO\UHFUHDWHPXOWLSOHPRELOHQHWZRUNVFHQDULRVLQRUGHUWR
              DQDO\]HDSSSHUIRUPDQFHDQGGHWHUPLQHKRZQHWZRUNFRQGLWLRQVDIIHFWGLIIHUHQWPRELOHXVHUV7KH
              PXOWLIORZFDSDELOLW\LQ+31HWZRUN9LUWXDOL]DWLRQIRU0RELOHDOORZV\RXWRGHILQHDPRELOHWHVW
              VFHQDULRWKDWVLPXOWDQHRXVO\HPXODWHVPXOWLSOHXVHUORFDWLRQVHDFKZLWKLWVRZQXQLTXHVHWRI
              YLUWXDOL]HGPRELOHQHWZRUNFRQGLWLRQV´
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           $VLOOXVWUDWHGEHORZHDFKRIWKHFRPPXQLFDWLRQWHFKQRORJ\RSWLRQVKDVDFRUUHVSRQGLQJQHWZRUNSURILOH
           ZKLFKLQFOXGHDSOXUDOLW\RIQHWZRUNFKDUDFWHULVWLFV
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              FRQGLWLRQVEHWZHHQWZRSRLQWV7KHVHUHFRUGLQJILOHVDUHVWRUHGLQWKH6KXQUD*OREDO/LEUDU\ZKLFKLV
              DUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQPLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRI
              SRLQWWRSRLQWQHWZRUNFRQGLWLRQVUHFRUGHGDURXQGWKHZRUOG<RXFDQPDQXDOO\GHILQHVSHFLILF
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 Case4:18-cv-00519-ALM-KPJ
Case  4:18-cv-00519-ALM Document 42-21-15
                           Document     Filed 12/23/19
                                            Filed        Page
                                                  07/20/18    27 of
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           LPSRUWHGDQGGRQRWUHTXLUH,QWHUQHWDFFHVV 
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           (GJHODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
           /7(ODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
           '6/ODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
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           9HU\%DG1HWZRUNODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV´
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           VSHFLILFDOO\IRUWKHXQLTXHUHTXLUHPHQWVRIPRELOHDSSWHVWLQJ%DVHGRQWHFKQRORJ\DFTXLUHGIURP
           6KXQUDWKLVILHOGSURYHQ+3VROXWLRQUHGXFHVWKHULVNRISRRUPRELOHSHUIRUPDQFHDQGKHOSV\RXU
           RUJDQL]DWLRQWHVWYDOLGDWHDQGRSWLPL]HWKHSHUIRUPDQFHRI\RXUPRELOHDSSVEHIRUHGHSOR\PHQW´
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           JDSEHWZHHQGHYHORSPHQWDQGGHSOR\PHQWE\HQDEOLQJ\RXUPRELOHDSSOLFDWLRQGHYHORSPHQWWHDPWR
           IXOO\ DQG DFFXUDWHO\ DVVHVV WKH EHKDYLRU DQG LPSDFW RI WKH QHWZRUN RQ PRELOH DSSV EHIRUH WKH\ DUH
           LQWURGXFHG WR HQG XVHUV %\ YLUWXDOL]LQJ UHDOZRUOG PRELOH QHWZRUN FRQGLWLRQV ZLWKLQ WHVWLQJ
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               Case4:18-cv-00519-ALM-KPJ
              Case  4:18-cv-00519-ALM Document 42-21-15
                                         Document     Filed 12/23/19
                                                          Filed        Page
                                                                07/20/18    28 of
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 Case4:18-cv-00519-ALM-KPJ
Case  4:18-cv-00519-ALM Document 42-21-15
                           Document     Filed 12/23/19
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           OLPLWDWLRQDQGMLWWHU²DQGUHFUHDWHWKRVHFRQGLWLRQVIRUQHWZRUNSHUIRUPDQFHWHVWLQJ´
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           XVSURGXFWVQHWZRUNYLUWXDOL]DWLRQIRUORDGWHVWLQJRYHUYLHZ
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           FRQGLWLRQVIURP\RXUSURGXFWLRQQHWZRUNUHFUHDWHQHWZRUNFRQGLWLRQVLQ\RXUODEGXULQJDSSOLFDWLRQ
           WHVWLQJDQGRSWLPL]HWKHDSSOLFDWLRQVWRLPSURYHSHUIRUPDQFHEHIRUH\RXGHSOR\LQWRSURGXFWLRQ´
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           ORFDWLRQE\PHDVXULQJQHWZRUNFRQGLWLRQVVXFKDVODWHQF\SDFNHWORVVEDQGZLGWKDYDLODELOLW\DFURVV
           DQ\ JLYHQ QHWZRUNWRSRORJ\ 1HWZRUN &DSWXUHFDQ PHDVXUH SURGXFWLRQ OLQNV DURXQG WKH JOREH IRU D
           GXUDWLRQRIXSWRRQHPRQWK´
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           :LQGRZV DQG RWKHUV 8VLQJ WKHPRELOHSURWRFROVWKHSHUIRUPDQFH WHVWLQJ WHDP LV DEOH WR FDSWXUH
           PRELOHWUDIILFDQGJHQHUDWHUHDOLVWLFPRELOHORDGRQWKHV\VWHPXQGHUWHVW
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           DXWRPDWLFDOO\GHOLYHUFXVWRPSHUIRUPDQFHRSWLPL]DWLRQUHFRPPHQGDWLRQV,WSURYLGHV
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           VWDWLVWLFVWKDWLQFOXGHELGLUHFWLRQDOEDQGZLGWKODWHQF\MLWWHUDQGSDFNHWORVVFRQGLWLRQV
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    Case  4:18-cv-00519-ALM Document 42-21-15
                               Document     Filed 12/23/19
                                                Filed        Page
                                                      07/20/18    30 of
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               WRGDWHDYHUDJHEHVWFDVHDQGZRUVWFDVHQHWZRUNFRQGLWLRQVIURPWKRXVDQGVRIFLWLHVZRUOGZLGH´
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                                                           Filed        Page
                                                                 07/20/18    31 of
                                                                           Page    464
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7KHV\VWHPRI       Each  Micro Focus-related Accused System is further configured to enable a user to select from one or
                         7KHVRIWZDUHLVIXUWKHUFRQILJXUHGWRHQDEOHDXVHUWRVHOHFWIURPRQHRUPRUHQHWZRUNFRQGLWLRQVIRU
                        more  network conditions for testing the mobile application.
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                               0LFUR )RFXV 1HWZRUN 9LUWXDOL]DWLRQ :HEVLWH DYDLODEOH DW KWWSVVRIWZDUHPLFURIRFXVFRPHQ
                               XVSURGXFWVQHWZRUNYLUWXDOL]DWLRQIRUORDGWHVWLQJRYHUYLHZ
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                               ³1HWZRUN9LUWXDOL]DWLRQVRIWZDUHDOORZV\RXWRGLVFRYHUDQGFDSWXUHUHDOZRUOGQHWZRUNSHUIRUPDQFH
                               FRQGLWLRQVIURP\RXUSURGXFWLRQQHWZRUNUHFUHDWHQHWZRUNFRQGLWLRQVLQ\RXUODEGXULQJDSSOLFDWLRQ
                               WHVWLQJDQGRSWLPL]HWKHDSSOLFDWLRQVWRLPSURYHSHUIRUPDQFHEHIRUH\RXGHSOR\LQWRSURGXFWLRQ´
                               
                               0LFUR)RFXV1HWZRUN9LUWXDOL]DWLRQ'DWD6KHHW3DJH(['
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                               ³1HWZRUN3URILOHV
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                               3URILOHVGHILQHWKHFRQGLWLRQVIRUWKHWHVW7KH\FDQEHEDVHGRQ6KXQUD¶V*OREDO/LEUDU\UHFRUGLQJV
                               RUFDQEHVHWPDQXDOO\
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                               7KHLPSRUWHGSURILOHVDUHUHFRUGLQJVRIPRELOHFRQGLWLRQVEHWZHHQWZRSRLQWV7KHVHUHFRUGLQJILOHV
                               DUHVWRUHGLQWKH6KXQUD*OREDO/LEUDU\ZKLFKLVDUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQ
                                PLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRISRLQWWRSRLQWQHWZRUNFRQGLWLRQVUHFRUGHGDURXQG WKH
                               ZRUOG´
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                               +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH6KXQUDY&DWIRU0RELOH0DQXDO3DJH([&
                               
                               ³8VH1HWZRUN&DSWXUHWRUHFRUGDQGLGHQWLI\DSSOLFDWLRQSHUIRUPDQFHSUREOHPVRFFXUULQJDWDUHPRWH
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Case   4:18-cv-00519-ALM Document
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             ORFDWLRQE\PHDVXULQJQHWZRUNFRQGLWLRQVVXFKDVODWHQF\SDFNHWORVVEDQGZLGWKDYDLODELOLW\DFURVV
             DQ\ JLYHQ QHWZRUNWRSRORJ\ 1HWZRUN &DSWXUHFDQ PHDVXUH SURGXFWLRQOLQNV DURXQG WKH JOREHIRU D
             GXUDWLRQRIXSWRRQHPRQWK´
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             ³+3 /RDG5XQQHU DQG +3 3HUIRUPDQFH &HQWHU PRELOH WHVWLQJ SURWRFROV HQDEOH FRPSUHKHQVLYH
             SHUIRUPDQFHWHVWLQJRIPRELOHDSSOLFDWLRQVIRUPRVWPRELOHSODWIRUPV²$QGURLGL3KRQH
             :LQGRZV DQG RWKHUV 8VLQJ WKHPRELOH SURWRFROV WKH SHUIRUPDQFH WHVWLQJ WHDP LV DEOH WR FDSWXUH
             PRELOHWUDIILFDQGJHQHUDWHUHDOLVWLFPRELOHORDGRQWKHV\VWHPXQGHUWHVW
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             )HDWXUHVDQGEHQHILWV«
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             6KXQUD 1HWZRUN 9LUWXDOL]DWLRQ HQDEOHV DQ HIIHFWLYH HQJLQHHULQJ PHWKRGRORJ\ IRU DSSOLFDWLRQ
             SHUIRUPDQFH SURYLGLQJ WKH FDSDELOLWLHV WR GLVFRYHU UHDOZRUOG QHWZRUN FRQGLWLRQV YLUWXDOL]H WKRVH
             FRQGLWLRQV LQ WKH WHVW HQYLURQPHQW DQDO\]H WHVW UHVXOWV WR LVRODWH SRWHQWLDO ERWWOHQHFNV DQG
             DXWRPDWLFDOO\GHOLYHUFXVWRPSHUIRUPDQFHRSWLPL]DWLRQUHFRPPHQGDWLRQV,WSURYLGHV
             
             1HWZRUN&DWFKHU7KHDELOLW\WRDXWRPDWLFDOO\JDWKHUUHDOZRUOGQHWZRUNFRQGLWLRQVFROOHFWLQJLQWHUYDO
             VWDWLVWLFVWKDWLQFOXGHELGLUHFWLRQDOEDQGZLGWKODWHQF\MLWWHUDQGSDFNHWORVVFRQGLWLRQV
             
             *OREDO/LEUDU\$FFHVVWR6KXQUD¶V*OREDO/LEUDU\RIPRELOHDQGEURDGEDQGFRQGLWLRQVSURYLGHVXS
             WRGDWHDYHUDJHEHVWFDVHDQGZRUVWFDVHQHWZRUNFRQGLWLRQVIURPWKRXVDQGVRIFLWLHVZRUOGZLGH´
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             +3 /RDG5XQQHU DQG +3 3HUIRUPDQFH &HQWHU ZLWK 6KXQUD 1HWZRUN 9LUWXDOL]DWLRQ 3DJH  
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  &ODLP(OHPHQW                                                    (YLGHQFHRI,QIULQJHPHQW
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7KHV\VWHPRI         $VLOOXVWUDWHGEHORZWKHQHWZRUNSURILOHVFDQEHVDYHGRQDVWRUDJHPHGLXP>HJ0\64/@RURQDVHUYHU
FODLPZKHUHLQWKH             
QHWZRUNSURILOHVFDQ             ³1HWZRUN3URILOHV
HLWKHUEHVDYHGLQD             
VWRUDJHPHGLXPRU               3URILOHVGHILQHWKHFRQGLWLRQVIRUWKHWHVW7KH\FDQEHEDVHGRQ6KXQUD¶V*OREDO/LEUDU\UHFRUGLQJV
VWRUHGRQDVHUYHURU           RUFDQEHVHWPDQXDOO\
ERWK                            
                                 7KHLPSRUWHGSURILOHVDUHUHFRUGLQJVRIPRELOHFRQGLWLRQVEHWZHHQWZRSRLQWV7KHVHUHFRUGLQJILOHV
                                 DUHVWRUHGLQWKH6KXQUD*OREDO/LEUDU\ZKLFKLVDUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQ
                                  PLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRISRLQWWRSRLQWQHWZRUNFRQGLWLRQVUHFRUGHGDURXQGWKH
                                 ZRUOG´
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                                 +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH6KXQUDY&DWIRU0RELOH0DQXDO3DJH([&
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                                 ,QWKH)URP7RVHOHFWWKH0RELOHDQG6HUYHUORFDWLRQVVXFKDVWKHQDPHRIDFLW\RUVWDWH´
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              'LVFRYHU\ LGHQWLI\ DQG UHFRUG UHDOZRUOG LQIUDVWUXFWXUH DQG QHWZRUN FRQGLWLRQV EXVLQHVV SURFHVVHV
              DSSOLFDWLRQWRSRORJ\DQGGHSOR\PHQWVFHQDULRV
              
              3UHUHFRUGHGOLEUDU\RIJOREDOPRELOHDQGEURDGEDQGQHWZRUNSURILOHVHQDEOHVUDSLGWHVWLQJRIPRELOH
              DSSOLFDWLRQV
              
              3UHUHFRUGHGQHWZRUNSURILOHVIRUHPXODWLQJW\SLFDOPRELOHDQGEURDGEDQGQHWZRUNFRQGLWLRQVEHWZHHQ
              PDMRUJOREDOFLWLHV´
              
              %XLOWLQ0\64/GDWDEDVHVWRUHVWKRXVDQGVRIQHWZRUNSURILOHV´
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    &ODLP(OHPHQW                                                   (YLGHQFHRI,QIULQJHPHQW
                        
7KHV\VWHP           Each Micro Focus-related Accused System is further configured to create one or more scenarios that include scripts
                         /RDG5XQQHULVIXUWKHUFRQILJXUHGWRFUHDWHRQHRUPRUHVFHQDULRVWKDWLQFOXGHVFULSWVIRUWHVWLQJWKH
RIFODLPZKHUHLQ     for testing the application.
                         DSSOLFDWLRQ
WKHVRIWZDUHLV         
IXUWKHUFRQILJXUHGWR       ³%HFDXVHPRELOHQHWZRUNFRQGLWLRQVDUHG\QDPLFDQGYDU\E\FDUULHUORFDWLRQDQGWLPHRIGD\LWLV
FUHDWHRQHRUPRUH          HVVHQWLDOIRUWHVWLQJHQYLURQPHQWVWRDFFXUDWHO\UHFUHDWHPXOWLSOHPRELOHQHWZRUNVFHQDULRVLQRUGHUWR
VFHQDULRVWKDW              DQDO\]H DSS SHUIRUPDQFH DQG GHWHUPLQH KRZ QHWZRUN FRQGLWLRQV DIIHFW GLIIHUHQW PRELOH XVHUV 7KH
LQFOXGHVFULSWVWKDW        PXOWLIORZ FDSDELOLW\ LQ +3 1HWZRUN 9LUWXDOL]DWLRQ IRU 0RELOH DOORZV \RX WR GHILQH D PRELOH WHVW
LPSDFWHLWKHUWKH           VFHQDULR WKDW VLPXOWDQHRXVO\ HPXODWHV PXOWLSOH XVHU ORFDWLRQV HDFK ZLWK LWV RZQ XQLTXH VHW RI
SHUIRUPDQFHRIWKH          YLUWXDOL]HGPRELOHQHWZRUNFRQGLWLRQV´
DSSOLFDWLRQRUWKH         
QHWZRUNRUERWK           +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH3DJH([%
                            
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                            ³/RDG5XQQHU7HUPLQRORJ\
                            
                                 x 6FHQDULR$VFHQDULRLVDVHTXHQFHRIHYHQWVWKDWHPXODWHWKHK\SRWKHWLFDODFWLRQVRIUHDOXVHUV
                                     RQ\RXUDSSOLFDWLRQ
                                     
                                 x 9XVHUV,Q WKH VFHQDULR /RDG5XQQHU UHSODFHV UHDO XVHUV ZLWKYLUWXDO XVHUVRU9XVHUV :KLOH D
                                     ZRUNVWDWLRQDFFRPPRGDWHVRQO\DVLQJOHKXPDQXVHUPDQ\9XVHUVFDQUXQFRQFXUUHQWO\RQD
                                     VLQJOHZRUNVWDWLRQ,QIDFWDVFHQDULRFDQFRQWDLQWHQVKXQGUHGVRUHYHQWKRXVDQGVRI9XVHUV
                                     
                                 x 9XVHU6FULSWV7KHDFWLRQVWKDWD9XVHUSHUIRUPVGXULQJWKHVFHQDULRDUHGHVFULEHGLQD9XVHU
                                     VFULSW:KHQ\RXUXQDVFHQDULRHDFK9XVHUH[HFXWHVD9XVHUVFULSW7KH9XVHUVFULSWVLQFOXGH
                                     IXQFWLRQVWKDWPHDVXUHDQGUHFRUGWKHSHUIRUPDQFHRI\RXUDSSOLFDWLRQ VFRPSRQHQWV
                                     
                                 x &RQWUROOHU<RXXVHWKH/RDG5XQQHU&RQWUROOHUWRPDQDJHDQGPDLQWDLQ\RXUVFHQDULRV8VLQJ
                                     WKH&RQWUROOHU\RXFRQWURODOOWKH9XVHUVLQDVFHQDULRIURPDVLQJOHZRUNVWDWLRQ
                                     
                                 x /RDG *HQHUDWRU:KHQ \RX H[HFXWH D VFHQDULR WKH &RQWUROOHU GLVWULEXWHV HDFK 9XVHU LQ WKH
                                     VFHQDULRWRDORDGJHQHUDWRU7KHORDGJHQHUDWRULVWKHPDFKLQHWKDWH[HFXWHVWKH9XVHUVFULSW
                                     HQDEOLQJWKH9XVHUWRHPXODWHWKHDFWLRQVRIDKXPDQXVHU
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                  x 3HUIRUPDQFH DQDO\VLV9XVHU VFULSWV LQFOXGH IXQFWLRQV WKDW PHDVXUH DQG UHFRUG V\VWHP
                     SHUIRUPDQFHGXULQJORDGWHVWLQJVHVVLRQV'XULQJDVFHQDULRUXQ\RXFDQPRQLWRUWKHQHWZRUN
                     DQG VHUYHU UHVRXUFHV )ROORZLQJ D VFHQDULR UXQ \RX FDQ YLHZSHUIRUPDQFH DQDO\VLVGDWD LQ
                     UHSRUWVDQGJUDSKV´
                  
               0LFUR )RFXV /RDG5XQQHU +HOS &HQWHU KWWSVDGPKHOSPLFURIRFXVFRPOUHQ
               KHOS:HE+HOS&RQWHQW&RQWUROOHUFBWHUPVBOUKWP
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                         Each Micro Focus-related Accused System is further configured to define one or more events during the test which
7KHV\VWHP           /RDG5XQQHULVIXUWKHUFRQILJXUHGWRGHILQHRQHRUPRUHHYHQWVGXULQJWKHWHVWZKLFKLQFOXGHVGHILQLQJRQHRU
RIFODLPZKHUHLQ     includes  defining one or more virtual users to simulate real users.
                         PRUHYLUWXDOXVHUVWRVLPXODWHUHDOXVHUV
WKHRQHRUPRUH         
VFHQDULRVGHILQHRQH        ³/RDG5XQQHU7HUPLQRORJ\
RUPRUHHYHQWVWKDW         
RFFXUGXULQJWKHWHVW           x 6FHQDULR$VFHQDULRLVDVHTXHQFHRIHYHQWVWKDWHPXODWHWKHK\SRWKHWLFDODFWLRQVRIUHDOXVHUV
ZKLFKLQFOXGHV                      RQ\RXUDSSOLFDWLRQ´
GHILQLQJRQHRUPRUH            
YLUWXDOXVHUVWR            0LFUR )RFXV /RDG5XQQHU +HOS &HQWHU KWWSVDGPKHOSPLFURIRFXVFRPOUHQ
VLPXODWHUHDOXVHUV        KHOS:HE+HOS&RQWHQW&RQWUROOHUFBWHUPVBOUKWP
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                            ³8QGHUVWDQGLQJWKH+3/RDG5XQQHUPDLQFRPSRQHQWV
                            
                            9X*HQ 9LUWXDO8VHUJHQHUDWRU ,QRUGHUWRVLPXODWHWUDQVDFWLRQVLWLVQHFHVVDU\WRFUHDWHVFULSWVIRULW
                            7KH +3 /RDG5XQQHU VFULSWLQJ WRRO LV FDOOHG 9X*HQ«&RQWUROOHU DQG /RDG *HQHUDWRU 2QFH
                            WUDQVDFWLRQVDUHUHDG\WREHVLPXODWHG\RXZLOOQHHGWRFUHDWHWKHXVHUVFHQDULRVDQGH[HFXWHWKHP7KH
                            XVHUVFHQDULRVZLOOVLPXODWHWKHXVHUV¶EHKDYLRUZLWKLQWKHDSSOLFDWLRQ)RUH[DPSOH
                            
                                7KHFRPSRQHQWWRH[HFXWHWKHWUDQVDFWLRQVEDVHGRQXVHUV¶EHKDYLRULVFDOOHGWKHFRQWUROOHU8VLQJ
                                WKH FRQWUROOHU \RX FDQ FRQWURO DOO WKH YLUWXDO XVHUV NQRZQ DV 9XVHU  LQ D VFHQDULR IURP D VLQJOH
                                ZRUNVWDWLRQ«0RVW RI WKH 9XVHU RSHUDWH DV D VLQJOH WKUHDG SURFHVV HQDEOLQJ D VLQJOH VHUYHU RU
                                FRPSXWHUWRHPXODWHWKHDFWLRQVRILIVHYHUDOXVHUV´
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                            0LFUR)RFXV/RDG5XQQHU&RPPXQLW\+RPHKWWSVFRPPXQLW\VRIWZDUHJUSFRPW$OO$ERXW
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7KHV\VWHP          Each Micro Focus-related Accused System is further configured to define one or more events during the test which
                         /RDG5XQQHULVIXUWKHUFRQILJXUHGWRGHILQHRQHRUPRUHHYHQWVGXULQJWKHWHVWZKLFKLQFOXGHVGHILQLQJRQHRU
RIFODLPZKHUHLQ     includes defining one or more virtual users to simulate real users.
                         PRUHYLUWXDOXVHUVWRVLPXODWHUHDOXVHUV
WKHRQHRUPRUH         
YLUWXDOXVHUVHPXODWH       ³/RDG5XQQHU7HUPLQRORJ\
DFWLRQVRIUHDOXVHU        
EHKDYLRU                      x 6FHQDULR$VFHQDULRLVDVHTXHQFHRIHYHQWVWKDWHPXODWHWKHK\SRWKHWLFDODFWLRQVRIUHDOXVHUV
                                   RQ\RXUDSSOLFDWLRQ´
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                            0LFUR      )RFXV     /RDG5XQQHU         +HOS      &HQWHU     KWWSVDGPKHOSPLFURIRFXVFRPOUHQ
                            KHOS:HE+HOS&RQWHQW&RQWUROOHUFBWHUPVBOUKWP
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                            ³8QGHUVWDQGLQJWKH+3/RDG5XQQHUPDLQFRPSRQHQWV
                            
                            7KHFRPSRQHQWWRH[HFXWHWKHWUDQVDFWLRQVEDVHGRQXVHUV¶EHKDYLRULVFDOOHGWKHFRQWUROOHU8VLQJWKH
                            FRQWUROOHU \RX FDQ FRQWURO DOO WKH YLUWXDO XVHUV NQRZQ DV 9XVHU  LQ D VFHQDULR IURP D VLQJOH
                            ZRUNVWDWLRQ«0RVW RI WKH 9XVHU RSHUDWH DV D VLQJOH WKUHDG SURFHVV HQDEOLQJ D VLQJOH VHUYHU RU
                            FRPSXWHUWRHPXODWHWKHDFWLRQVRILIVHYHUDOXVHUV´
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                             0LFUR )RFXV /RDG5XQQHU &RPPXQLW\ +RPH KWWSVFRPPXQLW\VRIWZDUHJUSFRPW$OO$ERXWWKH$SSV+3
                            /RDG5XQQHU:KHUHGR,VWDUW9X*HQEDS:[P2'YZX9
                            
                            ³$IWHUWKHUHFRUGLQJ9X*HQJHQHUDWHVYDULRXVIXQFWLRQVWKDWGHILQHWKHDFWLRQVSHUIRUPHGGXULQJWKH
                            UHFRUGLQJVHVVLRQ9X*HQLQVHUWVWKHVHIXQFWLRQVLQWRWKH9X*HQHGLWRUWRFUHDWHDEDVLF9XVHUVFULSW
                            ,QVWHDGRIKDYLQJWRPDQXDOO\SURJUDPWKHDSSOLFDWLRQ V$3,IXQFWLRQFDOOVWRWKHVHUYHU9X*HQ
                            DXWRPDWLFDOO\JHQHUDWHVIXQFWLRQVWKDWPRGHODQGHPXODWHUHDOZRUOGVLWXDWLRQV´
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                            0LFUR)RFXV/RDG5XQQHU+HOS&HQWHU
                             KWWSVDGPKHOSPLFURIRFXVFRPOUHQKHOS:HE+HOS&RQWHQW9X*HQBFBYXJHQBRYHUYLHZKWP
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                                                                07/20/18    39 17
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7KHV\VWHP         Each Micro Focus-related Accused System is further configured to record the actions of one or more virtual users
                        /RDG5XQQHULVIXUWKHUFRQILJXUHGWRUHFRUGWKHDFWLRQVRIRQHRUPRUHYLUWXDOXVHUVWRJHQHUDWHDVFULSWWR
RIFODLPZKHUHLQ   to  generate a script to emulate real user behavior.
                        HPXODWHUHDOXVHUEHKDYLRU
WKHDFWLRQVWKDWDUH     
SHUIRUPHGE\RQHRU         ³7KH,QVLGHVWRU\RQ+3(/RDG5XQQHU
PRUHYLUWXDOXVHUV          
DUHUHFRUGHGWR             :LWKDQLQWXLWLYHUHFRUGDQGSOD\EDFNPHFKDQLVPLQFOXGLQJWKHSDWHQWHG7UX&OLHQWWHFKQRORJ\+3(
JHQHUDWHDVFULSW           /RDG5XQQHUUHSURGXFHVUHDOEXVLQHVVSURFHVVHVWKDWDXVHUZRXOGSHUIRUPLQSURGXFWLRQ7KHVHVFULSWV
ZKLFKFDQEH                FDQWKHQEHHDVLO\PRGLILHGWRHPXODWHUHDOXVHUEHKDYLRU
PRGLILHGWRHPXODWH         
UHDOXVHUEHKDYLRU         /RDG5XQQHUWKHQHPXODWHVKXQGUHGVRUWKRXVDQGVRIFRQFXUUHQWYLUWXDOXVHUVZLWKPLQLPDOKDUGZDUH
                            WR DSSO\ DFFXUDWH ZRUNORDGV WR DQ\ DSSOLFDWLRQ %\ OHYHUDJLQJ+3( 1HWZRUN 9LUWXDOL]DWLRQDQG+3(
                            6HUYLFH 9LUWXDOL]DWLRQ \RX FDQ HOLPLQDWH DQG FRQWURO XQNQRZQ YDULDEOHV DQG LVRODWH SHUIRUPDQFH
                            ULVNV´
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                            +3(/RDG5XQQHU'DWD6KHHWKWWSZZZKSFRPXVHQVRIWZDUHVROXWLRQVORDGUXQQHUORDG
                            WHVWLQJLQGH[UHVRXUFHKSHORDGUXQQHUGDWDVKHHW
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                            ³<RXXVH9X*HQWRGHYHORSD9XVHUVFULSWE\UHFRUGLQJDXVHUSHUIRUPLQJW\SLFDOEXVLQHVVSURFHVVHV
                            RQ D FOLHQW DSSOLFDWLRQ 9X*HQ UHFRUGV WKH DFWLRQV WKDW \RX SHUIRUP GXULQJ WKH UHFRUGLQJ VHVVLRQ
                            UHFRUGLQJ RQO\ WKH DFWLYLW\ EHWZHHQ WKH FOLHQW DQG WKH VHUYHU 'XULQJ UHFRUGLQJ 9X*HQ PRQLWRUV WKH
                            FOLHQWDQGWUDFHVDOOWKHUHTXHVWVVHQWWRDQGUHFHLYHGIURPWKHVHUYHU
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                            UHFRUGLQJVHVVLRQ9X*HQLQVHUWVWKHVHIXQFWLRQVLQWRWKH9X*HQHGLWRUWRFUHDWHDEDVLF9XVHUVFULSW
                            ,QVWHDGRIKDYLQJWRPDQXDOO\SURJUDPWKHDSSOLFDWLRQ V$3,IXQFWLRQFDOOVWRWKHVHUYHU9X*HQ
                            DXWRPDWLFDOO\JHQHUDWHVIXQFWLRQVWKDWPRGHODQGHPXODWHUHDOZRUOGVLWXDWLRQV´
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                                                      07/20/18    40 18
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              0RELOH:HE1DWLYHDQG+\EULGDSSOLFDWLRQV7KH0RELOH7UX&OLHQWSURWRFROVXSSRUWVWKHUDSLGWHVWLQJ
              RIEURZVHUEDVHGPRELOHDSSOLFDWLRQVDQGWKH0RELOH$SSOLFDWLRQVSURWRFROSURYLGHVVXSSRUWIRU
              QDWLYH:HEDQG+\EULGDSSOLFDWLRQV+3(VROXWLRQVIRUPRELOHWHVWLQJFDQEHXVHGWRWHVWPRELOH
              DSSOLFDWLRQVDJDLQVWDQ\SODWIRUPDQG26+3(/RDG5XQQHUVHDPOHVVO\LQWHJUDWHVZLWK1HWZRUN
              9LUWXDOL]DWLRQHQDEOLQJUHDOLVWLFQHWZRUNFRQGLWLRQVGXULQJHDFKWHVW
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              GHYLFHDSSOLFDWLRQRUGHYLFHHPXODWRURUWUDIILFFDSWXUHIURPDQ\DYDLODEOH0RELOHGHYLFHFORXGWKH
              PHWKRGVXVHGIRUFDSWXULQJDSSOLFDWLRQXVDJHZLOOYDU\ZLWKHDFKGHSOR\PHQWPRGHO7KDWLVZK\+3(
              /RDG5XQQHULQFOXGHVPXOWLSOHPHWKRGVIRUUHFRUGLQJ0RELOHDSSOLFDWLRQVFULSWVWRPHHWWKHQHHGVRI
              DQ\0RELOHGHYHORSPHQWSURMHFW9LUWXDO8VHU*HQHUDWRUVXSSRUWVWKHIROORZLQJ0RELOHDSSOLFDWLRQ
              VFULSWLQJPHWKRGV
                      x 6HUYHUVLGHWUDIILFFDSWXUH
                      x 3&$3WUDIILFUHFRUGLQJ
                      x 0RELOH'HYLFH(PXODWRU
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                      x 7UX&OLHQW0RELOH IRUPRELOHZHEDSSOLFDWLRQV 
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              7KH+3(/RDG5XQQHU0RELOH5HFRUGHULVDOVRDYDLODEOHRQ*RRJOH3OD\IRUFDSWXULQJWUDIILFGLUHFWO\
              RQDQ$QGURLGGHYLFH´
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              +3(/RDG5XQQHU'DWD6KHHWKWWSZZZKSFRPXVHQVRIWZDUHVROXWLRQVORDGUXQQHUORDG
              WHVWLQJLQGH[UHVRXUFHKSHORDGUXQQHUGDWDVKHHW
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RIFODLPZKHUHLQ   DSSOLFDWLRQRUWKHQHWZRUN
WKHVFULSWVLQFOXGH    
RQHRUPRUH               ³/RDG5XQQHU7HUPLQRORJ\
IXQFWLRQVWKDW            
PHDVXUHDQGUHFRUG            x 6FHQDULR$VFHQDULRLVDVHTXHQFHRIHYHQWVWKDWHPXODWHWKHK\SRWKHWLFDODFWLRQVRIUHDOXVHUV
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HLWKHUWKH                        
DSSOLFDWLRQRUWKH           x 9XVHU6FULSWV7KHDFWLRQVWKDWD9XVHUSHUIRUPVGXULQJWKHVFHQDULRDUHGHVFULEHGLQD9XVHU
QHWZRUNRUERWK                 VFULSW:KHQ\RXUXQDVFHQDULRHDFK9XVHUH[HFXWHVD9XVHUVFULSW7KH9XVHUVFULSWVLQFOXGH
                                  IXQFWLRQVWKDWPHDVXUHDQGUHFRUGWKHSHUIRUPDQFHRI\RXUDSSOLFDWLRQ VFRPSRQHQWV
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                                  SHUIRUPDQFHGXULQJORDGWHVWLQJVHVVLRQV'XULQJDVFHQDULRUXQ\RXFDQPRQLWRUWKHQHWZRUN
                                  DQG VHUYHU UHVRXUFHV )ROORZLQJ D VFHQDULR UXQ \RX FDQ YLHZSHUIRUPDQFH DQDO\VLVGDWD LQ
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                           UHFRUGLQJVHVVLRQ9X*HQLQVHUWVWKHVHIXQFWLRQVLQWRWKH9X*HQHGLWRUWRFUHDWHDEDVLF9XVHUVFULSW
                           ,QVWHDGRIKDYLQJWRPDQXDOO\SURJUDPWKHDSSOLFDWLRQ V$3,IXQFWLRQFDOOVWRWKHVHUYHU9X*HQ
                           DXWRPDWLFDOO\JHQHUDWHVIXQFWLRQVWKDWPRGHODQGHPXODWHUHDOZRUOGVLWXDWLRQV´
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HPXODWLQJDQ         GHYLFHV
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SOD\LQJRQDQ           ³7KHQHZ7UX&OLHQW±1DWLYH0RELOHSURWRFROSURYLGHVDQRYHOZD\WRUHFRUGDQGUHSOD\QDWLYHPRELOHDSSOLFDWLRQV
DSSOLFDWLRQ             RQERWK$QGURLGDQGL26GHYLFHV7KHSURWRFROHQDEOHVWKHGHYHORSHURU'HY2SVHQJLQHHUWRUHFRUGXVHU
SOD\HULQHDFKRI       LQWHUDFWLRQVRQWKHPRELOHDSSOLFDWLRQDQGFUHDWHD7UX&OLHQWVFULSW7KLVVFULSWFDQEHHQKDQFHGXVLQJVWDQGDUG
DSOXUDOLW\RI          7UX&OLHQWIXQFWLRQDOLW\LQFOXGLQJSDUDPHWHUL]DWLRQWUDQVDFWLRQVDQG-DYD6FULSWFRGLQJ´
PRELOHGHYLFHV        0LFUR)RFXV,QWURGXFWLRQWR/RDG5XQQHU¶VQHZ7UX&OLHQW±1DWLYH0RELOHSURWRFRO
WKHPHWKRG             KWWSVFRPPXQLW\VRIWZDUHJUSFRPW/RDG5XQQHUDQG3HUIRUPDQFH,QWURGXFWLRQWR/RDG5XQQHUVQHZ7UX&OLHQW1DWLYH
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UHWULHYLQJ       RIWKHDSSOLFDWLRQ¶VSHUIRUPDQFHIRUDPRELOHGHYLFH
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LQGLFDWLYHRI       ³7KLVSURWRFROLVPHDQWIRUHQGXVHUSHUIRUPDQFHWHVWLQJ7RJHWKHUZLWKWKHH[LVWLQJPRELOHSURWRFROVLWFRPSOHWHV
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PRELOHGHYLFHV
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                    KWWSVFRPPXQLW\VRIWZDUHJUSFRPW/RDG5XQQHUDQG3HUIRUPDQFH,QWURGXFWLRQWR/RDG5XQQHUVQHZ7UX&OLHQW1DWLYH
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                         GHYLFHLQFOXGLQJV\VWHPDSSVDQGUHPRWHUHVWDUWV5HFRUGDQGUHSOD\LQWHUDFWLRQVHYHQWVDQGJHVWXUHVRQDQ\DSS
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                                                      07/20/18    43 21
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           %XLOGDODERIPRELOHGHYLFHVDQGHPXODWRUVDOORZLQJ\RXUWHDPWRUHVHUYHDQGFRQWUROWKHPUHPRWHO\
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           ([WHQG\RXUODEZLWKSXEOLFGHYLFHVWRHQDEOHDJUHDWHUYDULHW\RIPRGHOVDQGRSHUDWLQJV\VWHPVDQGDOORZ\RXWR
           VHOHFWDGHYLFHE\LWVFDSDELOLWLHV´
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HPXODWLQJHDFK       <RXFDQXVH7UX&OLHQWWRPHDVXUHDQGPRQLWRUWKHGHYLFHSHUIRUPDQFHGXULQJWKHWHVWUXQEDVHGRQWKHGHYLFH
RIWKHPRELOH        FKDUDFWHULVWLFV
GHYLFHVLQUHDO         
WLPHXVLQJ              ³<RXFDQXVH7UX&OLHQWWUDQVDFWLRQVWRPHDVXUHWKHWLPHWKDWDVHWRIVWHSV RUDVLQJOHVWHS FRPSOHWH,QDGGLWLRQ
UHVSHFWLYH              \RXFDQPRQLWRUGHYLFHSHUIRUPDQFHPHDVXUHPHQWVGXULQJWKHWHVWUXQ7KHVHPHDVXUHPHQWVLQFOXGH
PRGHOVUXQQLQJ
RQDSURFHVVRU               x   &38FRQVXPHGRQWKHGHYLFH
H[WULQVLFWRWKH             x   )UHHPHPRU\RQWKHGHYLFH
PRELOHGHYLFHV              x   0HPRU\FRQVXPHGE\WKHDSSOLFDWLRQ´
ZKHUHLQHDFKRI
WKHPRGHOVLV            0LFUR)RFXV&RUSRUDWH:HEVLWH,QWURGXFWLRQWR/RDG5XQQHU¶VQHZ7UX&OLHQW±1DWLYH0RELOHSURWRFRO
EDVHGRQWKH             KWWSVFRPPXQLW\VRIWZDUHJUSFRPW/RDG5XQQHUDQG3HUIRUPDQFH,QWURGXFWLRQWR/RDG5XQQHUVQHZ7UX&OLHQW1DWLYH
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UHWULHYHG
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SOD\LQJWKH              ³7KHQHZ7UX&OLHQW±1DWLYH0RELOHSURWRFROSURYLGHVDQRYHOZD\WRUHFRUGDQGUHSOD\QDWLYHPRELOH
DSSOLFDWLRQLQ           DSSOLFDWLRQVRQERWK$QGURLGDQGL26GHYLFHV7KHSURWRFROHQDEOHVWKHGHYHORSHURU'HY2SVHQJLQHHUWRUHFRUG
UHDOWLPHXVLQJ          XVHULQWHUDFWLRQVRQWKHPRELOHDSSOLFDWLRQDQGFUHDWHD7UX&OLHQWVFULSW´
WKHDSSOLFDWLRQ          
SOD\HUZLWKLQ            0LFUR)RFXV,QWURGXFWLRQWR/RDG5XQQHU¶VQHZ7UX&OLHQW±1DWLYH0RELOHSURWRFRO
HDFKRIWKH              KWWSVFRPPXQLW\VRIWZDUHJUSFRPW/RDG5XQQHUDQG3HUIRUPDQFH,QWURGXFWLRQWR/RDG5XQQHUVQHZ7UX&OLHQW1DWLYH
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PRGHOV                  
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                          /RDG5XQQHULVWKHPRVWFRPSOHWHVROXWLRQIRUPRELOHDSSOLFDWLRQSHUIRUPDQFHWHVWLQJLQFOXGLQJ0RELOH:HE
                          1DWLYHDQG+\EULGDSSOLFDWLRQV7KH7UX&OLHQW²0RELOH:HESURWRFROVXSSRUWVWKHUDSLGWHVWLQJRIEURZVHUEDVHG
                          PRELOHDSSOLFDWLRQVDQGWKH7UX&OLHQW²1DWLYH0RELOHSURWRFROSURYLGHVVXSSRUWIRUQDWLYH:HEDQG+\EULG
                          DSSOLFDWLRQV0LFUR)RFXVVROXWLRQVIRUPRELOHWHVWLQJFDQEHXVHGWRWHVWPRELOHDSSOLFDWLRQVDJDLQVWDQ\SODWIRUP
                          DQG26/RDG5XQQHUVHDPOHVVO\LQWHJUDWHVZLWK1HWZRUN9LUWXDOL]DWLRQHQDEOLQJUHDOLVWLFQHWZRUNFRQGLWLRQV
                          GXULQJHDFKWHVW´
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                          0LFUR)RFXV/RDG5XQQHU'DWD6KHHW3DJH([*
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PRQLWRULQJWKH         ³<RXFDQXVH7UX&OLHQWWUDQVDFWLRQVWRPHDVXUHWKHWLPHWKDWDVHWRIVWHSV RUDVLQJOHVWHS FRPSOHWH,QDGGLWLRQ
DSSOLFDWLRQ            \RXFDQPRQLWRUGHYLFHSHUIRUPDQFHPHDVXUHPHQWVGXULQJWKHWHVWUXQ7KHVHPHDVXUHPHQWVLQFOXGH
SOD\LQJLQHDFK
RIWKHPRGHOVWR            x   &38FRQVXPHGRQWKHGHYLFH
GHWHUPLQH                   x   )UHHPHPRU\RQWKHGHYLFH
UHVRXUFH                    x   0HPRU\FRQVXPHGE\WKHDSSOLFDWLRQ´
XWLOL]DWLRQ
LQIRUPDWLRQE\         0LFUR)RFXV,QWURGXFWLRQWR/RDG5XQQHU¶VQHZ7UX&OLHQW±1DWLYH0RELOHSURWRFRO
WKHDSSOLFDWLRQ        KWWSVFRPPXQLW\VRIWZDUHJUSFRPW/RDG5XQQHUDQG3HUIRUPDQFH,QWURGXFWLRQWR/RDG5XQQHUVQHZ7UX&OLHQW1DWLYH
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IRUHDFKRIWKH
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DQGGLVSOD\LQJ       7UX&OLHQWWKHQGLVSOD\VWKHUHVRXUFHXWLOL]DWLRQIRUWKHPRELOHGHYLFHFKDUDFWHULVWLF
WKHUHVRXUFH         
XWLOL]DWLRQ             ³7UX&OLHQW&388WLOL]DWLRQ3HUFHQWDJH*UDSK
LQIRUPDWLRQIRU         7KLVJUDSKGLVSOD\VWKHSHUFHQWDJHRIWKH&38XWLOL]HGGXULQJWKHWHVWUXQIRU7UX&OLHQW1DWLYH0RELOH9XVHU
DWOHDVWRQHRI         VFULSWV
WKHPRELOH
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                                    3XUSRVH          +HOSV\RXHYDOXDWHWKHDPRXQWRI&38XWLOL]HGE\DQDSSOLFDWLRQ
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        ([DPSOH,QWKHIROORZLQJH[DPSOHWKH&38XWLOL]DWLRQSHDNHGWRDSSUR[LPDWHO\DWPLQXWHVLQWRWKHWHVW
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        KHOS:HE+HOS&RQWHQW$QDO\VLVXLBWFB&38BJUDSKKWP
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        ³7UX&OLHQW)UHH0HPRU\,Q'HYLFH*UDSK
        7KLVJUDSKGLVSOD\VWKHIUHHPHPRU\RQDPRELOHGHYLFHDVDIXQFWLRQRIWLPHIRU7UX&OLHQW1DWLYH0RELOHVFULSWV




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     Case
    Case   4:18-cv-00519-ALM Document
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                  3XUSRVH           +HOSV\RXHYDOXDWHWKHDPRXQWRIPHPRU\DYDLODEOHRQWKHGHYLFHGXULQJ

                                     WKHWHVWUXQ


                  ;D[LV            (ODSVHGWLPHVLQFHWKHVWDUWRIWKHVFHQDULRUXQ


                  <D[LV            7KHDPRXQWRIIUHHPHPRU\LQ.%V


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        ([DPSOH,QWKHIROORZLQJH[DPSOHWKHJUDSKVKRZVDIUHHPHPRU\RIRYHU0%VDWPLQXWHVLQWRWKHWHVWUXQ
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        ³7UX&OLHQW0HPRU\&RQVXPHGE\$SSOLFDWLRQ*UDSK
        7KLVJUDSKGLVSOD\VWKHPHPRU\FRQVXPHGE\WKHDSSOLFDWLRQDVDIXQFWLRQRIWLPH

                  3XUSRVH             +HOSV\RXHYDOXDWHWKHDPRXQWRIPHPRU\XVHGE\WKHDSSOLFDWLRQ



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                   ;D[LV              (ODSVHGWLPHVLQFHWKHVWDUWRIWKHVFHQDULRUXQ


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         ([DPSOH,QWKHIROORZLQJH[DPSOHWKHPHPRU\FRQVXPSWLRQSHDNHGWR.%VDWPLQXWHVLQWRWKHWHVWIRU
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&ODLP(OHPHQW                                                       (YLGHQFHRI,QIULQJHPHQW
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HPXODWLQJDQ     
DSSOLFDWLRQ         ³0RELOH&HQWHU0RELOH7HVWLQJ
SOD\LQJRQDW       
OHDVWRQHPRELOH    0LFUR)RFXV0RELOH&HQWHUSURYLGHVDQHQGWRHQGTXDOLW\ODERIUHDOGHYLFHVDQGHPXODWRUV´
GHYLFH              
FRPSULVLQJ         0LFUR)RFXV0RELOH&HQWHUKWWSVVRIWZDUHPLFURIRFXVFRPHQXVSURGXFWVPRELOHWHVWLQJRYHUYLHZ
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UHFHLYLQJ           ³/DEPDQDJHPHQW
LQVWUXFWLRQVWR     
VHOHFWHDFKVDLG    &UHDWHDQGPDQDJHGHYLFHJURXSVDQGDFFHVVSHUPLVVLRQVVFKHGXOHGHYLFHUHVHUYDWLRQVJHWIXOOFRQWURORYHUD
PRELOHGHYLFH       GHYLFHLQFOXGLQJV\VWHPDSSVDQGUHPRWHUHVWDUWV5HFRUGDQGUHSOD\LQWHUDFWLRQVHYHQWVDQGJHVWXUHVRQDQ\DSS
IURPDOLVW         RQDQ\GHYLFHRUHPXODWRUV
LQFOXGLQJ           
FKDUDFWHULVWLFV     %XLOGDODERIPRELOHGHYLFHVDQGHPXODWRUV
LQGLFDWLYHRI       DOORZLQJ\RXUWHDPWRUHVHUYHDQGFRQWUROWKHP
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HDFKVDLGPRELOH    
GHYLFH             ([WHQG\RXUODEZLWKSXEOLFGHYLFHVWRHQDEOHD
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LVEDVHGXSRQWKH       0RELOHEDS:[F*O2YZX8
FKDUDFWHULVWLFVRI
DUHVSHFWLYHVDLG       ³$IWHUWKHUHFRUGLQJ9X*HQJHQHUDWHVYDULRXVIXQFWLRQVWKDWGHILQHWKHDFWLRQVSHUIRUPHGGXULQJWKHUHFRUGLQJ
PRELOHGHYLFH          VHVVLRQ9X*HQLQVHUWVWKHVHIXQFWLRQVLQWRWKH9X*HQHGLWRUWRFUHDWHDEDVLF9XVHUVFULSW,QVWHDGRIKDYLQJWR
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                          &UHDWHDQGPDQDJHGHYLFHJURXSVDQGDFFHVVSHUPLVVLRQVVFKHGXOHGHYLFHUHVHUYDWLRQVJHWIXOOFRQWURORYHUD
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                          ([WHQG\RXUODEZLWKSXEOLFGHYLFHVWRHQDEOHDJUHDWHUYDULHW\RIPRGHOVDQGRSHUDWLQJV\VWHPVDQGDOORZ\RXWR
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PRQLWRULQJHDFK           ³/LYHPRQLWRULQJ
VDLGPRGHOWR             
GHWHUPLQH                 3URDFWLYHO\PRQLWRU\RXUDSSIURPPXOWLSOHJHRJUDSKLHVRQUHDOGHYLFHWRLGHQWLI\LVVXHVEHIRUHFXVWRPHUVVHH
UHVRXUFH                  WKHP/HYHUDJHLQDSSDQDO\WLFVZLWKDFWLRQDEOHLQVLJKWVWRLPSURYH\RXUWHVWHIIHFWLYHQHVV´
XWLOL]DWLRQRIWKH    
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DQGGLVSOD\LQJ        ³0RELOHSHUIRUPDQFHRSWLPL]DWLRQ
WKHUHVRXUFH          
XWLOL]DWLRQ           *HWDQDFFXUDWHSLFWXUHRIWKHHQGWRHQGPRELOHSHUIRUPDQFH&RPELQHYLUWXDOXVHUVDQGUHDOGHYLFHVUXQVLPSOH
LQIRUPDWLRQ          HODVWLFDQGUHDOLVWLFWHVWVIURPPXOWLSOHJHRJUDSKLHVDFURVVYDULRXVUHDOZRUOGQHWZRUNFRQGLWLRQV
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                      /HDUQKRZ\RXUDSSVFRUHVLQWKHDSSVWRUHVDQGSULRULWL]H\RXUWHVWVDFFRUGLQJO\´
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                       PRELOHUHDOLW\DQGDGGUHVVHVWKHFKDOOHQJHRIRSWLPL]LQJPRELOHDSSTXDOLW\DQGXVHUH[SHULHQFHWKURXJKRXWWKH
                       DSSOLFDWLRQOLIHF\FOHZLWKWKHWRROV\RXDUHDOUHDG\IDPLOLDUZLWKIURPXV7KLVHQDEOHV\RXWRDFFHOHUDWHWHVWLQJRQ
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                                         1-15      12/23/19
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         UHDOGHYLFHVLQFUHDVHFRYHUDJHDQGVROYHSUREOHPVEHIRUHWKH\DIIHFWXVHUV%XLOWRQQDWLYHWHFKQRORJ\0RELOH
         &HQWHUOHYHUDJHVRXUH[SHUWLVHLQIXQFWLRQDODQGSHUIRUPDQFHWHVWLQJDQGLQWHJUDWHVPRELOHWHVWLQJZLWK6SULQWHU
         8QLILHG)XQFWLRQDO7HVWLQJ/RDG5XQQHUDQG3HUIRUPDQFH&HQWHU´
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         0LFUR)RFXV0RELOH&HQWHUKWWSVFRPPXQLW\VRIWZDUHJUSFRPW4XDOLW\DQG7HVWLQJ%ORJ1HZ6HUYLFH3DFNIRU8)7KDV
         EHHQMXVWUHOHDVHGEDS:]DJUW9.JX9
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         ³7KLVQHZSURWRFROSURYLGHVGDWDRIWKHDSSOLFDWLRQ¶VSHUIRUPDQFHRQDUHDOGHYLFHLQGLIIHUHQWFRQGLWLRQV<RXFDQ
         XVH7UX&OLHQWWUDQVDFWLRQVWRPHDVXUHWKHWLPHWKDWDVHWRIVWHSV RUDVLQJOHVWHS FRPSOHWH,QDGGLWLRQ\RXFDQ
         PRQLWRUGHYLFHSHUIRUPDQFHPHDVXUHPHQWVGXULQJWKHWHVWUXQ7KHVHPHDVXUHPHQWVLQFOXGH

            x   &38FRQVXPHGRQWKHGHYLFH
            x   )UHHPHPRU\RQWKHGHYLFH
            x   0HPRU\FRQVXPHGE\WKHDSSOLFDWLRQ´

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         0LFUR)RFXV0RELOH&HQWHUKWWSVFRPPXQLW\VRIWZDUHJUSFRPW/RDG5XQQHUDQG3HUIRUPDQFH,QWURGXFWLRQWR/RDG5XQQHU
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    &ODLP(OHPHQW                                                    (YLGHQFHRI,QIULQJHPHQW
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                          Each  Micro Focus-related Accused System (which includes HP LoadRunner, HP Performance Center, HP
$V\VWHPIRU          7KH$FFXVHG6\VWHP
                          StormRunner,             LQFOXGLQJ+3/RDG5XQQHU+33HUIRUPDQFH&HQWHU6KXQUD1HWZRUN9LUWXDOL]DWLRQ
                                           HP Mobile    Center, Shunra Network Virtualization, HP Network Virtualization engine, HP
WHVWLQJDQDSSOLFDWLRQ   +31HWZRUN9LUWXDOL]DWLRQHQJLQH+31HWZRUN9LUWXDOL]DWLRQIRU0RELOH+31HWZRUN&DSWXUHDQGRUDQ\
                          Network Virtualization for Mobile, HP Network Capture, and/or any Micro Focus products related to any of
IRUDPRELOHGHYLFH      0LFUR)RFXVSURGXFWVUHODWHGWRDQ\RIWKHIRUHJRLQJ LVDV\VWHPIRUWHVWLQJDQDSSOLFDWLRQIRUDPRELOH
                          the foregoing) meets the elements of this claim (individually or collectively the “Micro Focus-related
FRPSULVLQJ              GHYLFH
                          Infringing Products”). Please note that “HP”, “HPE” and “Micro Focus” are used interchangeably herein.
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                              ³+3/RDG5XQQHUDQG+33HUIRUPDQFH&HQWHUZLWK6KXQUD1HWZRUN9LUWXDOL]DWLRQ
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                             ,PSURYH WKH SHUIRUPDQFH RI PRELOHDSSV WKURXJK HIIHFWLYHWHVWLQJ«6KXQUD1HWZRUN9LUWXDOL]DWLRQ
                             ZKLFKLQWHJUDWHVVHDPOHVVO\LQWR+3/RDG5XQQHURU3HUIRUPDQFH&HQWHUHQKDQFHVWHVWDFFXUDF\E\
                             LQFRUSRUDWLQJUHDOZRUOGQHWZRUNFRQGLWLRQVLQWRWKHORDGDQGSHUIRUPDQFHWHVWHQYLURQPHQWHQVXULQJ
                             WKDW WKH WHVW UHVXOWV DUH PRUH UHOLDEOH DQG DFFXUDWH7KH FRPELQDWLRQ RI +3 /RDG5XQQHU RU
                              3HUIRUPDQFH &HQWHU DQG 6KXQUD 1HWZRUN 9LUWXDOL]DWLRQ LV WKH SDWK WR UREXVW UHOLDEOH DQG DFFXUDWH
                              PRELOHSHUIRUPDQFHWHVWLQJ´
                              
                              +3/RDG5XQQHUDQG+33HUIRUPDQFH&HQWHUZLWK6KXQUD1HWZRUN9LUWXDOL]DWLRQ3DJH
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                              ³%XLOW RQ WKH +3 1HWZRUN 9LUWXDOL]DWLRQ HQJLQH +3 1HWZRUN 9LUWXDOL]DWLRQ IRU 0RELOH EULGJHV WKH
                              JDSEHWZHHQGHYHORSPHQWDQGGHSOR\PHQWE\HQDEOLQJ\RXUPRELOHDSSOLFDWLRQGHYHORSPHQWWHDP
                              WRIXOO\DQGDFFXUDWHO\DVVHVVWKHEHKDYLRUDQGLPSDFWRIWKHQHWZRUNRQPRELOHDSSVEHIRUHWKH\DUH
                              LQWURGXFHG WR HQG XVHUV %\ YLUWXDOL]LQJ UHDOZRUOG PRELOH QHWZRUN FRQGLWLRQV ZLWKLQ WHVWLQJ
                              HQYLURQPHQWV \RXU WHVW UHVXOWV DUH PRUH UHOLDEO\ SUHGLFWLYH RI KRZ DQ DSSOLFDWLRQ ZLOO EHKDYH IRU
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                          7KHDQQRWDWHGLPDJHEHORZLOOXVWUDWHVWKHXVHULQWHUIDFHIRUWKH/RDG5XQQHUSODWIRUPDV\VWHPIRUWHVWLQJDQ
                          DSSOLFDWLRQIRUDPRELOHGHYLFH
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                           Each Micro Focus-related Accused System is further configured to include a software testing interface [e.g.,
LQWHUIDFHFRQILJXUHG      VLPXOWDQHRXVO\YLVXDOO\VLPXODWHYLDRQHRUPRUHSURILOHGLVSOD\ZLQGRZV>HJWKHZLQGRZKLJKOLJKWHGLQ
                           the LoadRunner interface] configured to simultaneously visually simulate, via one or more profile display
WRVLPXOWDQHRXVO\         JUHHQLQWKHDQQRWDWHGLPDJHEHORZ@DSOXUDOLW\RIRSHUDWRUQHWZRUNFKDUDFWHULVWLFV>HJFRPPXQLFDWLRQ
                           windows  [e.g., the window highlighted in green in the annotated image below], a plurality of operator
YLVXDOO\VLPXODWHYLD    WHFKQRORJ\VXFKDV**:L)LHWF@LQFOXGLQJDWOHDVWEDQGZLGWKDYDLODELOLW\LQGLFDWLYHRI
                           network characteristics [e.g., communication technology such as 2.5G, 3.5G, WiFi, etc.] including at least
RQHRUPRUHSURILOH       SHUIRUPDQFHRIWKHPRELOHGHYLFHZKHQH[HFXWLQJWKHDSSOLFDWLRQ>HJWKHFRPPXQLFDWLRQWHFKQRORJ\
                           bandwidth  availability indicative of performance of the mobile device when executing the application [e.g.,
GLVSOD\ZLQGRZVD        FRUUHVSRQGVWREDQGZLGWKDYDLODELOLW\LQGLFDWLYHRISHUIRUPDQFH@&RPPXQLFDWLRQWHFKQRORJ\RSWLRQVDUH
                           the communication technology corresponds to bandwidth availability indicative of performance].
SOXUDOLW\RIRSHUDWRU     VKRZQLQWKHKLJKOLJKWHGJUHHQER[LQWKHDQQRWDWHGLPDJHEHORZ
                           Communication    technology options are shown in the highlighted green box in the annotated image below.
QHWZRUN                   
FKDUDFWHULVWLFV           
LQFOXGLQJDWOHDVW        
EDQGZLGWK                 
DYDLODELOLW\LQGLFDWLYH   
RISHUIRUPDQFHRIWKH     
PRELOHGHYLFHZKHQ        
H[HFXWLQJWKH             
DSSOLFDWLRQ              
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              ODSWRSRU:L)LFRQQHFWHGPRELOHGHYLFH7KHVRIWZDUHFDQLPSRUWUHDOZRUOGPRELOHQHWZRUNSURILOHV
              FDSWXUHGE\+31HWZRUN&DSWXUHRUSURYLGHGE\WKH+31HWZRUN9LUWXDOL]DWLRQ/LEUDU\RIPRELOHDQG
              EURDGEDQGQHWZRUNFRQGLWLRQV´
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              +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH3DJH([%
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              ³%HFDXVHPRELOHQHWZRUNFRQGLWLRQVDUHG\QDPLFDQGYDU\E\FDUULHUORFDWLRQDQGWLPHRIGD\LWLV
              HVVHQWLDOIRUWHVWLQJHQYLURQPHQWVWRDFFXUDWHO\UHFUHDWHPXOWLSOHPRELOHQHWZRUNVFHQDULRVLQRUGHUWR
              DQDO\]HDSSSHUIRUPDQFHDQGGHWHUPLQHKRZQHWZRUNFRQGLWLRQVDIIHFWGLIIHUHQWPRELOHXVHUV7KH
              PXOWLIORZFDSDELOLW\LQ+31HWZRUN9LUWXDOL]DWLRQIRU0RELOHDOORZV\RXWRGHILQHDPRELOHWHVW
               VFHQDULRWKDWVLPXOWDQHRXVO\HPXODWHVPXOWLSOHXVHUORFDWLRQVHDFKZLWKLWVRZQXQLTXHVHWRI
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            ZKLFKLQFOXGHDSOXUDOLW\RIQHWZRUNFKDUDFWHULVWLFV
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               *OREDO/LEUDU\UHFRUGLQJVRUFDQEHVHWPDQXDOO\7KHLPSRUWHGSURILOHVDUHUHFRUGLQJVRIPRELOH
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    Case  4:18-cv-00519-ALM Document 42-21-14
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               DUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQPLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRI
               SRLQWWRSRLQWQHWZRUNFRQGLWLRQVUHFRUGHGDURXQGWKHZRUOG<RXFDQPDQXDOO\GHILQHVSHFLILF
               QHWZRUNFRQGLWLRQVIRUDQLQGLYLGXDOWHVWDQGWKHQVDYHWKH3URILOHWREHXVHGLQRWKHUWHVWV
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               LPSRUWHGDQGGRQRWUHTXLUH,QWHUQHWDFFHVV 
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               VSHFLILFDOO\IRUWKHXQLTXHUHTXLUHPHQWVRIPRELOHDSSWHVWLQJ%DVHGRQWHFKQRORJ\DFTXLUHGIURP
               6KXQUDWKLVILHOGSURYHQ+3VROXWLRQUHGXFHVWKHULVNRISRRUPRELOHSHUIRUPDQFHDQGKHOSV\RXU
               RUJDQL]DWLRQWHVWYDOLGDWHDQGRSWLPL]HWKHSHUIRUPDQFHRI\RXUPRELOHDSSVEHIRUHGHSOR\PHQW´
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                Case  4:18-cv-00519-ALM Document 42-21-14
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                                                            Filed        Page
                                                                  07/20/18    62 of
                                                                            Page    464
                                                                                 6 of 44PageID
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                              LQWURGXFHG WR HQG XVHUV %\ YLUWXDOL]LQJ UHDOZRUOG PRELOH QHWZRUN FRQGLWLRQV ZLWKLQ WHVWLQJ
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               WRGDWHDYHUDJHEHVWFDVHDQGZRUVWFDVHQHWZRUNFRQGLWLRQVIURPWKRXVDQGVRIFLWLHVZRUOGZLGH´
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                               DQDO\]HDSSSHUIRUPDQFHDQGGHWHUPLQHKRZQHWZRUNFRQGLWLRQVDIIHFWGLIIHUHQWPRELOHXVHUV7KH
                               PXOWLIORZFDSDELOLW\LQ+31HWZRUN9LUWXDOL]DWLRQIRU0RELOHDOORZV\RXWRGHILQHDPRELOHWHVW

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                VFHQDULRWKDWVLPXOWDQHRXVO\HPXODWHVPXOWLSOHXVHUORFDWLRQVHDFKZLWKLWVRZQXQLTXHVHWRI
                YLUWXDOL]HGPRELOHQHWZRUNFRQGLWLRQV´
                
                +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH3DJH([%
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                ³0LFUR)RFXV1HWZRUN9LUWXDOL]DWLRQ1HWZRUN3HUIRUPDQFH7HVWLQJ
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                &DSWXUHDQGHPXODWHUHDOZRUOGQHWZRUNFRQGLWLRQVVR\RXFDQH[HFXWHQHWZRUNSHUIRUPDQFHWHVWLQJ
                WRGHWHFWDQGUHPHGLDWHLVVXHVEHIRUHDSSGHSOR\PHQW
                
                'LVFRYHUDQGFDSWXUH
                
                'LVFRYHUDQGFDSWXUHOLYHQHWZRUNSHUIRUPDQFHFRQGLWLRQV²VXFKDVODWHQF\SDFNHWORVVEDQGZLGWK
                OLPLWDWLRQDQGMLWWHU²DQGUHFUHDWHWKRVHFRQGLWLRQVIRUQHWZRUNSHUIRUPDQFHWHVWLQJ´
                
                0LFUR )RFXV &RUSRUDWH :HEVLWH DYDLODEOH DW KWWSVVRIWZDUHPLFURIRFXVFRPHQ
                XVSURGXFWVQHWZRUNYLUWXDOL]DWLRQIRUORDGWHVWLQJRYHUYLHZ
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                ³1HWZRUN9LUWXDOL]DWLRQVRIWZDUHDOORZV\RXWRGLVFRYHUDQGFDSWXUHUHDOZRUOGQHWZRUNSHUIRUPDQFH
                FRQGLWLRQVIURP\RXUSURGXFWLRQQHWZRUNUHFUHDWHQHWZRUNFRQGLWLRQVLQ\RXUODEGXULQJDSSOLFDWLRQ
                WHVWLQJDQGRSWLPL]HWKHDSSOLFDWLRQVWRLPSURYHSHUIRUPDQFHEHIRUH\RXGHSOR\LQWRSURGXFWLRQ´
                
                0LFUR)RFXV1HWZRUN9LUWXDOL]DWLRQ'DWD6KHHW3DJH(['
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                ³1HWZRUN3URILOHV
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                 3URILOHVGHILQHWKHFRQGLWLRQVIRUWKHWHVW7KH\FDQEHEDVHGRQ6KXQUD¶V*OREDO/LEUDU\UHFRUGLQJV
                 RUFDQEHVHWPDQXDOO\
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                 7KHLPSRUWHGSURILOHVDUHUHFRUGLQJVRIPRELOHFRQGLWLRQVEHWZHHQWZRSRLQWV7KHVHUHFRUGLQJILOHV
                 DUHVWRUHGLQWKH6KXQUD*OREDO/LEUDU\ZKLFKLVDUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQ
                  PLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRISRLQWWRSRLQWQHWZRUNFRQGLWLRQVUHFRUGHGDURXQG WKH
                 ZRUOG´
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                 +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH6KXQUDY&DWIRU0RELOH0DQXDO3DJH([&
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                 ³8VH1HWZRUN&DSWXUHWRUHFRUGDQGLGHQWLI\DSSOLFDWLRQSHUIRUPDQFHSUREOHPVRFFXUULQJDWDUHPRWH
                 ORFDWLRQE\PHDVXULQJQHWZRUNFRQGLWLRQVVXFKDVODWHQF\SDFNHWORVVEDQGZLGWKDYDLODELOLW\DFURVV
                 DQ\ JLYHQ QHWZRUNWRSRORJ\ 1HWZRUN &DSWXUHFDQ PHDVXUH SURGXFWLRQOLQNV DURXQG WKH JOREH IRU D
                 GXUDWLRQRIXSWRRQHPRQWK´
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                 +31HWZRUN&DSWXUH8VHU*XLGH3DJH([(
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                 ³+3 /RDG5XQQHU DQG +3 3HUIRUPDQFH &HQWHU PRELOH WHVWLQJ SURWRFROV HQDEOH FRPSUHKHQVLYH
                 SHUIRUPDQFHWHVWLQJRIPRELOHDSSOLFDWLRQVIRUPRVWPRELOHSODWIRUPV²$QGURLGL3KRQH
                 :LQGRZV DQG RWKHUV 8VLQJ WKHPRELOH SURWRFROV WKH SHUIRUPDQFH WHVWLQJ WHDP LV DEOH WR FDSWXUH
                 PRELOHWUDIILFDQGJHQHUDWHUHDOLVWLFPRELOHORDGRQWKHV\VWHPXQGHUWHVW
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                 )HDWXUHVDQGEHQHILWV«
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                 6KXQUD 1HWZRUN 9LUWXDOL]DWLRQ HQDEOHV DQ HIIHFWLYH HQJLQHHULQJ PHWKRGRORJ\ IRU DSSOLFDWLRQ
                 SHUIRUPDQFH SURYLGLQJ WKH FDSDELOLWLHV WR GLVFRYHU UHDOZRUOG QHWZRUN FRQGLWLRQV YLUWXDOL]H WKRVH
                 FRQGLWLRQV LQ WKH WHVW HQYLURQPHQW DQDO\]H WHVW UHVXOWV WR LVRODWH SRWHQWLDO ERWWOHQHFNV DQG
                 DXWRPDWLFDOO\GHOLYHUFXVWRPSHUIRUPDQFHRSWLPL]DWLRQUHFRPPHQGDWLRQV,WSURYLGHV
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                 1HWZRUN&DWFKHU7KHDELOLW\WRDXWRPDWLFDOO\JDWKHUUHDOZRUOGQHWZRUNFRQGLWLRQVFROOHFWLQJLQWHUYDO
                 VWDWLVWLFVWKDWLQFOXGHELGLUHFWLRQDOEDQGZLGWKODWHQF\MLWWHUDQGSDFNHWORVVFRQGLWLRQV
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                 *OREDO/LEUDU\$FFHVVWR6KXQUD¶V*OREDO/LEUDU\RIPRELOHDQGEURDGEDQGFRQGLWLRQVSURYLGHVXS
                 WRGDWHDYHUDJHEHVWFDVHDQGZRUVWFDVHQHWZRUNFRQGLWLRQVIURPWKRXVDQGVRIFLWLHVZRUOGZLGH´
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    &ODLP(OHPHQW                                                    (YLGHQFHRI,QIULQJHPHQW
                         Each Micro Focus-related Accused System (which includes HP LoadRunner, HP Performance Center, HP
$V\VWHPIRU         7KH$FFXVHG6\VWHP
                           StormRunner, HP Mobile   LQFOXGLQJ+3/RDG5XQQHU+33HUIRUPDQFH&HQWHU6KXQUD1HWZRUN9LUWXDOL]DWLRQ
                                                         Center, Shunra Network Virtualization, HP Network Virtualization engine, HP
WHVWLQJDQDSSOLFDWLRQ   +31HWZRUN9LUWXDOL]DWLRQHQJLQH+31HWZRUN9LUWXDOL]DWLRQIRU0RELOH+31HWZRUN&DSWXUHDQGRUDQ\
                           Network Virtualization for Mobile, HP Network Capture, and/or any Micro Focus products related to any of
IRUDPRELOHGHYLFH      0LFUR)RFXVSURGXFWVUHODWHGWRDQ\RIWKHIRUHJRLQJ       LVDV\VWHPIRUWHVWLQJDQDSSOLFDWLRQIRUDPRELOH
                           the foregoing) meets the elements of this claim (individually      or collectively the “Micro Focus-related
FRPSULVLQJ              GHYLFH
                           Infringing Products”). Please note that “HP”, “HPE” and “Micro Focus” are used interchangeably herein.
                         
                               ³+3/RDG5XQQHUDQG+33HUIRUPDQFH&HQWHUZLWK6KXQUD1HWZRUN9LUWXDOL]DWLRQ
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                              ,PSURYH WKH SHUIRUPDQFH RI PRELOHDSSV WKURXJK HIIHFWLYHWHVWLQJ«6KXQUD1HWZRUN9LUWXDOL]DWLRQ
                              ZKLFKLQWHJUDWHVVHDPOHVVO\LQWR+3/RDG5XQQHURU3HUIRUPDQFH&HQWHUHQKDQFHVWHVWDFFXUDF\E\
                              LQFRUSRUDWLQJUHDOZRUOGQHWZRUNFRQGLWLRQVLQWRWKHORDGDQGSHUIRUPDQFHWHVWHQYLURQPHQWHQVXULQJ
                              WKDW WKH WHVW UHVXOWV DUH PRUH UHOLDEOH DQG DFFXUDWH7KH FRPELQDWLRQ RI +3 /RDG5XQQHU RU
                               3HUIRUPDQFH &HQWHU DQG 6KXQUD 1HWZRUN 9LUWXDOL]DWLRQ LV WKH SDWK WR UREXVW UHOLDEOH DQG DFFXUDWH
                               PRELOHSHUIRUPDQFHWHVWLQJ´
                               
                               +3/RDG5XQQHUDQG+33HUIRUPDQFH&HQWHUZLWK6KXQUD1HWZRUN9LUWXDOL]DWLRQ3DJH
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                               ³%XLOW RQ WKH +3 1HWZRUN 9LUWXDOL]DWLRQ HQJLQH +3 1HWZRUN 9LUWXDOL]DWLRQ IRU 0RELOH EULGJHV WKH
                               JDSEHWZHHQGHYHORSPHQWDQGGHSOR\PHQWE\HQDEOLQJ\RXUPRELOHDSSOLFDWLRQGHYHORSPHQWWHDP
                               WRIXOO\DQGDFFXUDWHO\DVVHVVWKHEHKDYLRUDQGLPSDFWRIWKHQHWZRUNRQPRELOHDSSVEHIRUHWKH\DUH
                               LQWURGXFHG WR HQG XVHUV %\ YLUWXDOL]LQJ UHDOZRUOG PRELOH QHWZRUN FRQGLWLRQV ZLWKLQ WHVWLQJ
                               HQYLURQPHQWV \RXU WHVW UHVXOWV DUH PRUH UHOLDEO\ SUHGLFWLYH RI KRZ DQ DSSOLFDWLRQ ZLOO EHKDYH IRU
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                          7KHDQQRWDWHGLPDJHEHORZLOOXVWUDWHVWKHXVHULQWHUIDFHIRUWKH/RDG5XQQHUSODWIRUPDV\VWHPIRUWHVWLQJDQ
                          DSSOLFDWLRQIRUDPRELOHGHYLFH
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                           Each Micro Focus-related Accused System is further configured to include a software testing interface [e.g.,
LQWHUIDFHFRQILJXUHG      VLPXOWDQHRXVO\YLVXDOO\VLPXODWHYLDRQHRUPRUHSURILOHGLVSOD\ZLQGRZV>HJWKHZLQGRZKLJKOLJKWHGLQ
                           the LoadRunner interface] configured to simultaneously visually simulate, via one or more profile display
WRVLPXOWDQHRXVO\         JUHHQLQWKHDQQRWDWHGLPDJHEHORZ@DSOXUDOLW\RIRSHUDWRUQHWZRUNFKDUDFWHULVWLFV>HJFRPPXQLFDWLRQ
                           windows  [e.g., the window highlighted in green in the annotated image below], a plurality of operator
YLVXDOO\VLPXODWHYLD    WHFKQRORJ\VXFKDV**:L)LHWF@LQFOXGLQJDWOHDVWEDQGZLGWKDYDLODELOLW\LQGLFDWLYHRI
                           network characteristics [e.g., communication technology such as 2.5G, 3.5G, WiFi, etc.] including at least
RQHRUPRUHSURILOH       SHUIRUPDQFHRIWKHPRELOHGHYLFHZKHQH[HFXWLQJWKHDSSOLFDWLRQ>HJWKHFRPPXQLFDWLRQWHFKQRORJ\
                           bandwidth  availability indicative of performance of the mobile device when executing the application [e.g.,
GLVSOD\ZLQGRZVD        FRUUHVSRQGVWREDQGZLGWKDYDLODELOLW\LQGLFDWLYHRISHUIRUPDQFH@&RPPXQLFDWLRQWHFKQRORJ\RSWLRQVDUH
                           the communication technology corresponds to bandwidth availability indicative of performance].
SOXUDOLW\RIRSHUDWRU     VKRZQLQWKHKLJKOLJKWHGJUHHQER[LQWKHDQQRWDWHGLPDJHEHORZ
                           Communication    technology options are shown in the highlighted green box in the annotated image below.
QHWZRUN                   
FKDUDFWHULVWLFV           
LQFOXGLQJDWOHDVW        
EDQGZLGWK                 
DYDLODELOLW\LQGLFDWLYH   
RISHUIRUPDQFHRIWKH     
PRELOHGHYLFHZKHQ        
H[HFXWLQJWKH             
DSSOLFDWLRQ              
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                ODSWRSRU:L)LFRQQHFWHGPRELOHGHYLFH7KHVRIWZDUHFDQLPSRUWUHDOZRUOGPRELOHQHWZRUNSURILOHV
                FDSWXUHGE\+31HWZRUN&DSWXUHRUSURYLGHGE\WKH+31HWZRUN9LUWXDOL]DWLRQ/LEUDU\RIPRELOHDQG
                EURDGEDQGQHWZRUNFRQGLWLRQV´
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                HVVHQWLDOIRUWHVWLQJHQYLURQPHQWVWRDFFXUDWHO\UHFUHDWHPXOWLSOHPRELOHQHWZRUNVFHQDULRVLQRUGHUWR
                DQDO\]HDSSSHUIRUPDQFHDQGGHWHUPLQHKRZQHWZRUNFRQGLWLRQVDIIHFWGLIIHUHQWPRELOHXVHUV7KH
                PXOWLIORZFDSDELOLW\LQ+31HWZRUN9LUWXDOL]DWLRQIRU0RELOHDOORZV\RXWRGHILQHDPRELOHWHVW
                VFHQDULRWKDWVLPXOWDQHRXVO\HPXODWHVPXOWLSOHXVHUORFDWLRQVHDFKZLWKLWVRZQXQLTXHVHWRI
                YLUWXDOL]HGPRELOHQHWZRUNFRQGLWLRQV´
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                 $V LOOXVWUDWHG EHORZ HDFK RI WKH FRPPXQLFDWLRQ WHFKQRORJ\ RSWLRQV KDV D FRUUHVSRQGLQJ QHWZRUN
                 SURILOHZKLFKLQFOXGHDSOXUDOLW\RIQHWZRUNFKDUDFWHULVWLFV
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               *OREDO/LEUDU\UHFRUGLQJVRUFDQEHVHWPDQXDOO\7KHLPSRUWHGSURILOHVDUHUHFRUGLQJVRIPRELOH
               FRQGLWLRQVEHWZHHQWZRSRLQWV7KHVHUHFRUGLQJILOHVDUHVWRUHGLQWKH6KXQUD*OREDO/LEUDU\ZKLFKLV
               DUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQPLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRI
               SRLQWWRSRLQWQHWZRUNFRQGLWLRQVUHFRUGHGDURXQGWKHZRUOG<RXFDQPDQXDOO\GHILQHVSHFLILF
               QHWZRUNFRQGLWLRQVIRUDQLQGLYLGXDOWHVWDQGWKHQVDYHWKH3URILOHWREHXVHGLQRWKHUWHVWV
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                ,QWKH1HWZRUN3URILOHVWDEWKHIROORZLQJJHQHUDOSURILOHVDUHGLVSOD\HG WKHVHSURILOHVDUHDOUHDG\
               LPSRUWHGDQGGRQRWUHTXLUH,QWHUQHWDFFHVV 
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               (GJHODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
               /7(ODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
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               VSHFLILFDOO\IRUWKHXQLTXHUHTXLUHPHQWVRIPRELOHDSSWHVWLQJ%DVHGRQWHFKQRORJ\DFTXLUHGIURP
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                                6KXQUDWKLVILHOGSURYHQ+3VROXWLRQUHGXFHVWKHULVNRISRRUPRELOHSHUIRUPDQFHDQGKHOSV\RXU
                                RUJDQL]DWLRQWHVWYDOLGDWHDQGRSWLPL]HWKHSHUIRUPDQFHRI\RXUPRELOHDSSVEHIRUHGHSOR\PHQW´
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                                ³%XLOW RQ WKH +3 1HWZRUN 9LUWXDOL]DWLRQ HQJLQH +3 1HWZRUN 9LUWXDOL]DWLRQ IRU 0RELOH EULGJHV WKH
                                JDSEHWZHHQGHYHORSPHQWDQGGHSOR\PHQWE\HQDEOLQJ\RXUPRELOHDSSOLFDWLRQGHYHORSPHQWWHDPWR
                                IXOO\ DQG DFFXUDWHO\ DVVHVV WKH EHKDYLRU DQG LPSDFW RI WKH QHWZRUN RQ PRELOH DSSV EHIRUH WKH\ DUH
                                LQWURGXFHG WR HQG XVHUV %\ YLUWXDOL]LQJ UHDOZRUOG PRELOH QHWZRUN FRQGLWLRQV ZLWKLQ WHVWLQJ
                                HQYLURQPHQWV\RXUWHVWUHVXOWVDUHPRUHUHOLDEO\SUHGLFWLYHRIKRZDQDSSOLFDWLRQZLOOEHKDYHIRUHQG
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EDQGZLGWK                      *OREDO/LEUDU\UHFRUGLQJVRUFDQEHVHWPDQXDOO\7KHLPSRUWHGSURILOHVDUHUHFRUGLQJVRIPRELOH
DYDLODELOLW\LVEDVHGDW       FRQGLWLRQVEHWZHHQWZRSRLQWV7KHVHUHFRUGLQJILOHVDUHVWRUHGLQWKH6KXQUD*OREDO/LEUDU\ZKLFKLV
OHDVWLQSDUWRQ               DUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQPLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRI
EDQGZLGWKGDWD                 SRLQWWRSRLQW QHWZRUNFRQGLWLRQV UHFRUGHG DURXQG WKH ZRUOG    <RX FDQ PDQXDOO\ GHILQH VSHFLILF
SUHGHWHUPLQHGIURP             QHWZRUNFRQGLWLRQVIRUDQLQGLYLGXDOWHVWDQGWKHQVDYHWKH3URILOHWREHXVHGLQRWKHUWHVWV´
LQWHUDFWLRQVEHWZHHQ           
RQHRUPRUHPRELOH             +31HWZRUN                                                                         9LUWXDOL]DWLRQIRU
GHYLFHVDQGDWOHDVW           0RELOH6KXQUD                                                                     Y&DWIRU0RELOH
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               OLPLWDWLRQDQGMLWWHU²DQGUHFUHDWHWKRVHFRQGLWLRQVIRUQHWZRUNSHUIRUPDQFHWHVWLQJ´
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               FRQGLWLRQVIURP\RXUSURGXFWLRQQHWZRUNUHFUHDWHQHWZRUNFRQGLWLRQVLQ\RXUODEGXULQJDSSOLFDWLRQ
               WHVWLQJDQGRSWLPL]HWKHDSSOLFDWLRQVWRLPSURYHSHUIRUPDQFHEHIRUH\RXGHSOR\LQWRSURGXFWLRQ´
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                ORFDWLRQE\PHDVXULQJQHWZRUNFRQGLWLRQVVXFKDVODWHQF\SDFNHWORVVEDQGZLGWKDYDLODELOLW\DFURVV
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                              SHUIRUPDQFH WHVWLQJ RI PRELOH DSSOLFDWLRQV IRU PRVW PRELOH SODWIRUPV²$QGURLG L3KRQH
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                              PRELOHWUDIILFDQGJHQHUDWHUHDOLVWLFPRELOHORDGRQWKHV\VWHPXQGHUWHVW
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                              6KXQUD 1HWZRUN 9LUWXDOL]DWLRQ HQDEOHV DQ HIIHFWLYH HQJLQHHULQJ PHWKRGRORJ\ IRU DSSOLFDWLRQ
                              SHUIRUPDQFH SURYLGLQJ WKH FDSDELOLWLHV WR GLVFRYHU UHDOZRUOG QHWZRUN FRQGLWLRQV YLUWXDOL]H WKRVH
                              FRQGLWLRQV LQ WKH WHVW HQYLURQPHQW DQDO\]H WHVW UHVXOWV WR LVRODWH SRWHQWLDO ERWWOHQHFNV DQG
                              DXWRPDWLFDOO\GHOLYHUFXVWRPSHUIRUPDQFHRSWLPL]DWLRQUHFRPPHQGDWLRQV,WSURYLGHV
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                              1HWZRUN&DWFKHU7KHDELOLW\WRDXWRPDWLFDOO\JDWKHUUHDOZRUOGQHWZRUNFRQGLWLRQVFROOHFWLQJLQWHUYDO
                              VWDWLVWLFVWKDWLQFOXGHELGLUHFWLRQDOEDQGZLGWKODWHQF\MLWWHUDQGSDFNHWORVVFRQGLWLRQV
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                              *OREDO/LEUDU\$FFHVVWR6KXQUD¶V*OREDO/LEUDU\RIPRELOHDQGEURDGEDQGFRQGLWLRQVSURYLGHVXS
                              WRGDWHDYHUDJHEHVWFDVHDQGZRUVWFDVHQHWZRUNFRQGLWLRQVIURPWKRXVDQGVRIFLWLHVZRUOGZLGH´
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                          Each Micro Focus-related Accused System is further configured to display application performance, or
DQGWKHVRIWZDUHLV      7KHVRIWZDUHLVIXUWKHUFRQILJXUHGWRGLVSOD\DSSOLFDWLRQSHUIRUPDQFHRUQHWZRUNSHUIRUPDQFHRUERWK
IXUWKHUFRQILJXUHGWR    network
                                 performance, or both.
GLVSOD\GDWDRIHLWKHU       ³/RFDWLRQ$ZDUH$QDO\WLFV
DSSOLFDWLRQ                  
SHUIRUPDQFHRU              1HWZRUN 9LUWXDOL]DWLRQ VRIWZDUH SURYLGHV GHHSGLYH DQDO\WLF FDSDELOLWLHV DQG ORFDWLRQVSHFLILF
QHWZRUNSHUIRUPDQFH         QHWZRUNSHUIRUPDQFHLQIRUPDWLRQ,WKHOSV\RXLGHQWLI\ SRRUO\SHUIRUPLQJ EXVLQHVVWUDQVDFWLRQV DQG
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                             DQGLWLVFORVHO\LQWHJUDWHGZLWK0LFUR)RFXVSHUIRUPDQFHWHVWSURGXFWV
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               URRW FDXVH RI SHUIRUPDQFH LVVXHV DQG LW SURYLGHV UHFRPPHQGDWLRQV IRU RSWLPL]LQJ :HE DQG PRELOH
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               WLPHVEUHDNLQJGRZQWUDQVDFWLRQUHVSRQVHWLPHVVR\RXFDQTXLFNO\LGHQWLI\DUHDVIRURSWLPL]DWLRQ
               7KHVHGHHSGLYHFDSDELOLWLHVVKRZ\RXKRZWKHHQGXVHUH[SHULHQFHVDQDSSOLFDWLRQRUSDJHORDGDQG
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               SURYLGHLQVLJKWLQWRFOLHQWQHWZRUNVHUYHUWLPLQJE\VXEWUDQVDFWLRQ
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               LQIRUPDWLRQ LV FULWLFDO WR XQGHUVWDQGLQJ WKH HQG XVHU¶V SHUFHSWLRQ RI SHUIRUPDQFH DQG ZKHUH \RX
               VKRXOGIRFXV\RXURSWLPL]DWLRQHIIRUWV
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               $XWRPDWHG2SWLPL]DWLRQ5HFRPPHQGDWLRQV
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               0LFUR)RFXV$SSOLFDWLRQ3HUIRUPDQFH$QDO\WLFVSURYLGHVDWUDQVDFWLRQVFRUHFDUG´
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               GHOLYHUV D WUDQVDFWLRQ SHUIRUPDQFH VFRUHFDUG WKDW DXWRPDWLFDOO\ JUDGHV DSSOLFDWLRQ SHUIRUPDQFH DQG
               RIIHUV FXVWRP SHUIRUPDQFH RSWLPL]DWLRQ VXJJHVWLRQV EDVHG RQ LQGXVWU\ DFFHSWHG DQG DGGLWLRQDO
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               DW OHDVW  SHUFHQW DQG RI VWDQGDUG ZHEVLWHV E\ D W\SLFDO OHYHO RI  SHUFHQW ZKHQ YLHZHG RQ DQ
               L3KRQH :LWK FRPSUHKHQVLYH DQDO\VLV FDSDELOLWLHV \RX FDQ TXLFNO\ DQG UHOLDEO\ LGHQWLI\ ERWWOHQHFNV
               DQGJHWVSHFLILFUHFRPPHQGDWLRQVIRUSHUIRUPDQFHRSWLPL]DWLRQWRKHOS\RXGHOLYHUDSSOLFDWLRQVWKDW
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                    Ŷ7KHEDQGZLGWKERWWOHQHFNUHSRUWLGHQWLILHVWKURXJKSXWDQGEDQGZLGWKXWLOL]DWLRQIRUHDFK
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                    SUREOHPVVXFKDVFDFKLQJLVVXHVXQXWLOL]HGEXIIHUVL]HDQGRWKHUIXQFWLRQDOSUREOHPVIRU
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                    Ŷ7KHEUHDNGRZQDQDO\VLVRILQIUDVWUXFWXUHVKRZVWKHHODSVHGWLPHDQDSSOLFDWLRQVSHQGVRQWKH
                    VHUYHUWKHFOLHQWDQGWKHQHWZRUNKHOSLQJWRSLQSRLQWERWWOHQHFNVLQWKHDSSOLFDWLRQLQIUDVWUXFWXUH´
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                          Each   Micro Focus-related Accused System (which includes HP LoadRunner, HP Performance Center, HP
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                          StormRunner, HP Mobile   LQFOXGLQJ+3/RDG5XQQHU+33HUIRUPDQFH&HQWHU6KXQUD1HWZRUN9LUWXDOL]DWLRQ
                                                       Center, Shunra Network Virtualization, HP Network Virtualization engine, HP
WHVWLQJDQDSSOLFDWLRQ    +31HWZRUN9LUWXDOL]DWLRQHQJLQH+31HWZRUN9LUWXDOL]DWLRQIRU0RELOH+31HWZRUN&DSWXUHDQGRUDQ\
                          Network Virtualization for Mobile, HP Network Capture, and/or any Micro Focus products related to any of
IRUDPRELOHGHYLFH       0LFUR)RFXVSURGXFWVUHODWHGWRDQ\RIWKHIRUHJRLQJ
                          the                                                    LVDV\VWHPIRUWHVWLQJDQDSSOLFDWLRQIRUDPRELOH
                              foregoing) meets the elements of this claim (individually  or collectively the “Micro Focus-related
FRPSULVLQJ               GHYLFH
                          Infringing Products”). Please note that “HP”, “HPE” and “Micro Focus” are used interchangeably herein.
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                               ³+3/RDG5XQQHUDQG+33HUIRUPDQFH&HQWHUZLWK6KXQUD1HWZRUN9LUWXDOL]DWLRQ
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                              ,PSURYHWKHSHUIRUPDQFHRIPRELOHDSSVWKURXJKHIIHFWLYHWHVWLQJ«6KXQUD1HWZRUN9LUWXDOL]DWLRQ
                              ZKLFKLQWHJUDWHVVHDPOHVVO\LQWR+3/RDG5XQQHURU3HUIRUPDQFH&HQWHUHQKDQFHVWHVWDFFXUDF\E\
                              LQFRUSRUDWLQJUHDOZRUOGQHWZRUNFRQGLWLRQVLQWRWKHORDGDQGSHUIRUPDQFHWHVWHQYLURQPHQWHQVXULQJ
                              WKDWWKHWHVWUHVXOWVDUHPRUHUHOLDEOHDQGDFFXUDWH7KHFRPELQDWLRQRI+3/RDG5XQQHURU
                               3HUIRUPDQFH&HQWHUDQG6KXQUD1HWZRUN9LUWXDOL]DWLRQLVWKHSDWKWRUREXVWUHOLDEOHDQGDFFXUDWH
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                               JDSEHWZHHQGHYHORSPHQWDQGGHSOR\PHQWE\HQDEOLQJ\RXUPRELOHDSSOLFDWLRQGHYHORSPHQWWHDP
                               WRIXOO\DQGDFFXUDWHO\DVVHVVWKHEHKDYLRUDQGLPSDFWRIWKHQHWZRUNRQPRELOHDSSVEHIRUHWKH\DUH
                               LQWURGXFHGWRHQGXVHUV%\YLUWXDOL]LQJUHDOZRUOGPRELOHQHWZRUNFRQGLWLRQVZLWKLQWHVWLQJ
                               HQYLURQPHQWV\RXUWHVWUHVXOWVDUHPRUHUHOLDEO\SUHGLFWLYHRIKRZDQDSSOLFDWLRQZLOOEHKDYHIRU
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                           Each Micro Focus-related Accused System is further configured to include a software testing interface [e.g.,
LQWHUIDFHFRQILJXUHG      VLPXOWDQHRXVO\YLVXDOO\VLPXODWHYLDRQHRUPRUHSURILOHGLVSOD\ZLQGRZV>HJWKHZLQGRZKLJKOLJKWHGLQ
                           the LoadRunner interface] configured to simultaneously visually simulate, via one or more profile display
WRVLPXOWDQHRXVO\         JUHHQLQWKHDQQRWDWHGLPDJHEHORZ@DSOXUDOLW\RIRSHUDWRUQHWZRUNFKDUDFWHULVWLFV>HJFRPPXQLFDWLRQ
                           windows [e.g., the window highlighted in green in the annotated image below], a plurality of operator
YLVXDOO\VLPXODWHYLD    WHFKQRORJ\VXFKDV**:L)LHWF@LQFOXGLQJDWOHDVWEDQGZLGWKDYDLODELOLW\LQGLFDWLYHRI
                           network characteristics [e.g., communication technology such as 2.5G, 3.5G, WiFi, etc.] including at least
RQHRUPRUHSURILOH       SHUIRUPDQFHRIWKHPRELOHGHYLFHZKHQH[HFXWLQJWKHDSSOLFDWLRQ>HJWKHFRPPXQLFDWLRQWHFKQRORJ\
                           bandwidth availability indicative of performance of the mobile device when executing the application [e.g.,
GLVSOD\ZLQGRZVD        FRUUHVSRQGVWREDQGZLGWKDYDLODELOLW\LQGLFDWLYHRISHUIRUPDQFH@&RPPXQLFDWLRQWHFKQRORJ\RSWLRQVDUH
                           the communication technology corresponds to bandwidth availability indicative of performance].
SOXUDOLW\RIRSHUDWRU     VKRZQLQWKHKLJKOLJKWHGJUHHQER[LQWKHDQQRWDWHGLPDJHEHORZ
                           Communication technology options are shown in the highlighted green box in the annotated image below.
QHWZRUN                   
FKDUDFWHULVWLFV           
LQFOXGLQJDWOHDVW        
EDQGZLGWK                 
DYDLODELOLW\LQGLFDWLYH   
RISHUIRUPDQFHRIWKH     
PRELOHGHYLFHZKHQ        
H[HFXWLQJWKH             
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               ODSWRSRU:L)LFRQQHFWHGPRELOHGHYLFH7KHVRIWZDUHFDQLPSRUWUHDOZRUOGPRELOHQHWZRUNSURILOHV
               FDSWXUHGE\+31HWZRUN&DSWXUHRUSURYLGHGE\WKH+31HWZRUN9LUWXDOL]DWLRQ/LEUDU\RIPRELOHDQG
               EURDGEDQGQHWZRUNFRQGLWLRQV´
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               HVVHQWLDOIRUWHVWLQJHQYLURQPHQWVWRDFFXUDWHO\UHFUHDWHPXOWLSOHPRELOHQHWZRUNVFHQDULRVLQRUGHUWR
               DQDO\]HDSSSHUIRUPDQFHDQGGHWHUPLQHKRZQHWZRUNFRQGLWLRQVDIIHFWGLIIHUHQWPRELOHXVHUV7KH
               PXOWLIORZFDSDELOLW\LQ+31HWZRUN9LUWXDOL]DWLRQIRU0RELOHDOORZV\RXWRGHILQHDPRELOHWHVW
               VFHQDULRWKDWVLPXOWDQHRXVO\HPXODWHVPXOWLSOHXVHUORFDWLRQVHDFKZLWKLWVRZQXQLTXHVHWRI
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                DUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQPLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRI
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                QHWZRUNFRQGLWLRQVIRUDQLQGLYLGXDOWHVWDQGWKHQVDYHWKH3URILOHWREHXVHGLQRWKHUWHVWV
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                7RLPSRUWD3URILOH
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                LPSRUWHGDQGGRQRWUHTXLUH,QWHUQHWDFFHVV 
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                /7(ODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
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                VSHFLILFDOO\IRUWKHXQLTXHUHTXLUHPHQWVRIPRELOHDSSWHVWLQJ%DVHGRQWHFKQRORJ\DFTXLUHGIURP
                6KXQUDWKLVILHOGSURYHQ+3VROXWLRQUHGXFHVWKHULVNRISRRUPRELOHSHUIRUPDQFHDQGKHOSV\RXU
                RUJDQL]DWLRQWHVWYDOLGDWHDQGRSWLPL]HWKHSHUIRUPDQFHRI\RXUPRELOHDSSVEHIRUHGHSOR\PHQW´
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                            *OREDO/LEUDU\$FFHVVWR6KXQUD¶V*OREDO/LEUDU\RIPRELOHDQGEURDGEDQGFRQGLWLRQVSURYLGHVXS
                            WRGDWHDYHUDJHEHVWFDVHDQGZRUVWFDVHQHWZRUNFRQGLWLRQVIURPWKRXVDQGVRIFLWLHVZRUOGZLGH´
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                            +3 /RDG5XQQHU DQG +3 3HUIRUPDQFH &HQWHU ZLWK 6KXQUD 1HWZRUN 9LUWXDOL]DWLRQ 3DJH 
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DQGWKHVRIWZDUHLV     Each  Micro Focus-related Accused System is further configured to interact with a network to enable
                         7KHVRIWZDUHLVHQDEOHGWRLQWHUDFWZLWKDQHWZRUNWRHQDEOHFORXGEDVHGWHVWLQJ
IXUWKHUFRQILJXUHGWR   cloud-based
                                      testing.
LQWHUDFWZLWKD             ³6WRUP5XQQHU/RDG
QHWZRUN                    
                            &ORXG/RDG7HVWLQJ
                            
                             6LPSOHVPDUWDQGVFDODEOHFORXGEDVHGORDGDQGSHUIRUPDQFHWHVWLQJIRUZHEDQGPRELOHDSSV
                             
                             6LPSOH
                             
                             'HVLJQDQGFUHDWHPRELOHDQGZHEORDGWHVWIRUHDV\FORXGEDVHGWHVWLQJZLWKRXWWKHQHHGWRVFKHGXOH
                             GHSOR\DQGPDQDJHORDGJHQHUDWRUV
                             
                             6PDUW
                             'HWHFWSUREOHPVIDVWDQGILQG\RXUURRWFDXVHZLWKFRPSUHKHQVLYHDQDO\WLFV
                             
                             6FDODEOH
                             6FDOH IURP  WHVWHU WR  RU PRUH JHRJUDSKLFDOO\ GLVWULEXWHG ZHE DQG PRELOH XVHUV DGG RU
                             UHPRYHWKHPGXULQJUXQV´
                             
                             0LFUR )RFXV &RUSRUDWH :HEVLWH DYDLODEOH DW KWWSVVRIWZDUHPLFURIRFXVFRPHQ
                             XVSURGXFWVQHWZRUNYLUWXDOL]DWLRQIRUORDGWHVWLQJRYHUYLHZ
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            7KHVRIWZDUHLQWHUDFWLQJZLWKDQHWZRUNIRUH[DPSOHDQGFUHDWLQJ9LUWXDO8VHUVDUHKLJKOLJKWHGLQWKHUHG
            ER[LQWKHDQQRWDWHGLPDJHEHORZ
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               ³0RELOHSHUIRUPDQFHRSWLPL]DWLRQ
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               *HWDQDFFXUDWHSLFWXUHRIWKHHQGWRHQGPRELOHSHUIRUPDQFH&RPELQHYLUWXDOXVHUVDQGUHDOGHYLFHV
               UXQ VLPSOH HODVWLF DQG UHDOLVWLF WHVWV IURP PXOWLSOH JHRJUDSKLHV DFURVV YDULRXV UHDOZRUOG QHWZRUN
               FRQGLWLRQV´
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               0LFUR )RFXV &RUSRUDWH :HEVLWH DYDLODEOH DW KWWSVVRIWZDUHPLFURIRFXVFRPHQ
               XVSURGXFWVPRELOHWHVWLQJRYHUYLHZ
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    &ODLP(OHPHQW                                                    (YLGHQFHRI,QIULQJHPHQW
                         
                          Each  Micro Focus-related Accused System (which includes HP LoadRunner, HP Performance Center, HP
$V\VWHPIRU         7KH$FFXVHG6\VWHP
                          StormRunner,             LQFOXGLQJ+3/RDG5XQQHU+33HUIRUPDQFH&HQWHU6KXQUD1HWZRUN9LUWXDOL]DWLRQ
                                           HP Mobile    Center, Shunra Network Virtualization, HP Network Virtualization engine, HP
WHVWLQJDQDSSOLFDWLRQ   +31HWZRUN9LUWXDOL]DWLRQHQJLQH+31HWZRUN9LUWXDOL]DWLRQIRU0RELOH+31HWZRUN&DSWXUHDQGRUDQ\
                          Network Virtualization for Mobile, HP Network Capture, and/or any Micro Focus products related to any of
IRUDPRELOHGHYLFH      0LFUR)RFXVSURGXFWVUHODWHGWRDQ\RIWKHIRUHJRLQJ LVDV\VWHPIRUWHVWLQJDQDSSOLFDWLRQIRUDPRELOH
                          the foregoing) meets the elements of this claim (individually or collectively the “Micro Focus-related
FRPSULVLQJ              GHYLFH
                          Infringing Products”). Please note that “HP”, “HPE” and “Micro Focus” are used interchangeably herein.
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                              ³+3/RDG5XQQHUDQG+33HUIRUPDQFH&HQWHUZLWK6KXQUD1HWZRUN9LUWXDOL]DWLRQ
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                              
                             ,PSURYH WKH SHUIRUPDQFH RI PRELOHDSSV WKURXJK HIIHFWLYHWHVWLQJ«6KXQUD1HWZRUN9LUWXDOL]DWLRQ
                             ZKLFKLQWHJUDWHVVHDPOHVVO\LQWR+3/RDG5XQQHURU3HUIRUPDQFH&HQWHUHQKDQFHVWHVWDFFXUDF\E\
                             LQFRUSRUDWLQJUHDOZRUOGQHWZRUNFRQGLWLRQVLQWRWKHORDGDQGSHUIRUPDQFHWHVWHQYLURQPHQWHQVXULQJ
                             WKDW WKH WHVW UHVXOWV DUH PRUH UHOLDEOH DQG DFFXUDWH7KH FRPELQDWLRQ RI +3 /RDG5XQQHU RU
                              3HUIRUPDQFH &HQWHU DQG 6KXQUD 1HWZRUN 9LUWXDOL]DWLRQ LV WKH SDWK WR UREXVW UHOLDEOH DQG DFFXUDWH
                              PRELOHSHUIRUPDQFHWHVWLQJ´
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                              +3/RDG5XQQHUDQG+33HUIRUPDQFH&HQWHUZLWK6KXQUD1HWZRUN9LUWXDOL]DWLRQ3DJH
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                              ³%XLOW RQ WKH +3 1HWZRUN 9LUWXDOL]DWLRQ HQJLQH +3 1HWZRUN 9LUWXDOL]DWLRQ IRU 0RELOH EULGJHV WKH
                              JDSEHWZHHQGHYHORSPHQWDQGGHSOR\PHQWE\HQDEOLQJ\RXUPRELOHDSSOLFDWLRQGHYHORSPHQWWHDP
                              WRIXOO\DQGDFFXUDWHO\DVVHVVWKHEHKDYLRUDQGLPSDFWRIWKHQHWZRUNRQPRELOHDSSVEHIRUHWKH\DUH
                              LQWURGXFHG WR HQG XVHUV %\ YLUWXDOL]LQJ UHDOZRUOG PRELOH QHWZRUN FRQGLWLRQV ZLWKLQ WHVWLQJ
                              HQYLURQPHQWV \RXU WHVW UHVXOWV DUH PRUH UHOLDEO\ SUHGLFWLYH RI KRZ DQ DSSOLFDWLRQ ZLOO EHKDYH IRU
                              HQGXVHUV´
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                              +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH3DJH([%
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                          7KHDQQRWDWHGLPDJHEHORZLOOXVWUDWHVWKHXVHULQWHUIDFHIRUWKH/RDG5XQQHUSODWIRUPDV\VWHPIRUWHVWLQJDQ
                          DSSOLFDWLRQIRUDPRELOHGHYLFH
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DVRIWZDUHWHVWLQJ      Each Micro Focus-related Accused System is further configured to include a software testing interface [e.g.,
                         7KH$FFXVHG6\VWHPLQFOXGHVDVRIWZDUHWHVWLQJLQWHUIDFH>HJWKH/RDG5XQQHULQWHUIDFH@FRQILJXUHGWR
                         the LoadRunner interface] configured to simultaneously visually simulate, via one or more profile display
LQWHUIDFHFRQILJXUHG VLPXOWDQHRXVO\YLVXDOO\VLPXODWHYLDRQHRUPRUHSURILOHGLVSOD\ZLQGRZV>HJWKHZLQGRZKLJKOLJKWHGLQ
WRVLPXOWDQHRXVO\       windows [e.g., the window highlighted in green in the annotated image below], a plurality of operator
                         JUHHQLQWKHDQQRWDWHGLPDJHEHORZ@DSOXUDOLW\RIRSHUDWRUQHWZRUNFKDUDFWHULVWLFV>HJFRPPXQLFDWLRQ
                         network characteristics [e.g., communication technology such as 2.5G, 3.5G, WiFi, etc.] including at least
YLVXDOO\VLPXODWHYLD WHFKQRORJ\VXFKDV**:L)LHWF@LQFOXGLQJDWOHDVWEDQGZLGWKDYDLODELOLW\LQGLFDWLYHRI
RQHRUPRUHSURILOH     bandwidth availability indicative of performance of the mobile device when executing the application [e.g.,
                         SHUIRUPDQFHRIWKHPRELOHGHYLFHZKHQH[HFXWLQJWKHDSSOLFDWLRQ>HJWKHFRPPXQLFDWLRQWHFKQRORJ\
GLVSOD\ZLQGRZVD      FRUUHVSRQGVWREDQGZLGWKDYDLODELOLW\LQGLFDWLYHRISHUIRUPDQFH@&RPPXQLFDWLRQWHFKQRORJ\RSWLRQVDUH
                         the communication technology corresponds to bandwidth availability indicative of performance].
SOXUDOLW\RIRSHUDWRU   Communication technology options are shown in the highlighted green box in the annotated image below.
                         VKRZQLQWKHKLJKOLJKWHGJUHHQER[LQWKHDQQRWDWHGLPDJHEHORZ
QHWZRUN                 
FKDUDFWHULVWLFV         
LQFOXGLQJDWOHDVW      
EDQGZLGWK               
DYDLODELOLW\LQGLFDWLYH 
RISHUIRUPDQFHRIWKH 
PRELOHGHYLFHZKHQ      
H[HFXWLQJWKH           
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               ODSWRSRU:L)LFRQQHFWHGPRELOHGHYLFH7KHVRIWZDUHFDQLPSRUWUHDOZRUOGPRELOHQHWZRUNSURILOHV
               FDSWXUHGE\+31HWZRUN&DSWXUHRUSURYLGHGE\WKH+31HWZRUN9LUWXDOL]DWLRQ/LEUDU\RIPRELOHDQG
               EURDGEDQGQHWZRUNFRQGLWLRQV´
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               ²²+31HWZRUN9LUWXDOL]DWLRQIRU0RELOH3DJH([%
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               ³%HFDXVHPRELOHQHWZRUNFRQGLWLRQVDUHG\QDPLFDQGYDU\E\FDUULHUORFDWLRQDQGWLPHRIGD\LWLV
               HVVHQWLDOIRUWHVWLQJHQYLURQPHQWVWRDFFXUDWHO\UHFUHDWHPXOWLSOHPRELOHQHWZRUNVFHQDULRVLQRUGHUWR
               DQDO\]HDSSSHUIRUPDQFHDQGGHWHUPLQHKRZQHWZRUNFRQGLWLRQVDIIHFWGLIIHUHQWPRELOHXVHUV7KH
               PXOWLIORZFDSDELOLW\LQ+31HWZRUN9LUWXDOL]DWLRQIRU0RELOHDOORZV\RXWRGHILQHDPRELOHWHVW
               VFHQDULRWKDWVLPXOWDQHRXVO\HPXODWHVPXOWLSOHXVHUORFDWLRQVHDFKZLWKLWVRZQXQLTXHVHWRI
               YLUWXDOL]HGPRELOHQHWZRUNFRQGLWLRQV´
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                FRQGLWLRQVEHWZHHQWZRSRLQWV7KHVHUHFRUGLQJILOHVDUHVWRUHGLQWKH6KXQUD*OREDO/LEUDU\ZKLFKLV
                DUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQPLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRI
                SRLQWWRSRLQWQHWZRUNFRQGLWLRQVUHFRUGHGDURXQGWKHZRUOG<RXFDQPDQXDOO\GHILQHVSHFLILF
                QHWZRUNFRQGLWLRQVIRUDQLQGLYLGXDOWHVWDQGWKHQVDYHWKH3URILOHWREHXVHGLQRWKHUWHVWV
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                7RLPSRUWD3URILOH
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                 ,QWKH1HWZRUN3URILOHVWDEWKHIROORZLQJJHQHUDOSURILOHVDUHGLVSOD\HG WKHVHSURILOHVDUHDOUHDG\
                LPSRUWHGDQGGRQRWUHTXLUH,QWHUQHWDFFHVV 
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                *ODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
                (GJHODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
                /7(ODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV
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                9HU\%DG1HWZRUNODWHQF\PVGRZQORDG.ESVXSORDG.ESVSDFNHWORVV´
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                VSHFLILFDOO\IRUWKHXQLTXHUHTXLUHPHQWVRIPRELOHDSSWHVWLQJ%DVHGRQWHFKQRORJ\DFTXLUHGIURP
                6KXQUDWKLVILHOGSURYHQ+3VROXWLRQUHGXFHVWKHULVNRISRRUPRELOHSHUIRUPDQFHDQGKHOSV\RXU
                RUJDQL]DWLRQWHVWYDOLGDWHDQGRSWLPL]HWKHSHUIRUPDQFHRI\RXUPRELOHDSSVEHIRUHGHSOR\PHQW´
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                                JDSEHWZHHQGHYHORSPHQWDQGGHSOR\PHQWE\HQDEOLQJ\RXUPRELOHDSSOLFDWLRQGHYHORSPHQWWHDPWR
                                IXOO\ DQG DFFXUDWHO\ DVVHVV WKH EHKDYLRU DQG LPSDFW RI WKH QHWZRUN RQ PRELOH DSSV EHIRUH WKH\ DUH
                                LQWURGXFHG WR HQG XVHUV %\ YLUWXDOL]LQJ UHDOZRUOG PRELOH QHWZRUN FRQGLWLRQV ZLWKLQ WHVWLQJ
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OHDVWLQSDUWRQ               DUHJXODUO\XSGDWHGSUHSRSXODWHGVHWRIPRUHWKDQPLOOLRQUHFRUGHGUHDOZRUOGGDWDSRLQWVRI
EDQGZLGWKGDWD                 SRLQWWRSRLQW QHWZRUNFRQGLWLRQV UHFRUGHG DURXQG WKH ZRUOG    <RX FDQ PDQXDOO\ GHILQH VSHFLILF
SUHGHWHUPLQHGIURP             QHWZRUNFRQGLWLRQVIRUDQLQGLYLGXDOWHVWDQGWKHQVDYHWKH3URILOHWREHXVHGLQRWKHUWHVWV´
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RQHRUPRUHPRELOH             +31HWZRUN9LUWXDOL]DWLRQIRU0RELOH6KXQUDY&DWIRU0RELOH0DQXDO3DJH([&
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                                             Claim 46 U.S. Pat. No. 9,971,678


   Claim Element                                             Evidence of Infringement

46. The system of        Each Micro Focus-related Accused System is further configured to allow tests to be managed and
claim 45, wherein the    results analyzed from a personal computer or mobile device.
software is further
configured to allow      “Network Profiles . . . Profiles define the conditions for the test. They can be based on Shunra’s™
tests to be managed      Global Library recordings, or can be set manually. . . . The imported profiles are recordings of
and results analyzed     mobile conditions between two points. These recording files are stored in the Shunra Global
from a personal          Library which is a regularly updated, pre-populated set of more than 15 million recorded real-world
computer or mobile       data points of point-to-point network conditions recorded around the world. . . . You can manually
device.                  define specific network conditions for an individual test and then save the Profile to be used in
                         other tests.”

                         HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19, Ex. C.




                         “Micro Focus Network Virtualization Network Performance Testing

                         Capture and emulate real-world network conditions, so you can execute network performance
                         testing to detect and remediate issues before app deployment.




                                                                                                                  EXHIBIT A--100
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 102 of 464 PageID #: 869

                                       Claim 46, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss,
                   bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”

                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview

                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex. D.

                   “Use Network Capture to record and identify application performance problems occurring at a
                   remote location, by measuring network conditions such as latency, packet loss, bandwidth
                   availability across any given network topology. Network Capture can measure production links
                   around the globe for a duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex. E.




                                                                                                            EXHIBIT A--101
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 103 of 464 PageID #: 870

                                       Claim 46, U.S. Pat. No. 9,971,678



Claim Element                                           Evidence of Infringement

                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits…

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:


                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                Ex. A.




                                                                                                            EXHIBIT A--102
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 104 of 464 PageID #: 871

                                        Claim 46, U.S. Pat. No. 9,971,678




Claim Element                                           Evidence of Infringement

                The software is further configured to import real-world mobile network profiles.

                   “Network Profiles

                   Profiles define the conditions for the test. They can be based on Shunra’s™ Global Library
                   recordings, or can be set manually.

                   The imported profiles are recordings of mobile conditions between two points. These recording files
                   are stored in the Shunra Global Library which is a regularly updated, pre-populated set of more than
                   15 million recorded real-world data points of point-to-point network conditions recorded around the
                   world.”

                   …In the From-To, select the Mobile and Server locations, such as the name of a city or state.”

                HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19-20, Ex. C.


                   “APE — Best Practices

                   Discovery: identify and record real-world infrastructure and network conditions, business processes,
                   application topology and deployment scenarios.

                   Pre-recorded library of global mobile and broadband network profiles enables rapid testing of mobile
                   applications.

                   Pre-recorded network profiles for emulating typical mobile and broadband network conditions
                   between major global cities.”

                   Built-in MySQL database stores thousands of network profiles.”

                   Shunra NetworkCatcher, Page 2, Ex. F.

                                                                                                             EXHIBIT A--103
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 105 of 464 PageID #: 872

                                      Claim 46, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   “Micro Focus Network Virtualization
                   Network Performance Testing

                   Capture and emulate real-world network conditions, so you can execute network performance testing
                   to detect and remediate issues before app deployment.

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss, bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”


                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview


                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex D.




                                                                                                          EXHIBIT A--104
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 106 of 464 PageID #: 873

                                       Claim 46, U.S. Pat. No. 9,971,678

Claim Element                                           Evidence of Infringement

                   “Use Network Capture to record and identify application performance problems occurring at a remote
                   location, by measuring network conditions such as latency, packet loss, bandwidth availability across
                   any given network topology. Network Capture can measure production links around the globe for a
                   duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex E.




                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:

                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                   HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                   Ex. A.




                                                                                                            EXHIBIT A--105
               Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 107 of 464 PageID #: 874

                                             Claim 47 U.S. Pat. No. 9,971,678


   Claim Element                                             Evidence of Infringement

47. The system of        Each Micro Focus-related Accused System is further configured to import real-world mobile
claim 45, wherein the    network profiles captured by one or more networks.
software can import
real-world mobile        “Network Profiles . . . Profiles define the conditions for the test. They can be based on Shunra’s™
network profiles         Global Library recordings, or can be set manually. . . . The imported profiles are recordings of
captured by one or       mobile conditions between two points. These recording files are stored in the Shunra Global
more networks.           Library which is a regularly updated, pre-populated set of more than 15 million recorded real-world
                         data points of point-to-point network conditions recorded around the world. . . . You can manually
                         define specific network conditions for an individual test and then save the Profile to be used in
                         other tests.”

                         HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19, Ex. C.




                         “Micro Focus Network Virtualization Network Performance Testing

                         Capture and emulate real-world network conditions, so you can execute network performance
                         testing to detect and remediate issues before app deployment.




                                                                                                                  EXHIBIT A--106
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 108 of 464 PageID #: 875

                                       Claim 47, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss,
                   bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”

                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview

                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex. D.

                   “Use Network Capture to record and identify application performance problems occurring at a
                   remote location, by measuring network conditions such as latency, packet loss, bandwidth
                   availability across any given network topology. Network Capture can measure production links
                   around the globe for a duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex. E.




                                                                                                            EXHIBIT A--107
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 109 of 464 PageID #: 876

                                       Claim 47, U.S. Pat. No. 9,971,678



Claim Element                                           Evidence of Infringement

                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits…

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:


                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                Ex. A.




                                                                                                            EXHIBIT A--108
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 110 of 464 PageID #: 877

                                        Claim 47, U.S. Pat. No. 9,971,678




Claim Element                                           Evidence of Infringement

                The software is further configured to import real-world mobile network profiles.

                   “Network Profiles

                   Profiles define the conditions for the test. They can be based on Shunra’s™ Global Library
                   recordings, or can be set manually.

                   The imported profiles are recordings of mobile conditions between two points. These recording files
                   are stored in the Shunra Global Library which is a regularly updated, pre-populated set of more than
                   15 million recorded real-world data points of point-to-point network conditions recorded around the
                   world.”

                   …In the From-To, select the Mobile and Server locations, such as the name of a city or state.”

                HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19-20, Ex. C.


                   “APE — Best Practices

                   Discovery: identify and record real-world infrastructure and network conditions, business processes,
                   application topology and deployment scenarios.

                   Pre-recorded library of global mobile and broadband network profiles enables rapid testing of mobile
                   applications.

                   Pre-recorded network profiles for emulating typical mobile and broadband network conditions
                   between major global cities.”

                   Built-in MySQL database stores thousands of network profiles.”

                   Shunra NetworkCatcher, Page 2, Ex. F.

                                                                                                             EXHIBIT A--109
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 111 of 464 PageID #: 878

                                      Claim 47, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   “Micro Focus Network Virtualization
                   Network Performance Testing

                   Capture and emulate real-world network conditions, so you can execute network performance testing
                   to detect and remediate issues before app deployment.

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss, bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”


                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview


                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex D.




                                                                                                          EXHIBIT A--110
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 112 of 464 PageID #: 879

                                       Claim 47, U.S. Pat. No. 9,971,678

Claim Element                                           Evidence of Infringement

                   “Use Network Capture to record and identify application performance problems occurring at a remote
                   location, by measuring network conditions such as latency, packet loss, bandwidth availability across
                   any given network topology. Network Capture can measure production links around the globe for a
                   duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex E.




                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:

                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                   HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                   Ex. A.




                                                                                                            EXHIBIT A--111
               Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 113 of 464 PageID #: 880

                                             Claim 48 U.S. Pat. No. 9,971,678


   Claim Element                                             Evidence of Infringement

48. The system of        Each Micro Focus-related Accused System is further configured to import real-world mobile
claim 45, wherein the    network profiles provided by a storage library of mobile network conditions.
software can import
real-world mobile        “Network Profiles . . . Profiles define the conditions for the test. They can be based on Shunra’s™
network profiles         Global Library recordings, or can be set manually. . . . The imported profiles are recordings of
provided by a storage    mobile conditions between two points. These recording files are stored in the Shunra Global
library of mobile        Library which is a regularly updated, pre-populated set of more than 15 million recorded real-world
network conditions.      data points of point-to-point network conditions recorded around the world. . . . You can manually
                         define specific network conditions for an individual test and then save the Profile to be used in
                         other tests.”

                         HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19, Ex. C.




                         “Micro Focus Network Virtualization Network Performance Testing

                         Capture and emulate real-world network conditions, so you can execute network performance
                         testing to detect and remediate issues before app deployment.




                                                                                                                  EXHIBIT A--112
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 114 of 464 PageID #: 881

                                       Claim 48, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss,
                   bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”

                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview

                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex. D.

                   “Use Network Capture to record and identify application performance problems occurring at a
                   remote location, by measuring network conditions such as latency, packet loss, bandwidth
                   availability across any given network topology. Network Capture can measure production links
                   around the globe for a duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex. E.




                                                                                                            EXHIBIT A--113
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 115 of 464 PageID #: 882

                                       Claim 48, U.S. Pat. No. 9,971,678



Claim Element                                           Evidence of Infringement

                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits…

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:


                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                Ex. A.




                                                                                                            EXHIBIT A--114
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 116 of 464 PageID #: 883

                                        Claim 48, U.S. Pat. No. 9,971,678




Claim Element                                           Evidence of Infringement

                The software is further configured to import real-world mobile network profiles.

                   “Network Profiles

                   Profiles define the conditions for the test. They can be based on Shunra’s™ Global Library
                   recordings, or can be set manually.

                   The imported profiles are recordings of mobile conditions between two points. These recording files
                   are stored in the Shunra Global Library which is a regularly updated, pre-populated set of more than
                   15 million recorded real-world data points of point-to-point network conditions recorded around the
                   world.”

                   …In the From-To, select the Mobile and Server locations, such as the name of a city or state.”

                HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19-20, Ex. C.


                   “APE — Best Practices

                   Discovery: identify and record real-world infrastructure and network conditions, business processes,
                   application topology and deployment scenarios.

                   Pre-recorded library of global mobile and broadband network profiles enables rapid testing of mobile
                   applications.

                   Pre-recorded network profiles for emulating typical mobile and broadband network conditions
                   between major global cities.”

                   Built-in MySQL database stores thousands of network profiles.”

                   Shunra NetworkCatcher, Page 2, Ex. F.

                                                                                                             EXHIBIT A--115
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 117 of 464 PageID #: 884

                                      Claim 48, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   “Micro Focus Network Virtualization
                   Network Performance Testing

                   Capture and emulate real-world network conditions, so you can execute network performance testing
                   to detect and remediate issues before app deployment.

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss, bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”


                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview


                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex D.




                                                                                                          EXHIBIT A--116
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 118 of 464 PageID #: 885

                                       Claim 48, U.S. Pat. No. 9,971,678

Claim Element                                           Evidence of Infringement

                   “Use Network Capture to record and identify application performance problems occurring at a remote
                   location, by measuring network conditions such as latency, packet loss, bandwidth availability across
                   any given network topology. Network Capture can measure production links around the globe for a
                   duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex E.




                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:

                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                   HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                   Ex. A.




                                                                                                            EXHIBIT A--117
               Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 119 of 464 PageID #: 886

                                             Claim 49 U.S. Pat. No. 9,971,678


   Claim Element                                             Evidence of Infringement

49. The system of        Each Micro Focus-related Accused System is further configured to import real-world mobile
claim 45, wherein the    network profiles from geographical locations worldwide.
software can import
real-world mobile        “Network Profiles . . . Profiles define the conditions for the test. They can be based on Shunra’s™
network profiles from    Global Library recordings, or can be set manually. . . . The imported profiles are recordings of
geographical locations   mobile conditions between two points. These recording files are stored in the Shunra Global
worldwide.               Library which is a regularly updated, pre-populated set of more than 15 million recorded real-world
                         data points of point-to-point network conditions recorded around the world. . . . You can manually
                         define specific network conditions for an individual test and then save the Profile to be used in
                         other tests.”

                         HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19, Ex. C.




                         “Micro Focus Network Virtualization Network Performance Testing

                         Capture and emulate real-world network conditions, so you can execute network performance
                         testing to detect and remediate issues before app deployment.




                                                                                                                  EXHIBIT A--118
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 120 of 464 PageID #: 887

                                       Claim 49, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss,
                   bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”

                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview

                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex. D.

                   “Use Network Capture to record and identify application performance problems occurring at a
                   remote location, by measuring network conditions such as latency, packet loss, bandwidth
                   availability across any given network topology. Network Capture can measure production links
                   around the globe for a duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex. E.




                                                                                                            EXHIBIT A--119
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 121 of 464 PageID #: 888

                                       Claim 49, U.S. Pat. No. 9,971,678



Claim Element                                           Evidence of Infringement

                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits…

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:


                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                Ex. A.




                                                                                                            EXHIBIT A--120
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 122 of 464 PageID #: 889

                                        Claim 49, U.S. Pat. No. 9,971,678




Claim Element                                           Evidence of Infringement

                The software is further configured to import real-world mobile network profiles.

                   “Network Profiles

                   Profiles define the conditions for the test. They can be based on Shunra’s™ Global Library
                   recordings, or can be set manually.

                   The imported profiles are recordings of mobile conditions between two points. These recording files
                   are stored in the Shunra Global Library which is a regularly updated, pre-populated set of more than
                   15 million recorded real-world data points of point-to-point network conditions recorded around the
                   world.”

                   …In the From-To, select the Mobile and Server locations, such as the name of a city or state.”

                HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19-20, Ex. C.


                   “APE — Best Practices

                   Discovery: identify and record real-world infrastructure and network conditions, business processes,
                   application topology and deployment scenarios.

                   Pre-recorded library of global mobile and broadband network profiles enables rapid testing of mobile
                   applications.

                   Pre-recorded network profiles for emulating typical mobile and broadband network conditions
                   between major global cities.”

                   Built-in MySQL database stores thousands of network profiles.”

                   Shunra NetworkCatcher, Page 2, Ex. F.

                                                                                                             EXHIBIT A--121
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 123 of 464 PageID #: 890

                                      Claim 49, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   “Micro Focus Network Virtualization
                   Network Performance Testing

                   Capture and emulate real-world network conditions, so you can execute network performance testing
                   to detect and remediate issues before app deployment.

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss, bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”


                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview


                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex D.




                                                                                                          EXHIBIT A--122
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 124 of 464 PageID #: 891

                                       Claim 49, U.S. Pat. No. 9,971,678

Claim Element                                           Evidence of Infringement

                   “Use Network Capture to record and identify application performance problems occurring at a remote
                   location, by measuring network conditions such as latency, packet loss, bandwidth availability across
                   any given network topology. Network Capture can measure production links around the globe for a
                   duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex E.




                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:

                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                   HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                   Ex. A.




                                                                                                            EXHIBIT A--123
               Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 125 of 464 PageID #: 892

                                              Claim 50 U.S. Pat. No. 9,971,678


   Claim Element                                              Evidence of Infringement

50. The system of         Each Micro Focus-related Accused System is further configured to enable a user to discover and
claim 45, wherein the     import network conditions from geographical locations worldwide.
software enables a user
to discover and import    “Network Profiles . . . Profiles define the conditions for the test. They can be based on Shunra’s™
network conditions        Global Library recordings, or can be set manually. . . . The imported profiles are recordings of
from geographical         mobile conditions between two points. These recording files are stored in the Shunra Global
locations worldwide.      Library which is a regularly updated, pre-populated set of more than 15 million recorded real-world
                          data points of point-to-point network conditions recorded around the world. . . . You can manually
                          define specific network conditions for an individual test and then save the Profile to be used in
                          other tests.”

                          HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19, Ex. C.




                          “Micro Focus Network Virtualization Network Performance Testing

                          Capture and emulate real-world network conditions, so you can execute network performance
                          testing to detect and remediate issues before app deployment.




                                                                                                                   EXHIBIT A--124
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 126 of 464 PageID #: 893

                                       Claim 50, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss,
                   bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”

                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview

                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex. D.

                   “Use Network Capture to record and identify application performance problems occurring at a
                   remote location, by measuring network conditions such as latency, packet loss, bandwidth
                   availability across any given network topology. Network Capture can measure production links
                   around the globe for a duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex. E.




                                                                                                            EXHIBIT A--125
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 127 of 464 PageID #: 894

                                       Claim 50, U.S. Pat. No. 9,971,678



Claim Element                                           Evidence of Infringement

                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits…

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:


                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                Ex. A.




                                                                                                            EXHIBIT A--126
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 128 of 464 PageID #: 895

                                        Claim 50, U.S. Pat. No. 9,971,678




Claim Element                                           Evidence of Infringement

                The software is further configured to import real-world mobile network profiles.

                   “Network Profiles

                   Profiles define the conditions for the test. They can be based on Shunra’s™ Global Library
                   recordings, or can be set manually.

                   The imported profiles are recordings of mobile conditions between two points. These recording files
                   are stored in the Shunra Global Library which is a regularly updated, pre-populated set of more than
                   15 million recorded real-world data points of point-to-point network conditions recorded around the
                   world.”

                   …In the From-To, select the Mobile and Server locations, such as the name of a city or state.”

                HP Network Virtualization for Mobile, Shunra vCat for Mobile Manual, Page 19-20, Ex. C.


                   “APE — Best Practices

                   Discovery: identify and record real-world infrastructure and network conditions, business processes,
                   application topology and deployment scenarios.

                   Pre-recorded library of global mobile and broadband network profiles enables rapid testing of mobile
                   applications.

                   Pre-recorded network profiles for emulating typical mobile and broadband network conditions
                   between major global cities.”

                   Built-in MySQL database stores thousands of network profiles.”

                   Shunra NetworkCatcher, Page 2, Ex. F.

                                                                                                             EXHIBIT A--127
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 129 of 464 PageID #: 896

                                      Claim 50, U.S. Pat. No. 9,971,678

Claim Element                                         Evidence of Infringement

                   “Micro Focus Network Virtualization
                   Network Performance Testing

                   Capture and emulate real-world network conditions, so you can execute network performance testing
                   to detect and remediate issues before app deployment.

                   Discover and capture

                   Discover and capture live network performance conditions—such as latency, packet loss, bandwidth
                   limitation and jitter—and recreate those conditions for network performance testing.”


                   Micro Focus Corporate Website, available at https://software.microfocus.com/en-
                   us/products/network-virtualization-for-load-testing/overview


                   “Network Virtualization software allows you to discover and capture real-world network
                   performance conditions from your production network, recreate network conditions in your lab
                   during application testing, and optimize the applications to improve performance before you deploy
                   into production.”

                   Micro Focus Network Virtualization Data Sheet, Page 1, Ex D.




                                                                                                          EXHIBIT A--128
         Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 130 of 464 PageID #: 897

                                       Claim 50, U.S. Pat. No. 9,971,678

Claim Element                                           Evidence of Infringement

                   “Use Network Capture to record and identify application performance problems occurring at a remote
                   location, by measuring network conditions such as latency, packet loss, bandwidth availability across
                   any given network topology. Network Capture can measure production links around the globe for a
                   duration of up to one month.”

                   HP Network Capture User Guide, Page 6, Ex E.




                   “HP LoadRunner and HP Performance Center mobile testing protocols enable comprehensive
                   performance testing of mobile applications for most mobile platforms—Android, iPhone®,
                   Windows®, and others. Using the mobile protocols, the performance testing team is able to capture
                   mobile traffic and generate realistic mobile load on the system under test.

                   Features and benefits

                   Shunra Network Virtualization enables an effective engineering methodology for application
                   performance, providing the capabilities to discover real-world network conditions, virtualize those
                   conditions in the test environment, analyze test results to isolate potential bottlenecks, and
                   automatically deliver custom performance optimization recommendations. It provides:

                   NetworkCatcher: The ability to automatically gather real-world network conditions, collecting
                   interval statistics that include bidirectional bandwidth, latency, jitter, and packet loss conditions

                   Global Library: Access to Shunra’s Global Library of mobile and broadband conditions provides up-
                   to-date average, best-case, and worst-case network conditions from thousands of cities worldwide.”

                   HP LoadRunner and HP Performance Center with Shunra Network Virtualization, Page 2-3,
                   Ex. A.




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Case Case
     4:18-cv-00519-ALM
           4:18-cv-00468 Document
                         Document 42-2 Filed07/02/18
                                  1-7 Filed  12/23/19 Page
                                                       Page1131
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                                     1-7 Filed  12/23/19 Page
                                                          Page2132
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Data sheet


HP LoadRunner and
HP Performance Center with
Shunra Network Virtualization
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                                                                                Shunra Network
                                                                                Virtualization

                                                                           LG 2G


                                                     LoadRunner/           LG 3G                                                        Wi-Fi backend
                                                     Performance                                                                        monitoring:
                                                     Center Controller     LG LTE                                                       HP SiteScope/
                                                                                                                                        HP Diagnostics

                                                                           LG Wi-Fi              Network characteristics




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           4:18-cv-00519-ALM
                 4:18-cv-00468 Document
                               Document 42-2 Filed07/02/18
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                                                            Learn more at
                                                            hp.com/go/mobiletesting




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                                     1-8 Filed  12/23/19 Page
                                                          Page2137
                                                                of 5ofPageID
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HP Network Virtualization
for Mobile
Network virtualization for software testing




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                  4:18-cv-00468 Document
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                                                              Page3138
                                                                    of 5ofPageID
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Data sheet | HP Network Virtualization for Mobile

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                                                              Page4139
                                                                    of 5ofPageID
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Data sheet | HP Network Virtualization for Mobile

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       Case Case
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                  4:18-cv-00468 Document
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                                         1-8 Filed  12/23/19 Page
                                                              Page5140
                                                                    of 5ofPageID
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                                                                                 #: 228#: 907
Data sheet | HP Network Virtualization for Mobile


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CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  141
                                                          1 of   of PageID
                                                               128  464 PageID #: 908
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CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  142
                                                          2 of   of PageID
                                                               128  464 PageID #: 909
                                                                           #: 230




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                                                                      EXHIBIT A--141
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  143
                                                          3 of   of PageID
                                                               128  464 PageID #: 910
                                                                           #: 231




              vCat for Mobile Manual




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                                                                                                  EXHIBIT A--142
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  144
                                                          4 of   of PageID
                                                               128  464 PageID #: 911
                                                                           #: 232




                                                                         vCat for MobileUser Manual
                                                                                                                         1




             Table of Contents
             Chapter 1       vCat for Mobile Introduction .                              .           . 1-1
               vCat for Mobile . .     .   .   .   .   .   .   .   . .   .   .       .       .       .       .1-1
               Network Editor . .      .   .   .   .   .   .   .   . .   .   .       .       .       .       .1-1
               Transaction Manager .       .   .   .   .   .   .   . .   .   .       .       .       .       .1-1
               Shunra Analytics .      .   .   .   .   .   .   .   . .   .   .       .       .       .       .1-2

             Chapter 2       Installing and Configuring vCat for Mobile 2 - 1
               System Requirements . . . .                 . . .     .   .   .       .       .       .    .2-1
                 Setting up the Testing Environment        . . .     . . .       . . .                   . 2-2
                 vCat for Mobile Installation . . .        . . .     . . .       . . .                   . 2-3
                 Changing the vCat for Mobile Port         . . .     . . .       . . .                   . 2-3
               Upgrade . . . . . . . . . . . . . . . . . . . 2 - 4
                 Silent Installation . . . . . . . . . . . . . . . . 2 - 4
               Silent Uninstall . .    .   .   .   .   .   .   .   . .   .   .       .       .       .       .2-5
               vCat for Mobile Licensing       .   .   .   .   .   . .   .   .       .       .       .       .2-5
               Log Files .   .   . .   .   .   .   .   .   .   .   . .   .   .       .       .       .       .2-8

             Chapter 3: Conducting Network Virtualization 3 - 1
               Viewing and Setting the Active Adapter              . .   .   .       .       .       .       .3-1
               Conducting Tests in Multi-User Mode . . . . .                         .       .       .       .3-2
                 HTTP Port Settings . . . . . . . . . . .                        .       .       .       .    3-2
                 Network Profiles . . . . . . . . . . . .                        .       .       .       .    3-3
                 Devices . . . . . . . . . . . . . . .                           .       .       .       .    3-6
                 Starting a Test from a Device . . . . . . . .                   .       .       .       .    3-8
                 Starting a Test from the Multi-User Console . . .               .       .       .       .    3-8
                 Viewing Runtime Information . . . . . . . .                     .       .       .       .   3 - 10
                 Runtime Updates . . . . . . . . . . . .                         .       .       .       .   3 - 10
                 Transaction Marking . . . . . . . . . . .                       .       .       .       .   3 - 11
                 Deleting Tests . . . . . . . . . . . . .                        .       .       .       .   3 - 13
                 Switching between Multi-User and Single-User Mode               .       .       .       .   3 - 14




                                                                                                                      EXHIBIT A--143
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  145
                                                          5 of   of PageID
                                                               128  464 PageID #: 912
                                                                           #: 233




              vCat for Mobile User Manual
          2



               Conducting Network Virtualization in Single-User Mode .                                        . 3 - 14
               The Cleanup Threshold .      .   .   .   .   .    . .          .       .       .       .       . 3 - 15
               The Perfmon Counters .       .   .   .   .   .    . .          .       .       .       .       . 3 - 16

              Chapter 4:      Using the Shunra Network Editor                                                 . 4-1
               Installing the Network Editor .      .   .   .    . .          .       .       .       .       .       .4 - 1
               Opening the Network Editor .         .   .   .    . .          .       .       .       .       .       .4 - 1
               Creating Shunra Emulation Profiles       .    .    .   .       .       .       .       .       .       .4 - 2
                 Setting Client and Server IP Ranges    .   .    .    . . . . . . .                                    4-4
                 Defining Packet List Settings . .      .   .    .    . . . . . . .                                    4-5
                 Configuring Gateway Parameters .       .   .    .    . . . . . . .                                    4-5
                 Configuring the WAN Shape . .          .   .    .    . . . . . . .                                    4-8

              Chapter 5      vCat for Mobile Web Service API                                                  . 5-1
               Emulation Services . . . . . . . . .                           .       .       .       .       .       .5 - 1
                 Start New Emulation . . . . . . . . .                    .       .       .       .       .       .    5-2
                 Workaround to work with XML format . . .                 .       .       .       .       .       .    5-5
                 Start New Emulation – Advance Mode . . .                 .       .       .       .       .       .    5-7
                 Real Time Update . . . . . . . . . .                     .       .       .       .       .       .    5-8
                 Real Time Update for Advance Mode . . .                  .       .       .       .       .       .   5 - 11
                 Get Emulation Parameters . . . . . . .                   .       .       .       .       .       .   5 - 12
                 Stop Emulation . . . . . . . . . . .                     .       .       .       .       .       .   5 - 17
                 Force Stop Emulation . . . . . . . . .                   .       .       .       .       .       .   5 - 17
                 Get Emulation Tokens . . . . . . . .                     .       .       .       .       .       .   5 - 18
                 Get Statistics . . . . . . . . . . .                     .       .       .       .       .       .   5 - 19
                 Start PacketList Capture – Specific and Global           .       .       .       .       .       .   5 - 28
                 Stop Packet List Capture – Specific and Global           .       .       .       .       .       .   5 - 29
                 Is PL Capturing . . . . . . . . . . .                    .       .       .       .       .       .   5 - 30
                 Get Packet List IDs . . . . . . . . . .                  .       .       .       .       .       .   5 - 31
                 Download Packet List . . . . . . . . .                   .       .       .       .       .       .   5 - 32
                 Download External Events File . . . . . .                .       .       .       .       .       .   5 - 33
                 Traffic Resource Files   . . . . . . . .                 .       .       .       .       .       .   5 - 34
               Configuration Services . . . . . . . . . . . . . 5 - 36
                 Set Active Adapter . . . . . . . . . . . . . . . 5 - 36




                                                                                                                               EXHIBIT A--144
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  146
                                                          6 of   of PageID
                                                               128  464 PageID #: 913
                                                                           #: 234




                                                                                        vCat for MobileUser Manual
                                                                                                                              3



                 Get Active Adapter . . . .               .   . .      . .          .       . .       .       . . 5 - 37
                 Add Exclude IP/PORT Range .              .   . .      . .          .       . .       .       . . 5 - 38
                 Remove Exclude IP/PORT Range             .   . .      . .          .       . .       .       . . 5 - 39
                 Get All Exclude IP/PORT Ranges           .   . .      . .          .       . .       .       . . 5 - 40
                 Get Version Info . . . . .               .   . .      . .          .       . .       .       . . 5 - 41
                 Set Configuration . . . . .              .   . .      . .          .       . .       .       . . 5 - 42
                 Get Configuration . . . . .              .   . .      . .          .       . .       .       . . 5 - 43
               Transaction Manager    .       .    . .    .   .    .    .       .       .   .     .       .    . 5 - 44
                 Connect . . . .          .    .    . .   .   .   .    .    . . .               . . .           . 5 - 44
                 Disconnect . . .         .    .    . .   .   .   .    .    . . .               . . .           . 5 - 45
                 StartTransaction .       .    .    . .   .   .   .    .    . . .               . . .           . 5 - 46
                 StopTransaction .        .    .    . .   .   .   .    .    . . .               . . .           . 5 - 48
               License Manager . . . . . . . . . .                                      .   .     .       .    . 5 - 49
                  Get Installed Products' Information . . . .                       . . . . .                   . 5 - 49
                  Get Local License Servers . . . . . . .                           . . . . .                   . 5 - 56
                  Checkout License from the Local License Server                    . . . . .                   . 5 - 59
                  Check-in License to the Local License Server .                    . . . . .                   . 5 - 61

             Chapter 5: vCat for Mobile Command Line Interface 6 - 1
               Commands . . . . .                  . .    .   .    .    .       .       .   .     .       .    .    .6-1
                 DownloadExternalEvents             . .   .   .   .    .    .       .       . .       .       . .    6-2
                 DownloadShunraFile . .             . .   .   .   .    .    .       .       . .       .       . .    6-2
                 SetConfiguration . . .             . .   .   .   .    .    .       .       . .       .       . .    6-3
                 StartAdvanceEmulation .            . .   .   .   .    .    .       .       . .       .       . .    6-4
                 GetActiveAdapter . .               . .   .   .   .    .    .       .       . .       .       . .    6-4
                 GetEmulationParameters             . .   .   .   .    .    .       .       . .       .       . .    6-4
                 DownloadPL . . . .                 . .   .   .   .    .    .       .       . .       .       . .    6-4
                 GetExcludeRanges . .               . .   .   .   .    .    .       .       . .       .       . .    6-5
                 SetActiveAdapter . . .             . .   .   .   .    .    .       .       . .       .       . .    6-5
                 GetServerConfiguration .           . .   .   .   .    .    .       .       . .       .       . .    6-5
                 StopEmulation . . . .              . .   .   .   .    .    .       .       . .       .       . .    6-6
                 StartCapture . . . .               . .   .   .   .    .    .       .       . .       .       . .    6-6
                 StopCapture . . . .                . .   .   .   .    .    .       .       . .       .       . .    6-6
                 IsCapturing . . . . .              . .   .   .   .    .    .       .       . .       .       . .    6-6




                                                                                                                           EXHIBIT A--145
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  147
                                                          7 of   of PageID
                                                               128  464 PageID #: 914
                                                                           #: 235




              vCat for Mobile User Manual
          4



                  UpdateEmulation . . .      .   .   .   .   .   .   .   .   .   .   .   .   .    6-7
                  StartEmulation . . . .     .   .   .   .   .   .   .   .   .   .   .   .   .    6-7
                  GetIdentifiers . . . .     .   .   .   .   .   .   .   .   .   .   .   .   .    6-7
                  ResetDriver . . . . .      .   .   .   .   .   .   .   .   .   .   .   .   .    6-7
                  DeleteExcludeRange . .     .   .   .   .   .   .   .   .   .   .   .   .   .    6-8
                  AddExcludeRange . . .      .   .   .   .   .   .   .   .   .   .   .   .   .    6-8
                  GetPacketListIds . . .     .   .   .   .   .   .   .   .   .   .   .   .   .    6-9
                  GetProductVersion . .      .   .   .   .   .   .   .   .   .   .   .   .   .    6-9
                  UpdateAdvanceEmulation     .   .   .   .   .   .   .   .   .   .   .   .   .    6-9
                  DeleteAllExcludeRanges .   .   .   .   .   .   .   .   .   .   .   .   .   .   6 - 10

              Chapter 7      Network Emulation Specifications . 7 - 1




                                                                                                          EXHIBIT A--146
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  148
                                                          8 of   of PageID
                                                               128  464 PageID #: 915
                                                                           #: 236




                                                                     vCat for Mobile Introduction
                                                                                                       1-1
                                                                                        Chapter 1




                                                                                           1
             vCat for Mobile Introduction                                                      1

                  vCat for Mobile™ virtualizes real-world mobile network conditions within test-
                  ing environments, making test results more reliably predictive of how an appli-
                  cation will behave for end users. It is comprised of the following components:


             vCat for Mobile
                  vCat for Mobile tests application performance under a variety of current and
                  potential network and mobile conditions. In Multi-User Mode many users can
                  run network virtualization tests simultaneously and run tests directly from
                  mobile devices, in addition to stationary devices. Embedded transaction
                  marking and a direct connection to Shunra’s Global Library is also provided. In
                  Single-User Mode, tests can include multiple flows.
                  vCat for Mobile is equipped with a REST API and a CLI that facilitate the
                  remote management of tests and integration with load tools.


             Network Editor
                  The Network Editor, used in Single-User Mode, defines simple and complex
                  network scenarios by creating and modifying scripts to emulate your specific
                  network conditions. These files can be defined in the Network Editor, or
                  recordings can be obtained from the Shunra NetworkCatcher and saved in the
                  .ntxx format.


             Transaction Manager
                  Shunra's Transaction Manager used in Single-User Mode, marks transaction
                  times in vCat for Mobile tests that can be used to identify the transactions in
                  Shunra Analytics and note transaction response times.




                                                                                                    EXHIBIT A--147
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page  149
                                                          9 of   of PageID
                                                               128  464 PageID #: 916
                                                                           #: 237




               vCat client Manual
         1-2
               Chapter 1



               Shunra Analytics
                    Shunra Analytics assists in pinpointing factors that negatively impact an appli-
                    cation's operation across a network. Shunra Analytics conducts an analysis
                    based on test results generated using vCat for Mobile in both modes, then dis-
                    plays the resulting data in informative reports that provide insight into an
                    application's operation. Shunra Analytics enables the identification and diag-
                    nosis of the sources of poor performance.




                                                                                                  EXHIBIT A--148
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           10 150 of 464
                                                              of 128     PageID
                                                                     PageID     #: 917
                                                                            #: 238




                                                      Installing and Configuring vCat for Mobile
                                                                                                    2-1
                                                                                      Chapter 2




                                                                                          2
             Installing and Configuring vCat for
             Mobile                              2

                  This section provides information regarding the installation, configuration and
                  setup and licensing of vCat for Mobile, including.:
                  ) System Requirements: (page 2-1) lists system requirements for host
                       machines
                  ) vCat for Mobile Installation: (page 2-3) provides instructions on how
                       to install vCat for Mobile
                  ) Upgrade during silent install can be enabled and client data is
                       retained.: (page 2-4) provides instructions on how to conduct a silent
                       installation of vCat for Mobile
                  ) Silent Uninstall: (page 2-5) provides instructions on how to conduct a
                       silent uninstallation of vCat for Mobile
                  ) vCat for Mobile Licensing: (page 2-5) provides instructions on how to
                       obtain a license for vCat for Mobile


             System Requirements
                  The minimum requirements for vCat for Mobile and Network Editor are as fol-
                  lows:

                  Processor               Dual core processor or higher

                  Memory                  2 GB RAM (minimum), 4 GB RAM (recommended)

                  Hard Disk               20 GB of free disk space

                  Network Adapter         1 Gigabit Ethernet adapter; note that Multi-User
                                          mode or certain Single-User mode scenarios require
                                          2 Gigabit Ethernet adapters




                                                                                               EXHIBIT A--149
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           11 151 of 464
                                                              of 128     PageID
                                                                     PageID     #: 918
                                                                            #: 239




               vCat for Mobile Manual
         2-2
               Chapter 2



                    Desktop Operating        Win 7 SP1 (32/64 bit)
                    System                   Server 2008 SP2 (32/ 64 bit)
                    (English Version only)   Server 2008 R2 SP1 (64 bit)
                                             Server 2003 SP2 (32/64 bit)
                                             Server 2003 R2 SP2 (32/64 bit)
                                             XP Professional SP3 (32 bit)
                                             XP Professional SP2 (64 bit)

                    Browsers                 Firefox 10 and higher
                                             Chrome 17 and higher
                                             Internet Explorer 9.0 and higher

                    Mobile Operation         iOS: 5.x and higher
                    Systems                  Android: 2.2 and higher

                    Note: WinPcap 4.1.2 must be installed prior to installation of vCat for Mobile.
                    The following prerequisites will be installed during the installation if not already
                    present:
                    - Java Runtime Environment 6.0 update 24 (32 bit); 7.0 (32 bit) also supported
                    - Microsoft .NET Framework 4.0 Full


                    Setting up the Testing Environment
                    The vCat for Mobile machine should be deployed and used as a router
                    between the clients’ network and the server’s network.
                    The networks must be configured so that traffic between the clients and
                    server under test will pass through the vCat for Mobile machine.
                    NAT devices cannot be placed between the client(s) participating in the tests
                    and the vCat for Mobile machine.
                    Refer to the Deployment Best Practices document.

                    Enabling Windows ICS (Internet Connection
                    Sharing)
                    Windows ICS (Internet Connection Sharing) routes traffic between the
                    two network adapters and provides NAT.




                                                                                                           EXHIBIT A--150
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           12 152 of 464
                                                              of 128     PageID
                                                                     PageID     #: 919
                                                                            #: 240




                                                           Installing and Configuring vCat for Mobile
                                                                                                             2-3
                                                                                               Chapter 2



                  To Enable Windows ICS:
                  1 From the Control Panel, open Network and Internet > Network and Shar-
                      ing Center; in the Internet area two network connections should be
                      active.
                  2 Open the Local Area Connection on the Server (side adjacent to the
                      server or Internet).
                  3 Select Properties > Sharing.
                  4    Enable ICS by selecting “Allow other network users to connect through
                       this computer’s Internet connection” and click OK.




                  vCat for Mobile Installation
                  To install vCat for Mobile, open the, and follow the directions in the Setup;
                  reboot required.
                  Note: The system time, time zone and daylight savings settings must be synchronized
                  for Shunra Analytics to be able to conduct analysis. In addition, the time settings must
                  be synchronized with the Shunra License Server machine’s settings.


                  Changing the vCat for Mobile Port
                  By default, vCat for Mobile uses port 8182.
                  To change the port:
                  1 Ensure that no emulations are currently running.
                  2    Open the configuration folder, by default C:\Program Files\Shunra\conf
                  3    Open the file: vCat.properties
                  4    Change:




                                                                                                         EXHIBIT A--151
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           13 153 of 464
                                                              of 128     PageID
                                                                     PageID     #: 920
                                                                            #: 241




               vCat for Mobile Manual
         2-4
               Chapter 2


                         com.shunra.vcat.port=8182
                         to
                         com.shunra.vcat.port ="X"
                    5    Save the file.
                    6    Open the config.properties
                    7    Change:
                         Y com.shunra.bootstrapper.port="X"
                    8    Restart the services:
                         Y Shunra Watchdog
                         Y Shunra Performance Counters
                    9    To access vCat for Mobile applications, in the browser change the port
                         for the Multi-User console, Network Editor and License Manager.


               Upgrade
                    Upgrade during silent install can be enabled and client data is retained.
                    To upgrade from vCat v7.0 and earlier:
                    1 Uninstall vCat, then install vCat for Mobile v8.5. To upgrade from vCat
                        v8.0:Open the vCatSetupWizard.exe, and follow the instructions.
                    2 Copy existing result folders, by default:
                        Y \%ProgramData%\Shunra\vCat for Mobile or
                        Y \%AppData%\Shunra\vCat for Mobile
                        To the results folder selected in the Setup, by default:
                        Y \%ProgramData%\Shunra\vCat for Mobile\Runs
                        Y or \%AppData%\Shunra\vCat for Mobile\Runs.

                    Silent Installation
                    vCat for Mobile can be installed (and uninstalled) silently.
                    Note: When performing silent installation of vCat client, you must be logged in as a
                    local Administrator.
                    Verify that all system requirements are met before beginning installation. You will not
                    be notified if silent installation fails.

                    To silently install vCat for Mobile:
                    1 Copy the file vCat_setup.exe to a convenient location.




                                                                                                              EXHIBIT A--152
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           14 154 of 464
                                                              of 128     PageID
                                                                     PageID     #: 921
                                                                            #: 242




                                                          Installing and Configuring vCat for Mobile
                                                                                                           2-5
                                                                                             Chapter 2



                  2   From the Start menu, choose Run; then type CMD.
                         In the Command window, navigate to the location of the file copied in
                         step 1, and type:vcat_setup.exe /s /v"PORT=<port number>
                         [INSTALLDIR=\"<path to install dir>\"]
                         [ENABLE_REMOTE=TRUE | FALSE]
                         [REBOOT_IF_NEED=TRUE | FALSE]
                         [DATA_FOLDER=\"<path to data dir>\"]"

                       Note: the port used by Analytics is used by the vCat for Mobile if already
                       installed; ENABLE_REMOTE adds the port to the firewall

                      Example:
                         vcat_setup.exe /s /v"/qn PORT=8182
                         ENABLE_REMOTE=TRUE"

                       Note: Even if the if the ENABLE_REMOTE=FALSE option is used during
                       installation, the machine will need to be rebooted before vCat is operational.


             Silent Uninstall
                  vCat for Mobile can be uninstalled silently.
                  Note: When performing silent uninstallation of vCat for Mobile, you must be logged in
                  as a local Administrator.

                  To silently uninstall vCat for Mobile:
                  1 From the Start menu, choose Run; then type CMD.
                  2   Type:
                      vcat_setup.exe /s /removeonly /v"[PORT=<port
                      number>][REBOOT_IF_NEED=TRUE | FALSE] "

                      PORT - optional, removes the port from the firewall


             vCat for Mobile Licensing
                  vCat for Mobile licensing provides various options for licensing. Initially, vCat
                  for Mobile comes with a fully-featured evaluation license of 2 days.
                  Depending upon your license agreement, you can:




                                                                                                        EXHIBIT A--153
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           15 155 of 464
                                                              of 128     PageID
                                                                     PageID     #: 922
                                                                            #: 243




               vCat for Mobile Manual
         2-6
               Chapter 2


                    ) Upload a license file (see To upload a license file::)
                    ) Check out a license for a limited period from a local license server (see To
                         check out a license from a local license server (online):)
                    For information about installing the Shunra License Server, refer to the Shunra
                    License Server Installation and Configuration document.
                    To access the Shunra License Manager:
                    1   From the Start menu (Start > Programs > Shunra) select Shunra
                        License.
                    The status of the license is displayed.




                    T




                    To upload a license file:
                    1 Select the Update License button.
                    2    In the Update via, select the File radio button.
                    3    Select Download product key and save the fingerprint file (.c2v) on
                         the local machine.




                                                                                                  EXHIBIT A--154
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           16 156 of 464
                                                              of 128     PageID
                                                                     PageID     #: 923
                                                                            #: 244




                                                        Installing and Configuring vCat for Mobile
                                                                                                         2-7
                                                                                           Chapter 2




                  4   Attach the product key file (.c2v) to an email message and sent to
                      license@shunra.com
                      Or
                      Select Send Shunra your customer details and attach product
                      key to attach the license file.
                  5   After the license file (.V2C) is received from Shunra, save the updated key
                      file on the local machine.
                  6   Select the folder icon beside the File box and download the (.V2C) file.
                  7   Click Update. The updated license details are displayed in the Shunra
                      License Manager main page.
                      Note: If vCat for Mobile is open in a browser window, after updating the license
                      close and reopen the window.

                  To check out a license from a local license server (online):

                  Note: The offline method must be used when the license client cannot
                  communicate with the licensing server using TCP port 1947; refer to the
                  Shunra vCat License Server Installation and Configuration Guide.
                  1   From Start > Programs > Shunra, open the Shunra License Manager (local-
                      host:8182/Shunra/license).
                  2   Select the Update License button.
                  3   Select Local licensing server radio button.




                                                                                                     EXHIBIT A--155
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           17 157 of 464
                                                              of 128     PageID
                                                                     PageID     #: 924
                                                                            #: 245




               vCat for Mobile Manual
         2-8
               Chapter 2


                    4    In the Local server address, select the machine on which the license server
                         is installed. If the License Server does not appear in the list, but is reach-
                         able using TCP port 1947, type the license server hostname or IP in the
                         Local server address box.
                    5    Enter the number of days required in the License duration box, and click
                         Checkout license. The updated license details are displayed in the Shunra
                         License Manager main page.
                         Note: If vCat for Mobile is open in a browser window, after updating the license
                         close and reopen the window.




                    To check in a license to a local license server (online):
                    1 From Start > Programs > Shunra, open the Shunra License Manager (local-
                        host:8182/Shunra/license).
                    2 Select the Update License button.
                    3    Select Local licensing server radio button.
                    4    Click Return license.


               Log Files
                    Shunra products’ log files are located by default in \Program Files or \Program
                    Files (x86)\Shunra\logs.
                    The vCat for Mobile Agent writes to the System Event log if errors occur; the
                    source name is VCatLogSource.




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Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           18 158 of 464
                                                              of 128     PageID
                                                                     PageID     #: 925
                                                                            #: 246




                                                              Conducting Network Virtualization
                                                                                                      3-1
                                                                                        Chapter 3




                                                                                            3
             Conducting Network Virtualiza-
             tion                           3:

                  vCat for Mobile provides network virtualization on mobile and stationary
                  devices, and includes integrated transaction marking, view of running statistics
                  and Performance Highlights reports.
                  vCat for Mobile can run in two modes, but not simultaneously:
                  ) Multi-User mode: to conduct tests directly from mobile and stationary
                      devices; more than one user can run tests simultaneously. To leverage this
                      mode, you will normally want to configure your system as a router.
                  ) Single-user mode: to conduct tests that include single or multiple flows,
                      but are run by a single user. In this mode, the system that is running vCat
                      for Mobile may operate as a router to test multiple devices, or vCat for
                      Mobile can impair applications running locally in the same execution
                      environment that is running vCat for Mobile.
                  The vCat for Mobile Agent displays the status of both modes as either running
                  or not running (see Conducting Network Virtualization in Single-User
                  Mode on page 3-14).


             Viewing and Setting the Active Adapter
                  The Active Adapter determines the NIC through which impairments are
                  applied to the traffic and packets are captured.
                  When the vCat for Mobile machine routes traffic between clients (such as a
                  mobile device) and a server, select the adapter that is on the Client side.
                  When the transactions are conducted on the vCat for Mobile PC (when the
                  vCat for Mobile PC is the client), and if more than one adapter is present,
                  select the adapter that is used to access the Server(s) associated with the test.




                                                                                                  EXHIBIT A--157
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           19 159 of 464
                                                              of 128     PageID
                                                                     PageID     #: 926
                                                                            #: 247




               vCat for Mobile Manual
         3-2
               Chapter 3


                    To view and set the Active Adapter:
                    1 Open the vCat for Mobile Agent (Start > Programs > Shunra > vCat for
                        Mobile > vCat Agent).
                         Note: The vCat Agent is located in the Notifications and Icons area in the taskbar
                         when active.

                    2    In the vCat for Mobile Agent, select Set Active Adapter.




                    3    If required select another adapter from list. Select the required Adapter
                         and mark Client Side or Server Side (see explanation above).


               Conducting Tests in Multi-User Mode
                    Multi-User mode provides for testing scenarios in which multiple users can
                    conduct independent tests simultaneously, from various devices. Many users
                    can run tests on their mobile and/or stationary devices simultaneously and
                    perform a HTTP analysis from these devices.
                    The Multi-User Console web interface provides management functions such
                    as monitoring and controlling devices, tests and network profiles. You can con-
                    duct tests on mobile devices and view the throughput on the device; tests can
                    also be managed from the Multi-User console.

                    HTTP Port Settings
                    vCat for Mobile analyzes the HTTP traffic that traverses port 80 (default port).




                                                                                                          EXHIBIT A--158
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           20 160 of 464
                                                              of 128     PageID
                                                                     PageID     #: 927
                                                                            #: 248




                                                              Conducting Network Virtualization
                                                                                                       3-3
                                                                                         Chapter 3



                  To add or modify the port settings:

                  1   Click the Settings icon          .
                  2   Add or modify the required ports, each separated by a comma.




                  Network Profiles
                  Profiles define the conditions for the test. Theyy can be based on Shunra’s
                  Global Library recordings, or can be set manually.
                  The imported
                         p       profiles
                                 p        are recordingsg of mobile conditions between two
                  points. These recordingg files are stored in the Shunra Global Libraryy which is a
                  p
                  regularly
                    g     y updated,
                             p       p
                                     pre-populated
                                          p p          set of more than 15 million recorded real-
                  world data points of point-to-point network conditions recorded around the
                  world.
                  You can manuallyy define specific
                                             p      network conditions for an individual test and
                  then save the Profile to be used in other tests.
                  To import a Profile:
                  1 In the Network Profiles tab the followingg general
                                                                g       profiles
                                                                        p        are displayed
                                                                                        p y
                      (these profiles
                             p        are alreadyy imported
                                                     p      and do not require
                                                                         q      Internet access):
                      Y 3G: latency 75 ms, download 780 Kbps, upload 330 Kbps, packet
                           loss 0%
                      Y Edge: g latency 200 ms, download 100 Kbps, upload 100 Kbps, packet
                           loss 0%
                      Y LTE: latencyy 40ms, download 10,000 Kbps, upload 7500 Kbps,
                           packet loss 0%
                           p
                      Y DSL: latency 25ms, download 2000 Kbps, upload 256 Kbps, packet
                           loss 0%
                      Y 100% Loss: latencyy 0 ms, download 10000 Kbps, upload 10000
                           Kbps, packet loss 100%




                                                                                                  EXHIBIT A--159
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           21 161 of 464
                                                              of 128     PageID
                                                                     PageID     #: 928
                                                                            #: 249




               vCat for Mobile Manual
         3-4
               Chapter 3


                         Y Veryy Bad Network: latencyy 500 ms, download 1000 Kbps, upload
                              1000 Kbps, packet loss 10%
                    2    To import
                               p a different profile
                                               p      from the Shunra Global Library, click "+"
                         (internet access required).




                    3    In the From-To, select the Mobile and Server locations, such as the name
                         of a city or state.




                    4    In the Connection Properties, define the Technology, Carrier and Time of
                         day.
                         Note: The Technology and Carrier are related to the Client Location.




                                                                                                    EXHIBIT A--160
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           22 162 of 464
                                                              of 128     PageID
                                                                     PageID     #: 929
                                                                            #: 250




                                                              Conducting Network Virtualization
                                                                                                        3-5
                                                                                         Chapter 3




                  5   Select the forward arrows and choose one of the Communication quality
                      options.
                  6   If a WiFi connection was selected, select the required bandwidth.




                  7   Select the check mark to import the Profile.
                  After the success message
                                          g displays,
                                                 p y the pprofile can be used in tests (it will be
                  listed in the Network Profiles area when defining a test).
                  To define a Custom Network Profile:
                  1 In the Start new test page, Network Profile Custom tab, enter values for
                      the following:
                      Y Latency (between 0-8000 ms)
                      Y Packet loss (between 0-90%)
                      Y Bandwidth (between 2.4 - 10,000,000 Kbps)




                                                                                                     EXHIBIT A--161
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           23 163 of 464
                                                              of 128     PageID
                                                                     PageID     #: 930
                                                                            #: 251




               vCat for Mobile Manual
         3-6
               Chapter 3




                    2    Click Save as profile to be able to use in additional tests (this example
                         shows Network Profiles on a mobile phone).




                    Devices
                    From the Welcome page, by default the Devices page displays the registered
                    devices including the running and idle devices; the Icon and List view can be
                    toggled with the icons at the top.




                                                                                                     EXHIBIT A--162
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           24 164 of 464
                                                              of 128     PageID
                                                                     PageID     #: 931
                                                                            #: 252




                                                                 Conducting Network Virtualization
                                                                                                     3-7
                                                                                        Chapter 3



                  Note: You can search for a device using the Search bar at the top.

                  To add a device:
                  1 To add a device from the Multi-User Console (for example when register-
                      ing a number of devices at the beginning a project), in the Devices page,
                      click the "+" icon at the top right.
                  2 Click the "Click here" link in the page.




                  3    In the Add Device page, select a device type and enter the Device name.




                  4    Click Add.
                  To delete a device:
                  Devices can only be deleted from the Multi-User Console.




                                                                                                 EXHIBIT A--163
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           25 165 of 464
                                                              of 128     PageID
                                                                     PageID     #: 932
                                                                            #: 253




               vCat for Mobile Manual
         3-8
               Chapter 3


                    1    In the Devices page, select the device.
                    2    Click the Delete device button (at the top right).

                    Starting a Test from a Device
                    When starting a test using Multi-User mode on a mobile or stationary device,
                    no prior configuration is required.
                    To start a test from a device:
                    1 In a supported browser(see System Requirements on page 2-1), type:
                        http://<vCat for Mobile host IP>:8182/shunra/mobile
                         Note: Port 8182 is used by default; to change the port, see Changing the vCat
                         for Mobile Port, page 2-3.

                    2    If the Device Registration page displays, connect as an Registered device;
                         for new devices, select Add New Device.
                    3    Click Start New Test.
                    4    Select Capture packets if analysis is required (the packet list is essential
                         for analysis, which uses the packet list data to produce the analytics
                         reports and recommendations).
                    5    Depending upon how you are going to conduct transaction marking,
                         deselect or leave the Mark transaction per network profile selected,
                         see Network Profiles.
                    6    Select or define a Network Profile.
                    7    Select Start. Conduct the required transactions (see Transaction Mark-
                         ing).
                    8    Select Stop at the completion of the test.

                    Starting a Test from the Multi-User Console
                    To run a test from the Multi-User Console, select a Registered device, or regis-
                    ter a new device.
                    To start a test from the Multi-User Console:
                    1 Click the device icon, and then click Start New Test.




                                                                                                        EXHIBIT A--164
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           26 166 of 464
                                                              of 128     PageID
                                                                     PageID     #: 933
                                                                            #: 254




                                                                Conducting Network Virtualization
                                                                                                             3-9
                                                                                             Chapter 3




                  2   In the Start New Test page, enter the device’s IP.
                      Note: To determine your mobile device’s IP, on the device check the Wireless
                      Settings/Properties. The IP is automatically detected when starting a test from a
                      Device.

                  3   Select Capture packets if analysis is required. The packet list is essential
                      for analytics, which use the packet list data to produce the analytics
                      reports and recommendations.
                      Note: For Packet Capture configuration, see Packet Capture Buffer
                      Settings(page 3-9).

                  4   Select or define a Network Profile.
                  5   Depending upon how you are going to conduct transaction marking,
                      deselect or leave the Mark transaction per network profile selected;
                      see Network Profiles.
                  6   Select Start.
                  7   Conduct the required transactions (see Transaction Marking).
                  8   Select Stop at the completion of the test.

                  Packet Capture Buffer Settings
                  The PacketListMaxSizeMB defines the maximum size of the packet list buffer
                  (comprises all devices in a test). The default maximum size is 300 MB (note that
                  the buffer cannot be more than 25% of the RAM).




                                                                                                          EXHIBIT A--165
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           27 167 of 464
                                                              of 128     PageID
                                                                     PageID     #: 934
                                                                            #: 255




                vCat for Mobile Manual
         3-10
                Chapter 3


                     When "IsPacketListCaptureCyclic" is set to ’true’ (default setting), results over-
                     write existing results when the buffer is full. When ’IsPacketListCaptureCyclic’ is
                     set to ’false’, new results are not retained when the buffer is full.
                     To change the Packet Capture buffer settings:
                     1   Stop any network virtualizations that are currently running.
                     2    Open the configuration folder, by default
                          C:\Program Files\Shunra\conf
                     3    Open the file: userconfig
                     4    Change: ’PacketListMaxSizeMB’ to the required value.
                     5    Save the file.
                     6    Restart the service: Shunra Watchdog

                     Viewing Runtime Information
                     When a test is running, information including throughput is displayed in the
                     Running now tab. The Tested network profiles area displays all profiles used in
                     the test.
                     To view runtime information:
                     1 On the Multi-User Console, from the Devices page, select the Device.
                         Information is displayed in the Running now area.

                     Runtime Updates
                     You can update Network Profiles while the test is running, from the device and
                     from the Multi-User Console.
                     To change the Network Profile in a running test:
                     1 From the Device, select the Update button.
                         Or
                         In the Multi-User Console > Device page, click the link below Network
                         profile (blue).




                                                                                                       EXHIBIT A--166
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           28 168 of 464
                                                              of 128     PageID
                                                                     PageID     #: 935
                                                                            #: 256




                                                                Conducting Network Virtualization
                                                                                                           3-11
                                                                                            Chapter 3



                  2    Select another Predefined profile or change the metrics in a Custom pro-
                       file.
                  3    Select the Update button.

                  Transaction Marking
                  When transactions are not marked, the packet list capture file will not have
                  markers to denote the beginning and end of each transaction, and the analyt-
                  ics will only show one large transaction. In this case it is difficult to draw conclu-
                  sions from the analytics results that can be used to improve application
                  performance.
                  Therefore, in vCat for Mobile, transactions are created automatically every
                  time the profile is updated and 'Mark transaction per network profile', the
                  default setting, is selected.
                  However, for testers who prefer to mark transactions according to the action,
                  such as a login, manual transactions are also available. A manual transaction
                  overrides the a 'Mark transaction per network profile' feature for the duration
                  of the test.
                  Manual transaction timing is conducted via the Multi-User Console and on the
                  device, which means that the transaction is started and stopped on the Multi-
                  User Console, but the transaction is conducted on the device.
                  To mark transactions:
                  1 In the Multi-User Console, when a test is running, select Start Transaction.
                  2    Perform the transaction on the device.
                  3    When the transaction has completed, click the Stop transaction icon.
                       Note: The transaction can be deleted and the transaction name is editable until
                       the test is completed.


                  Performance Highlights Report
                  Tests in which packets were recorded are saved; the Capture packet option
                  must be enabled and there must be at least one complete client-to-server
                  transaction to an application server.
                  The Performance Highlights report displays certain results after a test, includ-
                  ing the total performance score of the transaction, individual optimization




                                                                                                         EXHIBIT A--167
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           29 169 of 464
                                                              of 128     PageID
                                                                     PageID     #: 936
                                                                            #: 257




                vCat for Mobile Manual
         3-12
                Chapter 3


                     rules categorized for Mobile or Desktop, data breakdown and errors. Analysis
                     is only conducted on the HTTP related traffic.
                     For additional analytics results, including precise performance data such as
                     load times, component download analysis, response time breakdown etc., use
                     Shunra Analytics. Note that results in the Performance Highlights may differ
                     somewhat from the results in the Shunra Analytics, as the Performance High-
                     lights detects additional rule violations.
                     The Total Duration shows the time from when a the start of a transaction is
                     marked until the end of the transaction is marked, either in the UI or via the
                     API. In the Performance Highlights Report, the Network Time is the dura-
                     tion between the first packet in the transaction until the last packet in the
                     transaction.
                     Note: The Network Time displayed in Shunra Analytics for the same transaction may
                     be longer since Shunra Analytics also analyzes non-HTTP traffic.

                     To view test results:
                     1 In the Completed tests list, select the required test.
                     2    If more than one transaction is present, select the required transaction.
                          The Performance Highlights Report displays.




                                                                                                         EXHIBIT A--168
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           30 170 of 464
                                                              of 128     PageID
                                                                     PageID     #: 937
                                                                            #: 258




                                                                 Conducting Network Virtualization
                                                                                                     3-13
                                                                                        Chapter 3



                  Saving Test Results for Shunra Analytics
                  To download test results:
                  1 In the Multi-User Console, Devices page, click the required device’s icon.
                  2   In the results list, click the required test.
                  3   Click the arrow (top-right) and save the .shunra file. This file can be
                      imported into Shunra Analytics once downloaded.
                  Results are downloaded from the \%ProgramData%\Shunra\vCat for
                  Mobile\Runs or \%AppData%\Shunra\vCat for Mobile\Runs.
                  To change the location of the results folder:
                  1 Ensure that no emulations are currently running.
                  2 Open the configuration folder, by default C:\Program Files\Shunra\conf
                  3 Open the file: vcat.properties
                  4 Change:
                      com.shunra.vcat.datafolder=C:\ProgramData\Shunra\vCat for
                      Mobile\Runs (or \%AppData%\Shunra\vCat for Mobile\Runs)
                      to
                      com.shunra.vcat.datafolder="X"
                  5 Save the file.
                  6 Restart the service: Shunra Watchdog
                  7 Move any results files to the new location.




                  Deleting Tests
                  To delete some or all tests:
                  1 In the Devices page, click the Delete button.
                  2   Select certain tests, or select the "Completed tests" radio button to delete
                      all results.




                                                                                                 EXHIBIT A--169
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           31 171 of 464
                                                              of 128     PageID
                                                                     PageID     #: 938
                                                                            #: 259




                vCat for Mobile Manual
         3-14
                Chapter 3


                     3    Click the check mark to delete, or the "x" to cancel.

                     Switching between Multi-User and Single-User
                     Mode
                     Multi-User and Single-User Mode cannot run simultaneously; therefore to
                     switch between modes, stop the mode either via the UI or the API.
                     Note: To determine if either mode is running, open the vCat for Mobile Agent from
                     the Start menu or System Tray. It will be in the System Tray if it has been opened. If a
                     test is running, the vCat for Mobile Agent displays with a green icon; the tooltip
                     indicates if it is running in Multi-User or Single-User Mode.

                     To stop Multi-User mode from the UI:
                     1 Stop all tests, either from the devices or from the Multi-User Console.
                     Note: Stopping Multi-User mode using the API or vCat for Mobile Agent will delete all
                     currently running tests.

                     To stop either mode using the vCat for Mobile Agent:
                     1 Select Stop in the vCat for Mobile Agent menu.
                     To stop either mode using the API:
                     1 Use the Force Stop Emulation command (refer to Force Stop Emula-
                         tionon page 5-17).


                Conducting Network Virtualization in Single-
                User Mode
                     The vCat for Mobile Agent displays the status of network virtualizations run-
                     ning in Single-User mode or Multi-User mode (when a network virtualization
                     is running, the Stop option is available).
                     To conduct a network virtualization in Single-User Mode:
                     1 In the vCat for Mobile Agent (Start > Programs > Shunra > vCat for
                         Mobile > vCat Agent).
                     2 If you have a profile (.ntxx) you can import a network virtualization file.
                         To define a new virtualization scenario refer to Chapter 4, Using the
                         Shunra Network Editor. The .ntxx file can include a number of flows to
                         emulate a variety of locations and/or conditions.




                                                                                                                EXHIBIT A--170
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           32 172 of 464
                                                              of 128     PageID
                                                                     PageID     #: 939
                                                                            #: 260




                                                            Conducting Network Virtualization
                                                                                                   3-15
                                                                                      Chapter 3



                      To conduct a test with an .ntxx file, in the vCat Agent, select Start test
                      from profile... option.
                  3   Click Start test... to define Latency, Packet Loss and/or Bandwidth
                      parameters. Select Capture packets (Client side) to use the packet list
                      data to produce the analytics reports and recommendations.




                      OR
                      Click Start test from profile…. to import the network conditions and
                      settings.
                  4   Conduct the transactions using the Shunra Transaction Manager (see the
                      Shunra Transaction Manager manual); for automation, see vCat for
                      Mobile Web Service API.
                  5   After the test has completed, click Stop. The vCat for Mobile Agent con-
                      tinues to run in the Taskbar until Exit is selected.
                  6   Select Yes to stop the emulation, or Yes and Copy to save the results file
                      (.shunra) to a second location in addition to the default Results folder
                      selected in the installation.
                  7   This file can be imported into Shunra Analytics; for further information,
                      refer to the Shunra Analytics manual.


             The Cleanup Threshold
                  The Cleanup Threshold is a mechanism for deleting network virtualization
                  results to free up disk space before starting a network virtualization.
                  Test results are saved in the vCat for Mobile Data folder as defined during
                  setup (by default in \%appdata%\Shunra\vCat for Mobile\Runs or \%program-
                  data%\Shunra\vCat for Mobile\Runs).




                                                                                               EXHIBIT A--171
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           33 173 of 464
                                                              of 128     PageID
                                                                     PageID     #: 940
                                                                            #: 261




                vCat for Mobile Manual
         3-16
                Chapter 3


                     When starting an emulation, if the defined free disk threshold isn't met, the
                     results folders will be deleted one by one from the oldest until the threshold is
                     restored, or until only two folders are left.
                     If only two folders are left and the threshold wasn't restored the emulation will
                     not start, consider deleting unnecessary data or reducing the threshold.
                     The required available disk space (the threshold) is equal to the calculation of
                     these values:
                         ’MinNumOfPaketListSpace’ x ’PacketListMaxSizeMB’
                     Where:
                     PacketListMaxSizeMB: the maximum size of the packet list (comprises all
                     devices in a test).
                     MinNumOfPakectListSpace: a positive integer
                     For example:
                     If MinNumOfPakectListSpace=3, the packet list maximum size is 100MB, and
                     there are more than two results folders, the Cleanup Threshold would be acti-
                     vated if the available disk space were less than 300 MB.
                     The Cleanup Threshold is activated if ’IsCleanupEnabled’ to ’true’ and the
                     other conditions are met. Messages will appear both in the vCat for Mobile
                     Agent and also will be written in logs.
                     To modify the Cleanup Threshold:
                     1 Ensure that no emulations are currently running.
                     2    Open the configuration folder, by default C:\Program Files\Shunra\conf
                     3    Open the file: vcat.properties
                     4    Set ’IsCleanupEnabled’ to ’true’ or ’false’ to enable or disable Cleanup.
                     5    If required, modify ’PacketListMaxSizeMB’ to the required value.
                     6    If required, modify ’MinNumOfPakectListSpace’ to the required value.
                     7    Save the file.
                     8    Restart the service: Shunra Watchdog


                The Perfmon Counters
                     The Perfmon Counters provide runtime information on each vCat for Mobile
                     flow on which network virtualization is performed.




                                                                                                      EXHIBIT A--172
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           34 174 of 464
                                                              of 128     PageID
                                                                     PageID     #: 941
                                                                            #: 262




                                                            Conducting Network Virtualization
                                                                                                  3-17
                                                                                     Chapter 3



                  Note: If these counters are not visible, ensure that the following MS Windows
                  services are running:
                  - Remote Registry
                  - Performance Logs and counters
                  - Performance Counter DLL Host (MS Windows 2008 only)

                  To setup the network virtualization monitors:
                  1 From the Start menu select Run; open Perfmon.
                  2   Click Add.
                  3   In the Add Counters window, right-click Add Measurements.
                  The Shunra Client and Shunra Server counters display the following statis-
                  tics:

                   Counter Name                  Counter Description

                   Bandwidth Util In %           Percentage of outgoing bandwidth used
                                                 by this location during the last second

                   Bandwidth Util Out %          Percentage of incoming bandwidth used
                                                 by this location during the last second

                   Current bps In                Number of bits sent by this location dur-
                                                 ing the last second

                   Current bps Out               Number of bits received by this location
                                                 during the last second

                   Total Throughput In           Total throughput sent by this location.
                   (bytes)

                   Total Throughput Out          Total throughput received by this loca-
                   (bytes)                       tion.

                  Shunra Cloud: Provides wide area network measurements of the Shunra
                  emulation.
                   Counter Name                  Counter Description

                   Latency (msec)                Average latency in the Network during
                                                 the last second




                                                                                              EXHIBIT A--173
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           35 175 of 464
                                                              of 128     PageID
                                                                     PageID     #: 942
                                                                            #: 263




                vCat for Mobile Manual
         3-18
                Chapter 3



                       Packet Loss %       Packet Loss percentage in the Network
                                           during the last second

                       Packet Loss Count   Packet loss count in the Network during
                                           the last second

                       Packet Loss Total   Packet Loss during the entire test




                                                                                     EXHIBIT A--174
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           36 176 of 464
                                                              of 128     PageID
                                                                     PageID     #: 943
                                                                            #: 264




                                                                Using the Shunra Network Editor
                                                                                                     4-1
                                                                                       Chapter 4




                                                                                           4
             Using the Shunra Network Editor 4:

                  The Shunra Network Editor is used to create and edit network scenario files
                  for Single-User mode. Each network scenario file can contain multiple flows, in
                  which each flow represents traffic between two locations or different net-
                  works.
                  The Network Editor model is based upon a network in which the client and
                  server are each adjacent to a gateway. For easy identification, the network file
                  editor calls these gateways "Server Gateway" and "Client Gateway." Data flows
                  between the Client Gateway and the Server Gateway through the WAN.
                  These values can be:
                  ) Manually set in the various parameter tabs of the Network Editor (page 4-
                      8)
                  ) Imported from Shunra NetworkCatcher recordings

             Installing the Network Editor
                  The Network Editor is installed as part of the vCat for Mobile installation, see
                  Chapter 2 Installing and Configuring vCat for Mobile.


             Opening the Network Editor
                  To open the Network Editor:
                  1 From the Start menu > Shunra > vCat for Mobile> Shunra Network Editor
                      OR
                      In a browser, type:
                      http://<vCat for Mobile IP>:8182/shunra/networkeditor/




                                                                                                 EXHIBIT A--175
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           37 177 of 464
                                                              of 128     PageID
                                                                     PageID     #: 944
                                                                            #: 265




               vCat for Mobile Manual
         4-2
               Chapter 4



               Creating Shunra Emulation Profiles
                    A network scenario file emulates network conditions with parameters such as
                    packet loss, latency and bandwidth limitation of the virtualized network.
                    The network scenario file defines the network conditions between two end-
                    points. You can set a series of parameters that characterize the gateways and
                    the WAN. For example, you can set values that represent network phenomena
                    such as latency and packet loss, or hardware settings such as the size of the
                    queues allowed on the gateway.
                    The output of the Network Editor is stored in a .ntxx file.

                    Note: The output of the Network Editor is stored in a (.ntxx) file; files from releases of
                    the Network Editor (.ntx) prior to v8.0 cannot be played in vCat for Mobile. To play a
                    file from a previous version, edit it in the Network Editor; when saved it will be in the
                    .ntxx format. If there are incompatible elements, error messages will indicate what
                    should be modified so that the file can be used.

                    The file can be saved on a shared directory for use by vCat for Mobile users
                    testing emulated network conditions. The appropriate file is sent to each load
                    generator as part of load test initialization. Thus, the individual load genera-
                    tors do not need to be configured to access a shared directory of files.

                    Note: The .ntxx files created by the Network Editor cannot be imported into Shunra’s
                    PerformanceSuite.

                    To create a Shunra Emulation Profile (.ntxx file):

                    Note: Each file can contain multiple flows provided that the IPs do not overlap.

                    1      On the home page, select New.
                    2      Click Add new flow.




                                                                                                             EXHIBIT A--176
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           38 178 of 464
                                                              of 128     PageID
                                                                     PageID     #: 945
                                                                            #: 266




                                                                Using the Shunra Network Editor
                                                                                                      4-3
                                                                                        Chapter 4




                  3   In the New Flow page, set the following parameters as described below:
                      Y Setting Client and Server IP Ranges: (page 4-4) the gateway and its
                           parameters including bandwidth limitations, and packet overhead
                           using configured data or imported values
                      Y Configuring Gateway Parameters: (page 4-5) assists in applying emu-
                           lation parameters between specific IP addresses
                      Y Configuring the WAN Shape: (page 4-8) : set latency and packet loss
                           parameters using imported data, or by configuring values
                  4   After selecting the required options, click Done.
                      The Flow Summary displays all Flows. To edit a file click the pencil icon; to
                      delete a file click the "x"; to delete all files select the table icon.




                                                                                                 EXHIBIT A--177
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           39 179 of 464
                                                              of 128     PageID
                                                                     PageID     #: 946
                                                                            #: 267




               vCat for Mobile Manual
         4-4
               Chapter 4



                    5      Select Save to download the network profile to the browser's default
                           download folder.
                           Note: It is highly recommended to configure the browser to prompt the user to
                           choose the folder at download time.

                    6      The file can be imported into the vCat for Mobile Agent to conduct a
                           network virtualization.

                    Setting Client and Server IP Ranges
                    Network impairments can be limited to and from specified IP addresses (to
                    "include" them) or to refrain from affecting traffic to certain addresses
                    ("exclude" them). Network traffic that is not included in the emulation will not
                    be impaired, and will not be included in monitoring reports.
                    To include or exclude IP addresses:
                    1   In the Client IP Ranges tab, click the "+" icon.




                    Note: Exclude the address of the machine on which the Network Editor is installed.

                    2      Select a Port and Protocol (optional) and click OK.
                    3      Repeat steps 2-3 for all the IP addresses to include or exclude.
                    An IP address can be modified by selecting it and clicking the pencil icon; an IP
                    address can be removed from the list by selecting it and clicking the "x" icon.




                                                                                                           EXHIBIT A--178
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           40 180 of 464
                                                              of 128     PageID
                                                                     PageID     #: 947
                                                                            #: 268




                                                                  Using the Shunra Network Editor
                                                                                                         4-5
                                                                                          Chapter 4



                  The Server IP can be ignored, in which case the complete IP Range is used.

                  The Server’s Sync button        includes the IP Range 1.0.0.0-255.255.255.255
                  and excludes the flow's Client ranges to prevent ambiguous routes.
                  To exclude specific IP Ranges in all running tests:
                  1 Ensure that no emulations are currently running.
                  2   Use the Web Services API or the CLI (refer to vCat for Mobile Web Service
                      API and vCat for Mobile Command Line Interface).
                  3   Restart the service: Shunra Watchdog

                  Defining Packet List Settings
                  The packet list is essential for Shunra Analytics, which use the packet list data
                  to produce the analytics reports and recommendations.
                  To enable Packet List capture:
                  ) In the Packet List icon (located between the Client and Client Gateway),
                      select Enable packet list capture, then click Close.

                  Configuring Gateway Parameters
                  Gateway parameters emulate the behavior of access gateways on real net-
                  works. For example, you can specify the bandwidth or queue limitation a spe-
                  cific gateway imposes on the network. Entering gateway parameters is
                  optional., and the options are the same for both the Client and the Server
                  gateways. The gateway element represents an actual gateway that can be sep-
                  arately configured for incoming and outgoing traffic. Click the Client and
                  Server Gateway tabs to configure the parameter settings.
                  ) Bandwidth Settings
                  ) Queue Settings: (page 4-7)

                  Bandwidth Settings
                  Bandwidth values can be defined or imported from a recording file; upstream
                  and downstream may each have different values.

                  Note: The following instructions are valid for both the upstream and downstream
                  settings.




                                                                                                      EXHIBIT A--179
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           41 181 of 464
                                                              of 128     PageID
                                                                     PageID     #: 948
                                                                            #: 269




               vCat for Mobile Manual
         4-6
               Chapter 4



                    To define the bandwidth values:
                    1 Select Predefined, then choose a preset value (these settings corresponds
                        to common bandwidth settings such as T1, etc.), OR
                        Select Custom, then type a value to select a specific bandwidth
                        (values between 2.4 and 10,000,000 Kbps).




                    2      Click Done.

                    Importing Bandwidth Settings
                    Bandwidth recordings of up to 900 samples can be imported; the imported
                    file is validated, so that incorrect values are not saved.

                    To import recorded bandwidth parameters:
                    1   In the Client and/or Server Gateway tab, select Recorded then click
                        Choose file.




                    2      In the Browse window, select the relevant file. Files which do not contain
                           valid bandwidth parameters are not imported.




                                                                                                        EXHIBIT A--180
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           42 182 of 464
                                                              of 128     PageID
                                                                     PageID     #: 949
                                                                            #: 270




                                                              Using the Shunra Network Editor
                                                                                                   4-7
                                                                                    Chapter 4



                  Queue Settings
                  The Queue Settings define the queue limitations and packet overhead.
                  Queue




                  Queue Limitation
                  This group contains parameters that emulate limitations imposed on the maxi-
                  mum size of IP packet queues at the gateway NIC. If you specify a queue size,
                  vCat for Mobile emulates network behavior by dropping data packets when
                  the queue is full.
                  Check the Queue Limitation box in order to access these parameters:

                  Parameter          Description

                  Queue Size         Select the amount of memory (KB) that the vCat for
                                     Mobile will allocate to the queue.
                  Drop Mode

                  Drop Tail          Select this option for the vCat for Mobile to drop newer
                                     data packets when the queue is full.




                                                                                                EXHIBIT A--181
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           43 183 of 464
                                                              of 128     PageID
                                                                     PageID     #: 950
                                                                            #: 271




               vCat for Mobile Manual
         4-8
               Chapter 4



                    Parameter             Description

                    Random Early          This option provides a more sophisticated queue man-
                    Detection (RED)       agement method. The RED algorithm keeps track of the
                                          average increase in queue occupancy. If it detects an
                                          increase, it signals to the packet source that the queue
                                          may soon be full, by randomly dropping very small
                                          amounts of data packets. In the Keep Queue size
                                          between fields, indicate the minimum and maximum
                                          average occupancy. The system issues signals (by drop-
                                          ping data packets) when the average occupancy fluctu-
                                          ates between the two values. It drops all packets if the
                                          average occupancy exceeds the maximum threshold.

                    Fill mode             Use fixed size: 1500 for each packet
                                          Use actual packet size


                    Packet Overhead
                    If your gateway adds overhead bytes to the IP data that flows through the
                    gateway NIC, use this parameter to specify the number of additional bytes, in
                    order to emulate the bandwidth consumption they impose on the network.
                    To enable packet overhead:
                    1   Check the Packet Overhead box.
                    2      Select:
                           Y Ethernet (add 18 bytes to each packet)
                           Y PPP (add 9 bytes to each packet)

                    Configuring the WAN Shape
                    Note: Packet Effects and Link Faults are always set manually.

                    This section reviews how to set phenomena such as packet loss, latency,
                    dynamic routing effects, and disconnections:
                    ) Latency and Packet Loss: (page 4-9): the latency defines the time it takes
                           an IP packet to cross the WAN; the packet loss determines how many
                           packets are dropped according to different types of calculations




                                                                                                     EXHIBIT A--182
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           44 184 of 464
                                                              of 128     PageID
                                                                     PageID     #: 951
                                                                            #: 272




                                                                Using the Shunra Network Editor
                                                                                                      4-9
                                                                                      Chapter 4



                  )    Packet Effects: (page 4-12): dynamic IP packet routing effects, including
                      out-of-order packets (reordering), duplicated packets, and packet
                      fragmentation
                  ) Link Faults: (page 4-14): possible damages to bit streams and possible
                      network disconnections

                  Latency and Packet Loss
                  Latency is the time it takes an IP packet to cross the WAN. In the Network Edi-
                  tor you can define a fixed latency or a statistically distributed latency. Via a
                  fixed latency, you can emulate a simple WAN. For complex networks, a distrib-
                  uted latency yields a more accurate emulation. Set Latency and Packet Loss
                  parameters using the following modes:
                  ) Custom: to set the latency and packet loss manually
                  ) Recorded: to import a recording of network settings
                  To set Latency and Packet Loss parameters:
                  1 From the WAN tab, select Latency and Packet Loss. To set the parameters
                      manually, skip to Step 3.




                  2   To import a recording, select Recorded and then click Choose file. In the
                      Browse window select the file. In addition select from the following play-
                      back options:




                                                                                                   EXHIBIT A--183
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           45 185 of 464
                                                              of 128     PageID
                                                                     PageID     #: 952
                                                                            #: 273




                vCat for Mobile Manual
         4-10
                Chapter 4




                       Play imported values         While emulating the network, the vCat for
                       sequentially                 Mobile will cyclically use the latency values one
                                                    after the other in the order in which they were
                                                    recorded.
                       Play imported values         While emulating the network, the vCat for
                       randomly                     Mobile will pick one of the recorded values
                                                    randomly, for each packet. This allows you to
                                                    experience random values from the real net-
                                                    work to predict more network scenarios.
                       Multiply latency values      The Playback Factor allows you to predict
                       by,                          future load cases or to prepare some margins
                       Multiply packet loss val-    of service level over the current status.
                       ues by
                                                    In these fields, you can specify a number
                                                    between 0 and 200 percent to have the latency
                                                    and packet loss values multiplied by it. The
                                                    value of 100% means that the vCat for Mobile
                                                    will use the recorded values as they are. The
                                                    value 200 means that each value will be dou-
                                                    bled (multiplied by 200%).
                     3      To define the settings manually, select the Custom radio button.
                     4      To set the Latency values, select one of the following options:
                     ) Fixed Latency: type the number of milliseconds from 0 to 8000 ms
                     ) Uniform distribution: specifies a changing latency over time (also referred
                            to as jitter). Type the minimum and maximum latency values in the
                            Minimum and Maximum boxes. This causes vCat for Mobiles to randomly
                            change the latency between the minimum and maximum values (from 0 to
                            8000 ms).
                            You can limit the change in latency between each two consecutive packets
                            to a specified number. To use this option, check the Limit latency change
                            box and enter the maximum allowed change in milliseconds. For example,
                            if you enter 45, the vCat for Mobile will change the latency by a maximum
                            of 45 milliseconds between two consecutive packets.
                     ) Normal distribution: This option causes latency to fluctuate randomly and
                            non-uniformly around an average value (milliseconds) that you specify in
                            the Average box. This option can be used to emulate jitter conditions.




                                                                                                        EXHIBIT A--184
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           46 186 of 464
                                                              of 128     PageID
                                                                     PageID     #: 953
                                                                            #: 274




                                                                    Using the Shunra Network Editor
                                                                                                      4-11
                                                                                         Chapter 4



                       The Standard Deviation parameter allows you to exert some control over
                       the random change in latency. Entering a value in this parameter sets a
                       range for two thirds of the random values. For example, if the average is
                       600 milliseconds and the standard deviation is 100 milliseconds, two
                       thirds of random latency values will be between 500 and 700.
                  ) Linear Latency: This option allows you to set a range of latency values and
                       to indicate the time it takes latency to increase from the minimum to the
                       maximum value in the range.
                       Enter the range in Minimum and Maximum (from 0 to 8000 ms), and the
                       cycle duration in Graph duration (from 1 to 65535 seconds). For example,
                       if you define a range of 100 to 200 milliseconds and a cycle duration of
                       100 seconds, the vCat for Mobile will increase latency by one millisecond
                       each second.
                  When the vCat for Mobile reaches maximum latency, it cycles back to the min-
                  imum value.
                  To integrate packet loss into the scenario, select a Packet Loss option:

                  Note: Packet loss can also be imported in a recorded file.

                  ) No Packet Loss: Select this option if the WAN behavior you want to
                       emulate is not affected by packet loss. In this case, the vCat for Mobile
                       does not lose any packets and the impairment is not applied to network
                       traffic.
                  ) Periodic Loss: Select this option and enter a number (from 2 to 65535) in
                       the Lose one packet every x packet box, to instruct the vCat for Mobile to
                       discard every xth packet that passes through the emulated WAN. For
                       example, if you enter 8, the vCat for Mobile discards every 8th packet
                       that enters the WAN.
                       The vCat for Mobilecounts packets separately in both directions. It loses
                       the incoming xth packet and the outgoing xth packet.
                  ) Random Loss: This option allows you to set the probability for losing each
                       packet (enter a percentage from 0.01 to 90). For example, entering 2
                       means that each packet has a 2 percent chance of being dropped while
                       passing through the emulated WAN.
                  ) Burst Loss: This option allows you to introduce a "bursty" packet loss
                       model in the emulated WAN, by setting a number of packets to lose
                       (burst size) every time a loss event occurs. You can specify the probability




                                                                                                  EXHIBIT A--185
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           47 187 of 464
                                                              of 128     PageID
                                                                     PageID     #: 954
                                                                            #: 275




                vCat for Mobile Manual
         4-12
                Chapter 4



                            of the loss event (Burst Probability), and the Minimum and Maximum
                            parameters (from 1 to 65535 packets) that specify a range for the random
                            size of each packet loss burst.
                     ) Gilbert-Eliot Loss: This model states that, in terms of packet loss, some
                            networks experience two states: good and bad. You can emulate a good
                            and bad state by specifying an average packet loss percentage in the Lose
                            parameter of the two states (from 0.01% to 100%).
                            In Change State, you specify the chances that the network will leave the
                            specific state and move to the other (from 0.01% to 99.99%). For exam-
                            ple, if the tested network has, at any given time, a 10% chance of moving
                            from good to bad and a 50% chance of moving from bad to good, you
                            specify 10 and 50 in the respective Change State fields.

                     Packet Effects
                     vCat for Mobile can emulate IP routing effects such as disruption of packet
                     order (reordering), packet duplication, and fragmentation, via parameters
                     defined in the Packet Effects tab.




                     To instruct the vCat for Mobile to emulate packet effects, check the box of the
                     effect you want to emulate, and configure the parameters:
                     ) Out of Order: To emulate packet reordering, the vCat for Mobile can
                            generate an out-of-order event, based on the probability set in the
                            Chance parameter (from 1% to 50%), by randomly removing a packet
                            from the data stream. Then it starts counting the incoming packets. It
                            returns the removed packet after the nth packet has entered the vCat for




                                                                                                    EXHIBIT A--186
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           48 188 of 464
                                                              of 128     PageID
                                                                     PageID     #: 955
                                                                            #: 276




                                                                 Using the Shunra Network Editor
                                                                                                       4-13
                                                                                          Chapter 4



                      Mobile. The nth packet is picked randomly from the range that you
                      indicate in the Maximum and Minimum (Packet offset from original
                      location) parameters (from 1 to 64 packets). For example, if you indicate a
                      range of 5 to 10, the vCat for Mobile will return the removed packet
                      randomly to the data stream (after the 5th, or 6th…or 10th packet that
                      follows the removed one). In order to have the vCat for Mobile return all
                      removed packets after a predefined number of incoming packets, the
                      same value can be used for both Minimum and Maximum offset.
                  ) Duplicate Packets: The vCat for Mobile emulates duplication by copying a
                      packet that it selects randomly. The number of copies that will be created
                      when the event occurs is specified in the Minimum and Maximum
                      parameters (from 1 to 20 packets). For example, if you specify a range of
                      2-4 packets, the vCat for Mobile duplicates a packet 2, 3, or 4 times
                      (randomly), when it decides to do so (according to the probability
                      specified in Chance- from 1% to 99%). To instruct the vCat for Mobile to
                      create a pre-defined number of copies, enter the same value in both the
                      Minimum and Maximum parameters. For example, entering 3 in both
                      parameters causes the vCat for Mobile to create 3 copies of the packet
                      when the event occurs.
                  ) Fragmentation: To emulate the packet fragmentation effect you need to
                      set a packet size, in bytes, in the Maximum Transmission Unit parameter
                      (from 64 to 1460 bytes). This would be the maximum size a gateway
                      along the path route would allow (MTU). Bigger packets are likely to be
                      fragmented or discarded when the fragmentation event occurs
                      (according to the probability set in Chance- from 1% to 99%).
                      Whether or not the packets will be eventually fragmented depends on
                      the state of the Do Not Fragment (DF) bit in the packet's IP header and on
                      the policy you define via the options included in the Fragmentation
                      group. If the flag is OFF, the packet is fragmented anyway. If the flag is set
                      to ON, the policy you select applies.
                      A description of the DF=ON policies is as follows:
                          Option              If DF is ON, instructs vCat for Mobile to

                          Ignore Do Not       Fragment the packet.
                          Fragment (DF)
                          bit




                                                                                                  EXHIBIT A--187
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           49 189 of 464
                                                              of 128     PageID
                                                                     PageID     #: 956
                                                                            #: 277




                vCat for Mobile Manual
         4-14
                Chapter 4



                                Option             If DF is ON, instructs vCat for Mobile to

                                Generate ICMP      Discard the packet and inform the packet's
                                Error Messages     source, using an ICMP packet.
                                to Source

                                Do Not Gener-      Discard the packet without informing the
                                ate ICMP Error     packet's source.
                                Messages


                     Link Faults
                     Link faults consist of effects caused by physical link malfunctions, specifically
                     bit errors and disconnections. Bit errors are emulated by instructing the vCat
                     for Mobile to toggle bits at a given frequency. To achieve "disconnection" in
                     the WAN you can instruct the vCat for Mobile to stop responding for a given
                     period. The parameters that help emulate link faults appear when you click
                     the Link Faults tab.




                     You can emulate any of the link errors or all of them. Check the box of the fault
                     type you want to emulate and then enter the parameters described below:

                     ) Bit Error: In the Average Frequency box, type a number of bits (from 102
                            to 1012). Bit toggling will occur every time that the indicated number of
                            bits (on average) has crossed the WAN.
                            In the Minimum and Maximum parameters (Number of toggled bits),
                            enter a range of numbers from 1 to 500. The vCat for Mobile randomly
                            picks a number in the range and toggles as many bits




                                                                                                        EXHIBIT A--188
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           50 190 of 464
                                                              of 128     PageID
                                                                     PageID     #: 957
                                                                            #: 278




                                                              Using the Shunra Network Editor
                                                                                                 4-15
                                                                                    Chapter 4



                  ) Disconnect: The parameters in this group allow you to emulate a physical
                      disconnection of the network. In the Average frequency box type the
                      desired number of seconds (from 3 to 300). The vCat for Mobile will
                      emulate a disconnection once every so many seconds on average. In the
                      Minimum and Maximum boxes (Disconnection time span), indicate a time
                      range in milliseconds (from 10 to 30,000 ms). The vCat for Mobile will
                      randomly pick a time value from this range and the lines will remain
                      "disconnected" during this time, by dropping all packets that go through
                      the WAN during this period.
                  ) Congestion: The Congestion feature helps you emulate a periodic and
                      momentary rise in WAN traffic, which results in increased latency and
                      packet loss.

                      Note: The Latency and Packet Loss values during the congestion event
                      override the original values (either manually defined or imported).




                                                                                              EXHIBIT A--189
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           51 191 of 464
                                                              of 128     PageID
                                                                     PageID     #: 958
                                                                            #: 279




                vCat for Mobile Manual
         4-16
                Chapter 4



                     Congestion Parameter         Description

                     Average congestion frequency Type the frequency in seconds (from 1 to
                                                  300). For example, entering 20 means that
                                                  the vCat for Mobile will increase latency and
                                                  packet loss every 20 seconds on average.
                     Congestion time span         The duration of the event in milliseconds
                                                  (from 10 to 65,535). Type a range in the
                                                  Maximum and Minimum parameters. The
                                                  vCat for Mobile randomly picks a value from
                                                  this range and sets the latency and packet
                                                  loss to the values you indicate in the Fixed
                                                  Latency and Loss fields (below), for the
                                                  selected duration. After this time, latency
                                                  and packet loss return to their original set-
                                                  tings (as described under the Latency and
                                                  Packet Loss branches).

                     Congestion event proper-
                     ties
                     Fixed Latency                Enter the latency, in milliseconds, that will
                                                  prevail during the congestion time (from 0
                                                  to 8000 ms). This value replaces the original
                                                  latency setting.
                     Lose x% of all packets       Enter a percentage of packets to be lost dur-
                                                  ing the congestion time (from 0% to 90%).
                                                  This value replaces the original setting for
                                                  packet loss.




                                                                                                  EXHIBIT A--190
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           52 192 of 464
                                                              of 128     PageID
                                                                     PageID     #: 959
                                                                            #: 280




                                                                vCat for Mobile Web Service API
                                                                                                      5-1
                                                                                       Chapter 5




                                                                                           5
             vCat for Mobile Web Service API                                                   5

                  Shunra’s API is included with the vCat for Mobile installation. It uses Represen-
                  tation State Transfer (REST). The Web Services API contains the following ser-
                  vices:
                  ) Emulation Services (5-1)
                  ) Configuration Services (5-36)
                  ) Transaction Manager (5-44)
                  ) License Manager (5-49)

                  Note: To run the vCat for Mobile API on 64bit machine, use a 32bit-JRE.
                  Certain headers are suggested examples only.


             Emulation Services
                  The following API functions are described:
                  )   Start New Emulation
                  )   Workaround to work with XML format
                  )   Start New Emulation – Advance Mode
                  )   Real Time Update
                  )   Real Time Update for Advance Mode
                  )   Stop Emulation
                  )   Force Stop Emulation
                  )   Get Emulation Tokens
                  )   Get Emulation Parameters
                  )   Get Statistics
                  )   Start PacketList Capture – Specific and Global




                                                                                                 EXHIBIT A--191
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           53 193 of 464
                                                              of 128     PageID
                                                                     PageID     #: 960
                                                                            #: 281




               vCat for Mobile Manual
         5-2
               Chapter 5



                    )      Stop Packet List Capture – Specific and Global
                    )      Is PL Capturing
                    )      Get Packet List IDs
                    )      Download Packet List
                    )      Download External Events File
                    )      Traffic Resource Files

                    Start New Emulation
                    This method starts a new emulation. It expects to receive an emulation request
                    which includes an .ntxx file of network conditions to be played. It responds
                    with the URL to the newly allocated emulation resource, which allows updates
                    or stopping the emulation once started. It also returns a “token” in the HTTP
                    body which is used in other types of requests, such as statistics or packet lists
                    request as described in Get Packet List IDs.

                    Request
                    The body of the HTTP request holds the .ntxx file for the emulation device
                    that is encoded in JSON format.

                     URL            http://ip:port/shunra/api/emulation

                     HTTP
                                    POST
                     Method

                     HTTP Head- Content-Type: application/json
                     ers        Accept: application/json

                    HTTP Body
                    {"ntx":"\u003cNETWOR_X ID\u003d\"AEA663095-021C-4883-
                    B8D7-195A1F0066A9A\" NAME\u003d\"VE Desktop Professional
                    Sample\" ORIGIN\u003d\"VE Desktop\" USER_DATA\u003d\"\"
                    CREATED_BY\u003d\"VE Desktop\"
                    DESCRIPTION\u003d\"NetworX_Document\"
                    CREATED_ON_DATE\u003d\"2008-02-21 10:18:58\"
                    NETWOR_X_VERSION\u003d\"2.0\"
                    CREATED_ON_HOST_NAME\u003d\"shunra\"\u003e\r\n\t\t\u003cN
                    ET_OBJECTS\u003e\r\n\t\t\t\u003cENDPOINT




                                                                                                    EXHIBIT A--192
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           54 194 of 464
                                                              of 128     PageID
                                                                     PageID     #: 961
                                                                            #: 282




                                                  vCat for Mobile Web Service API
                                                                                    5-3
                                                                       Chapter 5



                  ID\u003d\"ID_SERVER\"
                  NAME\u003d\"Server\"\u003e\r\n\t\t\t\t\u003cINCLUDE_IPS\u
                  003e\r\n\t\t\t\t\t\u003cIP_RANGE PORT\u003d\"0\"
                  TO_IP\u003d\"254.254.254.254\" FROM_IP\u003d\"1.0.0.0\"
                  PROTOCOL\u003d\"0\" IP_VERSION\u003d\"4\"/
                  \u003e\r\n\t\t\t\t\u003c/
                  INCLUDE_IPS\u003e\r\n\t\t\t\t\u003cEXCLUDE_IPS\u003e\r\n\
                  t\t\t\t\t\r\n\t\t\t\t\u003cIP_RANGE PORT\u003d\"0\"
                  TO_IP\u003d\"172.30.2.23\" FROM_IP\u003d\"172.30.2.23\"
                  PROTOCOL\u003d\"0\" IP_VERSION\u003d\"4\"/\u003e\u003c/
                  EXCLUDE_IPS\u003e\r\n\t\t\t\u003c/
                  ENDPOINT\u003e\r\n\t\t\t\u003cENDPOINT
                  ID\u003d\"ID_CLIENT\"
                  NAME\u003d\"Client\"\u003e\r\n\t\t\t\t\u003cINCLUDE_IPS\u
                  003e\r\n\t\t\t\t\t\u003cIP_RANGE PORT\u003d\"0\"
                  TO_IP\u003d\"172.30.2.23\" FROM_IP\u003d\"172.30.2.23\"
                  PROTOCOL\u003d\"0\" IP_VERSION\u003d\"4\"/
                  \u003e\r\n\t\t\t\t\u003c/
                  INCLUDE_IPS\u003e\r\n\t\t\t\u003c/
                  ENDPOINT\u003e\r\n\t\t\t\u003cGATEWAY
                  ID\u003d\"ID_SERVER_GW\" NAME\u003d\"Server
                  Gateway\"\u003e\r\n\t\t\t\t\u003cNICS\u003e\r\n\t\t\t\t\t
                  \u003cNIC ID\u003d\"ID_SERVER_GW_NIC_1\"
                  NAME\u003d\"Server Downlink\" BANDWIDTH\u003d\"0\"
                  IN_BW_UTIL\u003d\"0\" OUT_BW_UTIL\u003d\"0\"
                  PACKET_OVERHEAD_BYTES\u003d\"\"/
                  \u003e\r\n\t\t\t\t\t\u003cNIC
                  ID\u003d\"ID_SERVER_GW_NIC_2\" NAME\u003d\"Server
                  Uplink\" BANDWIDTH\u003d\"0\" IN_BW_UTIL\u003d\"0\"
                  OUT_BW_UTIL\u003d\"0\" PACKET_OVERHEAD_BYTES\u003d\"\"/
                  \u003e\r\n\t\t\t\t\u003c/NICS\u003e\r\n\t\t\t\u003c/
                  GATEWAY\u003e\r\n\t\t\t\u003cGATEWAY
                  ID\u003d\"ID_CLIENT_GW\" NAME\u003d\"Client
                  Gateway\"\u003e\u003cNICS\u003e\u003cNIC
                  ID\u003d\"ID_CLIENT_GW_NIC_1\" NAME\u003d\"Clent Uplink\"
                  BANDWIDTH\u003d\"56.0\" IN_BW_UTIL\u003d\"0\"
                  OUT_BW_UTIL\u003d\"0\" PACKET_OVERHEAD_BYTES\u003d\"\"/
                  \u003e\u003cNIC ID\u003d\"ID_CLIENT_GW_NIC_2\"
                  NAME\u003d\"Clent Downlink\" BANDWIDTH\u003d\"56.0\"
                  IN_BW_UTIL\u003d\"0\" OUT_BW_UTIL\u003d\"0\"
                  PACKET_OVERHEAD_BYTES\u003d\"\"/\u003e\u003c/
                  NICS\u003e\u003c/GATEWAY\u003e\r\n\t\t\t\u003cWAN_CLOUD
                  ID\u003d\"ID_WAN_CLOUD\"
                  NAME\u003d\"WAN\"\u003e\r\n\t\t\t\u003cFIXED_LATENCY
                  LATENCY\u003d\"500\"/\u003e\u003c/
                  WAN_CLOUD\u003e\r\n\t\t\u003cPACKET_LIST
                  ID\u003d\"ID_PACKET_LIST_CLIENT\" NAME\u003d\"Packet List
                  client\"/\u003e\u003c/




                                                                                EXHIBIT A--193
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           55 195 of 464
                                                              of 128     PageID
                                                                     PageID     #: 962
                                                                            #: 283




               vCat for Mobile Manual
         5-4
               Chapter 5



                    NET_OBJECTS\u003e\r\n\t\t\r\n\t\t\u003cLINKS\u003e\r\n\t\
                    t\t\u003cLINK TO_OBJECT\u003d\"ID_WAN_CLOUD\"
                    FROM_OBJECT\u003d\"ID_CLIENT_GW_NIC_1\"
                    UNIDIRECTIONAL\u003d\"false\"/\u003e\r\n\t\t\t\u003cLINK
                    TO_OBJECT\u003d\"ID_SERVER_GW_NIC_2\"
                    FROM_OBJECT\u003d\"ID_WAN_CLOUD\"
                    UNIDIRECTIONAL\u003d\"false\"/\u003e\r\n\t\t\t\u003cLINK
                    TO_OBJECT\u003d\"ID_SERVER\"
                    FROM_OBJECT\u003d\"ID_SERVER_GW_NIC_1\"
                    UNIDIRECTIONAL\u003d\"false\"/\u003e\r\n\t\t\t\u003cLINK
                    TO_OBJECT\u003d\"ID_PACKET_LIST_CLIENT\"
                    FROM_OBJECT\u003d\"ID_CLIENT\"
                    UNIDIRECTIONAL\u003d\"false\"/\u003e\u003cLINK
                    TO_OBJECT\u003d\"ID_CLIENT_GW_NIC_2\"
                    FROM_OBJECT\u003d\"ID_PACKET_LIST_CLIENT\"
                    UNIDIRECTIONAL\u003d\"false\"/\u003e\u003c/
                    LINKS\u003e\r\n\t\u003c/NETWOR_X\u003e"}

                    Response
                    When an emulation starts successfully, the status code of 201 is received. A
                    location header is returned and can be used for further manipulations on this
                    emulation, such as stopping it or updating it.
                    The body holds an identifier which is unique to each user and emulation. This
                    key identifies newly created emulations and allows manipulations such as
                    receiving statistics or getting packet lists in the future, and is unique to each
                    user and emulation.

                     HTTP
                     Response 201 - Created
                     Code

                     HTTP       Content-Type: application/json; charset=UTF-8:
                     Headers    http://172.30.2.23:8182/shunra/emulation/45ab93a6-7078-4df2-
                                99e2-b28837987705c792b895-3ce7-4c6a-a644-
                                ea6562323b23

                     HTTP       {identifier":"45ab93a6-7078-4df2-99e2-
                     Body       b28837987705c792b895-3ce7-4c6a-a644-ea6562323b23"}




                                                                                                    EXHIBIT A--194
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           56 196 of 464
                                                              of 128     PageID
                                                                     PageID     #: 963
                                                                            #: 284




                                                              vCat for Mobile Web Service API
                                                                                                5-5
                                                                                   Chapter 5



                  Workaround to work with XML format
                  Although built-in XML requests are not supported, the following workaround
                  can be used to bypass using the JSON format. This is an example of a start
                  emulation request, but it can be applied to RTU and validation requests as
                  they both have the same HTTP Body content.

                  Request
                  Note: The original NTX can be copied and pasted as is into XML format.


                  URL         http://ip:port/shunra/api/emulation

                  HTTP
                              POST
                  Method

                  HTTP        Content-Type: text/xml
                  Headers     Accept: application/xml

                  Body
                  <?xml version="1.0" standalone="yes"?>

                  <emulationQuery>

                            <ntx><![CDATA[
                  <NETWOR_X ID="AEA663095-021C-4883-B8D7-195A1F0066A9A"
                  NAME="VE Desktop Professional Sample" ORIGIN="VE Desktop"
                  USER_DATA="" CREATED_BY="VE Desktop"
                  DESCRIPTION="NetworX_Document" CREATED_ON_DATE="2008-02-
                  21 10:18:58" NETWOR_X_VERSION="2.0"
                  CREATED_ON_HOST_NAME="shunra">
                                      <NET_OBJECTS>
                                             <ENDPOINT ID="ID_SERVER"
                  NAME="Server">
                                                    <INCLUDE_IPS>
                                                           <IP_RANGE
                  PORT="0" TO_IP="254.254.254.254" FROM_IP="1.0.0.0"
                  PROTOCOL="0" IP_VERSION="4"/>
                                                    </INCLUDE_IPS>
                                                    <EXCLUDE_IPS>




                                                                                            EXHIBIT A--195
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           57 197 of 464
                                                              of 128     PageID
                                                                     PageID     #: 964
                                                                            #: 285




               vCat for Mobile Manual
         5-6
               Chapter 5



                                                             <IP_RANGE
                    PORT="0" TO_IP="172.30.2.23" FROM_IP="172.30.2.23"
                    PROTOCOL="0" IP_VERSION="4"/>
                                                      </EXCLUDE_IPS>
                                               </ENDPOINT>
                                               <ENDPOINT ID="ID_CLIENT"
                    NAME="Client">
                                                      <INCLUDE_IPS>
                                                             <IP_RANGE
                    PORT="0" TO_IP="172.30.2.23" FROM_IP="172.30.2.23"
                    PROTOCOL="0" IP_VERSION="4"/>
                                                      </INCLUDE_IPS>
                                               </ENDPOINT>
                                               <GATEWAY ID="ID_SERVER_GW"
                    NAME="Server Gateway">
                                                      <NICS>
                                                             <NIC
                    ID="ID_SERVER_GW_NIC_1" NAME="Server Downlink"
                    BANDWIDTH="0" IN_BW_UTIL="0" OUT_BW_UTIL="0"
                    PACKET_OVERHEAD_BYTES=""/>
                                                             <NIC
                    ID="ID_SERVER_GW_NIC_2" NAME="Server Uplink"
                    BANDWIDTH="0" IN_BW_UTIL="0" OUT_BW_UTIL="0"
                    PACKET_OVERHEAD_BYTES=""/>
                                                      </NICS>
                                               </GATEWAY>
                                               <GATEWAY ID="ID_CLIENT_GW"
                    NAME="Client Gateway">
                                                      <NICS>
                                                             <NIC
                    ID="ID_CLIENT_GW_NIC_1" NAME="Clent Uplink"
                    BANDWIDTH="56.0" IN_BW_UTIL="0" OUT_BW_UTIL="0"
                    PACKET_OVERHEAD_BYTES=""/>
                    <NIC ID="ID_CLIENT_GW_NIC_2" NAME="Clent Downlink"
                    BANDWIDTH="56.0" IN_BW_UTIL="0" OUT_BW_UTIL="0"
                    PACKET_OVERHEAD_BYTES=""/>
                                                      </NICS>
                                               </GATEWAY>
                                               <WAN_CLOUD ID="ID_WAN_CLOUD"
                    NAME="WAN">
                                                      <FIXED_LATENCY
                    LATENCY="500"/>
                                               </WAN_CLOUD>




                                                                              EXHIBIT A--196
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           58 198 of 464
                                                              of 128     PageID
                                                                     PageID     #: 965
                                                                            #: 286




                                                                   vCat for Mobile Web Service API
                                                                                                          5-7
                                                                                           Chapter 5



                                              <PACKET_LIST
                  ID="ID_PACKET_LIST" NAME="Packet List client"/>
                                       </NET_OBJECTS>
                                       <LINKS>
                                              <LINK TO_OBJECT="ID_WAN_CLOUD"
                  FROM_OBJECT="ID_CLIENT_GW_NIC_1" UNIDIRECTIONAL="false"/>
                                              <LINK
                  TO_OBJECT="ID_SERVER_GW_NIC_2" FROM_OBJECT="ID_WAN_CLOUD"
                  UNIDIRECTIONAL="false"/>
                                              <LINK TO_OBJECT="ID_SERVER"
                  FROM_OBJECT="ID_SERVER_GW_NIC_1" UNIDIRECTIONAL="false"/>
                                              <LINK
                  TO_OBJECT="ID_PACKET_LIST" FROM_OBJECT="ID_CLIENT"
                  UNIDIRECTIONAL="false"/>
                                              <LINK
                  TO_OBJECT="ID_CLIENT_GW_NIC_2"
                  FROM_OBJECT="ID_PACKET_LIST" UNIDIRECTIONAL="false"/>
                                       </LINKS>
                                </NETWOR_X>
                         ]]></ntx>
                  </emulationQuery>

                  Response

                  HTTP
                  Response 201 - Created
                  Code

                  HTTP         Content-Type: application/xml; charset=UTF-8
                  Headers      Location: http://172.30.2.23:8182/shunra/emulation/5ebacbe9-
                               0d49-4c5e-a65d-fd6a66e216c9948e8cfe
                             xml version="1.0" encoding="UTF-8"
                  HTTP       standalone="yes"?><emulationResponse><identifier>
                  Body       5ebacbe9-0d49-4c5e-a65d-fd6a66e216c9948e8cfe-
                             988e-448a-ae70-64f175af14b7</identifier></
                             emulationResponse>


                  Start New Emulation – Advance Mode
                  This method starts the emulation in "Advanced mode" which requires latency,
                  bandwidth, packet loss parameters and whether the packet capture of the cli-
                  ent’s packet list is required to build a valid .ntxx file and play it. All parameters




                                                                                                     EXHIBIT A--197
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           59 199 of 464
                                                              of 128     PageID
                                                                     PageID     #: 966
                                                                            #: 287




               vCat for Mobile Manual
         5-8
               Chapter 5



                    are optional and defaults will be used if a parameter is not provided. Creation
                    of the .ntxx file takes the vCat Server configuration into account, for example
                    modes such as Router mode.
                    Parameter Values:
                    ) Bandwidth: 2.4-100000.0 Mbps
                    ) Latency: 8000 milliseconds
                    ) Packet Loss: 0.0-90.0 %

                    Request

                     URL        http://ip:port/shunra/api/emulation/advanced

                     HTTP
                                POST
                     Method

                     HTTP       Content-Type: application/json
                     Headers    Accept: application/json

                     HTTP       {"latency":500,"packetloss":20.0,"bandwidth":2048.0,
                     Body       "isCaptureClientPL":"true"}


                    Response

                     HTTP
                     Response 201 - Created
                     Code

                     HTTP       Content-Type: application/json; charset=UTF-8
                     Headers    Location: http://ip:port/shunra/emulation/advanced

                     HTTP       {"identifier":"92d8ebb2-012d-4fef-94ac-
                     Body       b8c0e3288918f8572958-833a-4cb7-84d9-97ad5ff7aa67"}


                    Real Time Update
                    This method performs real time updates on emulations that are already play-
                    ing. Only existing parameters can be changed, and additional shapes cannot
                    be added. This method must have the identifier given by start emulation, or




                                                                                                  EXHIBIT A--198
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           60 200 of 464
                                                              of 128     PageID
                                                                     PageID     #: 967
                                                                            #: 288




                                                                vCat for Mobile Web Service API
                                                                                                      5-9
                                                                                        Chapter 5



                  use the same URL that was returned in the location header of the start emula-
                  tion request.

                  Note: If the "Start New Emulation" method was used, then use the "Real Time
                  Update" method. If "Start New Emulation – Advanced Mode" was used, the
                  "Advance Real Time Update" method should be used.


                  Request
                  Contains the HTTP body, just like in the start emulation request; it contains the
                  .ntxx in JSON format.

                  URL         http://ip:port/shunra/api/emulation/45ab93a6-7078-4df2-
                              99e2-b28837987705c792b895-3ce7-4c6a-a644-
                              ea6562323b23

                  HTTP
                              PUT
                  Method

                  HTTP        Content-Type: application/json
                  Headers     Accept: application/json

                  HTTP Body
                  {"ntx":"\u003cNETWOR_X ID\u003d\"AEA663095-021C-4883-
                  B8D7-195A1F0066A9A\" NAME\u003d\"VE Desktop Professional
                  Sample\" ORIGIN\u003d\"VE Desktop\" USER_DATA\u003d\"\"
                  CREATED_BY\u003d\"VE Desktop\"
                  DESCRIPTION\u003d\"NetworX_Document\"
                  CREATED_ON_DATE\u003d\"2008-02-21 10:18:58\"
                  NETWOR_X_VERSION\u003d\"2.0\"
                  CREATED_ON_HOST_NAME\u003d\"shunra\"\u003e\r\n\t\t\u003cN
                  ET_OBJECTS\u003e\r\n\t\t\t\u003cENDPOINT
                  ID\u003d\"ID_SERVER\"
                  NAME\u003d\"Server\"\u003e\r\n\t\t\t\t\u003cINCLUDE_IPS\u
                  003e\r\n\t\t\t\t\t\u003cIP_RANGE PORT\u003d\"0\"
                  TO_IP\u003d\"254.254.254.254\" FROM_IP\u003d\"1.0.0.0\"
                  PROTOCOL\u003d\"0\" IP_VERSION\u003d\"4\"/
                  \u003e\r\n\t\t\t\t\u003c/
                  INCLUDE_IPS\u003e\r\n\t\t\t\t\u003cEXCLUDE_IPS\u003e\r\n\
                  t\t\t\t\t\r\n\t\t\t\t\u003cIP_RANGE PORT\u003d\"0\"
                  TO_IP\u003d\"172.30.2.23\" FROM_IP\u003d\"172.30.2.23\"
                  PROTOCOL\u003d\"0\" IP_VERSION\u003d\"4\"/\u003e\u003c/




                                                                                                 EXHIBIT A--199
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           61 201 of 464
                                                              of 128     PageID
                                                                     PageID     #: 968
                                                                            #: 289




                vCat for Mobile Manual
         5-10
                Chapter 5



                     EXCLUDE_IPS\u003e\r\n\t\t\t\u003c/
                     ENDPOINT\u003e\r\n\t\t\t\u003cENDPOINT
                     ID\u003d\"ID_CLIENT\"
                     NAME\u003d\"Client\"\u003e\r\n\t\t\t\t\u003cINCLUDE_IPS\u
                     003e\r\n\t\t\t\t\t\u003cIP_RANGE PORT\u003d\"0\"
                     TO_IP\u003d\"172.30.2.23\" FROM_IP\u003d\"172.30.2.23\"
                     PROTOCOL\u003d\"0\" IP_VERSION\u003d\"4\"/
                     \u003e\r\n\t\t\t\t\u003c/
                     INCLUDE_IPS\u003e\r\n\t\t\t\u003c/
                     ENDPOINT\u003e\r\n\t\t\t\u003cGATEWAY
                     ID\u003d\"ID_SERVER_GW\" NAME\u003d\"Server
                     Gateway\"\u003e\r\n\t\t\t\t\u003cNICS\u003e\r\n\t\t\t\t\t
                     \u003cNIC ID\u003d\"ID_SERVER_GW_NIC_1\"
                     NAME\u003d\"Server Downlink\" BANDWIDTH\u003d\"0\"
                     IN_BW_UTIL\u003d\"0\" OUT_BW_UTIL\u003d\"0\"
                     PACKET_OVERHEAD_BYTES\u003d\"\"/
                     \u003e\r\n\t\t\t\t\t\u003cNIC
                     ID\u003d\"ID_SERVER_GW_NIC_2\" NAME\u003d\"Server
                     Uplink\" BANDWIDTH\u003d\"0\" IN_BW_UTIL\u003d\"0\"
                     OUT_BW_UTIL\u003d\"0\" PACKET_OVERHEAD_BYTES\u003d\"\"/
                     \u003e\r\n\t\t\t\t\u003c/NICS\u003e\r\n\t\t\t\u003c/
                     GATEWAY\u003e\r\n\t\t\t\u003cGATEWAY
                     ID\u003d\"ID_CLIENT_GW\" NAME\u003d\"Client
                     Gateway\"\u003e\u003cNICS\u003e\u003cNIC
                     ID\u003d\"ID_CLIENT_GW_NIC_1\" NAME\u003d\"Clent Uplink\"
                     BANDWIDTH\u003d\"56.0\" IN_BW_UTIL\u003d\"0\"
                     OUT_BW_UTIL\u003d\"0\" PACKET_OVERHEAD_BYTES\u003d\"\"/
                     \u003e\u003cNIC ID\u003d\"ID_CLIENT_GW_NIC_2\"
                     NAME\u003d\"Clent Downlink\" BANDWIDTH\u003d\"56.0\"
                     IN_BW_UTIL\u003d\"0\" OUT_BW_UTIL\u003d\"0\"
                     PACKET_OVERHEAD_BYTES\u003d\"\"/\u003e\u003c/
                     NICS\u003e\u003c/GATEWAY\u003e\r\n\t\t\t\u003cWAN_CLOUD
                     ID\u003d\"ID_WAN_CLOUD\"
                     NAME\u003d\"WAN\"\u003e\r\n\t\t\t\u003cFIXED_LATENCY
                     LATENCY\u003d\"1000\"/\u003e\u003c/
                     WAN_CLOUD\u003e\r\n\t\t\u003cPACKET_LIST
                     ID\u003d\"ID_PACKET_LIST\" NAME\u003d\"Packet List
                     client\"/\u003e\u003c/
                     NET_OBJECTS\u003e\r\n\t\t\u003cLINKS\u003e\r\n\t\t\t\r\n\
                     t\t\t\u003cLINK TO_OBJECT\u003d\"ID_WAN_CLOUD\"
                     FROM_OBJECT\u003d\"ID_CLIENT_GW_NIC_1\"
                     UNIDIRECTIONAL\u003d\"false\"/\u003e\r\n\t\t\t\u003cLINK
                     TO_OBJECT\u003d\"ID_SERVER_GW_NIC_2\"
                     FROM_OBJECT\u003d\"ID_WAN_CLOUD\"
                     UNIDIRECTIONAL\u003d\"false\"/\u003e\r\n\t\t\t\u003cLINK
                     TO_OBJECT\u003d\"ID_SERVER\"
                     FROM_OBJECT\u003d\"ID_SERVER_GW_NIC_1\"
                     UNIDIRECTIONAL\u003d\"false\"/\u003e\r\n\t\t\u003cLINK




                                                                             EXHIBIT A--200
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           62 202 of 464
                                                              of 128     PageID
                                                                     PageID     #: 969
                                                                            #: 290




                                                                vCat for Mobile Web Service API
                                                                                                      5-11
                                                                                        Chapter 5



                  TO_OBJECT\u003d\"ID_PACKET_LIST\"
                  FROM_OBJECT\u003d\"ID_CLIENT\"
                  UNIDIRECTIONAL\u003d\"false\"/\u003e\u003cLINK
                  TO_OBJECT\u003d\"ID_CLIENT_GW_NIC_2\"
                  FROM_OBJECT\u003d\"ID_PACKET_LIST\"
                  UNIDIRECTIONAL\u003d\"false\"/\u003e\u003c/
                  LINKS\u003e\r\n\t\u003c/NETWOR_X\u003e"}

                  Response

                  HTTP
                  Response 204 - NO CONTENT
                  Code

                  HTTP
                              Content-Type: application/json; charset=UTF-8
                  Headers

                  HTTP
                              None
                  Body


                  Real Time Update for Advance Mode
                  Real time update for emulations that are already running. Note that this
                  method is the complement of the Start Advance Emulation. Using this method
                  for an emulation that was started with a standard .ntxx file most likely will not
                  work.
                  As in a standard Real Time Update adding shapes is not allowed, therefore the
                  packet list parameter is not present.

                  Request

                  URL         http://ip:port/shunra/api/emulation/advanced/a279004d-b4aa-
                              4854-ae41-83ac302b495e559f6d46-2677-48ee-b770-
                              8cd2c59a28c9

                  HTTP
                              PUT
                  Method

                  HTTP
                              Content-Type: application/json
                  Headers




                                                                                                  EXHIBIT A--201
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           63 203 of 464
                                                              of 128     PageID
                                                                     PageID     #: 970
                                                                            #: 291




                vCat for Mobile Manual
         5-12
                Chapter 5



                      Body       {"latency":50,"packetloss":20.0,"bandwidth":2048.0}


                     Response

                      HTTP
                      Response      204 - No Content
                      Code

                      HTTP
                      Headers

                      HTTP Body


                     Get Emulation Parameters
                     This method is valid only when an emulation is currently running. It returns
                     data which includes shape IDs, endpoints, .ntxx names, etc.

                     Request

                      URL         http://ip:port/shunra/api/emulation/parameters

                      HTTP
                                  GET
                      Method

                      HTTP
                                  Accept: application/json
                      Headers

                      HTTP
                                  None
                      Body




                                                                                                    EXHIBIT A--202
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           64 204 of 464
                                                              of 128     PageID
                                                                     PageID     #: 971
                                                                            #: 292




                                                           vCat for Mobile Web Service API
                                                                                             5-13
                                                                                Chapter 5



                  Response
                  The response includes HTTP body in JSON format which holds the requested
                  info.

                  HTTP
                  Response 200 - OK
                  Code

                  HTTP
                             Content-Type: application/json; charset=UTF-8
                  Headers

                  HTTP Body
                  {
                    "emulationParameters": {
                      "7d376e7b-895a-49cc-9989-f36577f6875d91b2d56e-d937-
                  444c-b886-9e74b84d4c54": {
                        "shapesIdentificationCollection": [(10)
                          {
                             "shapeId": "ID_SERVER",
                             "shapeType": "ENDPOINT",
                             "shapeName": "Server"
                          },
                          {
                             "shapeId": "ID_CLIENT",
                             "shapeType": "ENDPOINT",
                             "shapeName": "Client"
                          },
                          {
                             "shapeId": "ID_SERVER_GW",
                             "shapeType": "GATEWAY",
                  "shapeName": "Server Gateway"
                          },
                          {
                             "shapeId": "ID_SERVER_GW_NIC_1",
                             "shapeType": "NIC",
                             "shapeName": "Server Downlink"
                          },
                          {
                             "shapeId": "ID_SERVER_GW_NIC_2",




                                                                                         EXHIBIT A--203
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           65 205 of 464
                                                              of 128     PageID
                                                                     PageID     #: 972
                                                                            #: 293




                vCat for Mobile Manual
         5-14
                Chapter 5



                                     "shapeType": "NIC",
                                     "shapeName": "Server Uplink"
                                },
                                {
                                     "shapeId": "ID_CLIENT_GW",
                                     "shapeType": "GATEWAY",
                                     "shapeName": "Client Gateway"
                                },
                                {
                                     "shapeId": "ID_CLIENT_GW_NIC_1",
                                     "shapeType": "NIC",
                                     "shapeName": "Clent Uplink"
                                },
                                {
                                     "shapeId": "ID_CLIENT_GW_NIC_2",
                                     "shapeType": "NIC",
                                     "shapeName": "Clent Downlink"
                                },
                                {
                                     "shapeId": "ID_WAN_CLOUD",
                                     "shapeType": "WAN_CLOUD",
                                     "shapeName": "WAN"
                                },
                                {
                                     "shapeId": "ID_PACKET_LIST",
                                     "shapeType": "PACKET_LIST",
                                     "shapeName": "Packet List client"
                                }
                             ],
                             "endpointsCollection": [(2)
                                {
                                  "endpointId": "ID_SERVER",
                                  "endpointName": "Server",
                                  "includeIpRanges": [(1)
                                     {
                                       "from": "1.0.0.0",
                                       "to": "254.254.254.254"
                                     }
                                  ],
                                  "excludeIpRanges": [(1)
                                     {
                                       "from": "172.30.2.23",
                                       "to": "172.30.2.23"
                                     }




                                                                         EXHIBIT A--204
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           66 206 of 464
                                                              of 128     PageID
                                                                     PageID     #: 973
                                                                            #: 294




                                                      vCat for Mobile Web Service API
                                                                                        5-15
                                                                           Chapter 5



                               ]
                          },
                          {
                               "endpointId": "ID_CLIENT",
                               "endpointName": "Client",
                               "includeIpRanges": [(1)
                                  {
                                    "from": "172.30.2.23",
                                    "to": "172.30.2.23"
                                  }
                               ],
                               "excludeIpRanges": [(0)]
                           }
                        ],
                        "emulationName": "VE Desktop Professional Sample" ,
                  "executingNtx":"<NETWOR_X CREATED_BY=\"vCat Client\"
                  CREATED_ON_DATE=\"2008-03-03 15:55:46\"
                  CREATED_ON_HOST_NAME=\"shunra\" ID=\"NetworX_ID_\"
                  NAME=\"Default Network Template\"
                  NETWOR_X_VERSION=\"1.8\"
                  ORIGIN=\"VedC\">\r\n\t<NET_OBJECTS>\r\n\t\t<ENDPOINT
                  ID=\"ID_SERVER_FLOWS_1\"
                  NAME=\"Server\">\r\n\t\t<INCLUDE_IPS>\r\n<IP_RANGE
                  FROM_IP=\"1.0.0.0\" IP_VERSION=\"4\" PORT=\"0\"
                  PROTOCOL=\"0\" TO_IP=\"254.254.254.254\"/>\r\n</
                  INCLUDE_IPS>\r\n<EXCLUDE_IPS>\r\n<IP_RANGE
                  FROM_IP=\"172.30.2.18\" IP_VERSION=\"4\" PORT=\"0\"
                  PROTOCOL=\"0\" TO_IP=\"172.30.2.18\"/>\r\n</
                  EXCLUDE_IPS>\r\n</ENDPOINT>\r\n\t\t<ENDPOINT
                  ID=\"ID_CLIENT_FLOWS_1\"
                  NAME=\"Client\">\r\n\t\t<INCLUDE_IPS>\r\n<IP_RANGE
                  FROM_IP=\"172.30.2.18\" IP_VERSION=\"4\" PORT=\"0\"
                  PROTOCOL=\"0\" TO_IP=\"172.30.2.18\"/>\r\n<IP_RANGE
                  FROM_IP=\"0.0.0.0\" IP_VERSION=\"4\" PORT=\"0\"
                  PROTOCOL=\"0\" TO_IP=\"0.0.0.0\"/>\r\n</
                  INCLUDE_IPS>\r\n</ENDPOINT>\r\n\t\t<GATEWAY
                        ID=\"ID_SERVER_GW_FLOWS_1\" NAME=\"Server
                  Gateway\">\r\n\t\t\t<NICS>\r\n\t\t\t\t<NIC
                  BANDWIDTH=\"0\" ID=\"ID_SERVER_GW_NIC_1_FLOWS_1\"
                  IN_BW_UTIL=\"0\" NAME=\"Server Downlink\"
                  OUT_BW_UTIL=\"0\" PACKET_OVERHEAD_BYTES=\"\"/
                  >\r\n\t\t\t\t<NIC BANDWIDTH=\"0\"
                  ID=\"ID_SERVER_GW_NIC_2_FLOWS_1\" IN_BW_UTIL=\"0\"
                  NAME=\"Server Uplink\" OUT_BW_UTIL=\"0\"




                                                                                    EXHIBIT A--205
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           67 207 of 464
                                                              of 128     PageID
                                                                     PageID     #: 974
                                                                            #: 295




                vCat for Mobile Manual
         5-16
                Chapter 5



                     PACKET_OVERHEAD_BYTES=\"\"/>\r\n\t\t\t</NICS>\r\n\t\t</
                     GATEWAY>\r\n\t\t<GATEWAY ID=\"ID_CLIENT_GW_FLOWS_1\"
                     NAME=\"Client Gateway\">\r\n\t\t\t<NICS>\r\n\t\t\t\t<NIC
                     BANDWIDTH=\"2048\" ID=\"ID_CLIENT_GW_NIC_1_FLOWS_1\"
                     IN_BANDWIDTH=\"\" IN_BW_UTIL=\"0\"
                     IN_BW_UTIL_SLOT_SIZE=\"\" NAME=\"Clent Uplink\"
                     OUT_BANDWIDTH=\"\" OUT_BW_UTIL=\"0\"
                     OUT_BW_UTIL_SLOT_SIZE=\"\" PACKET_OVERHEAD_BYTES=\"\"
                     PREPARE_RTU_ON_INIT=\"no\" START_TIME_BW_PLAYBACK=\"\"/
                     >\r\n\t\t\t\t<NIC BANDWIDTH=\"2048\"
                     ID=\"ID_CLIENT_GW_NIC_2_FLOWS_1\" IN_BANDWIDTH=\"\"
                     IN_BW_UTIL=\"0\" IN_BW_UTIL_SLOT_SIZE=\"\" NAME=\"Clent
                     Downlink\" OUT_BANDWIDTH=\"\" OUT_BW_UTIL=\"0\"
                     OUT_BW_UTIL_SLOT_SIZE=\"\" PACKET_OVERHEAD_BYTES=\"\"
                     PREPARE_RTU_ON_INIT=\"no\" START_TIME_BW_PLAYBACK=\"\"/
                     >\r\n\t\t\t</NICS>\r\n\t\t</GATEWAY>\r\n\t\t<WAN_CLOUD
                     ID=\"ID_WAN_CLOUD_FLOWS_1\"
                     NAME=\"WAN\">\r\n<FIXED_LATENCY LATENCY=\"500\"/
                     >\r\n<RANDOM_LOSS CHANCE=\"20\"/>\r\n</
                     WAN_CLOUD>\r\n\t<PACKET_LIST ID=\"ID_CLIENT_PL_FLOWS_1\"
                     NAME=\"Packet List Client\"/>\r\n</
                     NET_OBJECTS>\r\n\t<LINKS>\r\n\t\t<LINK
                     FROM_OBJECT=\"ID_CLIENT_PL_FLOWS_1\"
                     TO_OBJECT=\"ID_CLIENT_GW_NIC_2_FLOWS_1\"
                     UNIDIRECTIONAL=\"false\"/>\r\n\t\t<LINK
                     FROM_OBJECT=\"ID_CLIENT_GW_NIC_1_FLOWS_1\"
                     TO_OBJECT=\"ID_WAN_CLOUD_FLOWS_1\"
                     UNIDIRECTIONAL=\"false\"/>\r\n\t\t<LINK
                     FROM_OBJECT=\"ID_WAN_CLOUD_FLOWS_1\"
                     TO_OBJECT=\"ID_SERVER_GW_NIC_2_FLOWS_1\"
                     UNIDIRECTIONAL=\"false\"/>\r\n\t\t<LINK
                     FROM_OBJECT=\"ID_SERVER_GW_NIC_1_FLOWS_1\"
                     TO_OBJECT=\"ID_SERVER_FLOWS_1\" UNIDIRECTIONAL=\"false\"/
                     >\r\n\t<LINK FROM_OBJECT=\"ID_CLIENT_FLOWS_1\"
                     TO_OBJECT=\"ID_CLIENT_PL_FLOWS_1\"
                     UNIDIRECTIONAL=\"false\"/>\r\n</LINKS>\r\n</NETWOR_X>\r"
                             }

                         }
                     }




                                                                             EXHIBIT A--206
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           68 208 of 464
                                                              of 128     PageID
                                                                     PageID     #: 975
                                                                            #: 296




                                                                vCat for Mobile Web Service API
                                                                                                     5-17
                                                                                       Chapter 5



                  Stop Emulation
                  This method stops a specific emulation.

                  Note: A two second timeout must be applied between the time a transaction
                  stops (all traffic has ended) and before this command is used, otherwise not all
                  of the transaction data will be included in the packet list.


                  Request

                  URL          http://ip:port/shunra/api/emulation/45ab93a6-7078-4df2-99e2-
                               b28837987705c792b895-3ce7-4c6a-a644-ea6562323b23

                  HTTP
                               DELETE
                  Method

                  HTTP
                               Accept: application/json
                  Headers

                  Body         None


                  Response

                  HTTP
                  Response 200- Ok
                  Code

                  HTTP        {"analysisResourcesLocation":"C:\ProgramData\Shunra\vCat\13da6
                  Body        e01-8e78-4428-92f2-6028ee172c4c\e5ea7e1b-7946-43fc-9e26-
                              556f814b3220\AnalysisResources.shunra"}


                  Force Stop Emulation
                  This method stops all currently executing emulations and resets the driver
                  without any parameters (use with caution). No special headers are required.




                                                                                                EXHIBIT A--207
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           69 209 of 464
                                                              of 128     PageID
                                                                     PageID     #: 976
                                                                            #: 297




                vCat for Mobile Manual
         5-18
                Chapter 5



                     Request

                      URL         http://ip:post/shunra/api/emulation

                      HTTP
                                  DELETE
                      Method

                      Body        None


                     Response

                      HTTP
                      Response 204- No Content
                      Code

                      HTTP
                                 None
                      Body


                     Get Emulation Tokens
                     This method returns all available identifiers of emulations. For vCat it should
                     be an array of single element. If no emulation is running, a No Content
                     response is expected.

                     Request

                      URL         http://ip:port/shunra/api/emulation/tokens

                      HTTP
                                  GET
                      Method

                      HTTP
                                  Accept: application/json
                      Headers

                      Body




                                                                                                       EXHIBIT A--208
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           70 210 of 464
                                                              of 128     PageID
                                                                     PageID     #: 977
                                                                            #: 298




                                                                  vCat for Mobile Web Service API
                                                                                                          5-19
                                                                                           Chapter 5



                  Response

                  Http
                           204 - No Content in case no emulation is running
                  Response
                           200 – OK
                  Code

                  HTTP
                  Headers

                  HTTP         {"tokens":["5b3e7d9f-6016-4810-9dbf-89cfadca363b7cc4efa7-
                  Body         e1eb-4a0a-b6fb-c5572a723da9"]}


                  Get Statistics
                  This method retrieves statistics for an emulation that ran, or is currently run-
                  ning. Statistics are cached for about 15 minutes, therefore statistics from the
                  previous run can be retrieved, but only if another emulation didn’t override
                  the results.
                  Data can be retrieved up to the last point in the previous query; data from
                  after that point is appended in a value to the URI. This is an “anchor” and it can
                  be obtained from returned headers. This is a Shunra proprietary header:
                  X-Shunra-Next.

                  Both types of requests may or may not include a HTTP body. When no body
                  is sent, all the shape’s statistics are returned. When the body is sent, only statis-
                  tics matching the shape’s IDs in the body are returned.

                  Note: Since one of the 2 Gateway NICs is always ignored, the ignored shapes
                  do not appear in the statistics response

                  Note: A two second timeout must be applied between the time a transaction
                  stops (all traffic has ended) and before this command is used, otherwise not all
                  of the transaction statistics will be included.


                  First Request – Specific shapes

                  URL           http://ip:port/ shunra/api/statistics/cb9e09c7-c7ca-459a-9253-
                                8ee2c01e8886c8b6a761-8ab2-494c-9a48-02c1e19f2715




                                                                                                     EXHIBIT A--209
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           71 211 of 464
                                                              of 128     PageID
                                                                     PageID     #: 978
                                                                            #: 299




                vCat for Mobile Manual
         5-20
                Chapter 5



                      HTTP
                                  PUT
                      Method

                      HTTP        Content-Type: application/json
                      Headers     Accept: application/json

                      Body        {"shapeIds":["ID_CLIENT_GW_NIC_1","ID_SERVER_GW_NIC_2"]
                                  }


                     Second and additional Requests - Specific shapes

                      URL         http://ip:port/ shunra/api/statistics/cb9e09c7-c7ca-459a-9253-
                                  8ee2c01e8886c8b6a761-8ab2-494c-9a48-02c1e19f2715/
                                  1336025450197

                      HTTP
                                  PUT
                      Method

                      HTTP        Content-Type: application/json
                      Headers     Accept: application/json

                      Body        {"shapeIds":["ID_CLIENT_GW_NIC_1","ID_SERVER_GW_NIC_2"
                                  ]}


                     First Request for all Shapes

                      URL         http://ip:port/ shunra/api/statistics/cb9e09c7-c7ca-459a-9253-
                                  8ee2c01e8886c8b6a761-8ab2-494c-9a48-02c1e19f2715

                      HTTP
                                  PUT
                      Method

                      HTTP
                                  Accept: application/json
                      Headers

                      HTTP
                      Body




                                                                                                   EXHIBIT A--210
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           72 212 of 464
                                                              of 128     PageID
                                                                     PageID     #: 979
                                                                            #: 300




                                                         vCat for Mobile Web Service API
                                                                                           5-21
                                                                              Chapter 5



                  Response

                  HTTP
                  Response 200- OK
                  Code

                  HTTP      Content-Type: application/json; charset=UTF-8
                  Headers   X-Shunra-Next: 1336025450197

                  HTTP Body
                         {
                      "statistics": [{
                           "timeStamp": 1336025449191,
                           "shapeStatisticsList": [{
                                "shapeId": "ID_CLIENT_PL_FLOWS_1",
                                "shapeType": "PACKET_LIST",
                                "statisticsCollection": [{
                                     "Attribute": "CURR_MEM",
                                     "Value": "17203"
                                }, {
                                     "Attribute": "ENABLED",
                                     "Value": "YES"
                                }, {
                                     "Attribute": "SHAPE_REF_ID",
                                     "Value": ""
                                }, {
                                     "Attribute": "TOTAL_MEM",
                                     "Value": "104857600"
                                }]
                           }, {
                                "shapeId": "ID_WAN_CLOUD",
                                "shapeType": "WAN_CLOUD",
                                "statisticsCollection": [{
                                     "Attribute": "AVG_LATENCY",
                                     "Value": "499.75000"
                                }, {
                                     "Attribute": "BIT_ERROR_COUNT",
                                     "Value": "0"
                                }, {
                                     "Attribute": "CURR_PACKETS",
                                     "Value": "0"
                                }, {
                                     "Attribute": "DUPLICATED_COUNT",
                                     "Value": "0"
                                }, {




                                                                                       EXHIBIT A--211
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           73 213 of 464
                                                              of 128     PageID
                                                                     PageID     #: 980
                                                                            #: 301




                vCat for Mobile Manual
         5-22
                Chapter 5



                                          "Attribute": "FRAGMENTED_COUNT",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "LINK_DISCONNECT_COUNT",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "MAX_LATENCY",
                                          "Value": "501.00000"
                                     }, {
                                          "Attribute": "MAX_PACKETS",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "MIN_LATENCY",
                                          "Value": "499.00000"
                                     }, {
                                          "Attribute": "OUT_OF_ORDER_COUNT",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "PACKETS_LOSS_COUNT",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "PACKETS_LOSS_TOTAL",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "PACKET_LOSS_PERCENT",
                                          "Value": "0.0000"
                                     }]
                                }, {
                                     "shapeId": "ID_CLIENT_GW_NIC_1",
                                     "shapeType": "NIC",
                                     "statisticsCollection": [{
                                          "Attribute": "AVG_LATENCY_IN",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "AVG_LATENCY_OUT",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "BPS_IN",
                                          "Value": "2400.00"
                                     }, {
                                          "Attribute": "BPS_OUT",
                                          "Value": "35240.00"
                                     }, {
                                          "Attribute": "BW_UTIL_IN",
                                          "Value": "4.2857"
                                     }, {
                                          "Attribute": "BW_UTIL_OUT",
                                          "Value": "62.9286"




                                                                                  EXHIBIT A--212
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           74 214 of 464
                                                              of 128     PageID
                                                                     PageID     #: 981
                                                                            #: 302




                                                   vCat for Mobile Web Service API
                                                                                     5-23
                                                                        Chapter 5



                              }, {
                                   "Attribute": "MAX_LATENCY_IN",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "MAX_LATENCY_OUT",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "MIN_LATENCY_IN",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "MIN_LATENCY_OUT",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "Q_LEN_IN",
                                   "Value": "0"
                              }, {
                                   "Attribute": "Q_LEN_OUT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "Q_LOSS_COUNT_IN",
                                   "Value": "0"
                              }, {
                                   "Attribute": "Q_LOSS_COUNT_OUT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "TOTAL_IN",
                                   "Value": "4801.00"
                              }, {
                                   "Attribute": "TOTAL_OUT",
                                   "Value": "14223.00"
                              }]
                          }, {
                              "shapeId": "ID_SERVER_GW_NIC_2",
                              "shapeType": "NIC",
                              "statisticsCollection": [{
                                   "Attribute": "AVG_LATENCY_IN",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "AVG_LATENCY_OUT",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "BPS_IN",
                                   "Value": "35240.00"
                              }, {
                                   "Attribute": "BPS_OUT",
                                   "Value": "2400.00"
                              }, {
                                   "Attribute": "BW_UTIL_IN",




                                                                                 EXHIBIT A--213
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           75 215 of 464
                                                              of 128     PageID
                                                                     PageID     #: 982
                                                                            #: 303




                vCat for Mobile Manual
         5-24
                Chapter 5



                                          "Value": "0.0000"
                                     }, {
                                          "Attribute": "BW_UTIL_OUT",
                                          "Value": "0.0000"
                                     }, {
                                          "Attribute": "MAX_LATENCY_IN",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "MAX_LATENCY_OUT",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "MIN_LATENCY_IN",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "MIN_LATENCY_OUT",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "Q_LEN_IN",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "Q_LEN_OUT",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "Q_LOSS_COUNT_IN",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "Q_LOSS_COUNT_OUT",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "TOTAL_IN",
                                          "Value": "14223.00"
                                     }, {
                                          "Attribute": "TOTAL_OUT",
                                          "Value": "4801.00"
                                     }]
                                }]
                            }, {
                                "timeStamp": 1336025450197,
                                "shapeStatisticsList": [{
                                    "shapeId": "ID_CLIENT_PL_FLOWS_1",
                                    "shapeType": "PACKET_LIST",
                                    "statisticsCollection": [{
                                         "Attribute": "CURR_MEM",
                                         "Value": "17203"
                                    }, {
                                         "Attribute": "ENABLED",
                                         "Value": "YES"
                                    }, {




                                                                             EXHIBIT A--214
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           76 216 of 464
                                                              of 128     PageID
                                                                     PageID     #: 983
                                                                            #: 304




                                                   vCat for Mobile Web Service API
                                                                                     5-25
                                                                        Chapter 5



                                   "Attribute": "SHAPE_REF_ID",
                                   "Value": ""
                              }, {
                                   "Attribute": "TOTAL_MEM",
                                   "Value": "104857600"
                              }]
                          }, {
                              "shapeId": "ID_WAN_CLOUD",
                              "shapeType": "WAN_CLOUD",
                              "statisticsCollection": [{
                                   "Attribute": "AVG_LATENCY",
                                   "Value": "499.75000"
                              }, {
                                   "Attribute": "BIT_ERROR_COUNT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "CURR_PACKETS",
                                   "Value": "0"
                              }, {
                                   "Attribute": "DUPLICATED_COUNT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "FRAGMENTED_COUNT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "LINK_DISCONNECT_COUNT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "MAX_LATENCY",
                                   "Value": "501.00000"
                              }, {
                                   "Attribute": "MAX_PACKETS",
                                   "Value": "0"
                              }, {
                                   "Attribute": "MIN_LATENCY",
                                   "Value": "499.00000"
                              }, {
                                   "Attribute": "OUT_OF_ORDER_COUNT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "PACKETS_LOSS_COUNT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "PACKETS_LOSS_TOTAL",
                                   "Value": "0"
                              }, {
                                   "Attribute": "PACKET_LOSS_PERCENT",
                                   "Value": "0.0000"




                                                                                 EXHIBIT A--215
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           77 217 of 464
                                                              of 128     PageID
                                                                     PageID     #: 984
                                                                            #: 305




                vCat for Mobile Manual
         5-26
                Chapter 5



                                     }]
                                }, {
                                     "shapeId": "ID_CLIENT_GW_NIC_1",
                                     "shapeType": "NIC",
                                     "statisticsCollection": [{
                                          "Attribute": "AVG_LATENCY_IN",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "AVG_LATENCY_OUT",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "BPS_IN",
                                          "Value": "2400.00"
                                     }, {
                                          "Attribute": "BPS_OUT",
                                          "Value": "35240.00"
                                     }, {
                                          "Attribute": "BW_UTIL_IN",
                                          "Value": "4.2857"
                                     }, {
                                          "Attribute": "BW_UTIL_OUT",
                                          "Value": "62.9286"
                                     }, {
                                          "Attribute": "MAX_LATENCY_IN",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "MAX_LATENCY_OUT",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "MIN_LATENCY_IN",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "MIN_LATENCY_OUT",
                                          "Value": "0.0"
                                     }, {
                                          "Attribute": "Q_LEN_IN",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "Q_LEN_OUT",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "Q_LOSS_COUNT_IN",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "Q_LOSS_COUNT_OUT",
                                          "Value": "0"
                                     }, {
                                          "Attribute": "TOTAL_IN",




                                                                             EXHIBIT A--216
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           78 218 of 464
                                                              of 128     PageID
                                                                     PageID     #: 985
                                                                            #: 306




                                                   vCat for Mobile Web Service API
                                                                                     5-27
                                                                        Chapter 5



                                   "Value": "4801.00"
                              }, {
                                   "Attribute": "TOTAL_OUT",
                                   "Value": "14223.00"
                              }]
                          }, {
                              "shapeId": "ID_SERVER_GW_NIC_2",
                              "shapeType": "NIC",
                              "statisticsCollection": [{
                                   "Attribute": "AVG_LATENCY_IN",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "AVG_LATENCY_OUT",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "BPS_IN",
                                   "Value": "35240.00"
                              }, {
                                   "Attribute": "BPS_OUT",
                                   "Value": "2400.00"
                              }, {
                                   "Attribute": "BW_UTIL_IN",
                                   "Value": "0.0000"
                              }, {
                                   "Attribute": "BW_UTIL_OUT",
                                   "Value": "0.0000"
                              }, {
                                   "Attribute": "MAX_LATENCY_IN",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "MAX_LATENCY_OUT",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "MIN_LATENCY_IN",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "MIN_LATENCY_OUT",
                                   "Value": "0.0"
                              }, {
                                   "Attribute": "Q_LEN_IN",
                                   "Value": "0"
                              }, {
                                   "Attribute": "Q_LEN_OUT",
                                   "Value": "0"
                              }, {
                                   "Attribute": "Q_LOSS_COUNT_IN",
                                   "Value": "0"
                              }, {




                                                                                 EXHIBIT A--217
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           79 219 of 464
                                                              of 128     PageID
                                                                     PageID     #: 986
                                                                            #: 307




                vCat for Mobile Manual
         5-28
                Chapter 5



                                            "Attribute": "Q_LOSS_COUNT_OUT",
                                            "Value": "0"
                                      }, {
                                            "Attribute": "TOTAL_IN",
                                            "Value": "14223.00"
                                      }, {
                                            "Attribute": "TOTAL_OUT",
                                            "Value": "4801.00"
                                      }]
                                 }]
                            }]
                     }


                     Start PacketList Capture – Specific and Global
                     This method starts the capture of a specific or all packet lists in the .ntxx file
                     online. It requires only the packet list ID, as it is relevant only when the emula-
                     tion is active.

                     Note: If start capture follows the end of a capture without downloading the
                     packet list online, then this capture phase is lost.


                     Request – Global
                     Starts capturing all packet lists in the currently playing the network conditions
                     (.ntxx).

                      URL          http://ip:port/shunra/api/emulation/trafficresource/capture

                      HTTP
                                   POST
                      Method

                      HTTP
                      Headers

                      Body


                     Request – Specific
                     Starts capturing specific packet lists in the currently playing .ntxx file.




                                                                                                       EXHIBIT A--218
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           80 220 of 464
                                                              of 128     PageID
                                                                     PageID     #: 987
                                                                            #: 308




                                                                  vCat for Mobile Web Service API
                                                                                                        5-29
                                                                                          Chapter 5




                  URL           http://ip:port/shunra/emulation/trafficresource/capture/
                                ID_CLIENT_PL_FLOWS_1

                  HTTP
                                POST
                  Method

                  HTTP
                  Headers

                  HTTP
                  Body


                  Response

                  Http
                  Response 204- No Content
                  Code

                  HTTP
                  Headers

                  HTTP
                  Body


                  Stop Packet List Capture – Specific and Global
                  This method stops the capture of a specific or all packet lists in the .ntxx file
                  online.

                  Request – Global
                  Stop capture of all packet lists in the currently playing .ntxx file.

                  URL           http://ip:port/shunra/api/emulation/trafficresource/capture

                  HTTP
                                DELETE
                  Method




                                                                                                      EXHIBIT A--219
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           81 221 of 464
                                                              of 128     PageID
                                                                     PageID     #: 988
                                                                            #: 309




                vCat for Mobile Manual
         5-30
                Chapter 5



                      HTTP
                      Headers

                      Body


                     Request – Specific
                     Stops the capture of specific packet lists in the .ntxx file currently playing.

                      URL          http://ip:port/shunra/api/emulation/trafficresource/capture/
                                   ID_CLIENT_PL_FLOWS_1

                      HTTP
                                   DELETE
                      Method

                      HTTP
                      Headers

                      Body


                     Response

                      Http
                      Response 204 - No Content
                      Code

                      HTTP
                      Headers

                      HTTP
                      Body


                     Is PL Capturing
                     This method is relevant only during emulation. It returns the status of the
                     global packet list capture, or of a specific packet list. By default, if a packet list
                     is present in the .ntxx file, then it will be captured.




                                                                                                          EXHIBIT A--220
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           82 222 of 464
                                                              of 128     PageID
                                                                     PageID     #: 989
                                                                            #: 310




                                                                  vCat for Mobile Web Service API
                                                                                                        5-31
                                                                                         Chapter 5



                  Request - Global flag

                  URL            http://ip:port/shunra/api/emulation/trafficresource/capture

                  HTTP
                                 GET
                  Method

                  HTTP
                                 Accept: application/json
                  Headers

                  Body

                  Response

                  HTTP
                  Response       200-OK
                  Code

                  HTTP
                  Headers

                  HTTP Body {
                            "isCaptureEnabled": "true"
                            }


                  Get Packet List IDs
                  This method returns the IDs of packet lists based on emulation tokens, so this
                  method can be relevant for current runs or even for past runs. It returns the
                  IDs as long as the packet lists are present on the local disk. If at some point the
                  packet lists were cleared, then nothing will be returned.

                  Request - Specific PL
                  Adds the Packet List ID to the URL.

                  URL            http://ip:port/shunra/api/emulation/trafficresource/capture/
                                 ID_CLIENT_PL_FLOWS_1




                                                                                                   EXHIBIT A--221
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           83 223 of 464
                                                              of 128     PageID
                                                                     PageID     #: 990
                                                                            #: 311




                vCat for Mobile Manual
         5-32
                Chapter 5



                      HTTP
                                    GET
                      Method

                      HTTP
                                    Accept: application/json
                      Headers

                      HTTP Body


                     Request

                      URL         http://ip:port/shunra/api/emulation/trafficresource/packetlistids/
                                  fad1be7f-679a-4615-9f54-5b52e1f8003ee3371bf0-580e-
                                  4554-b280-33e7cc934986

                      HTTP
                                  GET
                      Method

                      HTTP
                                  Accept: application/json
                      Headers

                      Body


                     Response

                      HTTP
                      Response 200- OK
                      Code

                      HTTP
                      Headers

                      HTTP       {"packetListIds":["ID_CLIENT_PL_FLOWS_1","ID_SERVER_PL_FLO
                      Body       WS_1"]}


                     Download Packet List
                     Downloads the actual packet list to a location selected by the client. This com-
                     mand can be also executed via the browser, in offline or online mode. . It




                                                                                                   EXHIBIT A--222
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           84 224 of 464
                                                              of 128     PageID
                                                                     PageID     #: 991
                                                                            #: 312




                                                                 vCat for Mobile Web Service API
                                                                                                       5-33
                                                                                         Chapter 5



                  always requires an emulation identifier and packet list ID. The result is a binary
                  stream.

                  Note: A two second timeout must be applied between the time a transaction
                  stops (all traffic has ended) and before this command is used, otherwise not all
                  of the transaction data will be included in the packet list.


                  Request

                  URL           http://ip:port/shunra/api/emulation/trafficresource/packetlist/
                                be0d97a2-4dc4-42cf-9694-ca76601e6ffacf15225d-fe2e-459f-
                                8191-cb7f6cc57bca/ID_CLIENT_PL_FLOWS_1

                  HTTP
                                GET
                  Method

                  HTTP
                                Accept: application/octet-stream
                  Headers

                  Body


                  Response

                  HTTP
                  Response 200- OK
                  Code

                  HTTP
                  Headers

                  HTTP
                              The requested binary file.
                  Body


                  Download External Events File
                  Downloads the external events file for a specific execution, in offline or in
                  online mode.




                                                                                                  EXHIBIT A--223
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           85 225 of 464
                                                              of 128     PageID
                                                                     PageID     #: 992
                                                                            #: 313




                vCat for Mobile Manual
         5-34
                Chapter 5



                     Note: A two second timeout should be applied between the time a
                     transaction stops and before this command is applied.


                     Request

                      URL         http://ip:port/shunra/api/emulation/trafficresource/
                                  externalevents/ be0d97a2-4dc4-42cf-9694-
                                  ca76601e6ffacf15225d-fe2e-459f-8191-cb7f6cc57bca

                      HTTP
                                  GET
                      Method

                      HTTP
                                  Accept: application/xml
                      Headers

                      Body


                     Response

                      Http
                      Response 200 - OK
                      Code

                      HTTP
                      Headers

                      HTTP
                                 The requested file.
                      Body


                     Traffic Resource Files
                     The .shunra file is a proprietary format of a file that includes data that can be
                     analyzed. It is created automatically when the emulation is stopped. This file
                     then can be downloaded offline via the web API.
                     This .shunra file can be also created and downloaded on demand for a specific
                     single packet list online and offline.




                                                                                                     EXHIBIT A--224
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           86 226 of 464
                                                              of 128     PageID
                                                                     PageID     #: 993
                                                                            #: 314




                                                                vCat for Mobile Web Service API
                                                                                                     5-35
                                                                                       Chapter 5



                  Download .shunra file offline

                  Request

                  URL            http://ip:port/shunra/api/emulation/trafficresource/
                                 analysisresources/ be0d97a2-4dc4-42cf-9694-
                                 ca76601e6ffacf15225d-fe2e-459f-8191-cb7f6cc57bca

                  HTTP
                                 GET
                  Method

                  HTTP
                                 Accept: application/zip
                  Headers

                  HTTP Body


                  Download a .shunra file for a specific Packet List
                  Note: A two second timeout must be applied between the time a transaction
                  stops (all traffic has ended) and before this command is used, otherwise not all
                  of the transaction data will be included in the packet list.

                  Request
                  This method is available in online and offline modes.

                  URL             http://ip:port/shunra/api/emulation/trafficresource/
                                 analysisresources/ be0d97a2-4dc4-42cf-9694-
                                 ca76601e6ffacf15225d-fe2e-459f-8191-cb7f6cc57bca/
                                 ID_CLIENT_PL_FLOWS_1

                  HTTP
                                 GET
                  Method

                  HTTP
                                 Accept: application/zip
                  Headers

                  HTTP Body




                                                                                                EXHIBIT A--225
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           87 227 of 464
                                                              of 128     PageID
                                                                     PageID     #: 994
                                                                            #: 315




                vCat for Mobile Manual
         5-36
                Chapter 5



                     Response
                     The response includes a zipped .shunra results file.

                      HTTP
                      Response      200-OK
                      Code

                      HTTP
                      Headers

                      HTTP Body A file in .zip format


                Configuration Services
                     The following API functions are described:
                     )      Set Active Adapter
                     )      Get Active Adapter
                     )      Add Exclude IP/PORT Range
                     )      Remove Exclude IP/PORT Range
                     )      Get All Exclude IP/PORT Ranges
                     )      Get Version Info
                     )      Set Configuration
                     )      Get Configuration

                     Set Active Adapter
                     This API is a configuration API which influences all emulations. When more
                     than one Adapter is present in the system, the active Adapter must be set. The
                     active Adapter is the Adapter on which the emulation will be executed.
                     The IP value is checked against active Adapters available on the vCat for
                     Mobile machine. If the Adapter is not valid, an error is returned.
                     When the active Adapter does not change is does not have to be reset.




                                                                                                  EXHIBIT A--226
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           88 228 of 464
                                                              of 128     PageID
                                                                     PageID     #: 995
                                                                            #: 316




                                                                vCat for Mobile Web Service API
                                                                                                    5-37
                                                                                      Chapter 5



                  Request

                  URL          http://ip:port/shunra/api/configuration/adapter/

                  HTTP
                               PUT
                  Method

                  HTTP
                               Content-Type: application/json
                  Headers

                  Body         {"ip":"172.30.4.5","reverseDirection":"true"}


                  Response

                  HTTP
                  Response 204 - No Content
                  Code

                  HTTP
                  Headers

                  HTTP
                  Body


                  Get Active Adapter
                  This method returns the active adapter that was set previously; if the user has
                  not selected a value the default value in the system is used.

                  Request

                  URL          http://ip:port/shunra/api/configuration/adapter/

                  HTTP
                               GET
                  Method

                  HTTP
                               Accept: application/json
                  Headers




                                                                                                EXHIBIT A--227
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           89 229 of 464
                                                              of 128     PageID
                                                                     PageID     #: 996
                                                                            #: 317




                vCat for Mobile Manual
         5-38
                Chapter 5



                      Body


                     Response

                      HTTP
                      Response 200 - OK
                      Code

                      HTTP
                                 Content-Type: application/json
                      Headers

                      HTTP
                                 {"ip":"172.30.4.5","reverseDirection":"true"}
                      Body


                     Add Exclude IP/PORT Range
                     Adds the excluded range to the driver. This is a general configuration that
                     affects all emulations.
                     The protocol is an integer number based on the following protocol list:
                     http://en.wikipedia.org/wiki/List_of_IP_protocol_numbers
                     ) Port resolution is available only for TCP and UDP (6 & 17).
                     ) If port is not given, the default is all ports
                     ) If protocol is not given, the default is all protocols

                     Note: Port resolution is available only for TCP and UDP (6 and 17).


                     Request

                      URL         http://ip:port/shunra/api/configuration/exclude

                      HTTP
                                  POST
                      Method

                      HTTP
                                  Content-Type: application/json
                      Headers




                                                                                                   EXHIBIT A--228
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           90 230 of 464
                                                              of 128     PageID
                                                                     PageID     #: 997
                                                                            #: 318




                                                                vCat for Mobile Web Service API
                                                                                                   5-39
                                                                                      Chapter 5




                  Body         {"fromIp":"172.30.4.5","toIp":"198.168.4.5","port":5555,
                               "protocol":17}


                  Response

                  Http
                  Response 204- No Content
                  Code

                  HTTP
                  Headers

                  HTTP
                  Body


                  Remove Exclude IP/PORT Range
                  Request – Specific Range

                  URL          http://ip:port/shunra/api/configuration/exclude

                  HTTP
                               PUT
                  Method

                  HTTP
                               Content-Type: application/json
                  Headers

                  HTTP         {"fromIp":"172.30.4.5","toIp":"198.168.4.5","port":5555,
                  Body         "protocol":17}


                  Request – All Ranges
                  This request removes all ranges previously defined but not the default range
                  which includes the active adapter, TCP protocol and vCat server port.

                  URL        http://ip:port/shunra/api/configuration/exclude




                                                                                                 EXHIBIT A--229
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           91 231 of 464
                                                              of 128     PageID
                                                                     PageID     #: 998
                                                                            #: 319




                vCat for Mobile Manual
         5-40
                Chapter 5



                      HTTP
                                 DELETE
                      Method

                      HTTP
                      Headers

                      Body


                     Response

                      Http
                      Response 204 - No Content
                      Code

                      HTTP
                      Headers

                      HTTP
                      Body


                     Get All Exclude IP/PORT Ranges
                     Method designed to get all currently configured excluded ranges in the driver.

                     Request

                      URL         http://ip:port/shunra/api/configuration/exclude

                      HTTP
                                  GET
                      Method

                      HTTP
                                  Accept: application/json
                      Headers
                       Body




                                                                                                 EXHIBIT A--230
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           92 232 of 464
                                                              of 128     PageID
                                                                     PageID     #: 999
                                                                            #: 320




                                                              vCat for Mobile Web Service API
                                                                                                5-41
                                                                                   Chapter 5



                  Response

                  Http
                  Response 200 - OK
                  Code

                  HTTP
                  Headers
                             {
                  HTTP       "rangesCollection":[{"
                  Body       fromIp":"172.30.2.1",
                             "toIp":"172.30.2.1",
                             "protocol":6,
                             "port":8182
                             }]
                             }


                  Get Version Info
                  Gets the version number of the product and the type of emulation engine.

                  Request

                  URL        http://ip:port/shunra/api/configuration/version

                  HTTP
                             GET
                  Method

                  HTTP
                             Accept: application/json
                  Headers

                  Body


                  Response

                  HTTP
                  Response      200- OK
                  Code




                                                                                             EXHIBIT A--231
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page93233  of 464
                                                             of 128     PageID
                                                                     PageID    #: 1000
                                                                            #: 321




                vCat for Mobile Manual
         5-42
                Chapter 5



                      HTTP
                      Headers
                                  {
                      HTTP Body "versionProperties":{
                                  "JavaVersion":"1.6.0_21",
                                  "BuildNumber": "1.2.Not Real Deployment.Allowed
                                  only when running from SDK",
                                           "EmulationEngineType": "DRIVER",
                                           "MajorVersionNumber": "2.1.Not Real
                                  Deployment.Allowed only when running from SDK",
                                          "ProductDescription": "I am a DRIVER. I
                                  do not know why Someone wants me and what does
                                  this property means and from where I should be
                                  loaded",
                                           "productkey": "27"
                                      }
                                  }


                     Set Configuration
                     This method sets the vCat server’s general configuration. The configuration
                     can be executed only if an emulation is not currently running.

                     Note: The recommended size for "packetListMaxSizeMB" is 100MB.


                     Request

                      URL        http://ip:port/shunra/api/configuration

                      HTTP
                                 PUT
                      Method

                      HTTP
                                 Content-Type: application/json
                      Headers

                      Body       {"isOverrideIP":"false","isRouterModeOn":"true","isPacketListCaptu
                                 reCyclic":"true",
                                 "packetListMaxSizeMB":"2","minNumOfPaketListSpace":"2","isClean
                                 upEnabled":"true/false"}




                                                                                                   EXHIBIT A--232
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page94234  of 464
                                                             of 128     PageID
                                                                     PageID    #: 1001
                                                                            #: 322




                                                             vCat for Mobile Web Service API
                                                                                               5-43
                                                                                  Chapter 5



                  Response

                   HTTP
                   Response    204 - No Content
                   Code

                   HTTP
                   Headers

                   HTTP Body


                  Get Configuration
                  Request

                   URL         http://ip:port/shunra/api/configuration

                   HTTP
                               GET
                   Method

                   HTTP
                               Accept: application/json
                   Headers

                   HTTP Body


                  Response

                   HTTP
                   Response    200-OK
                   Code

                   HTTP
                   Headers




                                                                                           EXHIBIT A--233
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page95235  of 464
                                                             of 128     PageID
                                                                     PageID    #: 1002
                                                                            #: 323




                vCat for Mobile Manual
         5-44
                Chapter 5



                                   {
                      HTTP Body
                                   "isOverrideIP":"false",
                                   "isRouterModeOn":
                                   "true",
                                   "isPacketListCaptureCyclic":
                                   "true",
                                   "packetListMaxSizeMB":"2"
                                   }


                Transaction Manager
                     The following are the API functions for Transaction Manager:
                     )      Connect
                     )      Disconnect
                     )      StartTransaction
                     )      StopTransaction

                     Connect
                     This message is sent to the vCat when the Transaction Manager connects to an
                     emulation that is currently running.

                     Parameters:
                     ) clientIdentifier: The Transaction Manager client's IP address.; it should
                       be a valid IPv4 address. Used by the server to connect when the Endpoint
                       Identifier is not given, and to determine whether the client is already
                       connected.
                     ) overwriteExistingConnection: A boolean flag that indicates whether or
                       not to overwrite an existing connection.
                     ) endpointIdentifier: (Optional) The ID of the Endpoint we wish to
                       connect to from the Transaction Manager. If a localhost connection is
                       used then this parameter can be omitted.

                     Return value:
                     Request




                                                                                                EXHIBIT A--234
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page96236  of 464
                                                             of 128     PageID
                                                                     PageID    #: 1003
                                                                            #: 324




                                                               vCat for Mobile Web Service API
                                                                                                     5-45
                                                                                       Chapter 5




                   URL                         http://ip:port/shunra/api/transactionmanager

                   HTTP Method                 POST

                   HTTP Headers                Content-Type: application/json
                                               Accept: application/json

                   Body                        {"endpointIdentifier":"ID_SERVER","clientIdentifier
                                               ":"172.30.2.99","overwriteExistingConnection":"tru
                                               e"}

                  Response

                   HTTP Response Code         200 OK

                   HTTP Headers                Date: Thu, 15 Mar 2012 15:36:11 GMT
                                               Content-Type: application/json; charset=UTF-8
                                               Accept-Ranges: bytes

                   HTTP Body                   {"transactionManagerSessionIdentifiers":{"tmSessi
                                               onHandle":"Aead518af-3fa3-460c-9be5-
                                               fc3b6a7101cfB","emulationHandle":"bf681884-
                                               aa3c-4164-b23b-
                                               c95918ce6ad0","tmClientEndpointId":"ID_SERVE
                                               R","tmClientHostName":"127.0.0.1","topologyWith
                                               PacketLists":true}}

                  Disconnect
                  This method disconnects the Transaction Manager from the emulation engine.

                  Parameters:
                  ) transactionManagerSessionIdentifiers: Transaction manager session
                      identifiers, as given during "Connect". These identifiers will be used
                      during the whole session (connect, start and end transaction and
                      disconnect).

                  Return value:
                  Request




                                                                                                EXHIBIT A--235
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page97237  of 464
                                                             of 128     PageID
                                                                     PageID    #: 1004
                                                                            #: 325




                vCat for Mobile Manual
         5-46
                Chapter 5




                      URL                         http://ip:port/shunra/api/transactionmanager

                      HTTP Method                 PUT

                      HTTP Headers                Content-Type: application/json
                                                  Accept: application/json

                      Body                        {"transactionManagerSessionIdentifiers":{"tmSessi
                                                  onHandle":"Aead518af-3fa3-460c-9be5-
                                                  fc3b6a7101cfB","emulationHandle":"bf681884-
                                                  aa3c-4164-b23b-
                                                  c95918ce6ad0","tmClientEndpointId":"ID_SERVE
                                                  R","tmClientHostName":"127.0.0.1","topologyWith
                                                  PacketLists":true}}

                     Response

                      HTTP Response Code          204 No Content

                      HTTP Headers                Date: Thu, 15 Mar 2012 16:09:31 GMT
                                                  Connection: keep-alive
                                                  Content-Length: 0
                                                  Server: Restlet-Framework/2.0.10
                                                  Content-Type: application/octet-stream;
                                                  charset=UTF-8
                                                  Cache-Control: no-cache, no-store
                                                  Accept-Ranges: bytes

                      HTTP Body

                     StartTransaction
                     Marks the "start transaction" action in the emulation engine.

                     Note: A one second timeout must be applied between the ’StartTransaction’
                     command and the start of the actual transaction.


                     Parameters:
                     ) transactionName: The transaction name




                                                                                                 EXHIBIT A--236
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page98238  of 464
                                                             of 128     PageID
                                                                     PageID    #: 1005
                                                                            #: 326




                                                               vCat for Mobile Web Service API
                                                                                                    5-47
                                                                                      Chapter 5



                  ) transactionManagerSessionIdentifiers: Transaction manager session
                      identifiers, as given during Connect. These identifiers will be used during
                      the whole session (connect, start and end transaction and disconnect).
                  Return value:
                  ) transactionIdentifiers: The transaction identifiers, it is used in stop
                      transaction command.
                  Request

                   URL                        http://ip:port/shunra/api/transactionmanager/
                                              transaction

                   HTTP Method                POST

                   HTTP Headers               Content-Type: application/json
                                              Accept: application/json

                   Body                       {"transactionName":"transaction1","transactionMa
                                              nagerSessionIdentifiers":{"tmSessionHandle":"Aea
                                              d518af-3fa3-460c-9be5-
                                              fc3b6a7101cfB","emulationHandle":"bf681884-
                                              aa3c-4164-b23b-
                                              c95918ce6ad0","tmClientEndpointId":"ID_SERVE
                                              R","tmClientHostName":"127.0.0.1","topologyWith
                                              PacketLists":true}}

                  Response

                   HTTP Response Code         200 OK

                   HTTP Headers               Date: Thu, 15 Mar 2012 15:55:38 GMT
                                              Transfer-Encoding: chunked
                                              Connection: keep-alive
                                              Server: Restlet-Framework/2.0.10
                                              Content-Type: application/json; charset=UTF-8
                                              Cache-Control: no-cache, no-store
                                              Accept-Ranges: bytes




                                                                                                EXHIBIT A--237
CaseCase
     4:18-cv-00519-ALM  Document1-9
         4:18-cv-00468 Document  42-2Filed
                                       Filed 12/23/19Page
                                           07/02/18   Page99239  of 464
                                                             of 128     PageID
                                                                     PageID    #: 1006
                                                                            #: 327




                vCat for Mobile Manual
         5-48
                Chapter 5



                      HTTP Body                  {"transactionIdentifiers":{"startTransactionTimesta
                                                 mp":1331826938560,"startTransactionName":"tra
                                                 nsaction1"}}

                     StopTransaction
                     Marks the "stop transaction" action in the emulation engine.

                     Parameters:
                     ) transactionDescription: The transaction description
                     ) Passed: A Boolean flag indicating passed or failed transaction
                     ) transactionIdentifiers: The transaction identifiers, it is used in stop
                       transaction command.
                     ) transactionManagerSessionIdentifiers: Transaction manager session
                       identifiers, as given during Connect. These identifiers will be used during
                       the whole session (connect, start and end transaction and disconnect).

                     Return value:
                     Request

                      URL                        http://ip:port/shunra/api/transactionmanager/
                                                 transaction

                      HTTP Method                PUT

                      HTTP Headers               Content-Type: application/json
                                                 Accept: application/json

                      Body                       {"transactionDescription":"login","passed":"true","tr
                                                 ansactionIdentifiers":{"startTransactionTimestamp
                                                 ":1331826938560,"startTransactionName":"transa
                                                 ction1"},"transactionManagerSessionIdentifiers":{"
                                                 tmSessionHandle":"Aead518af-3fa3-460c-9be5-
                                                 fc3b6a7101cfB","emulationHandle":"bf681884-
                                                 aa3c-4164-b23b-
                                                 c95918ce6ad0","tmClientEndpointId":"ID_SERVE
                                                 R","tmClientHostName":"127.0.0.1","topologyWith
                                                 PacketLists":true}}




                                                                                                    EXHIBIT A--238
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           100240 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3281007




                                                                vCat for Mobile Web Service API
                                                                                                     5-49
                                                                                      Chapter 5



                   Response

                   HTTP Response Code          204 No Content

                   HTTP Headers                Date: Thu, 15 Mar 2012 16:05:34 GMT
                                               Connection: keep-alive
                                               Content-Length: 0
                                               Server: Restlet-Framework/2.0.10
                                               Content-Type: application/octet-stream;
                                               charset=UTF-8
                                               Cache-Control: no-cache, no-store
                                               Accept-Ranges: bytes

                   HTTP Body


              License Manager
                   The following are the API functions for Transaction Manager:
                   )   Get Installed Products' Information
                   )   Get Local License Servers
                   )   Checkout License from the Local License Server
                   )   Check-in License to the Local License Server

                   Get Installed Products' Information
                   This API returns license information regarding all Shunra products that have
                   been installed on the machine.

                   Get Information about a Specific Product
                   This API returns license information regarding a specific Shunra product that
                   has been installed on the machine.

                   Parameters:
                   productkey - Shunra product ID; this parameter is used when requesting
                   specific product information.




                                                                                                   EXHIBIT A--239
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           101241 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3291008




                 vCat for Mobile Manual
          5-50
                 Chapter 5



                      Return value:
                      installedProduct - the installed product's name.
                      Request

                       URL                       http://ip:port/shunra/api /license/products/
                                                 {productkey}

                       HTTP Method               GET

                       HTTP Headers              Content-Type: application/json
                                                 Accept: application/json

                       Body

                      Response

                       HTTP
                       Response     200 OK
                       Code

                       HTTP         Date: Thu, 15 Mar 2012 15:55:38 GMT
                       Headers      Content-Type: application/json; charset=UTF-8
                                    Accept-Ranges: bytes




                                                                                                EXHIBIT A--240
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           102242 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3301009




                                                     vCat for Mobile Web Service API
                                                                                       5-51
                                                                          Chapter 5



                            {
                   HTTP
                                "productSummary": {
                   Body
                                  "name": "Shunra vCat for Mobile",
                                  "description": "Shunra vCat for Mobile",
                                  "version": "${env.APPLICATION_VERSION}",
                                  "buildVersion": "${env.APPLICATION_BUILD} "
                                },
                                -
                                "licenseSpecification": {
                                  "productKey": "66",
                                  "isCheckoutAllowed": false,
                                  "haspId": "1118888129969594216",
                                  "isCheckedOut": false,
                                  "isExpired": false,
                                  "fingerprint_change": null,
                                  "productFeatures": {
                                    "23": {
                                      "name": "Run network emulation",
                                      "friendlyName": "Run network emulation",
                                      "id": "23",
                                      "type": "Trial",
                                      "value": "Not Started",
                                      "internalValue": "1970 1 3 0:0:0"
                                    },
                                    -
                                    "24": {
                                      "name": "Utilize packet lists",
                                      "friendlyName": "Utilize packet lists",
                                      "id": "24",
                                      "type": "Trial",
                                      "value": "Not Started",
                                      "internalValue": "1970 1 3 0:0:0"
                                    },




                                                                                   EXHIBIT A--241
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           103243 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3311010




                 vCat for Mobile Manual
          5-52
                 Chapter 5



                                         -
                                         "66": {
                                           "name": "Access global library",
                                           "friendlyName": "Access global library",
                                           "id": "66",
                                           "type": "Trial",
                                           "value": "Not Started",
                                           "internalValue": "1970 1 3 0:0:0"
                                         },
                                         -
                                         "67": {
                                           "name": "Run analytics",
                                           "friendlyName": "Run analytics",
                                           "id": "67",
                                           "type": "Trial",
                                           "value": "Not Started",
                                   "internalValue": "1970 1 3 0:0:0"
                                         },
                                         -
                                         "68": {
                                           "name": "Run multi-user mode",
                                           "friendlyName": "Run multi-user mode",
                                           "id": "68",
                                           "type": "Trial",
                                           "value": "Not Started",
                                           "internalValue": "1970 1 3 0:0:0"
                                         },
                                         -
                                         "69,72,73,74,75,76,77,78": {
                                           "name": "Maximum number of concurrent
                                   test flows",
                                           "friendlyName": "Maximum number of
                                   concurrent test flows",
                                           "id": "69,72,73,74,75,76,77,78",
                                           "type": "Trial",
                                           "value": "Not Started",
                                           "internalValue": "10"
                                         }
                                         -
                                       }
                                       -
                                     }
                                     -
                                   }




                                                                                  EXHIBIT A--242
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           104244 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3321011




                                                               vCat for Mobile Web Service API
                                                                                                   5-53
                                                                                      Chapter 5



                   Get Information about all Installed Products
                   This API returns the names of all Shunra products that have been installed on
                   the machine.
                   Parameters:
                   Return value:
                   installedProducts - the installed products' description.
                   Request

                   URL                         http://ip:port/shunra/api /license/products

                   HTTP Method                 GET

                   HTTP Headers                Content-Type: application/json
                                               Accept: application/json

                   Body

                   Response

                   HTTP
                   Response      200 OK
                   Code

                   HTTP          Date: Thu, 15 Mar 2012 15:55:38 GMT
                   Headers       Content-Type: application/json; charset=UTF-8
                                 Accept-Ranges: bytes




                                                                                               EXHIBIT A--243
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           105245 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3331012




                 vCat for Mobile Manual
          5-54
                 Chapter 5



                                   {
                       HTTP          "installedProducts": {
                       Body            "43": {
                                         "productSummary": {
                                           "name": "Shunra Analytics",
                                           "description": "Shunra Analyzer",
                                           "version": "8.5",
                                           "buildVersion": "0.52 "
                                         },
                                         -
                                         "licenseSpecification": {
                                           "productKey": "43",
                                           "isCheckoutAllowed": false,
                                           "haspId": "1011823765196572976",
                                           "isCheckedOut": false,
                                           "isExpired": false,
                                           "fingerprint_change": null,
                                           "productFeatures": {
                                             "20": {
                                               "name": "Allow to Run Analytics",
                                               "friendlyName": "Allow to Run
                                   Analytics",
                                               "id": "20",
                                               "type": "Trial",
                                               "value": "Not Started",
                                               "internalValue": "1970 1 3 0:0:0"
                                             }
                                             -
                                           }
                                           -
                                         }
                                         -
                                       },
                                       -
                                       "66": {
                                         "productSummary": {
                                           "name": "Shunra vCat for Mobile",
                                           "description": "Shunra vCat for Mobile",
                                           "version": "8.5",
                                           "buildVersion": "0.123 "
                                         },
                                         -




                                                                                  EXHIBIT A--244
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           106246 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3341013




                                                   vCat for Mobile Web Service API
                                                                                     5-55
                                                                        Chapter 5



                                 },
                                 -
                                 "licenseSpecification": {
                                   "productKey": "66",
                                   "isCheckoutAllowed": false,
                                   "haspId": "1087849214784939015",
                                   "isCheckedOut": false,
                                   "isExpired": false,
                                   "fingerprint_change": null,
                                   "productFeatures": {
                                     "23": {
                                       "name": "Run network emulation",
                                       "friendlyName": "Run network
                            emulation",
                                       "id": "23",
                                       "type": "Trial",
                                       "value": "Not Started",
                                       "internalValue": "1970 1 3 0:0:0"
                            },
                                     -
                                     "24": {
                                       "name": "Utilize packet lists",
                                       "friendlyName": "Utilize packet
                            lists",
                                       "id": "24",
                                       "type": "Trial",
                                       "value": "Not Started",
                                       "internalValue": "1970 1 3 0:0:0"
                                     },
                                     -
                                     "66": {
                                       "name": "Access global library",
                                       "friendlyName": "Access global
                            library",
                                       "id": "66",
                                       "type": "Trial",
                                       "value": "Not Started",
                                       "internalValue": "1970 1 3 0:0:0"
                                     },




                                                                                 EXHIBIT A--245
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           107247 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3351014




                 vCat for Mobile Manual
          5-56
                 Chapter 5



                                             -
                                             "67": {
                                               "name": "Run analytics",
                                               "friendlyName": "Run analytics",
                                               "id": "67",
                                               "type": "Trial",
                                               "value": "Not Started",
                                               "internalValue": "1970 1 3 0:0:0"
                                             },
                                             -
                                             "68": {
                                               "name": "Run multi-user mode",
                                               "friendlyName": "Run multi-user mode",
                                               "id": "68",
                                               "type": "Trial",
                                               "value": "Not Started",
                                               "internalValue": "1970 1 3 0:0:0"
                                             },
                                             -
                                             "69,72,73,74,75,76,77,78": {
                                               "name": "Maximum number of concurrent
                                   test flows",
                                               "friendlyName": "Maximum number of
                                   concurrent test flows",
                                               "id": "69,72,73,74,75,76,77,78",
                                               "type": "Trial",
                                               "value": "Not Started",
                                               "internalValue": "10"
                                             }
                                             -
                                           }
                                           -
                                         }
                                         -
                                       }
                                       -
                                     }
                                     -
                                     }


                      Get Local License Servers
                      This API returns information about all the machines that:




                                                                                   EXHIBIT A--246
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           108248 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3361015




                                                                vCat for Mobile Web Service API
                                                                                                    5-57
                                                                                        Chapter 5



                   ) are visible in the network segment
                   ) support checkout license operation for the installed product
                   ) have appropriate license pool installed
                   Parameters:
                   productkey: The ID of the Shunra product for which the License Server
                   should support checkout of licenses.
                   Return value:
                   licenseServers - the name (descriptors) of the visible local License Servers
                   that have product license pools, supporting checkout of licenses.
                   Request

                   URL                          http://ip:port/shunra/api /license/servers/
                                                {productkey}

                   HTTP Method                  GET

                   HTTP Headers                 Content-Type: application/json
                                                Accept: application/json

                   Body

                   Response

                   HTTP
                   Response      200 OK
                   Code

                   HTTP          Date: Thu, 15 Mar 2012 15:55:38 GMT
                   Headers       Content-Type: application/json; charset=UTF-8
                                 Accept-Ranges: bytes




                                                                                                  EXHIBIT A--247
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           109249 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3371016




                 vCat for Mobile Manual
          5-58
                 Chapter 5



                                   {
                       HTTP          "licenseServers": [(3)
                       Body            {
                                         "hostname": "IL-IGOR-VM",
                                         "ip": "127.0.0.1",
                                         "osname": "Windows 7 Enterprise",
                                         "osversion": "Build 7601",
                                         "version": "13.20.1.22521",
                                         "name": "IL-IGOR-VM",
                                         "architecture": "Intel64 Family 6 Model 42
                                   Stepping 7",
                                         "fingerprint": "MXhJScsMEdMkCs9YNU1SMeNI6Df
                                   mlPJiiZvnFGt3LvBtEDS4f6lwBO45atQMiPI=",
                                         "id": "7EgOQpiUdFBwdnsrgq10drS84DaN/
                                   Ue2lUa7f1UA",
                                         "uptime": "831",
                                         "time": "1348155642"
                                       },
                                       -
                                       {
                                         "hostname": "2008-SP2-64",
                                         "ip": "172.30.2.30",
                                         "osname": "Windows Server (R) 2008 Standard
                                   without Hyper-V",
                                         "osversion": "Build 6002",
                                         "version": "13.20.1.22521",
                                         "name": "IL-IGOR-VM",
                                         "architecture": "Intel64 Family 6 Model 26
                                   Stepping 5",
                                         "fingerprint": "MXhJSemJkxxaGajYvejmqEAk1Zj
                                   lxj3iCOkY+InD5IyuNJ0VwhTNf72M5siAaSJVXOKkXHL3nsC
                                   /eAQnxTkX",
                                         "id": "MxO5Y6fU5aFqEZN8H8O2BGUFXvaM05q3vUui
                                   CYcA",
                                         "uptime": "3288917",
                                         "time": "1348155545"
                                       },
                                       -
                                       {




                                                                                  EXHIBIT A--248
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           110250 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3381017




                                                                vCat for Mobile Web Service API
                                                                                                     5-59
                                                                                       Chapter 5



                                      "hostname": "HV2-764",
                                      "ip": "172.30.2.44",
                                      "osname": "Windows 7 Enterprise",
                                      "osversion": "Build 7601",
                                      "version": "13.20.1.22521",
                                      "name": "IL-IGOR-VM",
                                      "architecture": "Intel64 Family 6 Model 23
                                Stepping 10",
                                      "fingerprint": "MXhJScsUEdKkD8pYNU3SMcNI+Df
                                mlvJugRvllOhxDvBNEDWof7FoBOY5a9aMiDI=",
                                      "id": "+5ucgiEKV2VGIsG9ga2CFP27xQCCAGyOc3c2
                                siUA",
                                      "uptime": "163308",
                                      "time": "1348155640"
                                    }
                                    -
                                  ]
                                  -
                                }


                   Checkout License from the Local License Server
                   This API allow checkout of a license from License Server visible on the network
                   segment, which has an appropriate product license pool. The API is asynchro-
                   nous and has two stages:
                   1 Checkout request
                   2   Get checkout operation status

                   Checkout License
                   This API initiates checkout of a license.
                   Body:
                   checkoutParameters - The configuration of the checkout operation. It
                   includes:
                   ) "Product key
                   ) "Duration in seconds
                   ) "IP of the local license server
                   Return value:




                                                                                                EXHIBIT A--249
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           111251 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3391018




                 vCat for Mobile Manual
          5-60
                 Chapter 5



                      Request

                       URL                         http://ip:port/shunra/api /license/checkout

                       HTTP Method                 POST

                       HTTP Headers                Content-Type: application/json
                                                   Accept: application/json

                       Body                        {"productKey":"43","duration":1036800,"ip":"172.
                                                   30.2.30"}

                      Response

                       HTTP
                       Response     200 OK
                       Code

                       HTTP         Date: Thu, 15 Mar 2012 15:55:38 GMT
                       Headers      Content-Type: application/json; charset=UTF-8
                                    Accept-Ranges: bytes

                       HTTP
                       Body


                      Checkout Status
                      The API validates the status of the license currently being checked out.
                      Parameters:
                      productkey - The ID of the Shunra product for which the checkout is going
                      to occur.
                      Return value:
                      LicenseModificationStatus - the status and the error description (if an
                      error occurred during the checkout). The possible statuses are:
                      // a job still has not been started
                        Idle(0),
                      // a job started
                        Started(1),
                      // a job finished




                                                                                                  EXHIBIT A--250
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           112252 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3401019




                                                                  vCat for Mobile Web Service API
                                                                                                        5-61
                                                                                         Chapter 5



                     Finished(2),
                   // a job failed
                     Failed(3);
                   Request

                   URL                          http://ip:port/shunra/api /license/checkout//
                                                {productkey}

                   HTTP Method                  GET

                   HTTP Headers                 Content-Type: application/json
                                                Accept: application/json

                   Body

                   Response

                   HTTP
                   Response      200 OK
                   Code

                   HTTP          Date: Thu, 15 Mar 2012 15:36:11 GMT
                   Headers       Content-Type: application/json; charset=UTF-8
                                 Accept-Ranges: bytes
                                  {
                   HTTP
                                   "statusDescription": null,
                   Body
                                   "licenseStatus": "Finished"
                                   }


                   Check-in License to the Local License Server
                   This API allows check in of a license back to a visible license server which has
                   an appropriate product license pool. The API is asynchronous and has two
                   stages:
                   1 Checkin request
                   2   Get checkin status

                   Check In License
                   This API initiates the checkout license operation.




                                                                                                      EXHIBIT A--251
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           113253 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3411020




                 vCat for Mobile Manual
          5-62
                 Chapter 5



                      Body:
                      checkinParameters - The configuration of the check in operation; it
                      includes the product ID, and also which license has been checked out from the
                      pool.
                      Return value: -
                      Request

                       URL                         http://ip:port/shunra/api /license/checkin

                       HTTP Method                 POST

                       HTTP Headers                Content-Type: application/json
                                                   Accept: application/json

                       Body                        {"productKey":"43"}

                      Response

                       HTTP
                       Response     200 OK
                       Code

                       HTTP         Date: Thu, 15 Mar 2012 15:36:11 GMT
                       Headers      Content-Type: application/json; charset=UTF-8
                                    Accept-Ranges: bytes

                       HTTP
                       Body


                      Check In Status
                      This API validates the current status of the license currently being checked in.
                      Parameters:
                      productkey - The ID of the Shunra product for which the license check in is
                      going to occur.
                      Return value:




                                                                                                     EXHIBIT A--252
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           114254 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3421021




                                                                vCat for Mobile Web Service API
                                                                                                    5-63
                                                                                        Chapter 5



                   LicenseModificationStatus - the status and the error description (if an
                   error occurred during the license check in).
                   The possible statuses are:
                   // a job still has not been started
                     Idle(0),
                   // a job started
                     Started(1),
                   // a job finished
                     Finished(2),
                   // a job failed
                     Failed(3);
                   Request

                   URL                          http://ip:port/shunra/api /license/checkin//
                                                {productkey}

                   HTTP Method                  GET

                   HTTP Headers                 Content-Type: application/json
                                                Accept: application/json

                   Body

                   Response

                   HTTP
                   Response      200 OK
                   Code

                   HTTP          Date: Thu, 15 Mar 2012 15:36:11 GMT
                   Headers       Content-Type: application/json; charset=UTF-8
                                 Accept-Ranges: bytes
                                  {
                   HTTP
                                "statusDescription": null,
                   Body
                                "licenseStatus": "Finished"
                                }




                                                                                                EXHIBIT A--253
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           115255 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3431022




                 vCat for Mobile Manual
          5-64
                 Chapter 5




                                                                       EXHIBIT A--254
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           116256 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3441023




                                                            vCat for Mobile Command Line Interface
                                                                                                             6-1
                                                                                             Chapter 6




                                                                                                 6
              vCat for Mobile Command Line
              Interface                                                                            5:

                   The vCat for Mobile Command Line Interface (CLI) is included in the vCat for
                   Mobile installation. It delivers an API for almost all functionality that is available
                   via vCat for Mobile's web services, with the exception of the Transaction Man-
                   ager functionality and online sta tistics. It requires that the vCat Server is up
                   and running.
                   Note: Only absolute paths (not relative paths) can be entered for files requried byt
                   the CLI.

                   To obtain help for a command:
                       type: vcatcli <command> -help


              Commands
                   The following commands are available:
                   ) DownloadExternalEvents
                   ) DownloadShunraFile
                   ) SetConfiguration
                   ) StartAdvanceEmulation
                   ) GetActiveAdapter
                   ) GetEmulationParameters
                   ) DownloadPL
                   ) GetExcludeRanges
                   ) SetActiveAdapter
                   ) GetServerConfiguration
                   ) StopEmulation




                                                                                                          EXHIBIT A--255
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           117257 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3451024




                vCat Manual
          6-2
                Chapter 6


                     )       StartCapture
                     )       StopCapture
                     )       IsCapturing
                     )       UpdateEmulation
                     )       StartEmulation
                     )       GetIdentifiers
                     )       ResetDriver
                     )       DeleteExcludeRange
                     )       AddExcludeRange
                     )       GetPacketListIds
                     )       GetProductVersion
                     )       UpdateAdvanceEmulation
                     )       StartCapture

                     DownloadExternalEvents
                     Downloads external events file from the vCat for Mobile server.
                     Usage: DownloadExternalEvents [options]

                     Options
                      -f, -force         Overrides the destination file if a destination file
                                         exists (default: false)

                     -file               Destination file name for resource download (existing
                                         file will be overridden)
                                         (-file <file path>)

                     -identifier, -id    Emulation identifier (-id <emulation_id>)


                     DownloadShunraFile
                     Downloads .shunra file from the vCat for Mobile server.

                     Note: A two second timeout must be applied between the time a transaction
                     stops (all traffic has ended) and before this command is used, otherwise not all
                     of the transaction data will be included in the packet list.




                                                                                                    EXHIBIT A--256
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           118258 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3461025




                                                             vCat for Mobile Command Line Interface
                                                                                                           6-3
                                                                                               Chapter 6



                   Usage: DownloadShunraFile [options]

                   Options
                       -f, -force          Overrides the destination file if a destination file
                                           exists (default: false)

                       -file               Destination file name for resource download (existing
                                           file will be overridden)
                                           (-file <file path>)

                       -identifier, -id    Emulation identifier (-id <emulation_id>)

                       -pIID               Identifier of a packet list <-pIID <pl_id>)


                   SetConfiguration
                   Sets vCat for Mobile server's configuration.
                   Usage: SetConfiguration [options]
                   \




                   Options
                                          Should Packet List Capturing be cyclic (-cyclic <true |
                       -cyclic
                                          false>)
                       -enableCleanup      Enable or disable the cleanup of historic data (-
                                           enableCleanup <true | false>)

                       -minNumOfPak-       The threshold of packet lists size (default: 3)
                       etListSpace
                                          Turn on/off override IP feature (-overrideIP <true |
                       -overrideIP
                                          false>)
                       -packetListMax-     The Max size of Packet List in MB (default: 100))
                       Size                (must be in range 1-1000 )
                                           (-packetListMaxSize <val>)
                                           (default: -2147483648)

                       -routerModeOn        Should the vCat server work in router mode (-
                                           routerModeOn <true | false>)




                                                                                                       EXHIBIT A--257
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           119259 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3471026




                vCat Manual
          6-4
                Chapter 6


                     StartAdvanceEmulation
                     Start Advanced mode emulation.
                     Usage: StartAdvanceEmulation [options]

                     Option
                      -bw, -bandwidth Bandwidth restriction. Must be in range of 2.4-10 GB
                                      When this parameter is missing, unrestricted
                                      bandwidth is assumed
                                      (-bw <value >) (default: -2.147483648E9)

                     -capturePL           Should emulation capture client's packet list (-
                                         capturePL) (default: false)

                      -lat, -latency      Fixed latency for emulation, must be an integer in
                                         range 0-8000. (-latency <value>) (default: 0)

                     -loss                Packet loss rate, must be a number in range 0.0-90.0.
                                         (-loss <value>) (default: 0.0)


                     GetActiveAdapter
                     Get Active adapter configured on the vCat for Mobile server.
                     Usage: GetActiveAdapter [options]

                     GetEmulationParameters
                     Gets current emulation parameters.
                     Usage: GetEmulationParameters [options]

                     DownloadPL
                     Downloads the packet list from the vCat for Mobile server.

                     Note: A two second timeout must be applied between the time a transaction
                     stops (all traffic has ended) and before this command is used, otherwise not all
                     of the transaction data will be included in the packet list.




                                                                                                    EXHIBIT A--258
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           120260 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3481027




                                                         vCat for Mobile Command Line Interface
                                                                                                    6-5
                                                                                        Chapter 6



                   Usage: DownloadPL [options]

                   Option
                                      Overrides the destination file if such exists.
                   -f, -force

                   -file               Destination file name for resource download (will be
                                       overridden) (-file <file path>)

                   -identifier, -id    Emulation identifier (-id <emulation_id>)

                   -plID               Identifier of a packet list (-plID <pl_id>)


                   GetExcludeRanges
                   Get server's automatically excluded ranges
                   Usage: GetExcludeRanges [options]

                   SetActiveAdapter
                   Sets the Active adapter on the vCat for Mobile server
                   Usage: SetActiveAdapter [options]

                   Option
                   ip, -IP             Active adapter IP (-ip <IP>)

                   -rd, -RD            Reverse directions (-rd <RD>) (default: false)


                   GetServerConfiguration
                   Gets the product's configuration information.
                   Usage: GetServerConfiguration [options]




                                                                                                EXHIBIT A--259
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           121261 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3491028




                vCat Manual
          6-6
                Chapter 6


                     StopEmulation
                     Stops current emulation.
                     Option
                     identifier, -id     Emulation identifier (-id <emulation_id>)

                     Note: A two second timeout must be applied between the time a transaction
                     stops (all traffic has ended) and before this command is used, otherwise not all
                     of the transaction data will be included in the packet list.


                     StartCapture
                     Usage: StartCapture [options]

                     Options
                     -id                 Identifier of a packet list that should be captured
                                         (-id <id>).
                                         * Don't use this option if global capture is required.


                     StopCapture
                     Usage: StopCapture [options]

                     Options
                     -id                 Identifier of a packet list that should stop being
                                         captured.
                                         (-id <id>).
                                         * Don't use this option if global capture is required.


                     IsCapturing
                     Gets the status of the Packet List capture.
                     Usage: IsCapturing [options]




                                                                                                    EXHIBIT A--260
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           122262 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3501029




                                                          vCat for Mobile Command Line Interface
                                                                                                     6-7
                                                                                         Chapter 6




                   Option
                                       Identifier of a packet list whose status is being
                                       queried.
                                       (-id <id>).
                                       * Don't use this option if global capture is required.


                   UpdateEmulation
                   Usage: UpdateEmulation [options]

                   Option
                   -file               Path to the location of the network file
                                       (-file <file>)

                   -identifier, -id    Emulation identifier
                                       (-id <emulation_id>)


                   StartEmulation
                   Usage: StartEmulation [options]

                   Option
                   -file               Path to the location of the network file
                                       (-file <file>)


                   GetIdentifiers
                   Gets identifiers of all currently running emulations.
                   Usage: GetIdentifiers [options]

                   ResetDriver
                   Resets the vCat for Mobile driver which stops all currently running emulations.
                   Usage: ResetDriver [options]




                                                                                                 EXHIBIT A--261
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           123263 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3511030




                vCat Manual
          6-8
                Chapter 6


                     DeleteExcludeRange
                     Removes a specific excluded range from the configuration.
                     Usage: DeleteExcludeRange [options]

                     Option
                     -from, -fromIp      IP which identifies the beginning of the excluded
                                        range(-from <IP>)

                     -port               Port number to be excluded
                                        (defaults to 'all')
                                        (-port <port_number>)
                                        (default: 0)

                     -protocol          Protocol ID to be excluded
                                        (defaults to 'all')
                                        (-protocol <protocol_number>)
                                        (default: 0)

                     -to, -toIp          IP which identifies the end of the excluded range
                                        (-from <IP>)


                     AddExcludeRange
                     Adds a specific excluded rangeto the configuration.
                     Usage: AddExcludeRange [options]
                     Option
                     -from, -fromIp      IP which identifies the beginning of the exclude
                                        range(-from <IP>)

                     -port              Port number to be excluded (defaults to 'all') (-port
                                        <port_number>) (default: 0)

                     -protocol          Protocol id to be excluded (defaults to 'all') (-protocol
                                        <protocol_number>) (default: 0)

                     -to, -toIp          IP which identifies the end of the exclude range
                                        (-from <IP>)




                                                                                                    EXHIBIT A--262
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           124264 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3521031




                                                        vCat for Mobile Command Line Interface
                                                                                                   6-9
                                                                                       Chapter 6



                   GetPacketListIds
                   Gets the Packet Lists IDs from current or previous emulations.
                   Usage: GetPacketListIds [options]

                   Option
                   -identifier, -id    Emulation identifier (-id <emulation_id>)


                   GetProductVersion
                   Gets the version number of the product.
                   Usage: GetProductVersion [options]

                   UpdateAdvanceEmulation
                   Updates advanced mode emulations that are already playing.
                   Usage: UpdateAdvanceEmulation [options]

                   Option
                    -bw, -bandwidth Bandwidth restriction. Must be in range of 2.4-
                                    100000.0
                                    When this parameter is missing, unrestricted
                                    bandwidth is assumed
                                    (-bw <value >) (default: -2.147483648E9)

                   -identifier, -id    Emulation identifier (-id <emulation_id>)

                    -lat, -latency      Fixed latency for emulation, must be an integer in
                                       range 0-8000.
                                       (-latency <value>)
                                       (default: 0)

                   -loss                Packet loss rate, must be a number in range 0.0-90.0.
                                       (-loss <value>)
                                       (default: 0.0)




                                                                                                EXHIBIT A--263
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           125265 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3531032




                 vCat Manual
          6-10
                 Chapter 6


                      DeleteAllExcludeRanges
                      Deletes all automatically excluded ranges.
                      Usage: DeleteAllExcludeRanges [options]




                                                                       EXHIBIT A--264
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           126266 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3541033




                                                             Network Emulation Specifications
                                                                                                  7-1
                                                                                   Chapter 7




                                                                                       7
              Network Emulation Specifications 7

                   The following impairments can be configured in the Shunra Network Editor.


                    WAN Shape Impairments

                    Latency

                        Fixed Latency                 0–1000 ms (Granularity =1 ms)

                        Uniform Distributed           0–8000 ms (Granularity =1 ms)
                        Latency (minimum/maxi-
                        mum)

                        Normal Distributed Latency:

                              Average                 0–8000 ms (Granularity =1 ms)

                              Standard Deviation      0–8000 ms (Granularity =1ms)

                        Linear latency                0–8000 ms (Granularity =1 ms)
                        (minimum/maximum):

                              Cycle Duration          1–65535 sec

                    Packet Loss

                        Periodic Loss - Lose Every    n=2–65535
                        nth packet

                        Random Loss                   0–10% (Granularity =0.01%)

                        Burst Loss:

                              Probability             0.01–90% (Granularity =0.01%)




                                                                                               EXHIBIT A--265
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           127267 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3551034




                vCat Manual
          7-2
                Chapter 7



                                Burst Size               1–65534 packets

                           Gilbert-Elliot Loss Two State Loss Model:

                                Loss Probability         0.0 – 100% (Granularity
                                                         =0.01%)

                                Transition to Other      0.0 – 99.99% (Granularity
                                State                    =0.01%)

                      Packet Effects:

                           Out Of Order:

                                Probability              1–50%

                                Offset                   1–64 packets

                           Packet Duplication:

                                Probability              1–99%

                                Number of duplicates     1–20 packets

                           Fragmentation:

                                Chance                   1–99%

                                MTU                      64–1460 bytes

                                DF Policy                Ignore DF and fragment packet.
                                                         Discard packet and generate
                                                         ICMP message.
                                                         Discard packet and do not send
                                                         a message.

                      Link Faults:

                           Bit Error

                                Frequency                1/102 –1/1012 bits

                                Number of Toggled        1–500 bits
                                Bits




                                                                                          EXHIBIT A--266
Case 4:18-cv-00519-ALM
   Case                 Document1-9
         4:18-cv-00468 Document  42-2Filed
                                        Filed 12/23/19Page
                                           07/02/18     Page
                                                           128268 of 464
                                                               of 128    PageID
                                                                      PageID #: #:
                                                                                3561035




                                                              Network Emulation Specifications
                                                                                                 7-3
                                                                                    Chapter 7



                        Disconnection:

                             Average Frequency         3–300 sec

                             Disconnection Time        10–30000 ms

                    Congestion:

                        Frequency                      1–300 sec

                        Time span                      10–65535 ms

                        Event Properties:

                             Fixed Latency             0–8000 ms

                             Packet Loss Probability   0%–90% (Granularity = 0.01%)

                    Gateway Specifications

                        Symmetric Bandwidth            1–10 GB

                        Asymmetric Bandwidth:

                             Uplink/Downlink           1–10 GB

                        Packet Overhead Length         0 – 1000 bytes

                    Incoming/Outgoing Queue Limitations

                        Queue Size                     2 – 65535 KB

                        Queue Size Policy              Packet Mode or Byte Mode

                        Queue Management               Drop Tail or RED

                        RED Queue (Minimum/            2 – 65535 KB
                        Maxim Threshold)

                    Traffic Type Support

                        Traffic                        IPv4
                                                       IPv6




                                                                                             EXHIBIT A--267
Case Case
     4:18-cv-00519-ALM
           4:18-cv-00468 Document
                         Document 42-2
                                  1-10 Filed
                                       Filed 12/23/19
                                             07/02/18 Page
                                                      Page 269
                                                           1 of of 464 PageID
                                                                5 PageID      #: 1036
                                                                          #: 357




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    Case Case
         4:18-cv-00519-ALM
               4:18-cv-00468 Document
                             Document 42-2
                                      1-10 Filed
                                           Filed 12/23/19
                                                 07/02/18 Page
                                                          Page 270
                                                               2 of of 464 PageID
                                                                    5 PageID      #: 1037
                                                                              #: 358


                                                                                                      Data Sheet
                                                                                                      Application Development, Test & Delivery




Network Virtualization
Your business depends on your applications. So your mobile and Web apps have to work right—and
perform well. But testing application performance in your lab doesn’t tell you what users will experi-
ence when you deploy the app over the production network.

Product Highlights                                 Discover Network Conditions                        Key Capabilities
Micro Focus® Network Virtualization software       Your network is complex and continually evolv-     With Network Virtualization software you can:
lets you test application performance under real            
                                                                                                      • Enable each load generator to emulate
world network conditions, identify bottlenecks,    software performance testing is to discover
                                                                                                        "#     $  
and optimize the code—before you deploy it.        how network constraints affect communica-            response time, and reduce or eliminate
                                                   tion between end users, the application, and its     reliance on remote load generators
Network Virtualization software allows yyou to     dependencies.
                                                                                                      • Aggregate test results into a single database
discover and capture
                  p     real-world network pper-                                                        for ease and completeness of analysis
formance conditions from your  y    p
                                    production     Network Virtualization Global Library
                                                                                                      • Extend performance testing scripts
network, recreate network conditions in your
                                           y       Start with the Network Virtualization Global
                                                                                                        with a single click
lab during
         g application
            pp                g and optimize
                       testing,      p       the   Library. It’s a library of ready-to-use mobile
applications
  pp         to improve
                  p      performance before you    and broadband network conditions provid-           • Automate reporting and analysis for
                                                                                                        performance engineers, line of business
deploy into production.                            ing real-world Internet and last-mile condi-
                                                                                                        owners, and other business constituents
                                                                                                      • Integrate in VuGen and controller


                                                                                                      Micro Focus Network
                                                                                                      Virtualization Supports
                                                                                                      • Windows 7/8/10/2008/2012 operating
                                                                                                        systems and 64-bit for all platforms
                                                                                                      • Linux Ubuntu and Red Hat operating systems
                                                                                                        (Network Virtualization 9.x product only)
                                                                                                      • Bandwidth emulation up to 100 Mbps or unlimited
                                                                                                      •          !
Figure 1. Analyst Report                                                                              • Expanded packet capture (up to 1 GB)
                                                                                                      • Micro Focus Network Virtualization Global Library
Accurate Measurements                              tions for thousands of cities worldwide. You
                                                                                                      • Micro Focus Network Capture
Network Virtualization simulates real-world net-   specify a server and client location to obtain
work conditions to enable accurate analysis of     sample network conditions connecting those
user response time and throughput.                 locations.




                                                                                                                          EXHIBIT A--269
     Case Case
          4:18-cv-00519-ALM
                4:18-cv-00468 Document
                              Document 42-2
                                       1-10 Filed
                                            Filed 12/23/19
                                                  07/02/18 Page
                                                           Page 271
                                                                3 of of 464 PageID
                                                                     5 PageID      #: 1038
                                                                               #: 359

Data Sheet
Network Virtualization




The data in the library represents the results             %  ""   -         
of end-user network tests executed globally        "   "    ' *                Web, mobile, and cloud network conditions are
in both desktop browsers and on tablets and        and remote workers and then replay them with         dynamic and vary by provider, location, and time
smartphones. The raw data comprises results        Network Virtualization software for testing. The     of day. So your test environment must accurately
from more than 5 billion end-user tests cover-     network conditions typically cover client-to-        recreate multiple network scenarios to analyze
ing up to 6000 client locations and up to 100      server connections for applications such as             ' "  #   -
server locations. They are categorized based       Web, SAP, and virtual desktop infrastructure as       " "#    
on the type of network connection and other        well as server-to-server environments.               Network Virtualization software can virtualize
characteristics.                                                                                        real-world network conditions including band-
                                                   Network Capture Express Mobile App                   width, latency, jitter, and packet loss on multiple
                                                   The Network Capture express mobile app is            platforms alongside all test activities.
                                                   available free for both iOS and Android plat-
                                                   forms from the appropriate app store. It enables     Network Virtualization
                                                   you to test latency, packet loss, and bandwidth      Network Virtualization software integrates
                                                                                                                                                 g
                                                   ' "  "                 seamlesslyy with Micro Focus LoadRunner,
                                                   use in Network Virtualization software tests. You    Micro Focus Performance Center, Micro Focus
                                                            +"            Mobile Center, Micro Focus StormRunner Load,
                                                   15 minutes, and it will repeatedly test latency,     and Micro Focus Unified Functional Testing    g
                                                   resulting packet loss, and download bandwidth        software to improve
                                                                                                                      p      the accuracyy of load, per-
                                                                                                                                                    p
                                                   in cycles.                                           formance, and functional tests. It accelerates
                                                                                                        application
                                                                                                         pp         p
                                                                                                                    performance testing
                                                                                                                                      g across WANs,
                                                   The app sends ICMP ping requests to the              the Web, mobile networks, and the cloud.
                                                   remote server to measure latency and loss.
Figure 2. Virtual Location in the Global library   Bandwidth measurements use servers hosted            The solution’s unique interface, integrated within
                                                   in the Internet to download data to the mobile       the familiar LoadRunner, Performance Center,
Network Capture Server                             device. Since the mobile network bottleneck          and StormRunner Load GUIs, makes it easy
Micro Focus Network Capture—a component            is usually located in the last mile between the      to configure and use. Network Virtualization
of Network Virtualization software—lets you        mobile device and the cellular provider, this pro-   software requires no script editing and places
easily and accurately record, import, and re-      vides a good approximation of the bandwidth          no limits on test scheduling. In addition, test
play real-world network performance behavior,      limits of the connected network.                     results and data are automatically stored and
including conditions such as latency, packet                                                            organized by emulated location for precise and
loss, and available bandwidth. It is accessed                                                           actionable analysis.
remotely using a browser.
                                                                                                        Load generators can emulate multiple loca-
                                                                                                        tions, each with a unique set of network con-
                                                                                                        ditions. That lets you simultaneously emulate
                                                                                                        multiple user populations and more accurately
                                                                                                               3 "" #   
                                                                                                        end-user experience.




Figure 3. Network Capture


With Network Capture you record network per-       Figure 4. Approximation of the bandwidth
formance conditions from clients or servers to     limits view

                                                                                                        Figure 5. Performance Center dashboard




2


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         4:18-cv-00519-ALM
               4:18-cv-00468 Document
                             Document 42-2
                                      1-10 Filed
                                           Filed 12/23/19
                                                 07/02/18 Page
                                                          Page 272
                                                               4 of of 464 PageID
                                                                    5 PageID      #: 1039
                                                                              #: 360




                                                   p
                                                   performance                 p
                                                                    issues. It provides  service level                                            g the end
                                                                                                           information is critical to understanding
                                                         p
                                                   and performance            p
                                                                        compliance       p     g and
                                                                                       reporting,                 p     p
                                                                                                           user’s perception    of p
                                                                                                                                   performance and where
                                                   it is closelyy integrated
                                                                      g        with Micro Focus per-        "  '  # 
                                                   formance test products.
                                                                                                           Automated Optimization
                                                                                                                      p
                                                   Key
                                                     y Features                                            Recommendations
                                                   While Network Virtualization software sup-  p           Micro Focus Application
                                                                                                                            pp            Per formance
                                                   ports accurate p
                                                   p                prediction of the networked            Analytics provides a transaction scorecard.
                                                   performance of applications
                                                   p                  pp          before you
                                                                                         y de-
                                                   ployy them, Network Virtualization Analytics
                                                   p                                       y
Figure 6. StormRunner dashboard
                                                   lets you
                                                        y drill down into the root cause of per-
                                                                                             p
                                                   formance issues, and it provides
                                                                            p        recommen-
Mobile Application Testing
                                                   dations for optimizing Web and mobile apps.
Network Virtualization software works seam-
lessly with Mobile Center to accurately verify
the performance mobile users will experience                                                               Figure 8. NV Analytics
                                                                                                                            y     Report
                                                                                                                                    p    Optimization
                                                                                                                                          p
when using an app on the real mobile net-                                                                            Recommendation view
work. Mobile devices under test are con-
nected via Wi-Fi and send mobile traffic via                                                               In addition to p       g extensive Web and mo-
                                                                                                                          providing
Network Virtualization software using a proxy.                                                             bile analysis,
                                                                                                                     y    Network Virtualization Analytics
                                                                                                                                                     y
< =  " ' "                                                                    delivers a transaction p  performance score-
the network performance conditions to be                                                                   card that automaticallyy grades
                                                                                                                                       g       application
                                                                                                                                                pp
simulated for each test device independently,                                                                ' "#  '         ' 
and it manages the API calls to Network                                                                    optimization
                                                                                                             p            suggestions
                                                                                                                             gg         based on industryy
Virtualization software to apply the conditions                                                            accepted and additional proprietary rule sets.
during testing across multiple mobile devices
simultaneously.                                                                                            These performance
                                                                                                                   p              optimization
                                                                                                                                    p           suggestions
                                                                                                                                                   gg
                                                                                                           help
                                                                                                              p improve
                                                                                                                   p      the load time of mobile-optimized
                                                                                                                                                     p
                                                   Figure 7. NV Analytics Report                           sites byy at least 20 percent
                                                                                                                                  p         and of standard
Flexible Deployment Options
                                                                                                           websites byy a typical
                                                                                                                            yp     level of 44 p
                                                                                                                                               percent when
In addition to being integrated with the Micro
                                                   We b a n d m o b i l e a n a l y s i s : N e t wo r k   viewed on an iPhone. With comprehensive
                                                                                                                                                 p
Focus performance test products and running
                                                   Virtualization Analytics enables rapid analysis              y capabilities,
                                                                                                           analysis     p          you
                                                                                                                                   y can quickly
                                                                                                                                             q     y and reli-
on the load generators, Network Virtualization
                                                   of transaction response times.                          "
                                                                                                                    
                                                                                                                               "      3
software can also be deployed on the system
                                                                                                           ommendations for performance
                                                                                                                                 p               optimization
                                                                                                                                                  p
hosting the application under test or in vir-
                                                                                                           to help
                                                                                                                 p you
                                                                                                                    y deliver applications
                                                                                                                                  pp           that live up to
tual appliance mode on a dedicated physical        Web and Mobile Applications
                                                                   pp
                                                                                                           the expectations of your users.
server. In virtual appliance mode, network traf-   In Network Virtualization Analytics,
                                                                                  y     a waterfall
  " '    "         diagram
                                                       g     visualizes individual resource sizes
the server hosting Network Virtualization soft-    and load times breaking   g down transaction            Transaction Analysis
                                                                                                                           y
       "  '-             response
                                                       p       times, so you
                                                                         y can quickly
                                                                                  q      y identifyy       Obtainingg enhanced pperformance information
 '      *                        areas for optimization.
                                                                p           These deep-dive
                                                                                        p       ca-        on each transaction enables quick
                                                                                                                                          q      isolation
                                                   pabilities show yyou how the end user experi-
                                                   p                                          p            of the root cause of performance
                                                                                                                                 p             p
                                                                                                                                               problems.
                                                   ences an application
                                                               pp        or page
                                                                            p g load and provide
                                                                                           p               Network Virtualization Analytics
                                                                                                                                       y     includes the
Location-Aware Analytics
                   y
                                                   insight
                                                       g into client-network server timing by sub          following
                                                                                                                   g reports
                                                                                                                       p     to enable rapid analysis and
Network Virtualization software provides
                                   p
                                                   transaction.                                            problem diagnosis:
deep-dive
     p      analytic
                y capabilities
                      p        and location-
specific
  p       network performance
                   p            information.                                                                The transaction analysis
                                                                                                                                 y    report
                                                                                                                                        p    shows
It helps
      p you
         y identifyy poorly
                     p    y performing
                            p        g busi-       Whether yyou are analyzing
                                                                        y g Web-based, mobile                how resource intensive a transaction
ness transactions and the root cause of            Web-based, or native mobile applications, this            is and enables comparison with other




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            4:18-cv-00519-ALM
                  4:18-cv-00468 Document
                                Document 42-2
                                         1-10 Filed
                                              Filed 12/23/19
                                                    07/02/18 Page
                                                             Page 273
                                                                  5 of of 464 PageID
                                                                       5 PageID      #: 1040
                                                                                 #: 361




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   applications
    pp          that are consuming                                              is captured in an industry-standard format for
   the same network resources.                                                  further analysis with Network Virtualization, or
 The bandwidth bottleneck report
                             p                                                  it can be eas-ily accessed directly from the
   "         
                       """                                           LoadRunner or Performance Center scripting
   utilization for each transaction.                                            interface VuGen.

 The network and application
                   pp         error report
   highlights
     g g      all application-related
                   pp                 errors
   and isolates problems
                 p          such as cachingg
      "#  "       
   functional problems for remediation.
 The breakdown analysis
                    y    of infrastructure
   shows the elapsed
                  p     time an application
                                  pp
   spends
     p      on the server, the client, and the
   network, helping
                p g to pinpoint
                        p p       bottlenecks
   in the application infrastructure.

Transaction Management
                                                                                Figure 9. Test Results
With Network Virtualization Analytics, it is easy
to incorporate packet capture buffers into
                                                                                Learn More At
automated test sessions and correlate busi-
                                                                                www.microfocus.com/networkvirt
ness transactions with the resulting traffic
traversing the network. This transaction data




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                                           12/23/19 Page
                                                    Page 1274 of 464
                                                           of 56     PageID
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            4:18-cv-00468 Document 42-2 Filed
                                        Filed 07/02/18
                                              12/23/19 Page
                                                       Page 2275 of 464
                                                              of 56     PageID
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6RIWZDUH 9HUVLRQ 




8VHU *XLGH




'RFXPHQW 5HOHDVH 'DWH -XQH 
6RIWZDUH 5HOHDVH 'DWH -XQH 

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    Case
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       *XLGH4:18-cv-00468 Document 42-2 Filed
                                        Filed 07/02/18
                                              12/23/19 Page
                                                       Page 3276 of 464
                                                              of 56     PageID
                                                                    PageID     #: 1043
                                                                           #: 364




     /HJDO 1RWLFHV
     :DUUDQW\
     7KH RQO\ ZDUUDQWLHV IRU +3 SURGXFWV DQG VHUYLFHV DUH VHW IRUWK LQ WKH H[SUHVV ZDUUDQW\ VWDWHPHQWV DFFRPSDQ\LQJ VXFK
     SURGXFWV DQG VHUYLFHV 1RWKLQJ KHUHLQ VKRXOG EH FRQVWUXHG DV FRQVWLWXWLQJ DQ DGGLWLRQDO ZDUUDQW\ +3 VKDOO QRW EH OLDEOH
     IRU WHFKQLFDO RU HGLWRULDO HUURUV RU RPLVVLRQV FRQWDLQHG KHUHLQ
     7KH LQIRUPDWLRQ FRQWDLQHG KHUHLQ LV VXEMHFW WR FKDQJH ZLWKRXW QRWLFH

     5HVWULFWHG 5LJKWV /HJHQG
     &RQILGHQWLDO FRPSXWHU VRIWZDUH 9DOLG OLFHQVH IURP +3 UHTXLUHG IRU SRVVHVVLRQ XVH RU FRS\LQJ &RQVLVWHQW ZLWK )$5
      DQG  &RPPHUFLDO &RPSXWHU 6RIWZDUH &RPSXWHU 6RIWZDUH 'RFXPHQWDWLRQ DQG 7HFKQLFDO 'DWD IRU
     &RPPHUFLDO ,WHPV DUH OLFHQVHG WR WKH 86 *RYHUQPHQW XQGHU YHQGRU V VWDQGDUG FRPPHUFLDO OLFHQVH


     &RS\ULJKW 1RWLFH
      &RS\ULJKW    +HZOHWW3DFNDUG 'HYHORSPHQW &RPSDQ\ /3

     7UDGHPDUN 1RWLFHV
     $GREH LV D WUDGHPDUN RI $GREH 6\VWHPV ,QFRUSRUDWHG
     0LFURVRIW DQG :LQGRZV DUH 86 UHJLVWHUHG WUDGHPDUNV RI 0LFURVRIW &RUSRUDWLRQ
     81,; LV D UHJLVWHUHG WUDGHPDUN RI 7KH 2SHQ *URXS



     'RFXPHQWDWLRQ 8SGDWHV
     7KH WLWOH SDJH RI WKLV GRFXPHQW FRQWDLQV WKH IROORZLQJ LGHQWLI\LQJ LQIRUPDWLRQ
     z  6RIWZDUH 9HUVLRQ QXPEHU ZKLFK LQGLFDWHV WKH VRIWZDUH YHUVLRQ
     z  'RFXPHQW 5HOHDVH 'DWH ZKLFK FKDQJHV HDFK WLPH WKH GRFXPHQW LV XSGDWHG
     z  6RIWZDUH 5HOHDVH 'DWH ZKLFK LQGLFDWHV WKH UHOHDVH GDWH RI WKLV YHUVLRQ RI WKH VRIWZDUH
     7R FKHFN IRU UHFHQW XSGDWHV RU WR YHULI\ WKDW \RX DUH XVLQJ WKH PRVW UHFHQW HGLWLRQ RI D GRFXPHQW JR WR
     KWWSVVRIWZDUHVXSSRUWKSFRP
     7KLV VLWH UHTXLUHV WKDW \RX UHJLVWHU IRU DQ +3 3DVVSRUW DQG VLJQ LQ 7R UHJLVWHU IRU DQ +3 3DVVSRUW ,' JR WR
     KWWSVVRIWZDUHVXSSRUWKSFRP DQG FOLFN & 


     6XSSRUW
     9LVLW WKH +3 6RIWZDUH 6XSSRUW 2QOLQH ZHE VLWH DW KWWSVVRIWZDUHVXSSRUWKSFRP
     7KLV ZHE VLWH SURYLGHV FRQWDFW LQIRUPDWLRQ DQG GHWDLOV DERXW WKH SURGXFWV VHUYLFHV DQG VXSSRUW WKDW +3 6RIWZDUH
     RIIHUV
     +3 6RIWZDUH RQOLQH VXSSRUW SURYLGHV FXVWRPHU VHOIVROYH FDSDELOLWLHV ,W SURYLGHV D IDVW DQG HIILFLHQW ZD\ WR DFFHVV
     LQWHUDFWLYH WHFKQLFDO VXSSRUW WRROV QHHGHG WR PDQDJH \RXU EXVLQHVV $V D YDOXHG VXSSRUW FXVWRPHU \RX FDQ EHQHILW E\
     XVLQJ WKH VXSSRUW ZHE VLWH WR
     z  6HDUFK IRU NQRZOHGJH GRFXPHQWV RI LQWHUHVW
     z  6XEPLW DQG WUDFN VXSSRUW FDVHV DQG HQKDQFHPHQW UHTXHVWV
     z  'RZQORDG VRIWZDUH SDWFKHV
     z  0DQDJH VXSSRUW FRQWUDFWV
     z  /RRN XS +3 VXSSRUW FRQWDFWV
     z  5HYLHZ LQIRUPDWLRQ DERXW DYDLODEOH VHUYLFHV
     z  (QWHU LQWR GLVFXVVLRQV ZLWK RWKHU VRIWZDUH FXVWRPHUV
     z  5HVHDUFK DQG UHJLVWHU IRU VRIWZDUH WUDLQLQJ
     0RVW RI WKH VXSSRUW DUHDV UHTXLUH WKDW \RX UHJLVWHU DV DQ +3 3DVVSRUW XVHU DQG VLJQ LQ 0DQ\ DOVR UHTXLUH D VXSSRUW
     FRQWUDFW 7R UHJLVWHU IRU DQ +3 3DVVSRUW ,' JR WR KWWSVVRIWZDUHVXSSRUWKSFRP DQG FOLFN & 
     7R ILQG PRUH LQIRUPDWLRQ DERXW DFFHVV OHYHOV JR WR KWWSVVRIWZDUHVXSSRUWKSFRPZHEVRIWZDUHVXSSRUWDFFHVV
     OHYHOV




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    Case
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       *XLGH4:18-cv-00468 Document 42-2 Filed
                                        Filed 07/02/18
                                              12/23/19 Page
                                                       Page 4277 of 464
                                                              of 56     PageID
                                                                    PageID     #: 1044
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     +3 6RIWZDUH 6ROXWLRQV ,QWHJUDWLRQV DQG %HVW 3UDFWLFHV
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     LQ WKH +3 6RIWZDUH FDWDORJ ZRUN WRJHWKHU H[FKDQJH LQIRUPDWLRQ DQG VROYH EXVLQHVV QHHGV
     9LVLW WKH % !  ( !   )  DW KWWSVKSOQKSFRPJURXSEHVWSUDFWLFHVKSVZ WR DFFHVV D ZLGH
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    Case
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                                        Filed 07/02/18
                                              12/23/19 Page
                                                       Page 5278 of 464
                                                              of 56     PageID
                                                                    PageID     #: 1045
                                                                           #: 366




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           :KLFK 0HWULF 6KRXOG , &KRRVH"                                                      
           7LSV WR ,PSURYH 0HDVXUHPHQW $FFXUDF\                                              


        ,QVWDOODWLRQ DQG 8SJUDGH                                                            
           ,QVWDOOLQJ 1HWZRUN &DSWXUH                                                        
               6\VWHP 5HTXLUHPHQWV DQG 5HVRXUFH 8WLOL]DWLRQ                                  
               6HFXUH &RPPXQLFDWLRQ LQ 1HWZRUN &DSWXUH                                       
               1HWZRUN &DSWXUH 6HUYHU ,QVWDOODWLRQ                                           
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                   ,QVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW                                      
                   8QLQVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW                                    
               )LUHZDOO &RQILJXUDWLRQ                                                        
           5HYHUWLQJ DQ ,QVWDOODWLRQ                                                         
           8SJUDGH &RPSDWLELOLW\                                                             
           /RJ DQG &RQILJXUDWLRQ )LOHV                                                       
           /RJLQ                                                                             
           /LFHQVLQJ 1HWZRUN &DSWXUH                                                         
           &KDQJLQJ EHWZHHQ 6HFXUH DQG 1RQ6HFXUH &RPPXQLFDWLRQ 3RVW ,QVWDOODWLRQ            
               (QDEOLQJ 6HFXUH &RPPXQLFDWLRQV                                                
               'LVDEOLQJ 6HFXUH &RPPXQLFDWLRQV                                               


        8VLQJ 1HWZRUN &DSWXUH                                                               
           0RYLQJ $URXQG                                                                     
           &UHDWLQJ (QGSRLQWV                                                                
           &RQILJXULQJ D 0RQLWRU                                                             
              $GGLQJ DQG 'HOHWLQJ 0RQLWRU )ROGHUV                                            
              'HILQLQJ WKH ,QWHUYDO IRU &RQFXUUHQW %DQGZLGWK 0RQLWRUV                        
              &RQILJXULQJ /DWHQF\ DQG 3DFNHW /RVV                                            
              &RQILJXULQJ %DQGZLGWK                                                          
              &RQILJXULQJ :HE 6HUYHU 3DUDPHWHUV                                              
           6WDUW 0RQLWRULQJ                                                                  
           9LHZLQJ 'DWD                                                                      
              =RRP ,Q DQG =RRP 2XW                                                           
              6HDUFKLQJ IRU 'DWD                                                             
           $QDO\]LQJ 'DWD                                                                    
              3HUIRUPDQFH 6WDWLVWLFV                                                         
           8VLQJ 1HWZRUN 3URILOHV                                                            
           ([SRUWLQJ 'DWD                                                                    
           'HILQLQJ DQG 8SGDWLQJ 8VHUV                                                       
              $FFRXQW 6HWWLQJV                                                               
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    Case
  8VHU                    Document 1-11
       *XLGH4:18-cv-00468 Document 42-2 Filed
                                        Filed 07/02/18
                                              12/23/19 Page
                                                       Page 6279 of 464
                                                              of 56     PageID
                                                                    PageID     #: 1046
                                                                           #: 367




           2EWDLQLQJ 7HFKQLFDO 6XSSRUW                                         


        6HQG 8V )HHGEDFN                                                      




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Case 4:18-cv-00519-ALM
    Case
  8VHU                    Document 1-11
       *XLGH4:18-cv-00468 Document 42-2 Filed
                                        Filed 07/02/18
                                              12/23/19 Page
                                                       Page 7280 of 464
                                                              of 56     PageID
                                                                    PageID     #: 1047
                                                                           #: 368
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     +3oV 1HWZRUN &DSWXUH UHFRUGV DFWXDO QHWZRUN FRQGLWLRQV HQDEOLQJ WKH LPSRUW DQG UHFUHDWLRQ RI QHWZRUN
     HQYLURQPHQWV LQWR SUHSURGXFWLRQ DQG WHVWLQJ ODEV ,Q DGGLWLRQ 1HWZRUN 3URILOHV XWLOL]H GDWD WKDW
     LQFOXGHV UHDOZRUOG QHWZRUN FRQGLWLRQV RI PRELOH DQG EURDGEDQG ,QWHUQHW XVHUV IURP PDMRU FLWLHV
     DURXQG WKH ZRUOG 7KLV GDWD LV XVHG WR DFFXUDWHO\ DVVHVV DQG DQDO\]H WKH SHUIRUPDQFH RI GLVWULEXWHG
     DSSOLFDWLRQV XVLQJ +3 V DSSOLFDWLRQV
     :KHQ \RX UHFRUG QHWZRUN FRQGLWLRQV \RXU JRDO LV SUREDEO\ WR VHH KRZ \RXU DSSOLFDWLRQV ZLOO UHDFW ZLWK
     YDULRXV QHWZRUN SDUDPHWHUV 3HUKDSV \RXoUH FRQVROLGDWLQJ \RXU GDWD VHUYHU DQG ZDQW WR FKHFN KRZ
     YDULRXV DSSOLFDWLRQV ZLOO EHKDYH LQ SURGXFWLRQ QHWZRUN FRQGLWLRQV 3HUKDSV \RXoUH WHVWLQJ D QHZ IHDWXUH
     DQG ZDQW WR HQVXUH WKDW HDFK EXVLQHVV SURFHVV ZLOO SHUIRUP ZHOO LQ SURGXFWLRQ
     8VH 1HWZRUN &DSWXUH WR UHFRUG DQG LGHQWLI\ DSSOLFDWLRQ SHUIRUPDQFH SUREOHPV RFFXUULQJ DW D UHPRWH
     ORFDWLRQ E\ PHDVXULQJ QHWZRUN FRQGLWLRQV VXFK DV ODWHQF\ SDFNHW ORVV EDQGZLGWK DYDLODELOLW\ DFURVV
     DQ\ JLYHQ QHWZRUN WRSRORJ\ 1HWZRUN &DSWXUH FDQ PHDVXUH SURGXFWLRQ OLQNV DURXQG WKH JOREH IRU D
     GXUDWLRQ RI XS WR RQH PRQWK
     $IWHU FRPSOHWLQJ D UHFRUGLQJ \RX FDQ H[SRUW WKH GDWD IRU UHSRUWLQJ SXUSRVHV RU HPXODWH WKHVH
     FRQGLWLRQV LQ +3oV QHWZRUN HPXODWLRQ SURGXFWV <RX FDQ H[SRUW D FRPSOHWH UXQ RU D VSHFLILF SHULRG
     ZLWKLQ WKH UXQ IRU H[DPSOH WKH SHULRG ZLWK WKH KLJKHVW ODWHQF\ YDOXHV
     :LWK 1HWZRUN &DSWXUHoV ZHEEDVHG LQWHUIDFH \RX FDQ UHFRUG XS WR  VLPXOWDQHRXV OLQNV OLFHQVH
     GHSHQGHQW  DQG YLHZ WKH DFWXDO ORFDWLRQV RQ WKH G\QDPLF PDS <RX FDQ VHDUFK HDVLO\ IRU VSHFLILF
     PRQLWRUV XVHUV DQG UHVXOWV 6FKHGXOH WKH PRQLWRUV WR VWDUW DQG VWRS DW GLIIHUHQW WLPHV DQG IRU YDULRXV
     GXUDWLRQV LQFOXGLQJ UHFXUUHQFH LI UHTXLUHG
     1HWZRUN &DSWXUH SURYLGHV SRZHUIXO DQDO\VLV RSWLRQV WR VHOHFW WKH ORZHVW PHDQ DQG KLJKHVW FRQGLWLRQV
     IURP WKH UHFRUGHG GDWD $ YDULHW\ RI PHDVXUHPHQWV DQG FDOFXODWLRQV SURYLGH GHWDLOHG LQIRUPDWLRQ WKDW
     FDQ EH XVHG WR HYDOXDWH DSSOLFDWLRQ UHVSRQVH WLPH XQGHU YDULRXV FRQGLWLRQV
     7KLV GLDJUDP VKRZV WKH UHODWLRQVKLS RI WKH FRPSRQHQWV LQ WKH 1HWZRUN &DSWXUH FRQILJXUDWLRQ




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                                                                                                    3DJH 
Case 4:18-cv-00519-ALM
    Case
  8VHU                    Document 1-11
       *XLGH4:18-cv-00468 Document 42-2 Filed
                                        Filed 07/02/18
                                              12/23/19 Page
                                                       Page 8281 of 464
                                                              of 56     PageID
                                                                    PageID     #: 1048
                                                                           #: 369
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     :KLOH ODWHQF\ ORVV DQG MLWWHU FDQ EH PHDVXUHG FRQFXUUHQWO\ EDQGZLGWK FDQQRW EH PHDVXUHG LQ SDUDOOHO
     EHFDXVH GRLQJ VR LPSDFWV WKH DFFXUDF\ RI WKH PHDVXUHPHQWV 7KHUHIRUH 1HWZRUN &DSWXUH RSWLPL]HV
     WKH SHUFHQWDJH GLVWULEXWLRQ RU WKH V\VWHP RYHUDOO WLPH DOORFDWLRQ EHWZHHQ PHDVXUHPHQWV RI EDQGZLGWK
     DQG ODWHQF\ SDFNHW ORVV DQG MLWWHU
     )RU WKH EHVW V\VWHP FRQILJXUDWLRQ FRQGLWLRQV DW OHDVW  RI WKH PHDVXUHPHQWoV GXUDWLRQ LV GHYRWHG WR
     ODWHQF\ ORVV DQG MLWWHU PHDVXUHPHQWV DQG XS WR  WR EDQGZLGWK :KHQ PHDVXULQJ ZLWK WKH ZRUVW
     QHWZRUN FRQILJXUDWLRQ FRQGLWLRQV DW OHDVW  RI WKH GXUDWLRQ LV GHYRWHG WR ODWHQF\ ORVV DQG MLWWHU )RU
     IXUWKHU LQIRUPDWLRQ VHH 'HILQLQJ WKH ,QWHUYDO IRU &RQFXUUHQW %DQGZLGWK 0RQLWRUV RQ SDJH{
     7KH VFKHGXOLQJ DOJRULWKP LV RSWLPL]HG DQG DXWRPDWLFDOO\ FDOLEUDWHG WR VXSSRUW D VWDU WRSRORJ\ ZKHUH
     WKH FHQWHU URRW RI WKH WRSRORJ\ LV VHW DV WKH VRXUFH RI DOO WKH PRQLWRUV

     ' *
     z   :KLFK 0HWULF 6KRXOG , &KRRVH" RQ WKH QH[W SDJH
     z   7LSV WR ,PSURYH 0HDVXUHPHQW $FFXUDF\ RQ SDJH{




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Case 4:18-cv-00519-ALM
    Case
  8VHU                    Document 1-11
       *XLGH4:18-cv-00468 Document 42-2 Filed
                                        Filed 07/02/18
                                              12/23/19 Page
                                                       Page 9282 of 464
                                                              of 56     PageID
                                                                    PageID     #: 1049
                                                                           #: 370
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     7KH IROORZLQJ WDEOH FRPSDUHV FHUWDLQ IHDWXUHV RI HDFK PHWULF WKDW LV XVHG WR PHDVXUH QHWZRUN
     FRQGLWLRQV

       # * $OO PHWULFV DUH OHVV DFFXUDWH ZKHQ WKH (QGSRLQW LV UXQQLQJ &38LQWHQVLYH SURFHVVHV /RDG
       JHQHUDWLQJ WDVNV VKRXOG QRW EH UXQ RQ DQ (QGSRLQW PDFKLQH 1HWZRUN DFFHOHUDWRUV DQG SUR[\
       VHUYHUV LQWHUFHSWLQJ 1HWZRUN &DSWXUH WUDIILF PD\ KLQGHU WKH DFFXUDF\ RI WKH UHVXOWV
       1HWZRUN RYHUKHDG LV DIIHFWHG E\ WKH SURELQJ LQWHUYDO DQG RWKHU IDFWRUV

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      ,&03 (FKR        7DUJHW PDFKLQH        ,&03        :KHQ ,&03           ,&03 HFKR     0LQLPDO
       3LQJ            VKRXOG EH             SDFNHWV DUH SDFNHWV KDYH        UHTXHVW DQG
                       FRQILJXUHG WR         KDQGOHG     ORZ SULRULW\        HFKR UHVSRQVH
                       UHVSRQG WR ,&03       ZLWK WKH
                       UHTXHVWV             VDPH
                                             SULRULW\ DV
                                             8'3 DQG
                                             7&3
                                             SDFNHWV
      8'3              1HWZRUN &DSWXUH       8VXDOO\       :KHQ 8'3          8'3               0LQLPDO
                       DJHQW LQVWDOOHG RQ    DFFXUDWH     SDFNHWV KDYH      WUDQVPLVVLRQ
                        ERWK (QGSRLQWV      EHVW FKRLFH   ORZ SULRULW\      WLPH
                       8'3 SRUW PXVW EH      IRU
                       DOORZHG LQ WKH        PHDVXULQJ
                       ILUHZDOO             92,3
                                             EHKDYLRU
      7&3{ SHHU       $YDLODEOH RQO\ IRU 8VXDOO\          7DUJHW            7&3               0LQLPDO
      OHVV             SHHUOHVV WDUJHWV   DFFXUDWH        PDFKLQH UXQV      FRQQHFWLRQ
                       5HTXLUHV D 7&3                      :LQGRZV ;3        VHWXS 7&3
                       VHUYHU OLVWHQLQJ WR                                   KDQGVKDNH
                       WKH VHOHFWHG SRUW
                       DQG WKDW QR 7&3
                       SUR[LHV DUH
                       SUHVHQW RQ WKH
                       SDWK
      7&3 SHHU        8VHG WR PHDVXUH       :LQGRZV      -LWWHU LV YHU\ 7&3 UHVSRQVH         0LQLPDO
      EDVHG            7&3 5HVSRQVH          LV WKH        KLJK YDULHV XS WLPH SHU GDWD
                       7LPH 1HWZRUN         RSHUDWLQJ     WR [ IURP     SDFNHW
                       &DSWXUH DJHQW         V\VWHP        RQH SDFNHW WR
                       LQVWDOOHG RQ ERWK                   DQRWKHU  DOVR
                       (QGSRLQWV 7&3                      ZKHQ WKH
                       SRUW PXVW EH                        7DUJHW
                       DOORZHG LQ WKH                      PDFKLQH LV
                       ILUHZDOO                           UXQQLQJ 06
                                                           :LQGRZV ;3




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page10
                                                               283
                                                                 of of
                                                                    56464 PageID
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      +773              5HTXLUHV +773         +773           0LQRU YDULDQFH   +773            'HSHQGV
      5HVSRQVH          VHUYHU HJ ZHE       5HTXHVW        GXH WR 6HUYHU   5HVSRQVH        RQ WKH
      7LPH              VHUYHU RQ WDUJHW      5HVSRQVH       +773             7LPH            +773
                        (QGSRLQW             5RXQGWULS      SURFHVVLQJ                       UHTXHVW
                                              7LPH           WLPH QRWH                       FKRVHQ
                                                             WKDW SUR[LHV                     XVXDOO\
                                                             DQG FDFKHV                       PLQLPDO
                                                             LQIOXHQFH
                                                             UHVXOWV
      8QLGLUHFWLRQDO 7DUJHW (QGSRLQW          ,QERXQG        ,QERXQG OLQN     2XWERXQG        6XEVWDQWLDO
      (VWLPDWH       VKRXOG UHVSRQG           OLQN LV        LV FRQJHVWHG     DYDLODEOH
                     WR HLWKHU 173            DYDLODEOH      DQG ,&03 LV      EDQGZLGWK
                     ,&03 HFKR RU                           FKRVHQ DV WKH
                     ,&03 WLPHVWDPS                          SLQJLQJ
                     UHTXHVWV 8'3                           SURWRFRO
                     SRUW DOORZHG RQ
                     ILUHZDOOV EHWZHHQ
                     VRXUFH DQG
                     WDUJHW
      %LGLUHFWLRQDO     1HWZRUN &DSWXUH       1RW            7UDIILF LV       2XWERXQG        0RGHUDWH
      HVWLPDWH          DJHQW LQVWDOOHG RQ    GHSHQGHQW      EXUVW\ DQG       DQG LQERXQG
                        ERWK (QGSRLQWV       XSRQ RWKHU     KDV KLJK         DYDLODEOH
                        8'3 SRUW DOORZHG      IDFWRUV WR     WKURXJKSXW       EDQGZLGWK
                        RQ ILUHZDOOV          LQFUHDVH
                        EHWZHHQ VRXUFH        DFFXUDF\
                        DQG WDUJHW
                        HQGSRLQWV
      5REXVW            1HWZRUN &DSWXUH       $FFXUDWH       7UDIILF LV       2XWERXQG        6XEVWDQWLDO
      %LGUHFWLRQDO      DJHQW LQVWDOOHG RQ    ZKHQ           EXUVW\ DQG       DQG LQERXQG
      6DPSOH            ERWK (QGSRLQWV       EDQGZLGWK      KDV KLJK         DYDLODEOH
                        7&3 SRUW DOORZHG      LV ORZ         WKURXJKSXW       EDQGZLGWK
                        RQ WKH ILUHZDOO       0E
                                              DQG
                                              URXQGWULS
                                              WLPH LV ORZ
                                               PV

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       2%! ! $ )* :KHQ DQ DFNQRZOHGJPHQW RI WKH 7&3 KHDGHU LV QRW UHFHLYHG UHWULHV DUH
       DWWHPSWHG WR HVWDEOLVK WKH FRQQHFWLRQ XVXDOO\ WKUHH WR IRXU WLPHV GHSHQGLQJ XSRQ WKH RSHUDWLQJ
       V\VWHP
       $ SDFNHW LV GHILQHG DV ORVW XVLQJ WKH 7&3 SURWRFRO
       z   ,I 1HWZRUN &DSWXUH GHWHFWV WKDW D UHWUDQVPLVVLRQ KDV RFFXUUHG




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page11
                                                               284
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                                                                    56464 PageID
                                                                       PageID    #: 1051
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         3ULRU WR PHDVXULQJ ZLWK WKH +773 SURWRFRO D FRQQHFWLRQ EHWZHHQ ERWK (QGSRLQWV QHHGV WR EH
         GHILQHG 2QFH HVWDEOLVKHG D KHDGHU UHTXHVW LV VHQW
         3DFNHWV DUH FRQVLGHUHG WR EH ORVW LQ WKH IROORZLQJ FDVHV
         z    1R FRQQHFWLRQ LV HVWDEOLVKHG EHWZHHQ PRQLWRU HQGSRLQWV
         z    6HUYHU UHVSRQVH LV QRW DV GHILQHG E\ WKH XVHU
         z    7KH UHVSRQVH WLPH WDNHV ORQJHU WKDQ WKH DFFHSWDEOH YDOXH GHILQHG E\ WKH XVHU XVLQJ WKH
              7LPHRXW SDUDPHWHU




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     z       :KHQ PHDVXULQJ 8QLGLUHFWLRQDO %DQGZLGWK WR D VSHFLILF 7DUJHW (QGSRLQW DYRLG PHDVXULQJ DGGLWLRQDO
             EDQGZLGWK PHWULFV WR WKH VDPH 7DUJHW
     z       7R SURYLGH PRUH DFFXUDWH EDQGZLGWK PHDVXUHPHQWV DYRLG PHDVXULQJ ERWK ODWHQF\ DQG EDQGZLGWK
             VLPXOWDQHRXVO\ HVSHFLDOO\ LI WKH $YDLODEOH %DQGZLGWK LV ORZ 7KH UHDVRQ IRU WKLV UHFRPPHQGDWLRQ LV
             WKDW SHHUOHVV PHWULFV ,&03 7&3 DQG +773 PD\ WDNH PHDVXUHPHQWV VLPXOWDQHRXVO\ ZLWK WKH
             EDQGZLGWK SURELQJ DQG PD\ XWLOL]H VRPH RI WKH DYDLODEOH EDQGZLGWK
     z       )RU DGGLWLRQDO LQIRUPDWLRQ DERXW EDQGZLGWK PHDVXUHPHQWV VHH 'HILQLQJ WKH ,QWHUYDO IRU &RQFXUUHQW
             %DQGZLGWK 0RQLWRUV RQ SDJH{




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page12
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  ,QVWDOODWLRQ DQG 8SJUDGH




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     +3oV 1HWZRUN &DSWXUH UHFRUGV DFWXDO QHWZRUN FRQGLWLRQV DQG HQDEOHV WKH LPSRUW DQG UHFUHDWLRQ RI
     QHWZRUN HQYLURQPHQWV LQWR SUHSURGXFWLRQ DQG WHVWLQJ ODEV 7KLV GDWD LV XVHG WR DFFXUDWHO\ DVVHVV DQG
     DQDO\]H WKH SHUIRUPDQFH RI GLVWULEXWHG DSSOLFDWLRQV XVLQJ WKH +3 1HWZRUN 9LUWXDOL]DWLRQ QHWZRUN
     DSSOLDQFH DQG GHVNWRS DSSOLFDWLRQV
     7KLV VHFWLRQ GHVFULEHV KRZ WR LQVWDOO XSJUDGH DQG OLFHQVH WKH SURGXFW LQFOXGLQJ

     r   ,QVWDOOLQJ 1HWZRUN &DSWXUH                                                                      
     r   5HYHUWLQJ DQ ,QVWDOODWLRQ                                                                       
     r   8SJUDGH &RPSDWLELOLW\                                                                           
     r   /RJ DQG &RQILJXUDWLRQ )LOHV                                                                     
     r   /RJLQ                                                                                           
     r   /LFHQVLQJ 1HWZRUN &DSWXUH                                                                       
     r   &KDQJLQJ EHWZHHQ 6HFXUH DQG 1RQ6HFXUH &RPPXQLFDWLRQ 3RVW ,QVWDOODWLRQ                          




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                                                                                                  3DJHA--284
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page13
                                                               286
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                                                                    56464 PageID
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     7KH 1HWZRUN &DSWXUH 6HUYHU LQVWDOOHU LQVWDOOV WKH 6HUYHU :HE 6HUYHU DQG $JHQW FRPSRQHQWV 7R FRQGXFW
     SHHUEDVHG SURELQJ WKH 1HWZRUN &DSWXUH $JHQW PXVW DOVR EH LQVWDOOHG RQ WKH 7DUJHW PDFKLQH 7R LQVWDOO
     1HWZRUN &DSWXUH FRPSRQHQWV \RX PXVW KDYH :LQGRZVv /RFDO $GPLQLVWUDWRU SHUPLVVLRQV

         # * &HUWDLQ LQVWDOODWLRQ HUURUV PD\ EH GLVSOD\HG LQ WKH 06 :LQGRZV ,QVWDOOHU ORJV DQG QRW LQ WKH
         1HWZRUN &DSWXUH ORJV )RU PRUH LQIRUPDWLRQ VHH /RJ DQG &RQILJXUDWLRQ )LOHV RQ SDJH{

     r    6\VWHP 5HTXLUHPHQWV DQG 5HVRXUFH 8WLOL]DWLRQ                                                        
     r    6HFXUH &RPPXQLFDWLRQ LQ 1HWZRUN &DSWXUH                                                             
     r    1HWZRUN &DSWXUH 6HUYHU ,QVWDOODWLRQ                                                                 
     r    1HWZRUN &DSWXUH $JHQW ,QVWDOODWLRQ                                                                  
     r    )LUHZDOO &RQILJXUDWLRQ                                                                              




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page14
                                                               287
                                                                 of of
                                                                    56464 PageID
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  ,QVWDOODWLRQ DQG 8SJUDGH




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     6\VWHP 5HTXLUHPHQWV FDQ YDU\ DFFRUGLQJ WR WKH XVDJH RQ WKH VSHFLILF 6HUYHU DQG $JHQW PDFKLQH
     7KUHH OHYHOV RI XVDJH DUH GHILQHG IRU WKH $JHQW
      z     ) * $JHQW HLWKHU D 6RXUFH RU D 7DUJHW LV LQYROYHG LQ XS WR  FRQFXUUHQWO\ UXQQLQJ PRQLWRUV
      z     * $JHQW HLWKHU D 6RXUFH RU D 7DUJHW LV LQYROYHG LQ XS WR  FRQFXUUHQWO\ UXQQLQJ PRQLWRUV
      z      * $JHQW HLWKHU D 6RXUFH RU D 7DUJHW LV LQYROYHG LQ XS WR  FRQFXUUHQWO\ UXQQLQJ PRQLWRUV

          # * 6LQFH DQ $JHQW LV DOZD\V LQVWDOOHG RQ WKH 6HUYHU PDFKLQH DV SDUW RI WKH 6HUYHU LQVWDOODWLRQ
          FRQVLGHU WKH $JHQW UHTXLUHPHQWV ZKHQ GHWHUPLQLQJ WKH V\VWHP UHTXLUHPHQWV


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     7KH PLQLPXP UHTXLUHPHQWV IRU 1HWZRUN &DSWXUH 6HUYHU LQFOXGLQJ WKH :HE 6HUYHU FRPSRQHQW DUH

          3URFHVVRU                                   *+]  ELW RU  ELW

          0HPRU\                                      *% 5$0

          )UHH +DUG 'LVN 6SDFH                        *% RI IUHH GLVN VSDFH LQFOXGHV VSDFH IRU UHFRUGLQJV

          1HWZRUN $GDSWHU                            1HWZRUN ,QWHUIDFH &DUG :,), &HOOXODU &DUGV RU 9LUWXDO 1,&V

          %URZVHU                                    z   ,QWHUQHW ([SORUHU  RU KLJKHU
                                                     z   )LUH)R[  RU KLJKHU
                                                     1RWH 6XSSRUWHG VFUHHQ UHVROXWLRQ LV [ DQG KLJKHU ZLWK D ]RRP
                                                     OHYHO RI 

          2SHUDWLQJ 6\VWHPV (QJOLVK YHUVLRQV RQO\    0LFURVRIW :LQGRZV
                                                     z   6HUYHU  63 ELW
                                                     z   6HUYHU  5 63 ELW
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                                                     z   6HUYHU  5  ELW
                                                     z   6HUYHU  5 +\SHU9 ELW
                                                     z   :LQGRZV  ELW
                                                     z   :LQGRZV  5 ELW

          5HPRWH $FFHVV                              0LFURVRIW 5'3 IRU VXSSRUWHG RSHUDWLQJ V\VWHPV

          9LUWXDOL]DWLRQ                             90ZDUH (6;L  :LQGRZV  +\SHU9  ELW 90ZDUH :RUNVWDWLRQ 
                                                     DQG KLJKHU


     # $ %   , '  &+ 
     7KH UHTXLUHPHQWV IRU WKH 1HWZRUN &DSWXUH $JHQW DUH

          3URFHVVRU                                              z   /LJKW XVDJH  *+]  ELW RU  ELW
                                                                 z   0HGLXP XVDJH  *+]  RU  ELW
                                                                 z   +HDY\  *+] 'XDO&RUH  RU  ELW

          0HPRU\                                                 z   /LJKW XVDJH  *% 5$0




  +3 1HWZRUN &DSWXUH                                                                                            EXHIBIT
                                                                                                                        3DJHA--286
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page15
                                                               288
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1055
                                                                              #: 376
  ,QVWDOODWLRQ DQG 8SJUDGH




                                                                  z   0HGLXP XVDJH  *% 5$0
                                                                  z   +HDY\ XVDJH  *% 5$0

          )UHH +DUG 'LVN 6SDFH                                     *% RI IUHH GLVN VSDFH

          1HWZRUN $GDSWHU                                         (WKHUQHW RU 1HWZRUN ,QWHUIDFH &DUG :,), &HOOXODU &DUGV
                                                                  9LUWXDO 1,&V

          9LUWXDOL]DWLRQ                                          z   90ZDUH (6;L 
                                                                  z   :LQGRZV  +\SHU9  ELW
                                                                  z   90ZDUH :RUNVWDWLRQ  RU KLJKHU

          1HWZRUN &DSWXUH $JHQW VWDQGDORQH                        0LFURVRIW :LQGRZV
          (QJOLVK YHUVLRQV RQO\                                   z   6HUYHU  63   ELW
                                                                  z   6HUYHU  5  ELW
                                                                  z   :LQGRZV   ELW

          /LJKW DQG PHGLXP XVDJH RQO\


     & 3 4                   3 
                                                      $JHQW &38            6HUYHU &38              $JHQW 0HPRU\

          :LQGRZV 6HUYHU   &RUH  'XR (                                             *%
          *+]  *% 5$0

          :LQGRZV  (QWHUSULVH &RUH  'XR (                                                *%
          *+=  *% 5$0




     / .   0 $ . 
     (QFU\SWHG FRPPXQLFDWLRQ LV VXSSRUWHG RQ 1HWZRUN &DSWXUH
      z        IURP WKH &OLHQW EURZVHU WR WKH :HE 6HUYHU FRPSRQHQW
      z        IURP WKH :HE 6HUYHU FRPSRQHQW WR WKH 6HUYHU
      z        IURP WKH $JHQW WR WKH 6HUYHU
     (QFU\SWHG FRPPXQLFDWLRQ LV QRW VXSSRUWHG RQ 1HWZRUN &DSWXUH
      z        IURP DQ $JHQW WR DQ\ RWKHU $JHQW LQFOXGLQJ WKH ORFDO $JHQW LQVWDOOHG RQ WKH 6HUYHU PDFKLQH
     (QDEOLQJ VHFXUH FRPPXQLFDWLRQ RQ WKH 1HWZRUN &DSWXUH 6HUYHU FUHDWHV D VHOIVLJQHG FHUWLILFDWH RQ WKH
     6HUYHU PDFKLQH

          # * 1HLWKHU &OLHQWV QRU $JHQWV KDYH DQ\ PHDQV WR YDOLGDWH WKH 6HUYHU FHUWLILFDWH XVHG GXULQJ WKH
          VHFXUH FRQQHFWLRQ WR WKH 6HUYHU 7KHUHIRUH
           z    $ VHFXULW\ ZDUQLQJ LV GLVSOD\HG ZKHQ D XVHU ORJV RQ WR WKH 1HWZRUN &DSWXUH 8, 7KLV ZDUQLQJ LV
                SUHVHQWHG E\ WKH ZHE EURZVHU EHFDXVH WKH EURZVHU GRHV QRW UHFRJQL]H WKH 6HUYHU FHUWLILFDWH
           z    $JHQWV ORJ D ZDUQLQJ PHVVDJH FRQWDLQLQJ WKH FHUWLILFDWH LQIRUPDWLRQ DQG WKHQ VLOHQWO\ DFFHSW LW
          &RQVHTXHQWO\ DOWKRXJK WKH HVWDEOLVKHG FRQQHFWLRQ LV XVLQJ +7736 LW LV YXOQHUDEOH WR WKH PDQLQ
          WKHPLGGOH DWWDFN




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                                                                                                                      3DJHA--287
                                                                                                                           
Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page16
                                                               289
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1056
                                                                              #: 377
  ,QVWDOODWLRQ DQG 8SJUDGH




     7KH GLDJUDP VKRZV WKH VHFXUH DQG QRQVHFXUH FKDQQHOV ZKHQ VHFXUH FRPPXQLFDWLRQ LV HQDEOHG RQ WKH
     6HUYHU DQG $JHQW




          # * )LUHZDOO UXOHV PXVW EH GHILQHG IRU HDFK DUURZ LQ WKH GLDJUDP )RU GHWDLOV VHH )LUHZDOO
          &RQILJXUDWLRQ RQ SDJH{

     )RU H[DPSOH LQ D FRQILJXUDWLRQ ZKHUH
      z    7KH 5HPRWH 1HWZRUN &DSWXUH $JHQW LV OLVWHQLQJ RQ SRUW 
      z    7KH 1HWZRUN &DSWXUH 6HUYHU LV OLVWHQLQJ RQ SRUW 
      z    7KH /RFDO 1HWZRUN &DSWXUH $JHQW LV OLVWHQLQJ RQ SRUW 
      z    $ 0RQLWRU LV FRQILJXUHG ZLWK WKH /RFDO $JHQW DV WKH 6RXUFH DQG WKH 5HPRWH $JHQW DV WKH 'HVWLQDWLRQ
           DQG LW PHDVXUHV ODWHQF\ XVLQJ WKH 7&3 3URWRFRO RQ SRUW  GHIDXOW SRUW 
     7KH IROORZLQJ FKDQQHOV XVH WKH IROORZLQJ SRUWV




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                                                                                                        3DJHA--288
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page17
                                                               290
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1057
                                                                              #: 378
  ,QVWDOODWLRQ DQG 8SJUDGH




      z   6RXUFH DQG 'HVWLQDWLRQ $JHQWV XVH VHFXUHG FRPPXQLFDWLRQ YLD SRUW  WR SXEOLVK WKHPVHOYHV DQG
          SROO WKH 6RXUFH VHQGV UHVXOWV EDFN WR WKH 6HUYHU
      z   7KH 'HVWLQDWLRQ $JHQW FRQWDFWV WKH 6RXUFH YLD WKH QRQVHFXUHG FRQWURO FKDQQHO XVLQJ SRUW  LI WKH
          'HVWLQDWLRQ $JHQW UHVWDUWV RU XQGHUJRHV D FUDVK UHFRYHU\
      z   6RXUFH $JHQW FRQQHFWV WR WKH 'HVWLQDWLRQ $JHQW YLD WKH QRQVHFXUHG FRQWURO FKDQQHO RQ SRUW 
      z   6RXUFH $JHQW SUREHV IRU ODWHQF\ XVLQJ QRQVHFXUHG FRPPXQLFDWLRQ RQ SRUW 


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     7KH 1HWZRUN &DSWXUH 6HUYHU LQVWDOOHU DOVR LQVWDOOV WKH 1HWZRUN &DSWXUH :HE 6HUYHU DQG D ORFDO 1HWZRUN
     &DSWXUH $JHQW

     !+ 
      z   ' PXVW EH LQVWDOOHG SULRU WR LQVWDOODWLRQ RI WKH 1HWZRUN &DSWXUH 6HUYHU  )RU ,,6  HQVXUH WKDW ,,6
           0HWDEDVH &RPSDWLELOLW\ LV HQDEOHG

              # * :LQGRZV  DQG :LQGRZV  5 UHTXLUH WKH IROORZLQJ VHWWLQJV
              z    :HE 6HUYHU !{&RPPRQ +773{)HDWXUHV !{6WDWLF &RQWHQW
              z    :HE 6HUYHU !{3HUIRUPDQFH !{6WDWLF DQG '\QDPLF &RQWHQW &RPSUHVVLRQ
              z    1(7{)UDPHZRUN  )HDWXUHV !{:&){6HUYLFHV !{+773{DQG 7&3{$FWLYDWLRQ

      z   '5) 6WDQGDUG (GLWLRQ RU KLJKHU WKDW LQFOXGHV
          z       0\64/ 6HUYHU YHUVLRQ  RU KLJKHU

                   # *
                    R   0\64/ 6HUYHU YHUVLRQV  DQG  DUH QRW VXSSRUWHG
                    R   7KH ODWHVW WHVWHG 0\64/{6HUYHU YHUVLRQ LV 

          z       0\64/ &RQQHFWRU1(7 YHUVLRQ  RU KLJKHU

              # * 0\64/ FRQILJXUDWLRQ VXFK DV SRUW VHWWLQJV WKH URRW XVHU SDVVZRUG DQG GDWDEDVH
              FRQQHFWLRQ W\SH VKRXOG QRW EH DOWHUHG DIWHU FRPSOHWLQJ WKH 1HWZRUN &DSWXUH LQVWDOODWLRQ ,I
              0\64/ FRQILJXUDWLRQ FKDQJHV DUH UHTXLUHG FRQWDFW VXSSRUW DW KWWSVVRIWZDUHVXSSRUWKSFRP

      z   -!   RU KLJKHU KWWSVZZZZLQSFDSRUJLQVWDOOGHIDXOW

              # * )RU :LQGRZV  DQG :LQGRZV  5 XVH :LQ3FDS  RU KLJKHU

     7KH IROORZLQJ FRPSRQHQWV ZLOO EH LQVWDOOHG DV SDUW RI WKH LQVWDOODWLRQ LI WKH\ DUH QRW DOUHDG\ LQVWDOOHG RQ
     \RXU PDFKLQH
      z   0LFURVRIW 1(7 )UDPHZRUN  )XOO
      z   0LFURVRIW 9LVXDO &  63 5HGLVWULEXWDEOH 3DFNDJH
      z   '\QDPLF ,,6 &RQWHQW &RPSUHVVLRQ KLJKO\ UHFRPPHQGHG WR HQKDQFH SHUIRUPDQFH DQG UHGXFH WKH
          ORDG RQ QHWZRUN UHVRXUFHV PD\ XWLOL]H DGGLWLRQDO PDFKLQH UHVRXUFHV




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                                                                                                          3DJHA--289
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page18
                                                               291
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1058
                                                                              #: 379
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           $V WKH $GPLQLVWUDWRU UXQ #%6'6' 67 DQG IROORZ WKH LQVWUXFWLRQV LQ WKH ZL]DUG ,I
             UHTXLUHG D FXVWRPL]HG SRUW FDQ EH VHOHFWHG GXULQJ WKH LQVWDOODWLRQ SURFHVV 'XULQJ WKH LQVWDOODWLRQ
             \RX FDQ FKDQJH WKH 1HWZRUN &DSWXUH 6HUYHU DQG WKH ORFDO $JHQW SRUW QXPEHU 7KLV PD\ EH
             UHTXLUHG LI DQ DQRWKHU DSSOLFDWLRQ VXFK DV 6N\SH LV XVLQJ WKH GHIDXOW SRUW

                 # * ,3 $GGUHVVHV DUH QRW UHFRPPHQGHG LI G\QDPLF ,3 $GGUHVVHV DUH XVHG DV WKH\ FDQ
                 FKDQJH ZKHQ WKH PDFKLQH LV UHERRWHG XVH WKH KRVWQDPH 85/ RU )4'1


                 # * ,I WKH 6HUYHU PDFKLQH LV EHKLQG 1$7 RQO\ WKH H[WHUQDO DGGUHVV VKRXOG EH GHILQHG GR QRW
                 XVH WKH LQWHUQDO KRVW QDPH RU ,3 DV WKH 6HUYHU DGGUHVV )RU WKH ORFDO $JHQW WKDW LV LQVWDOOHG
                 ZLWK WKH 6HUYHU VHH 1HWZRUN &DSWXUH $JHQW ,QVWDOODWLRQ RQ WKH QH[W SDJH
                 &RQILJXUH WKH 1$7 GHYLFH WR HQDEOH SRUW IRUZDUGLQJ RI WKH 1HWZRUN &DSWXUH 6HUYHU SRUW
                 GHILQHG GXULQJ LQVWDOODWLRQ ? RU XVHUGHILQHG 

           5HVWDUW WKH KRVW PDFKLQH ZKHQ WKH LQVWDOODWLRQ FRPSOHWHV
           (QVXUH WKDW WKH 1HWZRUN &DSWXUH 6HUYHU DQG $JHQW 6HUYLFHV DUH XS DQG UXQQLQJ

     8  ' %  922!';                     '
     6HFXUH &RPPXQLFDWLRQ +7736 LV HQDEOHG RQ WKH 1HWZRUN &DSWXUH 6HUYHU DV SDUW RI WKH LQVWDOODWLRQ
     ZL]DUG PDNH VXUH WR VHOHFW WKH 22!' RSWLRQ

          # * ,I \RX HQDEOH +7736 RQ D QRQGHIDXOW SRUW \RX PXVW SHUIRUP WKH IROORZLQJ VWHSV DIWHU
          LQVWDOODWLRQ
          ,Q ,,6 0DQDJHU LQ WKH 6LWH %LQGLQJV GLDORJ ER[ DGG DQ DGGLWLRQDO ELQGLQJ IRU WKH ,,6 'HIDXOW :HE 6LWH
          XVLQJ WKH IROORZLQJ SDUDPHWHUV
          z    7\SH KWWSV
          z    ,3 $GGUHVV $OO 8QDVVLJQHG
          z    3RUW \RXU FXVWRP SRUW!
          z    66/ FHUWLILFDWH VHOHFW WKH FHUWLILFDWH FUHDWHG E\ 1HWZRUN &DSWXUH!

     <RX FDQ DOVR HQDEOH VHFXUH FRPPXQLFDWLRQ DW DQ\ WLPH SRVWLQVWDOODWLRQ )RU GHWDLOV VHH &KDQJLQJ
     EHWZHHQ 6HFXUH DQG 1RQ6HFXUH &RPPXQLFDWLRQ 3RVW ,QVWDOODWLRQ RQ SDJH{
     )RU DGGLWLRQDO GHWDLOV UHJDUGLQJ VHFXUH FRPPXQLFDWLRQ FRPSRQHQWV VHH 6HFXUH &RPPXQLFDWLRQ LQ
     1HWZRUN &DSWXUH RQ SDJH{

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     5HPRYH DOO WKUHH FRPSRQHQWV VHSDUDWHO\
      z       1HWZRUN &DSWXUH :HE 6HUYHU
      z       1HWZRUN &DSWXUH $JHQW
      z       1HWZRUN &DSWXUH 6HUYHU




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                                                                                                          3DJHA--290
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page19
                                                               292
                                                                 of of
                                                                    56464 PageID
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                                                                              #: 380
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           /RJLQ WR WKH 8, DQG VWRS DOO UXQQLQJ PRQLWRUV
           %DFN XS UHFRUGLQJ ILOHV E\ GHIDXOW LQ &?3URJUDP )LOHV?+3?1HWZRUN&DSWXUH?&DWFKHU)LOHV WR DQRWKHU
             SODFH RQ \RXU KDUG GULYH RU DQRWKHU ORFDWLRQ
           $V WKH $GPLQLVWUDWRU LQ WKH &RQWURO 3DQHO GRXEOHFOLFN WKH ,<&   LFRQ VHOHFW WKH
             +3 1HWZRUN &DSWXUH FRPSRQHQW DQG FOLFN WKH % <& EXWWRQ )ROORZ WKH RQVFUHHQ
             LQVWUXFWLRQV
             0&
             5XQ #%6= >6' 67 DQG VHOHFW & IROORZ WKH LQVWUXFWLRQV LQ WKH ZL]DUG
     'XULQJ WKH XQLQVWDOO \RX ZLOO KDYH WKH RSWLRQ WR UHWDLQ \RXU GDWDEDVH IRU IXWXUH XVH (QVXUH WKDW \RX
     NQRZ \RXU 0\64/ oURRWo XVHU SDVVZRUG
     5HVWDUW WKH KRVW PDFKLQH ZKHQ WKH XQLQVWDOODWLRQ RI DOO FRPSRQHQWV FRPSOHWHV


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     )RU DOO W\SHV RI PHDVXUHPHQWV WKH 1HWZRUN &DSWXUH $JHQW PXVW EH LQVWDOOHG RQ WKH 6RXUFH (QGSRLQW ,Q
     DGGLWLRQ ELGLUHFWLRQDO EDQGZLGWK DQG RWKHU SHHUEDVHG PHDVXUHPHQWV UHTXLUH DQ $JHQW DW WKH 7DUJHW
     (QGSRLQW )RU GHWDLOV VHH )$4V DQG 7URXEOHVKRRWLQJ RQ SDJH{


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      z    :LQ3FDS  RU KLJKHU

             # * )RU :LQGRZV  DQG :LQGRZV  5 XVH :LQ3FDS  RU KLJKHU

     7KH IROORZLQJ FRPSRQHQWV ZLOO EH LQVWDOOHG DV SDUW RI WKH LQVWDOODWLRQ LI WKH\ DUH QRW DOUHDG\ LQVWDOOHG RQ
     \RXU PDFKLQH
      z    0LFURVRIW 1(7 )UDPHZRUN  )XOO
      z    0LFURVRIW 9LVXDO &  63 5HGLVWULEXWDEOH 3DFNDJH

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     /RJLQ WR WKH 1HWZRUN &DSWXUH XVHU LQWHUIDFH )URP WKH 2SWLRQV PHQX VHOHFW @  , DQG
     GRZQORDG WKH #%6, 6' 67 ILOH 7KLV ILOH LV DOVR DYDLODEOH LQ WKH LQVWDOODWLRQ SDFNDJH

          # * ,Q WKH EURZVHU PDNH VXUH WR DOORZ 3RSXS ZLQGRZV DQG WKH o'RZQORDG )LOHVo RSWLRQ LV HQDEOHG
          LQ WKH EURZVHU 6HFXULW\ 6HWWLQJV

     $V DQ DGPLQLVWUDWRU UXQ #%6, 6' 67 ILOH DQG IROORZ WKH LQVWUXFWLRQV LQ WKH ZL]DUG 'XULQJ WKH
     LQVWDOODWLRQ \RX FDQ FKDQJH WKH 1HWZRUN &DSWXUH $JHQW SRUW QXPEHU 7KLV PD\ EH UHTXLUHG LI DQ
     DQRWKHU DSSOLFDWLRQ VXFK DV 6N\SH LV XVLQJ WKH GHIDXOW SRUW ,I 6HUYHU LV FRQILJXUHG IRU VHFXUH
     FRPPXQLFDWLRQ PDNH VXUH WR VHOHFW WKH ' %  922!'; RSWLRQ 6HFXUH FRPPXQLFDWLRQ PD\
     EH HQDEOHG DW DQ\ WLPH SRVWLQVWDOODWLRQ )RU GHWDLOV VHH ,QVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW DERYH




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                                                                                                       3DJHA--291
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page20
                                                               293
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1060
                                                                              #: 381
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     )RU DGGLWLRQDO GHWDLOV UHJDUGLQJ VHFXUH FRPPXQLFDWLRQ FRPSRQHQWV VHH 6HFXUH &RPPXQLFDWLRQ LQ
     1HWZRUN &DSWXUH RQ SDJH{

       # *
       z   ,3 $GGUHVVHV DUH QRW UHFRPPHQGHG LI G\QDPLF ,3 $GGUHVVHV DUH XVHG DV WKH\ FDQ FKDQJH ZKHQ
           WKH PDFKLQH LV UHERRWHG XVH WKH KRVWQDPH 85/ RU )4'1
       z   'XULQJ LQVWDOODWLRQ RI WKH 1HWZRUN &DSWXUH $JHQW ZKHQ VSHFLI\LQJ WKH 1HWZRUN &DSWXUH 6HUYHU
           DGGUHVV DQG SRUW HQVXUH WKDW \RX HQWHU WKH 1HWZRUN &DSWXUH 6HUYHU GHWDLOV LQ WKH VDPH IRUPDW
           DV \RX KDYH HQWHUHG LW LQ WKH 1HWZRUN &DSWXUH 6HUYHU LQVWDOODWLRQ
           )RU H[DPSOH LI \RX HQWHUHG WKH KRVW QDPH GXULQJ WKH 1HWZRUN &DSWXUH 6HUYHU LQVWDOODWLRQ XVH
           WKH VDPH KRVW QDPH QRW WKH ,3 DGGUHVV GXULQJ WKH 1HWZRUN &DSWXUH $JHQW LQVWDOODWLRQ
       z   ,I WKH 1HWZRUN &DSWXUH $JHQW LV EHKLQG 1$7 DQG LV UHTXLUHG WR FRPPXQLFDWH ZLWK RWKHU 6RXUFH RU
           7DUJHW $JHQWV WKDW DUH QRW EHKLQG WKH VDPH1$7 ERWK WKH LQWHUQDO DQG H[WHUQDO DGGUHVVHV PXVW
           EH SURYLGHG &RQILJXUH WKH 1$7 GHYLFH WR HQDEOH SRUW IRUZDUGLQJ RI WKH 1HWZRUN &DSWXUH $JHQWoV
           SRUW GHILQHG GXULQJ WKH LQVWDOODWLRQ  RU XVHUGHILQHG  DQG LQ DGGLWLRQ HQDEOH SRUW IRUZDUGLQJ
           RI DQ\ PHWULFVo SRUWV WKDW DUH XVHG E\ WKH 0RQLWRUV )RU GHWDLOV VHH SRUW VSHFLILFDWLRQV LQ
           )LUHZDOO &RQILJXUDWLRQ EHORZ


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     2        # $ %   , *
        /RJLQ WR WKH 8, DQG VWRS DOO UXQQLQJ PRQLWRUV
        %DFNXS WKH ILOH #%6, 6 676B3@ WKLV ILOH PD\ QRW EH SUHVHQW LQ HYHU\ FRQILJXUDWLRQ  E\
          GHIDXOW ORFDWHG LQ ?$JHQW5RRW)ROGHU!?%LQ
        $V WKH $GPLQLVWUDWRU LQ WKH &RQWURO 3DQHO GRXEOHFOLFN WKH ,<& !   VHOHFW !
          # $ %   ,  DQG FOLFN WKH % <&   )ROORZ WKH RQVFUHHQ LQVWUXFWLRQV
           0
           5XQ #%6, 6' 67 DQG VHOHFW & IROORZ WKH LQVWUXFWLRQV LQ WKH ZL]DUG
        :KHQ UHLQVWDOOLQJ RU XSJUDGLQJ UHSODFH WKH ILOH #%6, 6 676B3@ ZLWK WKH RULJLQDO ILOH WKDW
          ZDV EDFNHG XS
        5HVWDUW WKH KRVW PDFKLQH ZKHQ WKH LQVWDOODWLRQ FRPSOHWHV
        :KHQ UHLQVWDOOLQJ RU XSJUDGLQJ
            D /RJLQ WR WKH 1HWZRUN &DSWXUH 8,
            E ,Q WKH (QGSRLQW SDJHoV WRROEDU FOLFN '  , 8  ,    7ZR (QGSRLQWV ZLWK WKH
               VDPH DGGUHVV DUH GLVSOD\HG GHOHWH WKH (QGSRLQW ZLWK WKH 6WDWXV RI 8QUHDFKDEOH RQH UHG
               LFRQ 


     8           . 
     (QVXUH WKDW SRUWV UHTXLUHG IRU 1HWZRUN &DSWXUH LQWHUQDO FRPPXQLFDWLRQV DQG PRQLWRULQJ DUH QRW
     EORFNHG E\ DQ\ ILUHZDOOV

     # $ %   '
     7KH IROORZLQJ SRUWV DUH JHQHUDOO\ LQYROYHG




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                                                                                                      3DJHA--292
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page21
                                                               294
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1061
                                                                              #: 382
  ,QVWDOODWLRQ DQG 8SJUDGH




      z    IRU VHFXUH FRPPXQLFDWLRQ PD\ YDU\ GHSHQGLQJ XSRQ WKH RSHUDWLQJ V\VWHP
      z    IRU QRQVHFXUH FRPPXQLFDWLRQ PD\ YDU\ GHSHQGLQJ XSRQ WKH RSHUDWLQJ V\VWHP

              # * 6LQFH WKH 1HWZRUN &DSWXUH 6HUYHU DOVR LQFOXGHV D ORFDO $JHQW PDNH VXUH WR FRQILJXUH WKH
              UHTXLUHG $JHQW SRUWV RQ WKH ILUHZDOO DV GHVFULEHG LQ WKH IROORZLQJ VHFWLRQV


     # $ %   ' , 
     )RU FRPPXQLFDWLRQ ZLWK WKH 1HWZRUN &DSWXUH 6HUYHU
      z   2XWERXQG 7&3 SRUW ? RU DQRWKHU 7&3 SRUW GHILQHG GXULQJ 1HWZRUN &DSWXUH 6HUYHU LQVWDOODWLRQ
     )RU FRPPXQLFDWLRQ ZLWK WKH 1HWZRUN &DSWXUH 7DUJHW $JHQW
      z   2XWERXQG 7&3 SRUW  RU DQRWKHU 7&3 SRUW GHILQHG GXULQJ 1HWZRUN &DSWXUH 7DUJHW $JHQW
          LQVWDOODWLRQ
     )RU WKH IROORZLQJ PHWULFV
      z   2%! * RXWERXQG 7&3  RU DQRWKHU XVHUFRQILJXUDEOH SRUW
      z   2%!   * RXWERXQG 7&3  RU DQRWKHU XVHUFRQILJXUDEOH SRUW
      z   3@!* RXWERXQG 8'3  RU DQRWKHU XVHUFRQILJXUDEOH SRUW
      z   3   8  *
          z    2XWERXQG 8'3  RU DQRWKHU XVHUFRQILJXUDEOH SURELQJ SRUW
          z    2XWERXQG ,&03 WLPHVWDPS RU ,&03 (FKR UHSO\ DFFRUGLQJ WR VHOHFWHG 3LQJLQJ 3URWRFRO
      z   (   8  * RXWERXQG 8'3  RU DQRWKHU XVHUFRQILJXUDEOH SRUW
      z   & (   ' * RXWERXQG 7&3  RU DQRWKHU XVHUFRQILJXUDEOH SRUW

     2  , (  8 
     )RU WKH FRPPXQLFDWLRQ ZLWK 1HWZRUN &DSWXUH 6RXUFH $JHQW
      z   ,QERXQG 7&3 SRUW  RU DQRWKHU XVHUFRQILJXUDEOH 7&3 SRUW LV RSHQ
     )RU WKH IROORZLQJ PHWULFV
      z   %!  * ,&03 (FKR UHSO\
      z   2%! * LQERXQG 7&3  RU DQRWKHU XVHUFRQILJXUDEOH 7&3 SRUW
      z   2%!   * LQERXQG 7&3  RU DQRWKHU XVHUFRQILJXUDEOH 7&3 SRUW
      z   3@!* LQERXQG 8'3  RU DQRWKHU XVHUFRQILJXUDEOH SRUW
      z   3   8  *
          z    ,QERXQG 8'3  RU DQRWKHU XVHUFRQILJXUDEOH SURELQJ SRUW
          z    ,QERXQG ,&03 WLPHVWDPS RU ,&03 (FKR UHSO\ DFFRUGLQJ WR VHOHFWHG 3LQJLQJ 3URWRFRO
      z   2 I%! 8  I 3@!*  DFFRUGLQJ WR WKH VHOHFWHG SLQJLQJ SURWRFRO
      z   (   8  * LQERXQG 8'3  RU DQRWKHU XVHUFRQILJXUDEOH SRUW
      z   & (   ' * LQERXQG 7&3  RU DQRWKHU XVHUFRQILJXUDEOH SRUW

     2  , ) 8 
     )RU WKH IROORZLQJ PHWULFV




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                                                                                                      3DJHA--293
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page22
                                                               295
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1062
                                                                              #: 383
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      z       %!* ,&03 (FKR UHSO\
      z       2%! * LQERXQG 7&3 ?FXVWRPL]HG
      z       3   8  *
              z    ,QERXQG 8'3  RU DQRWKHU XVHUFRQILJXUDEOH SURELQJ SRUW
              z    ,QERXQG ,&03 WLPHVWDPS RU ,&03 (FKR UHSO\ DFFRUGLQJ WR VHOHFWHG 3LQJLQJ 3URWRFRO




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     :KHQ DQ LQVWDOO LV DERUWHG WKH 1HWZRUN &DSWXUH LQVWDOODWLRQ SURYLGHV WZR ZD\V RI UHYHUWLQJ D 3&{WR LWV
     SUHYLRXV VWDWH

         $
      z       5ROOEDFN LV DQ LQWHJUDWHG IHDWXUH 1R XVHU LQWHUDFWLRQ LV QHHGHG WR WULJJHU LW
      z       5ROOEDFN $FWLRQV DUH WULJJHUHG ZKHQ WKH VHWXS HQFRXQWHUV DQ DERUW DXWRPDWLF IDLOXUH RU PDQXDO
              FDQFHOODWLRQ 
      z       0RGLILFDWLRQV SHUIRUPHG E\ WKH VHWXS SURJUDP DUH UHYHUVHG
              z    ,QVWDOOHG ILOHV ZLOO EH UHPRYHG
              z    6KRUWFXWV RU UHJLVWU\ HQWULHV DGGHG ZLOO DOVR EH UHPRYHG
              z    1HZ GLUHFWRULHV FUHDWHG E\ WKH LQVWDOO DQG ORJ ILOHV ZLOO 127 EH UHPRYHG

     '  &  !
     ,I \RXU 3& KDV EHFRPH FRUUXSW GXULQJ WKH VRIWZDUH LQVWDOO \RX PD\ UXQ 6\VWHP 5HVWRUH ZKLFK LV D
     QDWLYH :LQGRZV IHDWXUH 7KLV IHDWXUH DXWRPDWLFDOO\ PRQLWRUV DQG UHFRUGV NH\ V\VWHP FKDQJHV WR \RXU
     3& 7KH 1HWZRUN &DSWXUH LQVWDOODWLRQ VXSSRUWV 6\VWHP 5HVWRUH E\ VHWWLQJ PXOWLSOH V\VWHP UHVWRUH
     SRLQWV LQFOXGLQJ EHIRUH VWDUWLQJ WKH ILOH WUDQVIHU \RX PD\ WKHQ XVH WKH 6\VWHP 5HVWRUH ZL]DUG WR
     UHVWRUH WKH V\VWHP WR LWV ODWHVW VXFFHVVIXO UHVWRUH SRLQW 2U \RX PD\ FKRRVH D GLIIHUHQW UHVWRUH SRLQW
     PDQXDOO\

          # * 1RW DOO :LQGRZV YHUVLRQV XWLOL]H 6\VWHP 5HVWRUH
          z       6XSSRUWHG YHUVLRQV LQFOXGH EXW DUH QRW OLPLWHG WR  :LQGRZV ;3 :LQGRZV  :LQGRZV
          z       8QVXSSRUWHG YHUVLRQV LQFOXGH EXW DUH QRW OLPLWHG WR {:LQGRZV 6HUYHU 

     7R LQLWLDWH V\VWHP UHVWRUH JR WR 6WDUW ! 6\VWHP 5HVWRUH




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                                                                                                          3DJHA--294
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page23
                                                               296
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1063
                                                                              #: 384
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       # * 3UHYLRXV YHUVLRQV RI +3{1HWZRUN &DSWXUH ZHUH IRUPHUO\ 6KXQUD 1HWZRUN&DWFKHU Y RU Y

     2          # $ %   '*

       # * :KHQ XSJUDGLQJ IURP D SUHYLRXV YHUVLRQ RI +3{1HWZRUN &DSWXUH WR 1HWZRUN &DSWXUH Y DOO
       $JHQWV PXVW EH JLYHQ WKH 1DPH DQG $GGUHVV LQ WKH H[DFW IRUPDW ZLWK WKH VDPH YDOXHV WKDW ZHUH
       GHILQHG LQ Y RU Y

        %DFNXS WKH 0\64/ o1&o DQG o6HFXULW\o GDWDEDVHV WR HQVXUH WKDW \RX FDQ DFFHVV WKH RULJLQDO GDWD LI
          UHTXLUHG %\ GHIDXOW WKH GDWDEDVH LV ORFDWHG LQ
           z    2Q :LQ  &?'RFXPHQWV DQG 6HWWLQJV?$OO 8VHUV?$SSOLFDWLRQ 'DWD?0\64/?0\64/ 6HUYHU
                ?'DWD
           z    2Q :LQ  :LQ  DQG :LQ  5 &?3URJUDP'DWD?0\64/?0\64/ 6HUYHU ?GDWD
        /RJ LQ WR 1HWZRUN &DSWXUH DQG VWRS DOO UXQQLQJ PRQLWRUV
        8QLQVWDOO DOO 1HWZRUN &DSWXUH FRPSRQHQWV UHIHU WR 8QLQVWDOOLQJ 1HWZRUN &DSWXUH &RPSRQHQWV RQ
          SDJH{
        ,QVWDOO WKH 1HWZRUN &DSWXUH 6HUYHU Y )RU GHWDLOV VHH ,QVWDOOLQJ 1HWZRUN &DSWXUH RQ SDJH{
          (QVXUH WKDW \RX LQVWDOO WKH 1HWZRUN &DSWXUH 6HUYHU LQ WKH RULJLQDO LQVWDOODWLRQ SDWK WR DYRLG
          GLIILFXOWLHV ZLWK OLFHQVLQJ

               # * ,I WKH H[LVWLQJ GDWDEDVH LV YHU\ ODUJH WKH LQVWDOO PD\ EH D WLPHFRQVXPLQJ SURFHVV 7R




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                                                                                                       3DJHA--295
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page24
                                                               297
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1064
                                                                              #: 385
  ,QVWDOODWLRQ DQG 8SJUDGH




               DYRLG GDWD FRUUXSWLRQ GR QRW LQWHUUXSW WKH LQVWDOO SURFHGXUH

           5HVWDUW WKH KRVW FRPSXWHU
     3         &  ,
           %DFNXS WKH ILOH #%6, 6 676B3@ ZKHQ XSJUDGLQJ IURP Y  E\ GHIDXOW ORFDWHG LQ
             I=, & >I(
           8QLQVWDOO WKH 1HWZRUN &DSWXUH $JHQW UHIHU WR 8QLQVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW RQ
             SDJH{
           /RJLQ WR WKH QHZO\ LQVWDOOHG 1HWZRUN &DSWXUH XVHU LQWHUIDFH IURP WKH 2SWLRQV PHQX VHOHFW
             @  , DQG GRZQORDG WKH #%6, 6' 67 ILOH 7KLV ILOH LV DOVR DYDLODEOH LQ WKH
             LQVWDOODWLRQ SDFNDJH
           ,QVWDOO WKH 1HWZRUN &DSWXUH $JHQW )RU GHWDLOV VHH ,QVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW RQ
             SDJH{
           5HSODFH WKH ILOH #%6, 6 676B3@ ZLWK WKH RULJLQDO ILOH WKDW ZDV EDFNHG XS ZKHQ XSJUDGLQJ
             IURP Y 
           /RJLQ WR WKH 1HWZRUN &DSWXUH 8,
           ,Q WKH (QGSRLQW SDJHoV WRROEDU FOLFN '  , 8  ,    7ZR (QGSRLQWV ZLWK WKH VDPH
             DGGUHVV DUH GLVSOD\HG GHOHWH WKH (QGSRLQW ZLWK WKH 6WDWXV RI o8QUHDFKDEOHo UHG LFRQ 




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     %\ GHIDXOW WKH ORJJLQJ OHYHO LV o,QIRo ZKLFK MXVW QRWHV WKH SUREOHP ZLWKRXW DQ\ H[SODQDWLRQ <RX FDQ
     DGMXVW WKH OHYHO WR o(UURUo RU RWKHU FKRLFHV LQ WKH FRQILJXUDWLRQ ILOH SHU FRPSRQHQW

     %   
     7KH FRQILJXUDWLRQ ILOHV LQ ZKLFK \RX FDQ FKDQJH WKH ORJJLQJ OHYHOV DUH IRXQG E\ GHIDXOW LQ
      z    '* #%6'6 676  LQ ?+3?1HWZRUN &DSWXUH?6HUYHU?%LQ
      z    , * #%6, 6 676  LQ ?+3?1HWZRUN &DSWXUH?$JHQW?%LQ
      z    - '* ZHEFRQILJ LQ ?+3?1HWZRUN &DSWXUH?:HE 6HUYHU?

     ) 
     7KH VXSSRUWHG ORJ OHYHOV DUH IURP WKH PRVW WR WKH OHDVW GHWDLOHG 
      z    @8(3B* KLJKO\ GHWDLOHG LQIRUPDWLRQ WKDW ORJV HDFK GDWDEDVH RSHUDWLRQ VORZV GRZQ WKH 6HUYHU
           FRQVLGHUDEO\
      z    #0* SURYLGHV LQIRUPDWLRQ WKDW LV XVXDOO\ VXIILFLHQW WR WURXEOHVKRRW RUGLQDU\ LVVXHV
      z    -,&#* ZDUQLQJV RQO\
      z    8&&0&* LQGLFDWHV WKH RULJLQ RI D SUREOHP RULJLQ XVXDOO\ GRHV QRW FRQWDLQ VXIILFLHQW LQIRUPDWLRQ IRU
           WURXEOHVKRRWLQJ
     /RJ ILOHV DUH ORFDWHG E\ GHIDXOW LQ  ELW V\VWHPV LQ WKLV IROGHU
      z    &?3URJUDP )LOHV [ ?+3?1HWZRUN &DSWXUH?6HUYHU RU $JHQW RU :HE 6HUYHU ?/RJV
     /RJ ILOHV DUH ORFDWHG E\ GHIDXOW LQ  ELW V\VWHPV LQ WKLV IROGHU




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                                                                                                        3DJHA--296
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page25
                                                               298
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1065
                                                                              #: 386
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      z    &?3URJUDP )LOHV?+3?1HWZRUN &DSWXUH?6HUYHU RU $JHQW RU :HE 6HUYHU ?/RJV
     /RJ ILOHV RYHUZULWH SUHYLRXV ILOHV RQFH WKH DOORWWHG PHPRU\ KDV EHHQ H[FHHGHG

     )            ' -  
     &HUWDLQ LQVWDOODWLRQ HUURUV PD\ EH GLVSOD\HG LQ WKH 06 :LQGRZV ,QVWDOOHU ORJV DQG QRW LQ WKH 1HWZRUN
     &DSWXUH ORJV 7KHVH ORJV DUH XVXDOO\ RQO\ UHTXLUHG ZKHQ WURXEOHVKRRWLQJ LV QHFHVVDU\
      z    7KH VHWXS ORJV DUH ORFDWHG LQ WKH ?7HPS IROGHU
      z    :LQGRZV ,QVWDOOHU ORJV DUH QRW JHQHUDWHG E\ GHIDXOW 7R YLHZ WKHVH ORJV LQ WKH ?7HPS IROGHU WKLV NH\
           VKRXOG EH DGGHG WR WKH 5HJLVWU\ SULRU WR LQVWDOODWLRQ
           >+.(<B/2&$/B0$&+,1(?62)7:$5(?3ROLFLHV?0LFURVRIW?:LQGRZV?,QVWDOOHU@ /RJJLQJ YRLFHZDUPXS[




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     2QFH WKH 1HWZRUN &DSWXUH 6HUYHU LV LQVWDOOHG LQ \RXU EURZVHU QDYLJDWH WR        9;*<<=# $ %  
     ' >< $X  
     8VH ,  <,   DV WKH XVHU QDPH DQG SDVVZRUG WKHQ FKDQJH WKH XVHUQDPH DQGRU
     SDVVZRUG WR UHVWULFW DFFHVV

          # * 0LFURVRIW 6LOYHUOLJKW ZLOO EH LQVWDOOHG ZKHQ RSHQLQJ WKH 1HWZRUN &DSWXUH XVHU LQWHUIDFH WKH
          ILUVW WLPH 7KH ILUVW ORJLQ PD\ WDNH D IHZ PLQXWHV XQWLO WKH FRQWHQW LV WUDQVIHUUHG IURP WKH :HE
          6HUYHU FRPSRQHQW




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     7KH 1HWZRUN &DSWXUH 2  ) SURYLGHV
      z    8S WR  FRQFXUUHQWO\ UXQQLQJ PRQLWRUV
      z    8S WR  HQGSRLQWV
      z     GD\V XVDJH HDFK UXQ FDQ UHFRUG IRU XS WR  GD\V
     7KH 1HWZRUN &DSWXUH '   ) SURYLGHV
      z    8S WR  FRQFXUUHQWO\ UXQQLQJ PRQLWRUV
      z    8S WR  HQGSRLQWV
      z    $QDO\VLV
      z    6FKHGXOLQJ
      z    ([SRUW
      z    &DQ EH XVHG LQGHILQLWHO\ HDFK UXQ FDQ UHFRUG IRU XS WR  GD\V

     &+                ) Y
     $IWHU WKH WULDO OLFHQVH H[SLUHV \RX ZLOO KDYH WR REWDLQ D OLFHQVH E\ VHQGLQJ \RXU +RVW ,' WR +3 ZKHUH LW LV
     XVHG WR JHQHUDWH WKH /LFHQVH .H\ 7KH /LFHQVH .H\ LV VHQW EDFN WR \RX E\ HPDLO ZLWKLQ  EXVLQHVV GD\
     DQG \RX HQWHU LW LQ WKH 1HWZRUN &DSWXUH /LFHQVH 0DQDJHU




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                                                                                                         3DJHA--297
                                                                                                              
Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page26
                                                               299
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1066
                                                                              #: 387
  ,QVWDOODWLRQ DQG 8SJUDGH




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        /RJLQ WR WKH 1HWZRUN &DSWXUH 8, DV D 1HWZRUN &DSWXUH $GPLQLVWUDWRU
        )URP WKH WRROEDU FOLFN 0  > )   




        5HFRUG WKH +RVW ,'
        $FFHVV WKH +3 /LFHQVLQJ VLWH KWWSZZZKSFRPVRIWZDUHOLFHQVLQJ DQG GR RQH RI WKH IROORZLQJ
           z   ,I \RX KDYH D YDOLG OLFHQVH (QWLWOHPHQW 2UGHU 1XPEHU (21  HQWHU \RXU (21 WR DFWLYDWH \RXU
               OLFHQVH
           z   7R REWDLQ D QHZ OLFHQVH FOLFN &RQWDFW +3 /LFHQVLQJ WR ORFDWH D 5HJLRQDO /LFHQVLQJ 6XSSRUW
               &HQWHU
          <RXU OLFHQVH DFWLYDWLRQ UHTXHVW ZLOO EH URXWHG WR WKH +3 OLFHQVLQJ WHDP IRU SURFHVVLQJ 7KH OLFHQVLQJ
          WHDP ZLOO FRQWDFW \RX WR UHTXHVW WKH +RVW ,' RI \RXU 1HWZRUN &DSWXUH PDFKLQH



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        $V D 1HWZRUN &DSWXUH $GPLQLVWUDWRU IURP WKH WRROEDU FOLFN 0  > )   
        ,Q WKH /LFHQVH .H\ WH[W ILHOG HQWHU WKH /LFHQVH .H\ SURYLGHG WR \RX E\ +3 WKH $FWLYDWH EXWWRQ
          EHFRPHV DFWLYH
        &OLFN ,   WKHQ FOLFN %




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    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
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     7KLV VHFWLRQ LQFOXGHV

     r   (QDEOLQJ 6HFXUH &RPPXQLFDWLRQV                                          
     r   'LVDEOLQJ 6HFXUH &RPPXQLFDWLRQV                                         




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  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
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        ,Q WKH 1HWZRUN &DSWXUH 8, VWRS DOO UXQQLQJ PRQLWRUV

            # * p,,6  0HWDEDVH &RPSDWLELOLW\q DQ ,,6 UROH VHUYLFH PXVW EH LQVWDOOHG

        2SHQ D FRPPDQG ZLQGRZ 6WDUW ! 5XQ ! &0' 
        &KDQJH GLUHFWRU\ WR 6HUYHU URRW GLUHFWRU\!?ELQ GLUHFWRU\ DQG UXQ
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            z   ,W LV UHFRPPHQGHG WR ILUVW UXQ WKLV FRPPDQG DV D oWULDO UXQo EHIRUH H[HFXWLQJ WKH
                FRQILJXUDWLRQ DV IROORZV
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                "
                (QVXUH WKDW QR HUURUV DUH SUHVHQW LQ WKH RXWSXW ZLQGRZ
            z   ,I \RX HQDEOH +7736 RQ D QRQGHIDXOW SRUW \RX PXVW SHUIRUP WKH IROORZLQJ VWHSV DIWHU
                LQVWDOODWLRQ
                ,Q ,,6 0DQDJHU LQ WKH 6LWH %LQGLQJV GLDORJ ER[ DGG DQ DGGLWLRQDO ELQGLQJ IRU WKH ,,6 'HIDXOW
                :HE 6LWH XVLQJ WKH IROORZLQJ SDUDPHWHUV 
                7\SH KWWSV
                ,3 $GGUHVV $OO 8QDVVLJQHG
                3RUW \RXU FXVWRP SRUW!
                66/ FHUWLILFDWH VHOHFW WKH FHUWLILFDWH FUHDWHG E\ 1HWZRUN &DSWXUH!

        5HVWDUW WKH +3 1HWZRUN &DSWXUH 6HUYHU VHUYLFH
        7R FKDQJH WKH ORFDO $JHQW PRGH VHH WKH IROORZLQJ VHFWLRQ
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        /RJLQ WR WKH 8, DQG VWRS DOO UXQQLQJ PRQLWRUV
        8QLQVWDOO WKH 1HWZRUN &DSWXUH $JHQW )RU GHWDLOV VHH 8QLQVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW RQ
          SDJH{
        ,QVWDOO WKH $JHQW DFFRUGLQJ WR ,QVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW RQ SDJH{ DQG VHOHFW WKH
          '   FKHFNER[

            # * ,W LV SRVVLEOH WR HQDEOH VHFXUH FRPPXQLFDWLRQ RQ WKH $JHQW ZLWKRXW UHLQVWDOOLQJ WKH
            $JHQW KRZHYHU LW LQYROYHV PDQXDO FRQILJXUDWLRQ RI V\VWHP ILOHV DQG PD\ UHVXOWV LQ FRUUXSWHG
            GDWD 7KHUHIRUH EHIRUH DWWHPSWLQJ WKLV SURFHGXUH EDFNXS DQ\ 1HWZRUN &DSWXUH $JHQW ILOHV
            WKDW ZLOO EH PRGLILHG )RU LQVWUXFWLRQV DERXW KRZ WR FRQGXFW WKLV SURFHGXUH FRQWDFW VXSSRUW DW
            KWWSVVRIWZDUHVXSSRUWKSFRP

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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page29
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        ,Q WKH 1HWZRUN &DSWXUH 8, VWRS DOO UXQQLQJ PRQLWRUV
        2SHQ D FRPPDQG ZLQGRZ 6WDUW ! 5XQ ! &0' 
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            FRQILJXUDWLRQ DV IROORZV
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            (QVXUH WKDW QR HUURUV DUH SUHVHQW LQ WKH RXWSXW ZLQGRZ

        5HVWDUW WKH +3{1HWZRUN &DSWXUH VHUYLFH
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          SDJH{
        ,QVWDOO WKH $JHQW DFFRUGLQJ WR ,QVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW RQ SDJH{ DQG GR QRW VHOHFW
          WKH '   FKHFNER[

            # * 6HFXUH FRPPXQLFDWLRQ RQ WKH $JHQW FDQ EH GLVDEOHG ZLWKRXW UHLQVWDOOLQJ WKH $JHQW
            KRZHYHU WKLV LQYROYHV PDQXDO FRQILJXUDWLRQ RI V\VWHP ILOHV DQG PD\ UHVXOWV LQ FRUUXSWHG GDWD
            7KHUHIRUH EHIRUH DWWHPSWLQJ WKLV SURFHGXUH EDFNXS DQ\ 1HWZRUN &DSWXUH $JHQW ILOHV WKDW
            PD\ EH PRGLILHG )RU LQVWUXFWLRQV DERXW KRZ WR FRQGXFW WKLV SURFHGXUH FRQWDFW VXSSRUW DW
            KWWSVVRIWZDUHVXSSRUWKSFRP

        5HVWDUW WKH 1HWZRUN &DSWXUH $JHQW 6HUYLFH
     )RU DGGLWLRQDO GHWDLOV UHJDUGLQJ VHFXUH FRPPXQLFDWLRQ FRPSRQHQWV 6HFXUH &RPPXQLFDWLRQ LQ 1HWZRUN
     &DSWXUH RQ SDJH{




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page30
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     +3oV 1HWZRUN &DSWXUH PRQLWRUV QHWZRUN FRQGLWLRQV E\ VHQGLQJ DQG UHFHLYLQJ GDWD SDFNHWV EHWZHHQ RQH
     RU PRUH GHVWLQDWLRQV ,Q DGGLWLRQ FUHDWH 1HWZRUN 3URILOHV WR SURYLGH QHWZRUN FRQGLWLRQV IRU VSHFLILF
     QHWZRUNV )RU DQ RYHUYLHZ VHH +3{1HWZRUN &DSWXUH  RQ SDJH{
     /HWoV JHW VWDUWHG ZLWK +3oV 1HWZRUN &DSWXUH DQG ILQG RXW KRZ WR UHFRUG DQDO\]H DQG H[SRUW QHWZRUN
     FRQGLWLRQV LQFOXGLQJ

     r   0RYLQJ $URXQG                                                                                    
     r   &UHDWLQJ (QGSRLQWV                                                                               
     r   &RQILJXULQJ D 0RQLWRU                                                                            
     r   6WDUW 0RQLWRULQJ                                                                                 
     r   9LHZLQJ 'DWD                                                                                     
     r   $QDO\]LQJ 'DWD                                                                                   
     r   8VLQJ 1HWZRUN 3URILOHV                                                                           
     r   ([SRUWLQJ 'DWD                                                                                   
     r   'HILQLQJ DQG 8SGDWLQJ 8VHUV                                                                      
     r   6HWWLQJ 6FKHGXOHV                                                                                
     r   )$4V DQG 7URXEOHVKRRWLQJ                                                                         
     r   2EWDLQLQJ 7HFKQLFDO 6XSSRUW                                                                      




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    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page31
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     1HWZRUN &DSWXUH SURYLGHV D QXPEHU RI ZD\V WR FXVWRPL]H KRZ \RX YLHZ DQG LQSXW LQIRUPDWLRQ
     z   7R VHOHFW LWHPV FOLFN RQ WKHP IRU H[DPSOH ZKHQ YLHZLQJ 5HVXOWV RI D 0RQLWRU FOLFN %! WR YLHZ WKH
         ,&03 UHVXOWV RU FOLFN DJDLQ WR KLGH WKH UHVXOWV
     z   &KRRVH WR GLVSOD\ PRQLWRUV DQG UHVXOWV LQ HLWKHU 7UHH RU /LVW YLHZ ZLWK RU ZLWKRXW WKH 0DS
     z   9LHZ WKH GHWDLOV DERXW D SDUWLFXODU (QGSRLQW 0RQLWRU 3URILOH RU 8VHU E\ VHOHFWLQJ WKH 7UHH RU *ULG
         LFRQ

     @  , @
     ,Q WKH 0RQLWRUV DQG 3URILOHV YLHZ \RX FDQ DGG IROGHUV GUDJ DQG GURS IROGHUV DQG VXEIROGHUV ZLWKLQ
     WKH WUHH

       ^
     <RX FDQ GLVSOD\ RU KLGH WKH PDS ZKHQ \RX DUH FRQILJXULQJ 0RQLWRUV RU (QGSRLQWV E\ FOLFNLQJ WKH  
     LFRQ

     ' 
     :KHQ \RX OHDYH DQ LWHP VXFK DV D 0RQLWRU \RXU DGGLWLRQV DQG XSGDWHV DUH DXWRPDWLFDOO\ VDYHG ,Q
     DGGLWLRQ \RX FDQ PDQXDOO\ VDYH DQ\ PRGLILFDWLRQV E\ VHOHFWLQJ WKH '  EXWWRQ

     3
     7R FDQFHO DQ\ PRGLILFDWLRQV VHOHFW WKH 3 EXWWRQ ZKLFK UHYHUWV WKH GDWD WR WKH SUHYLRXVO\ VDYHG
     GDWD

     &  ,
     8VH &  , WR GLVSOD\ WKH PRVW XSGDWHG GDWD IURP WKH 1HWZRUN &DSWXUH 6HUYHU LQ WKH XVHU
     LQWHUIDFH 7KH 8, LV XSGDWHG DXWRPDWLFDOO\ HYHU\  PLQXWHV




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     $Q (QGSRLQW UHSUHVHQWV D QHWZRUN QRGH DW D JLYHQ DGGUHVV :LWKLQ D PRQLWRU DQ (QGSRLQW LV HLWKHU WKH
     6RXUFH (QGSRLQW WKH ORFDWLRQ IURP ZKLFK \RX DUH PHDVXULQJ RU WKH 7DUJHW WKH GHVWLQDWLRQ WR ZKLFK
     \RX DUH PHDVXULQJ  (QGSRLQWV FDQ EH GHILQHG DV D 'DWD &HQWHU :HE 6HUYHU $SSOLFDWLRQ 6HUYHU
     1HWZRUN (OHPHQW HWF 7KH 6RXUFH (QGSRLQW PXVW KDYH D 1HWZRUN &DSWXUH $JHQW LQVWDOOHG RQ WKH 7DUJHW
     (QGSRLQW LW LV RQO\ UHTXLUHG IRU FHUWDLQ PHWULFV
     2QFH DQ $JHQW LV LQVWDOOHG RQ D PDFKLQH LW ZLOO DSSHDU LQ WKH 8, DV DQ (QGSRLQW WKHUHIRUH  
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page32
                                                               305
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1072
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       $V $GPLQLVWUDWRU IURP WKH 0RQLWRUV SDJH VHOHFW 8 
       &OLFN WKH # 8 LFRQ WKHQ W\SH
          z       1DPH XS WR  DOSKDQXPHULF FKDUDFWHUV
          z       $GGUHVV WKH PDFKLQHoV DGGUHVV LW FDQ EH D KRVW QDPH )4'1 ,3 RU 85/ RI XS WR  FKDUDFWHUV

              # *
              z    ,I WKH (QGSRLQW LV EHKLQG 1$7 SURYLGH WKH DGGUHVV RI WKH 1$7 GHYLFH EHKLQG ZKLFK WKH
                   (QGSRLQW LV ORFDWHG DQG FRQILJXUH WKH ,QWHUQDO $GGUHVV XVLQJ WKH $GYDQFHG 6HWWLQJV LFRQ ,W
                   UHSUHVHQWV WKH (QGSRLQW V PDFKLQH DGGUHVV LW FDQ EH D +RVW QDPH RU )4'1 RI XS WR 
                   FKDUDFWHUV
              z    ,I ZKHQ LQLWLDOL]LQJ D 0RQLWRU WKH 6HUYHU GRHV QRW UHFRJQL]H WKH 6RXUFH $JHQW WKLV PD\ EH
                   GXH WR LVVXHV ZLWK '16 5HVROXWLRQ 6LQFH WKH 6HUYHU PXVW EH DEOH WR UHFRJQL]H WKH 6RXUFH
                   $JHQW XVH RQH RI WKH IROORZLQJ
                    R   )XOO\4XDOLILHG 'RPDLQ 1DPH VXFK DV VHUYHUFRPSDQ\FRP 7R YHULI\ WKLV SURSHUW\
                        ULJKWFOLFN WKH  %  LFRQ VHOHFW !  DQG VFUROO WR WKH  % 
                        # 
                    R   ,3 $GGUHVVHV DUH QRW UHFRPPHQGHG LI G\QDPLF ,3 $GGUHVVHV DUH XVHG DV WKH\ FDQ
                        FKDQJH ZKHQ WKH PDFKLQH LV UHERRWHG

          z       7\SH VHOHFW RQH RI WKH FDWHJRULHV VXFK DV @              %  &  0   6 WKH ORFDWLRQ RQ WKH
                  PDS GLVSOD\V WKH LFRQ RI WKH VHOHFWHG 7\SH
          z       'HVFULSWLRQ SURYLGH UHOHYDQW GHWDLOV WKDW LGHQWLI\ WKH HQGSRLQW RSWLRQDO XS WR  FKDUDFWHUV
          z       +3 $JHQW ,QVWDOOHG VHOHFW LI WKH 1HWZRUN &DSWXUH $JHQW LV WR EH LQVWDOOHG DW WKLV ORFDWLRQ
                  PDQGDWRU\ IRU 6RXUFH (QGSRLQWV

       # * ,I \RX GHILQH DQ (QGSRLQW SULRU WR LQVWDOOLQJ LW GXULQJ WKH LQVWDOODWLRQ RI WKH $JHQW PDNH VXUH
       WR HQWHU WKH $JHQW DGGUHVV DQG QDPH DV \RX GHILQHG LW ZKHQ FUHDWLQJ DQ (QGSRLQW LQ WKH 1HWZRUN
       &DSWXUH 8,


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     ,Q WKH OLVW RI (QGSRLQWV VHOHFW DQ (QGSRLQW WKHQ HGLW WKH GHWDLOV 7KH PRGLILHG GDWD FDQ EH VDYHG
     PDQXDOO\ RU LV VDYHG DXWRPDWLFDOO\ ZKHQ \RX OHDYH WKH PRGLILHG (QGSRLQW

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     6HOHFW WKH (QGSRLQW \RX ZLVK WR GHOHWH DQG FOLFN WKH @  LFRQ

       # * (QGSRLQWV FDQQRW EH GHOHWHG DQG (QGSRLQW DGGUHVVHV FDQQRW EH HGLWHG ZKHQ WKH\ DUH XVHG LQ
       H[LVWLQJ PRQLWRUV


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                  8QUHVROYHG WKH (QGSRLQW ZDV DGGHG LQ 8, EHIRUH LW ZDV LQVWDOOHG RQ D KRVW PDFKLQH

                  5HDFKDEOH WKH $JHQW FDQ SROO WKH 1HWZRUN &DSWXUH 6HUYHU DQG REWDLQ FRPPDQGV




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page33
                                                               306
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1073
                                                                              #: 394
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                 8QUHDFKDEOH WKH $JHQW FDQQRW SROO DQG UHFHLYH FRPPDQGV IURP WKH 6HUYHU

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     7KH VWDWXV RI WKH (QGSRLQW LV XSGDWHG DSSUR[LPDWHO\ HYHU\  PLQXWHV WKH JUHHQ LFRQ LQGLFDWHV WKDW LW LV
     UHDFKDEOH DQG DEOH WR DFFHVV WKH 1HWZRUN &DSWXUH 6HUYHU

         # * $OWKRXJK ERWK SHHUOHVV DQG SHHUEDVHG (QGSRLQWV FDQ EH GHILQHG RQ WKH VDPH PDFKLQH WKLV
         PD\ UHGXFH WKH DFFXUDF\ RI FRQFXUUHQW PHDVXUHPHQWV )RU PRUH LQIRUPDWLRQ VHH 7LSV WR ,PSURYH
         0HDVXUHPHQW $FFXUDF\ RQ SDJH{




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     <RX FDQ UXQ XS WR  PRQLWRUV VLPXOWDQHRXVO\ OLFHQVH GHSHQGHQW 

     r    $GGLQJ DQG 'HOHWLQJ 0RQLWRU )ROGHUV                                                                 
     r    'HILQLQJ WKH ,QWHUYDO IRU &RQFXUUHQW %DQGZLGWK 0RQLWRUV                                             
     r    &RQILJXULQJ /DWHQF\ DQG 3DFNHW /RVV                                                                 
     r    &RQILJXULQJ %DQGZLGWK                                                                               
     r    &RQILJXULQJ :HE 6HUYHU 3DUDPHWHUV                                                                   


       & 7 8
     7KH 7UHH YLHZ FRQWDLQV WKH 0RQLWRUV URRW IROGHU <RX FDQ DGG IROGHUV DQG VXEIROGHUV WR WKLV RU DQ\
     RWKHU IROGHU DQG DOVR GUDJ DQG GURS IROGHUV ZLWKLQ WKH WUHH )ROGHU QDPHV FDQ EH XS WR  FKDUDFWHUV

     2           *
     &OLFN WKH #  LFRQ DQG SURYLGH WKH UHOHYDQW GHWDLOV

     2   *
     6HOHFW WKH SDUHQW IROGHU DQG FOLFN WKH #  LFRQ DQG SURYLGH WKH UHOHYDQW GHWDLOV

     2           *
     $V ORQJ DV WKH IROGHU RU LWV VXEIROGHUV GR QRW KDYH DQ\ DFWLYH UXQV VHOHFW WKH IROGHU DQG VHOHFW WKH
     @  LFRQ LQ WKH WRROEDU RU WKH NH\ERDUG @  EXWWRQ

     2             *
          ,Q WKH 0RQLWRUV YLHZ FOLFN WKH #   LFRQ
          'HILQH WKH IROORZLQJ
             z   # * 7\SH D QDPH XS WR  DOSKDQXPHULF FKDUDFWHUV
             z   '* 6HOHFW DQ HQGSRLQW RQO\ WKRVH HQGSRLQWV WKDW KDYH DQ $JHQW LQVWDOOHG DUH YLVLEOH 
             z   2  * 6HOHFW DQ HQGSRLQW IURP WKH OLVW
             z   @ * 6FUROO RU XVH WKH DUURZV WR VHW WKH WLPH SHULRG IRU WKH UHFRUGLQJ




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    Case
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                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page34
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                                                                 of of
                                                                    56464 PageID
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           z   )RU /DWHQF\ DQG %DQGZLGWK VHWWLQJV VHOHFW WKH FKHFNER[ EHVLGH WKH UHTXLUHG PHWULF 7R DGMXVW
               WKH VHWWLQJV FOLFN WKH '  EXWWRQ EHVLGH WKH PHWULF )RU PRUH LQIRUPDWLRQ VHH
               &RQILJXULQJ /DWHQF\ DQG 3DFNHW /RVV RQ WKH QH[W SDJH DQG &RQILJXULQJ %DQGZLGWK RQ
               SDJH{
           z   @ * RSWLRQDO XS WR  FKDUDFWHUV 
       &OLFN '  RU ZLOO EH VDYHG DXWRPDWLFDOO\ ZKHQ \RX OHDYH 0RQLWRU  7KH SDUDPHWHUV DUH YDOLGDWHG
         GXULQJ WKH o6DYHo RSHUDWLRQ
       7R EHJLQ PHDVXULQJ FOLFN WKH &   LFRQ

       # * ,I WKH IROORZLQJ PHWULFV DUH PHDVXULQJ WR WKH VDPH 7DUJHW $JHQW HYHQ LI WKH\ DUH QRW LQ WKH
       VDPH PRQLWRU WKH\ VKRXOG QRW EH FRQILJXUHG WR XVH WKH VDPH SRUW
       5REXVW %LGLUHFWLRQDO 6DPSOH %DQGZLGWK DQG
       z   7&3 SHHUEDVHG
       z   7&3 SHHUOHVV
       z   +773
       7&3 SHHUEDVHG DQG
       z   7&3 SHHUOHVV
       z   +773


     2         *
     &OLFN WKH @    LFRQ LQ WKH WRROEDU ZKHQ WKH 0RQLWRU LV QRW UXQQLQJ

     2        *
     &OLFN WKH @  & WUDVK FDQ LFRQ LQ WKH 5HVXOWV YLHZ


     &  %   . !  
     7
     3HHUOHVV %DQGZLGWK PHDVXUHPHQWV EORFN WKH 6RXUFH $JHQW DQG SHHUEDVHG EDQGZLGWK PHWULFV EORFN
     ERWK WKH 6RXUFH DQG 7DUJHW $JHQWV IURP FRQGXFWLQJ RWKHU PHDVXUHPHQWV ZKLOH WKH\ SUREH
     7KLV FDXVHV D GHOD\ LQ WKH H[HFXWLRQ RI DQ\ RWKHU PRQLWRU WKH $JHQW KDV TXHXHG 7R DYRLG FRQJHVWLRQ
     WKH $JHQW UHGHILQHV WKH %DQGZLGWK ,QWHUYDO VHWWLQJ RI LWV DFWLYH PRQLWRUV NHHSLQJ D UDWLR RI  ODWHQF\
     DQG SDFNHW ORVV WR  EDQGZLGWK
     7KLV UDWLR GHWHUPLQHV WKH FDOFXODWLRQ RI WKH o7LPH :LQGRZo ZKLFK FRUUHODWHV WR WKH EDQGZLGWK LQWHUYDO
     7KH 7LPH :LQGRZ LV GHWHUPLQHG E\ WKH W\SHV DQG QXPEHU RI EDQGZLGWK PHWULFV WR DQG IURP D VSHFLILF
     $JHQW 7KH SURELQJ WLPH RI 8QLGLUHFWLRQDO %DQGZLGWK WDNHV DERXW  VHFRQGV 7KHUHIRUH LI WKH VDPH
     $JHQW LV D 6RXUFH IRU WKUHH 8QLGLUHFWLRQDO %DQGZLGWK 0RQLWRUV WKDW DUH GHILQHG WR PHDVXUH HYHU\ 
     VHFRQGV IRU DQ\ JLYHQ PLQXWH QR RWKHU PHDVXUHPHQWV ZLOO RFFXU 7R SUHYHQW WKLV VLWXDWLRQ WKH DFWXDO
     %DQGZLGWK ,QWHUYDO IRU HDFK 6RXUFH $JHQW LV GHILQHG DV
     ,QWHUYDO 1R [ 7:
     (DFK EDQGZLGWK PHWULF XVHV D GLIIHUHQW FRHIILFLHQW & WR FDOFXODWH WKH 7LPH :LQGRZ 7: 




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                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page35
                                                               308
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1075
                                                                              #: 396
  8VLQJ 1HWZRUN &DSWXUH




     :KHUH
     1R 1XPEHU RI RXWJRLQJ EDQGZLGWK PHDVXUHPHQWV IURP WKH VSHFLILF $JHQW
     7: 7LPH :LQGRZ         & [ 1L 
     &  IRU 8QLGLUHFWLRQDO %DQGZLGWK
     &  IRU %LGLUHFWLRQDO %DQGZLGWK
     &  IRU 5REXVW %LGLUHFWLRQDO
     1L QXPEHU RI LQFRPLQJ EDQGZLGWK PHDVXUHPHQWV WR WKH VSHFLILF $JHQW
     )RU WKH H[DPSOH DERYH ZLWK WKUHH 8QLGLUHFWLRQDO %DQGZLGWK PRQLWRUV WKH 7LPH :LQGRZ ZLOO HTXDO 
     VHFRQGV  VHFRQGV IRU EDQGZLGWK SURELQJ DQG  VHFRQGV IRU ODWHQF\ DQG SDFNHW ORVV PHDVXUHPHQWV
     (DFK EDQGZLGWK PRQLWRU ZLOO KDYH DQ ,QWHUYDO RI  VHFRQGV

         # * 7KH 7LPH :LQGRZ LV FDOFXODWHG SHU $JHQW DQG WKH PD[LPDO YDOXH GHWHUPLQHV WKH 7LPH
         :LQGRZ IRU DOO UXQQLQJ 0RQLWRUV

     7R UHGXFH WKH DFWXDO SURELQJ LQWHUYDO WLPH EHWZHHQ SURELQJ VDPSOHV WKH IROORZLQJ DUH UHFRPPHQGHG
     z    8VH WKH GHIDXOW EDQGZLGWK PHWULF %LGLUHFWLRQDO %DQGZLGWK 
     z    $YRLG UXQQLQJ PXOWLSOH PRQLWRUV WR DQG IURP WKH VDPH $JHQW ,QVWHDG HLWKHU VSUHDG WKH 0RQLWRUV
          EHWZHHQ PRUH $JHQWV RU KDYH WKH 0RQLWRUV UXQ RQH DIWHU WKH RWKHU

         # * ,QVWDOOLQJ VHYHUDO DJHQWV LQ WKH VDPH ORFDWLRQ FRXOG FUHDWH FRQIOLFWV LI WKH\ XVH WKH VDPH
         SK\VLFDO OLQN



     . +    $ +
     7R PHDVXUH WKH ODWHQF\ DQG SDFNHW ORVV VHOHFW RQH RI WKH IROORZLQJ SURELQJ PHWULFV
     z    7&3 3HHUEDVHG  EHORZ
     z    7&3 3HHUOHVV  RQ WKH QH[W SDJH
     z    8'3 RQ WKH QH[W SDJH
     z    ,&03 RQ WKH QH[W SDJH

     2%! 9! ;
     7KH 6RXUFH (QGSRLQW VHQGV SDFNHWV YLD D 7&3 FRQQHFWLRQ WR WKH 3HHU DQG PHDVXUHV WKH 7&3 UHVSRQVH
     WLPH /HVV DFFXUDWH UHVXOWV DUH REWDLQHG ZKHQ KLJK MLWWHU LV SUHVHQW
     z      * 6HOHFW D YDOXH RU XVH WKH GHIDXOW RI  VHFRQGV
     z    ! $ '4* 7KH SDFNHW VL]H WR EH XVHG ZKHQ SURELQJ LQ E\WHV 
     z    ! ! * 7\SH WKH QXPEHU RI DQ DYDLODEOH SRUW RQ ZKLFK QR VHUYHU LV OLVWHQLQJ RU XVH ,  ' WR
          VFDQ D SUHGHILQHG OLVW RI SRUWV DQG WR ORFDWH DQ DYDLODEOH SRUW

         # * 'XH WR DQ LVVXH LQ 06 :LQGRZV ;3 V LPSOHPHQWDWLRQ RI WKH 7&3,3 VWDFN 7&3 $YDLODEOH
         %DQGZLGWK PD\ PHDVXUH LQDFFXUDWH SDFNHW ORVV UDWHV ,I SRVVLEOH DYRLG 0RQLWRUV WKDW XVH 7&3
         ZKHQ WKH HQGSRLQW V RSHUDWLQJ V\VWHP LV :LQGRZV ;3 ,I RQO\ RQH HQGSRLQW PDFKLQH UXQV ;3 LW LV
         SUHIHUDEOH WKDW WKLV HQGSRLQW EH WKH 7DUJHW




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                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page36
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     2%! 9!;
     0HDVXUHV WKH WLPH LW WDNHV WR HVWDEOLVK D QHZ 7&3 VHVVLRQ VHQGLQJ D 6<1 SDFNHW DQG UHFHLYLQJ D 6<1
     $&. SDFNHW  )RU QHWZRUN PHDVXUHPHQW XVLQJ DJHQWOHVV 7&3 D 7&3+773 VHUYHU LV UHTXLUHG RQ WKH
     7DUJHW (QGSRLQW

         # * ,I D QHWZRUN DFFHOHUDWRU RU D SUR[\ VHUYLFH LV LQ WKH QHWZRUN SDWK WKH QHWZRUN
         PHDVXUHPHQWV PD\ QRW EH DFFXUDWH DV WKH DFFHOHUDWRU RU SUR[\ PD\ UHVSRQG WR WKH UHTXHVW
         LQVWHDG RI WKH UHTXLUHG VHUYHU

     z      * 6HOHFW D YDOXH RU XVH WKH GHIDXOW RI  VHFRQGV
     z    ! ! * 7\SH WKH SRUW QXPEHU IRU WKH SRUW WKDW FRQQHFWV WR WKH 7DUJHW VHUYHU
     z     @#' & * 6HOHFW WR LQFOXGH WKH GRPDLQ QDPH ,3 DGGUHVV UHVROXWLRQ DV SDUW RI WKH
          PHDVXUHPHQW

         # * 'XH WR DQ LVVXH LQ 06 :LQGRZV ;3 V LPSOHPHQWDWLRQ RI WKH 7&3,3 VWDFN 7&3 PD\ PHDVXUH
         LQDFFXUDWH SDFNHW ORVV UDWHV ,I SRVVLEOH DYRLG 0RQLWRUV WKDW PHDVXUH XVLQJ 7&3 ZKHQ WKH
         HQGSRLQW V RSHUDWLQJ V\VWHP LV :LQGRZV ;3 ,I RQO\ RQH HQGSRLQW PDFKLQH UXQV ;3 LV SUHIHUDEOH
         WKDW WKLV HQGSRLQW EH WKH 7DUJHW


     3@!
     7KLV SURWRFRO PHDVXUHV WKH (FKR UHVSRQVH UHFHLYHG ZKHQ SDFNHWV DUH VHQW RYHU 8'3 8'3 XVHV
     VSHFLILHG SRUW QXPEHUV DQG FKHFNVXPV WR FKHFN LI WKH SDFNHWV KDYH DUULYHG FRUUHFWO\ EXW GRHV QRW
     JXDUDQWHH UHDVVHPEO\ RI SDFNHWV LQ WKH FRUUHFW RUGHU
     z      * 6HW D YDOXH RU XVH WKH GHIDXOW RI  VHFRQGV
     z    ! $ '4* 6HOHFW D YDOXH LQ E\WHV E\ GHILQLQJ WKH VL]H RI SDFNHWV VHQW E\ WKH 6RXUFH (QGSRLQW WR EH
          XVHG DV SUREHV
     z    2 * 'HILQHV WKH SHULRG DIWHU ZKLFK WKH VHQW SDFNHW LV FRQVLGHUHG ORVW LI QRW UHFHLYHG E\ WKH
          UHFLSLHQW KRVW RU XVH WKH GHIDXOW
     z    !  * 2QO\ SRUWV WKDW DUH RSHQ RQ ILUHZDOOV EHWZHHQ WKH VRXUFH DQG WDUJHW PDFKLQH FDQ SURYLGH
          DFFXUDWH UHVXOWV LI D SRUW LV FORVHG WKH PHDVXUHPHQW ZLOO GLVSOD\ FRPSOHWH SDFNHW ORVV &KRRVH , 
          ' IRU 1HWZRUN &DSWXUH WR VFDQ D OLVW RI SUHGHILQHG OLVW RI SRUWV WR ORFDWH D SRUW WKDW V DYDLODEOH
     z    '   * 7\SH RU VHOHFW D SRUW QXPEHU $XWRVFDQ VHOHFWV SRUWV EDVHG RQ WKH GHIDXOWV VHW LQ WKH
          #%6! 6  ILOH ORFDWHG LQ =# $ %   , 
           >I(I,   <RX FDQ PRGLI\ WKLV ILOH WR GHILQH DOWHUQDWH SRUWV WR EH
          VFDQQHG

     %!
     7KH 6RXUFH (QGSRLQW VHQGV DQ ,&03 (FKR 5HTXHVW SLQJ WR WKH 7DUJHW (QGSRLQW LI WKH WDUJHW LV
     DYDLODEOH WKH WDUJHW KRVW UHVSRQGV E\ VHQGLQJ DQ ,&03 UHSO\ EDFN WR WKH 6RXUFH (QGSRLQW 7KH /DWHQF\
     PHDVXUHPHQW LV WKH URXQG WULS WLPH

         # * (QVXUH WKDW WKH RSHUDWLQJ V\VWHP RQ WKH 7DUJHW (QGSRLQW LV FRQILJXUHG SURSHUO\ WR UHFHLYH
         DQG SURFHVV ,&03 (FKR 5HTXHVW DQG 5HSO\ PHVVDJHV VR WKDW WKH ,&03 (FKR 5HTXHVW5HSO\
         PHVVDJHV FDQ WUDYHO DORQJ WKH SDWK EHWZHHQ WKH 6RXUFH DQG WKH 7DUJHW PDFKLQHV




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    Case
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                                                12/23/19 Page
                                                          Page37
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                                                                    56464 PageID
                                                                       PageID    #: 1077
                                                                              #: 398
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       * 6HOHFW D YDOXH JUHDWHU WKDQ  PV RU XVH WKH GHIDXOW RI  VHFRQG :KHQ VHOHFWLQJ D YDOXHV
     OHVV WKDQ  VHFRQG XVH D VKRUW GXUDWLRQ IRU WKH PRQLWRU RWKHUZLVH PDQ\ VDPSOHV DUH WDNHQ DQG WKH
     GDWDEDVH PD\ ILOO WR FDSDFLW\ %DQGZLGWK PD\ EH PHDVXUHG ZLWK PXOWLSOH FRQFXUUHQW PRQLWRUV )RU PRUH
     LQIRUPDWLRQ VHH 'HILQLQJ WKH ,QWHUYDO IRU &RQFXUUHQW %DQGZLGWK 0RQLWRUV RQ SDJH{
     ! $ '4* 6HOHFW D YDOXH LQ E\WHV WKH YDOXH LQFOXGHV WKH ,3 DQG ,&03 KHDGHUV
     2 * 'HILQHV WKH SHULRG DIWHU ZKLFK WKH VHQW SDFNHW LV FRQVLGHUHG ORVW LI D UHVSRQVH LV QRW UHFHLYHG
     E\ WKH DJHQW


     . !  
     %DQGZLGWK PHDVXUHPHQW FDQ EH RI RXWERXQG DQGRU LQERXQG WUDIILF :KHQ XQLGLUHFWLRQDO EDQGZLGWK LV
     UHFRUGHG WKH RXWERXQG EDQGZLGWK LV PHDVXUHG DQG WKH LQFRPLQJ EDQGZLGWK LV HVWLPDWHG DFFRUGLQJ WR D
     SUHGHILQHG UDWLR :KHQ WKH ELGLUHFWLRQDO PHWULFV DUH PHDVXUHG ERWK WKH RXWERXQG DQG LQERXQG PHWULFV
     DUH PHDVXUHG
     7KUHH PHWULFV FDQ EH UHFRUGHG
     z   8QLGLUHFWLRQDO %DQGZLGWK
     z   %LGLUHFWLRQDO (VWLPDWH %DQGZLGWK
     z   5REXVW %LGLUHFWLRQDO 6DPSOH %DQGZLGWK

     3   ( 
     0HDVXUHV WKH RXWERXQG EDQGZLGWK DYDLODELOLW\ DQG HVWLPDWHV WKH LQERXQG EDQGZLGWK DYDLODELOLW\ 8VH
     WKLV PHWULF ZKHQ \RX DUH XQDEOH WR SODFH DQ DJHQW DW WKH 7DUJHW HQGSRLQW IRU H[DPSOH D ZHE VHUYHU
     VXFK DV KWWSZZZH[DPSOHFRP 7KLV SURWRFRO PD\ SODFH D PRGHUDWH ORDG RQ WKH QHWZRUN 1RWH WKDW
     UHVXOWV PD\ QRW EH IXOO\ DFFXUDWH ZKHQ WKH QHWZRUN LV XQGHUJRLQJ KHDY\ WUDIILF FRQGLWLRQV
     z     * 6HW WR  PLQXWHV RU KLJKHU DV HDFK SUREH XVXDOO\ UHTXLUHV DERXW  VHFRQGV %DQGZLGWK
         PD\ EH PHDVXUHG ZLWK PXOWLSOH FRQFXUUHQW PRQLWRUV )RU GHWDLOV VHH 'HILQLQJ WKH ,QWHUYDO IRU
         &RQFXUUHQW %DQGZLGWK 0RQLWRUV RQ SDJH{
     z   ! ! * 5HFRPPHQGHG WR FKRRVH ,  '  ZKLFK VHOHFWV WKH ILUVW DYDLODEOH SURWRFRO LQ
         WKH IROORZLQJ RUGHU 173 ,&03 7LPHVWDPS DQG WKHQ ,&03 (FKR (DFK RI WKHVH FDQ DOVR EH VHOHFWHG
         LQGLYLGXDOO\ %RWK 173 DQG ,&03 7LPHVWDPS SURYLGH PRUH DFFXUDWH UHVXOWV DQG WKH UHVSRQVH RQ WKH
         UHWXUQ WULS LV QRW LQIOXHQFHG E\ WKH QHWZRUN FRQGLWLRQV

          # * 7R PHDVXUH XQLGLUHFWLRQDO EDQGZLGWK XVLQJ WKH 173 SLQJLQJ SURWRFRO WKH 173 VHUYLFH PXVW
          EH HQDEOHG

     z   ! * 7\SH D YDOLG 3RUW QXPEHU RU FKRRVH ,  ' IRU 1HWZRUN &DSWXUH WR VFDQ D OLVW RI
         SUHGHILQHG OLVW RI SRUWV WR ORFDWH DQ DYDLODEOH SRUW 1HWZRUN &DSWXUH YDOLGDWHV WKDW WKH VHOHFWHG SRUW
         LV LQGHHG DYDLODEOH LH QRW EORFNHG E\ ILUHZDOOV  DQG LI QRW WKH UXQ LV DERUWHG $XWRVFDQ VHOHFWV SRUWV
         EDVHG RQ WKH GHIDXOWV VHW LQ WKH #%6! 6  ILOH ORFDWHG LQ =# $ %   , 
          >I(I,   <RX FDQ PRGLI\ WKLV ILOH WR GHILQH DOWHUQDWH SRUWV WR EH
         VFDQQHG

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     7KLV SURWRFRO PHDVXUHV ELGLUHFWLRQDO EDQGZLGWK DYDLODELOLW\ %RWK WKH 6RXUFH DQG 7DUJHW (QGSRLQWV
     UHTXLUH DQ LQVWDOOHG +3 $JHQW 6HOHFW %LGLUHFWLRQDO (VWLPDWH WR PHDVXUH ERWK XSVWUHDP DQG GRZQVWUHDP




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    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page38
                                                               311
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1078
                                                                              #: 399
  8VLQJ 1HWZRUN &DSWXUH




     EDQGZLGWK DYDLODELOLW\ SROOLQJ XVXDOO\ RFFXUV DW WKUHH VHFRQG LQWHUYDOV
     z      * 6HW WR  PLQXWHV RU KLJKHU %DQGZLGWK PD\ EH PHDVXUHG ZLWK PXOWLSOH FRQFXUUHQW PRQLWRUV
          )RU PRUH LQIRUPDWLRQ VHH 'HILQLQJ WKH ,QWHUYDO IRU &RQFXUUHQW %DQGZLGWK 0RQLWRUV RQ SDJH{
     z    ! * &KRRVH $XWR 6HOHFW IRU 1HWZRUN &DSWXUH WR VFDQ D OLVW RI SUHGHILQHG OLVW RI SRUWV WR ORFDWH DQ
          DYDLODEOH SRUW 7R VHOHFW D VSHFLILF SRUW W\SH D YDOLG 3RUW QXPEHU RU XVH WKH XSGRZQ DUURZV
          1HWZRUN &DSWXUH YDOLGDWHV WKDW WKH VHOHFWHG SRUW LV LQGHHG DYDLODEOH LH QRW EORFNHG E\ ILUHZDOOV 
          DQG LI QRW WKH UXQ LV DERUWHG
     z    ! ! * 7KLV GLVSOD\V WKH SURWRFRO WKDW LV XVHG WR JHQHUDWH QHWZRUN WUDIILF

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     0HDVXUHV ELGLUHFWLRQDO EDQGZLGWK DYDLODELOLW\ %RWK WKH 6RXUFH DQG 7DUJHW (QGSRLQWV UHTXLUH DQ LQVWDOOHG
     +3{$JHQW $FFXUDWH PHDVXUHPHQWV DUH REWDLQHG ZKHQ WKH EDQGZLGWK FDSDFLW\ LV OHVV WKDQ  0ESV DQG
     WKH 5RXQG 7ULS 7LPH LV OHVV WKDQ  VHFRQGV %LGLUHFWLRQDO 6DPSOH SODFHV D VXEVWDQWLDO WUDIILF ORDG RQ
     WKH QHWZRUN

         # * 'XH WR D LVVXH LQ 06 :LQGRZV ;3 V LPSOHPHQWDWLRQ RI WKH 7&3,3 VWDFN 5REXVW %LGLUHFWLRQDO
         PD\ PHDVXUH ORZHU WKDQ DYDLODEOH EDQGZLGWK ZKHQ WKH URXQGWULS SDFNHW ORVV UDWH LV KLJK KLJKHU
         WKDQ  DQG WKH SURELQJ PDFKLQH LV :LQGRZV ;3 7KLV PHDQV WKDW GRZQVWUHDP DYDLODEOH
         EDQGZLGWK UHVXOWV ZKHQ :LQGRZV ;3 UXQV RQ WKH 7DUJHW HQGSRLQW DQG XSVWUHDP UHVXOWV ZKHQ ;3
         UXQV RQ WKH VRXUFH HQGSRLQW PD\ EH DIIHFWHG

     z      * 6HW WR  PLQXWHV RU KLJKHU %DQGZLGWK FDQ EH PHDVXUHG ZLWK PXOWLSOH FRQFXUUHQW PRQLWRUV
          )RU PRUH LQIRUPDWLRQ VHH 'HILQLQJ WKH ,QWHUYDO IRU &RQFXUUHQW %DQGZLGWK 0RQLWRUV RQ SDJH{
     z    ! * %RWK WKH 6RXUFH DQG 7DUJHW UHTXLUH DQ LQVWDOOHG +3{$JHQW 2U &KRRVH ,  ' IRU 1HWZRUN
          &DSWXUH WR VFDQ D OLVW RI SUHGHILQHG OLVW RI SRUWV WR ORFDWH DQ DYDLODEOH SRUW 7R VHOHFW D VSHFLILF SRUW
          W\SH D YDOLG SRUW QXPEHU RU XVH WKH XSGRZQ DUURZV 1HWZRUN &DSWXUH YDOLGDWHV WKDW WKH VHOHFWHG
          SRUW LV LQGHHG DYDLODEOH LH QRW EORFNHG E\ ILUHZDOOV  DQG LI QRW WKH UXQ LV DERUWHG $XWRVFDQ VHOHFWV
          SRUWV EDVHG RQ WKH GHIDXOWV VHW LQ WKH #%6! 6  ILOH ORFDWHG LQ =# $ %   ,
             >I(I,   <RX FDQ PRGLI\ WKLV ILOH WR GHILQH DOWHUQDWH SRUWV WR EH
          VFDQQHG
     z    ! ! * 7KLV GLVSOD\V WKH SURWRFRO WKDW LV XVHG WR JHQHUDWH QHWZRUN WUDIILF


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     +773 5HVSRQVH 7LPH PHDVXUHV WKH OHQJWK RI WLPH UHTXLUHG IRU WKH +773 UHVSRQVH WR EH UHFHLYHG IURP
     WKH 7DUJHW (QGSRLQW 7KLV LQFOXGHV '16 ORRNXS WLPH 7&3 FRQQHFWLRQ HVWDEOLVKPHQWV VHUYHU SURFHVVLQJ
     WLPH DQG QHWZRUN ODWHQF\

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     5HTXLUHV D ZHE VHUYHU DW WKH 7DUJHW (QGSRLQW
     z      * 6HOHFW D YDOXH RU XVH WKH GHIDXOW RI  VHFRQGV
     z    22!  * 6HOHFW B RU   +HDG XVXDOO\ SURYLGHV PRUH DFFXUDWH UHVXOWV 
     z    2 * 'HILQHV WKH SHULRG DIWHU ZKLFK WKH UHTXHVW LV FRQVLGHUHG ORVW LI QR UHVSRQVH LV UHFHLYHG
          IURP WKH ZHE VHUYHU 6HOHFW D YDOXH RU XVH WKH GHIDXOW
     z    & !     * 7KH SDWK WR WKH UHTXHVWHG UHVRXUFH HJ  RU LQGH[KWPO




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    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page39
                                                               312
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1079
                                                                              #: 400
  8VLQJ 1HWZRUN &DSWXUH




     z    ! * 6HOHFW WKH SRUW QXPEHU RQ ZKLFK D 7&3+773 VHUYHU LV OLVWHQLQJ IRU LQFRPLQJ UHTXHVWV E\
          GHIDXOW  RU  RU W\SH D VSHFLILF SRUW QXPEHU
     z     7 & * 7KH QXPEHU RI UHGLUHFWLRQV WR IROORZ 8VXDOO\  VLQFH D UHSO\ IURP WKH 7DUJHW
          6HUYHU LV H[SHFWHG
     z    3 , * 7KH XVHU DJHQW VWULQJ WR EH XVHG ZKHQ FRQWDFWLQJ WKH ZHE VHUYHU 6RPH ZHE VHUYHUV
          PD\ RQO\ UHSO\ WR SUHGHILQHG DJHQWV 7KH GHIDXOW YDOXH XVHV WKH )LUHIR[  XVHU DJHQW VWULQJ
     z    '  %* 6HOHFW WKH 6WDWXV &RGH WKDW LV H[SHFWHG WR EH UHFHLYHG IURP WKH ZHE VHUYHU :KHQ D
          UHFHLYHG VWDWXV FRGH GRHV QRW PDWFK WKH RQH VSHFLILHG WKH UHTXHVW LV FRQVLGHUHG ORVW 6HOHFW D
          VSHFLILF VWDWXV FRGH RU WR DFFHSW DQ\ W\SH RI VWDWXV FRGH WKDW GRHV QRW LQGLFDWH DQ HUURU VKRXOG EH
          DFFHSWHG E\ VHOHFWLQJ ,   
     z    '  * 6HOHFW  922!'; RU  922!;  




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     $IWHU FRQILJXULQJ WKH 0RQLWRU EHJLQ UHFRUGLQJ E\ FOLFNLQJ WKH &   EXWWRQ LQ WKH WRROEDU
     9DOLGDWLRQ RI YDULRXV FRPSRQHQWV RFFXUV LQ WKLV RUGHU
          6RXUFH (QGSRLQW FDQ SROO WKH 1HWZRUN &DSWXUH 6HUYHU DQG REWDLQ FRPPDQGV
          &ORFN V\QFKURQL]DWLRQ EHWZHHQ WKH 1HWZRUN &DSWXUH 6HUYHU LQYROYHG $JHQWV DQG WKH KRVW RQ ZKLFK
            \RX DUH YLHZLQJ UHVXOWV
          6RXUFH (QGSRLQW LV DEOH WR VHQG UHVXOWV WR WKH 1HWZRUN &DSWXUH 6HUYHU
          6RXUFH (QGSRLQW FDQ FRPPXQLFDWH ZLWK WKH 7DUJHW (QGSRLQW IRU SHHUEDVHG PRQLWRUVo RQO\
          3RUW FROOLVLRQV GR QRW RFFXU

         # * ,I WKH 0RQLWRU GRHV QRW VWDUW DIWHU WKH ,QLWLDOL]DWLRQ VHH )$4V DQG 7URXEOHVKRRWLQJ RQ
         SDJH{




     1  & 
     :KHQ \RX FOLFN &  IURP WKH 0RQLWRUV SDJH 1HWZRUN &DSWXUH GLVSOD\V UXQWLPH UHVXOWV RI WKH
     VHOHFWHG UXQ IRU WKDW PRQLWRU E\ GHIDXOW WKH ODWHVW  PLQXWHV UHVXOWV DUH VKRZQ LQ WKH /LQH &KDUW YLHZ
     7R YLHZ RIIOLQH UHVXOWV FOLFN  7 WR YLHZ WKH HQWLUH WLPH VSDQ




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page40
                                                               313
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1080
                                                                              #: 401
  8VLQJ 1HWZRUN &DSWXUH




     7KH SURJUHVV EDU DW WKH WRS LQGLFDWHV WKH 6WDUW DQG (QG WLPH DQG WKH SHUFHQWDJH RI WLPH WKDW KDV
     HODSVHG <RX FDQ YLHZ FXUUHQW DQG SUHYLRXV UHFRUGLQJV

       # * ,I WKH 6RXUFH $JHQW LV QRW DFFHVVLEOH IRU D FHUWDLQ SHULRG WKH UHVXOWV FXUYH FRQQHFWV WKH SRLQW
       ZKHUH WKH ODVW GDWD ZDV REWDLQHG ZLWK WKH UHVXOW DIWHU WKH WLPHRXW VR WKDW D FRQWLQXRXV OLQH LV
       GLVSOD\HG

     &OLFN WKH !  @   B  LFRQ       WR GLVSOD\ WKH GDWD LQ D SHUFHQWLOH GLVWULEXWLRQ JUDSK
     IRUPDW




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page41
                                                               314
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1081
                                                                              #: 402
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     ,I WKH PRQLWRU KDV UXQ PRUH WKDQ RQFH VHOHFW WKH UHTXLUHG UXQ XVLQJ WKH DUURZV

     <RX FDQ RSHQ FXUUHQW DQG SUHYLRXV UHFRUGLQJV WKH SURJUHVV EDU LV RQO\ YLVLEOH IRU PRQLWRUV WKDW DUH
     FXUUHQWO\ UXQQLQJ 



     7KH VWDWXV RI HDFK PRQLWRU LV YLVLEOH DFFRUGLQJ WR WKH LFRQ EHVLGH WKH PRQLWRUoV QDPH

                    &XUUHQWO\ UXQQLQJ




                    ,QGLFDWHV WKDW D PHWULF LQ WKH ODVW UXQ RI WKLV PRQLWRU GLG QRW UXQ VXFFHVVIXOO\



                    ,GOH QRW FXUUHQWO\ UXQQLQJ RU KDV FRPSOHWHG VXFFHVVIXOO\




                    &XUUHQWO\ UXQQLQJ EXW VRPH RI WKH SURWRFROV KDYH VWRSSHG UXQQLQJ




                    (UURU RQO\ DSSHDUV XQGHU WKH &  EXWWRQ LI WKH UXQ VWRSSHG ZLWK HUURUV 6HOHFW WKLV LFRQ WR YLHZ DQ
                    H[SODQDWLRQ RI WKH LVVXH




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                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page42
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                                                                    56464 PageID
                                                                       PageID    #: 1082
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         # * ,I WKH 1HWZRUN &DSWXUH 6HUYHU $JHQW DQG WKH KRVW RQ ZKLFK \RX DUH YLHZLQJ UHVXOWV FORFNV
         DUH QRW V\QFKURQL]HG WKH WLPH GLVSOD\HG LQ WKH 5HVXOWV ZLOO QRW EH FRUUHFW KRZHYHU WKH UHVXOWV DUH
         VWLOO YDOLG 7R V\QFKURQL]H \RXU FORFNV LQ HDFK KRVW FRPSXWHU HQVXUH WKDW WKH 6\QFKURQL]H ZLWK DQ
         ,QWHUQHW 7LPH 6HUYHU RSWLRQ LV VHOHFWHG LQ WKH 7LPH 6HWWLQJV



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     7KH JUDQXODULW\ RI WKH UHVXOWV VKRZQ GHSHQGV RQ WKH OHQJWK RI WKH UHFRUGLQJ 7KHUHIRUH IRU UHFRUGLQJV
     RI ORQJHU GXUDWLRQ WR YLHZ PRUH GHWDLOHG UHVXOWV XVH WKH =RRP WR VHOHFW D VSHFLILF WLPH SHULRG %\
     GHIDXOW WKH PRVW UHFHQW UHVXOWV DUH VKRZQ VR WKDW VHOHFWLQJ D  KRXU SHULRG VKRZV WKH ODVW  KRXUV
     QRW WKH ILUVW  KRXUV RI WKH UHFRUGLQJ 0RVW RI WKH IROORZLQJ RSWLRQV DUH DYDLODEOH LQ ERWK /LQH FKDUWV
     DQG 3HUFHQWLOH 'LVWULEXWLRQ FKDUW YLHZV
     2          *
     z    $W WKH ERWWRP RI WKH 5HVXOWV SDJH FOLFN D 7LPH 3HULRG IURP  PLQXWHV WR 0D[LPXP WKH IXOO UDQJH
          RI WKH UHFRUGLQJ  /LYH 6WUHDPLQJ UHIUHVKHV HYHU\ ZLWK HDFK QHZ VDPSOH




     8VH WKH IROORZLQJ PHWKRGV WR VHOHFW D VSHFLILF WLPH SHULRG
     z    7R ILQG WKH H[DFW LQVWDQFH RI DQ HYHQW LQ D UXQ XVH WKH WRROWLS RQ WKH YHUWLFDO EOXH OLQH LQ WKH 5HVXOWV
          GLVSOD\ WR LQGLFDWH WKH GDWH DQG WLPH




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page43
                                                               316
                                                                 of of
                                                                    56464 PageID
                                                                       PageID    #: 1083
                                                                              #: 404
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     z   $GMXVW WKH UDQJH XVLQJ WKH OHIW DQG ULJKW VOLGHU EDUV WR DGMXVW WKH JUDSK WR WKH VHOHFWHG UDQJH




     z   6OLGH WKH PDJQLILHU DFURVV WKH VOLGHU WR WKH UHTXLUHG WLPH SHULRG




     z   -XPS WR SUHYLRXV WLPHQH[W WLPH IUDPH XVLQJ WKH DUURZV DW WKH IDU OHIW DQG IDU ULJKW RI WKH VOLGHU




     'RXEOHFOLFN WKH JUDSK DQG XVH WKH PRXVH ZKHHO WR VHOHFW WKH UHTXLUHG WLPH IUDPH




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
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                                                12/23/19 Page
                                                          Page44
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       ,Q WKH 5HVXOWV SDJH FOLFN WKH (     '  LFRQ
       ,Q WKH %DQGZLGWK 6HWWLQJV ZLQGRZ VHOHFW ,    RU 3 4  ,I \RX VHOHFW 8WLOL]DWLRQ VXSSO\
         WKH YDOXH IRU WKH /LQN &DSDFLW\




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       ,Q WKH 5HVXOWV SDJH FOLFN WKH )   ) '  LFRQ




       ,Q WKH /DWHQF\ 6HWWLQJV VHOHFW &  RU 0    


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     <RX FDQ VHDUFK IRU GDWD LQ WKH FXUUHQW YLHZ E\ HQWHULQJ HLWKHU IUHH WH[W RU E\ VHOHFWLQJ RQH RI WKH GURS
     GRZQ RSWLRQV $ SUHGHILQHG VHDUFK GLVSOD\V DOO WKRVH PRQLWRUV ZLWK D VSHFLILF VWDWXV




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                                                                                                     3DJHA--316
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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page45
                                                               318
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     $V 1HWZRUN &DSWXUH FROOHFWV GDWD \RX ZLOO SUREDEO\ EH ZRQGHULQJ KRZ WR XVH WKH GDWD WR EHVW DGYDQWDJH
     ZKHQ HPXODWLQJ WKHVH FRQGLWLRQV LQ +3oV SHUIRUPDQFH DSSOLFDWLRQV <RXoOO EH H[SRUWLQJ D ILOH WKDW
     FRQWDLQV DERXW D KDOI KRXU RI GDWD VR \RXoOO ZDQW WR HQVXUH WKDW HDFK ILOH SURYLGHV D SLFWXUH RI WKH
     QHWZRUN DW FUXFLDO SHULRGV
     2  4          *
       ,Q WKH 5HVXOWV SDJH FOLFN , 4  87 EHORZ WKH JUDSKV
       7R TXLFNO\ YLHZ VSHFLILF WLPH SHULRGV VHOHFW D WLPH SHULRG LQ WKH , 4 VHFWLRQ
          6HOHFW WKH WLPH SHULRG IRU ZKLFK WR VKRZ WKHVH FRQGLWLRQV  RU  PLQXWHV DUH RIWHQ VXIILFLHQW )RU D
          ORQJHU WLPH VSDQ VHOHFW  RU  PLQXWHV 7R H[SRUW WKH UHVXOWV FKRRVH WKH GLVSOD\HG WLPH SHULRG
          RU WKH HQWLUH UXQ DFFRUGLQJ WR HLWKHU ODWHQF\ RU EDQGZLGWK FDOFXODWLRQV )RU PRUH LQIRUPDWLRQ VHH
          ([SRUWLQJ 'DWD RQ SDJH{
       )RU PRUH GHWDLOHG VWDWLVWLFV VHOHFW !   '      


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     ( 
     7KH UHVXOWV GLVSOD\ WKH DYDLODEOH EDQGZLGWK
     7KH ) GLVSOD\V ORZHVW REVHUYHG EDQGZLGWK UHVXOWV IRU VHOHFWHG SHULRG
     7KH _ !  GLVSOD\V ORZHVW PHDVXUHG EDQGZLGWK FRQGLWLRQV IRU VHOHFWHG SHULRG H[FOXGLQJ UDUH
     RFFXUUHQFHV
     7KH `_ !  GLVSOD\V KLJKHVW REVHUYHG EDQGZLGWK UHVXOWV IRU VHOHFWHG SHULRG H[FOXGLQJ UDUH
     EXUVWV RU RXWHUPRVW FRQGLWLRQV
     7KH 2  GLVSOD\V WKH JHRPHWULF PHDQ RI WKH VHOHFWHG SHULRG ZKLFK LQGLFDWHV WKH PRVW
     UHSUHVHQWDWLYH EDQGZLGWK FRQGLWLRQV
     7KH   YDOXH GLVSOD\V KLJKHVW REVHUYHG EDQGZLGWK FRQGLWLRQV IRU VHOHFWHG SHULRG

     )  9& 2;  ! $ )
     ) LGHQWLILHV WKH SHULRG ZLWK WKH ORZHVW ODWHQF\ORVV FRQGLWLRQV GXULQJ WKH VHOHFWHG WLPHIUDPH
     7KH `_ !  GLVSOD\V UHVXOWV ZLWK WKH ORZHVW REVHUYHG ODWHQF\ DQG SDFNHW ORVV IRU VHOHFWHG
     SHULRG LJQRULQJ LQIUHTXHQW GLSV
     7KH   YDOXH VKRZV WKH JHRPHWULF PHDQ RI WKH ODWHQF\ DQG SDFNHW ORVV GHIDXOW RU EDQGZLGWK
     PHDVXUHPHQWV DQG LQGLFDWHV WKH PRVW FRPPRQ QHWZRUN FRQGLWLRQV LQ \RXU QHWZRUN :KHQ WHVWLQJ
     DSSOLFDWLRQ UHVSRQVH WLPH XVH WKLV YDOXH WR VLPXODWH W\SLFDO WUDQVDFWLRQ UHVSRQVH
     7KH _ !  GLVSOD\V WKH KLJKHVW REVHUYHG ODWHQF\ DQG SDFNHW ORVV IRU VHOHFWHG SHULRG EXW
     LJQRUHV UDUHO\ RFFXUULQJ SHDNV
       LGHQWLILHV WKH SHULRG ZLWK KLJKHVW ODWHQF\ORVV FRQGLWLRQV GXULQJ WKH VHOHFWHG WLPHIUDPH




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Case 4:18-cv-00519-ALM
    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page46
                                                               319
                                                                 of of
                                                                    56464 PageID
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                                                                              #: 407
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     7KH ,  ) UHOHYDQW RQO\ IRU 3DFNHW /RVV GLVSOD\V WKH FDOFXODWHG DYHUDJH RI WKH SDFNHWV ORVW LQ
     WKH GHILQHG SHULRG

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     8VH WKH VOLGHU EDU WR ILQG QHWZRUN FRQGLWLRQV IRU D VSHFLILF WLPH RI GD\ RU XVH WKH DQDO\VHV WR ILQG WKH
     ORZHVW PHDQ RU KLJKHVW    RU  PLQXWH WLPH IUDPHV




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     1HWZRUN 3URILOHV XWLOL]H GDWD IURP PRQLWRUV WKDW ZHUH UHFRUGHG E\ 1HWZRUN &DSWXUH RU IURP H[WHUQDO
     VRXUFHV 7KHVH UHFRUGLQJ FDQ EH DQDO\]HG VR WKDW EHVW ZRUVW RU W\SLFDO FRQGLWLRQV REWDLQHG GXULQJ WKH
     UHFRUGLQJ SHULRG FDQ EH LVRODWHG 7KHVH FRQGLWLRQV FDQ EH H[SRUWHG LQ QW[ IRUPDW WR EH XVHG LQ WHVWLQJ
     HPXODWLRQV

         # * :KHQ LPSRUWLQJ D UHFRUGLQJ LQ WKH +3{1HWZRUN 9LUWXDOL]DWLRQ 0RGHOHU V &ORXG 6KDSH WKH
         1HWZRUN 3URILOH LV SUHVHQW LQVWHDG RI 0RQLWRUV ZKLFK ZHUH SUHVHQW LQ SUHYLRXV YHUVLRQV RI +3
         1HWZRUN &DSWXUH IRUPHUO\ 6KXQUD 1HWZRUN&DWFKHU 

     1HWZRUN 3URILOHV SURYLGH DFWXDO UHFRUGHG QHWZRUN FRQGLWLRQV IRU WKHVH W\SHV RI PRQLWRUV
     z    0RELOH
     z    6WDWLRQDU\
     z    0RQLWRUEDVHG
     7KH GDWD FDQ EH VHOHFWHG DFFRUGLQJ WR WKH *HRJUDSKLF 6RXUFH DQG 7DUJHW 7\SH RI FRPPXQLFDWLRQ DQG
     'XUDWLRQ
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          6HOHFW WKH # !  LFRQ        E\ GHIDXOW D 0RELOH SURILOH LV FUHDWHG 7KH 3URILOH QDPH FDQ EH XS
            WR  FKDUDFWHUV

                 # * 7R FUHDWH D 6WDWLRQDU\ RU 0RQLWRUEDVH SURILOH VHOHFW WKH UHTXLUHG RSWLRQ LQ WKH GURS
                 GRZQ OLVW VHH EHORZ

          6HOHFW WKH 6RXUFH DQG 7DUJHW FLWLHV LQ WKH )URP DQG 7R OLVWV
          6HOHFW WKH W\SH RI FRQQHFWLRQ HLWKHU :L)L RU &HOOXODU DGGLWLRQDO RSWLRQV DUH DYDLODEOH E\ FOLFNLQJ WKH
            '  LFRQ 
          6HOHFW WKH 'HYLFH
          6HOHFW /DWHQF\ DQGRU %DQGZLGWK DQG RQH RI WKHVH FRQGLWLRQV
             z    ( * PRVW IDYRUDEOH REVHUYHG FRQGLWLRQV IRU VHOHFWHG SHULRG
             z    2 * JHRPHWULF PHDQ GLVSOD\V WKH PRVW UHSUHVHQWDWLYH FRQGLWLRQV
             z    - * GLVSOD\V ORZHVW REVHUYHG FRQGLWLRQV IRU VHOHFWHG SHULRG
          6HOHFW WKH (PXODWLRQ 7LPH GXUDWLRQ RI WKH UHFRUGLQJ IURP RQH PLQXWH WR WZR KRXUV
          6HOHFW 0Y RU '   , ,  1HWZRUN &DSWXUH FDOFXODWHV WKH FRQGLWLRQV DFFRUGLQJ WR WKH
            VHOHFWHG SDUDPHWHUV DQG WKH UHVXOWV DUH GLVSOD\HG
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    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page47
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       6HOHFW WKH 6RXUFH FOLHQW RU GDWD FHQWHU  WKH 7DUJHW LV D GDWD FHQWHU
       6HOHFW )  DQGRU (        DQG RQH RI WKHVH FRQGLWLRQV
          z   ( * PRVW IDYRUDEOH REVHUYHG FRQGLWLRQV IRU VHOHFWHG SHULRG
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          z   - * GLVSOD\V ORZHVW REVHUYHG FRQGLWLRQV IRU VHOHFWHG SHULRG
       6HOHFW WKH (PXODWLRQ 7LPH GXUDWLRQ RI WKH UHFRUGLQJ IURP RQH PLQXWH WR WZR KRXUV
       6HOHFW 0Y RU '   , ,  1HWZRUN &DSWXUH FDOFXODWHV WKH FRQGLWLRQV DFFRUGLQJ WR WKH
         VHOHFWHG SDUDPHWHUV DQG WKH UHVXOWV DUH GLVSOD\HG
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       6HOHFW WKH 0RQLWRU DQG WKHQ &
       6HOHFW WKH /DWHQF\ PHWULF VXFK DV 7&3 RU +773
       ,I %DQGZLGWK ZDV PHDVXUHG VHOHFW WKH %DQGZLGWK PHWULF VXFK DV %LGLUHFWLRQDO (VWLPDWH
       6HOHFW RQH W\SH RI FRQGLWLRQV
          z   ( * PRVW IDYRUDEOH REVHUYHG FRQGLWLRQV IRU VHOHFWHG SHULRG
          z   2 * JHRPHWULF PHDQ GLVSOD\V WKH PRVW UHSUHVHQWDWLYH FRQGLWLRQV
          z   - * GLVSOD\V ORZHVW REVHUYHG FRQGLWLRQV IRU VHOHFWHG SHULRG
       6HOHFW WKH (PXODWLRQ 7LPH GXUDWLRQ RI WKH UHFRUGLQJ IURP RQH PLQXWH WR WZR KRXUV
       6HOHFW   )  WR GLVSOD\ WKH LQWHUYDO ZLWK WKH UHTXLUHG FRQGLWLRQV DFFRUGLQJ WR WKH ODWHQF\
         YDOXHV RU   (  WR GLVSOD\ WKH LQWHUYDO LQ ZKLFK WKH UHTXLUHG FRQGLWLRQV DUH GLVSOD\HG
         DFFRUGLQJ WR WKH EDQGZLGWK PHDVXUHPHQWV
       6HOHFW 0Y RU '   , ,  1HWZRUN &DSWXUH FDOFXODWHV WKH FRQGLWLRQV DFFRUGLQJ WR WKH
         VHOHFWHG SDUDPHWHUV DQG WKH UHVXOWV DUH GLVSOD\HG
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       6HOHFW WKH 0RQLWRU DQG &
       $QDO\]H DFFRUGLQJ WR WKH UHTXLUHG FRQGLWLRQV RU PDQXDOO\ VHOHFW WKH UHTXHVWHG WLPH LQWHUYDO
       (QVXUH WKDW RWKHU WKDQ %DQGZLGWK RQO\ RQH PHWULF LV VHOHFWHG
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       6HOHFW '   # $ ! 
       6HOHFW D 3URILOHV IROGHU HQWHU D QDPH IRU WKH 3URILOH DQG FOLFN ' 




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     7R FRQGXFW D QHWZRUN HPXODWLRQ XVLQJ \RXU DFWXDO QHWZRUN FRQGLWLRQV H[SRUW GDWD IURP 1HWZRUN
     &DSWXUH LQ DQ QW[ ILOH 7KHQ LQ WKH +3{1HWZRUN 9LUWXDOL]DWLRQ QHWZRUN DSSOLDQFH RU +3{1HWZRUN
     9LUWXDOL]DWLRQ{GHVNWRS DSSOLFDWLRQV LPSRUW WKH ILOH DQG HPXODWH \RXU QHWZRUN FRQGLWLRQV ZLWK WKH
     UHFRUGLQJ 2QO\ RQH PHWULF RI HLWKHU ODWHQF\ DQG SDFNHW ORVV RU RI EDQGZLGWK FDQ EH SUHVHQW LQ HDFK QW[
     ILOH




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    Case
  8VHU                     Document1-11
       *XLGH4:18-cv-00468 Document  42-2 Filed
                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page48
                                                               321
                                                                 of of
                                                                    56464 PageID
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     7R HPXODWH ZLWK WKH +3{1HWZRUN 9LUWXDOL]DWLRQ GHVNWRS DSSOLFDWLRQV XS WR  /DWHQF\ DQG 3DFNHW /RVV
     VDPSOHV FDQ EH H[SRUWHG SHU PHWULF 7KH QXPEHU RI VDPSOHV SUHVHQW LQ WKH ([SRUW ILOH DOVR GHSHQGV
     XSRQ WKH GHIDXOW ,QWHUYDO VHWWLQJV SHU PHWULF 7R DOWHU WKLV ,QWHUYDO LQ WKH GDWD WKDW LV EHLQJ H[SRUWHG
     XVLQJ ]RRP EDU VHOHFW WKH WLPH IUDPH IRU ZKLFK WR H[SRUW WKH GDWD
     7R HPXODWH ZLWK WKH WKH +3{1HWZRUN 9LUWXDOL]DWLRQ QHWZRUN DSSOLDQFH XS WR  VDPSOHV FDQ EH
     H[SRUWHG 7KLV VHWWLQJ FDQ EH PRGLILHG LQ WKH $GPLQLVWUDWLRQ PRGXOH 6HWWLQJV

       # * 7KH ([SRUW RSWLRQ PD\ DSSHDU WR EH GLVDEOHG DW ILUVW XQWLO WKH GDWD XSGDWHV ([SRUW UHTXLUHV
       VXSSOHPHQWDU\ OLFHQVLQJ

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       ,Q WKH 5HVXOWV RU 1HWZRUN 3URILOH SDJH FOLFN , 4  87 EHORZ WKH JUDSKV
       6HOHFW DQ ([SRUW RSWLRQ
            z   ([SRUW YLHZHG WLPH IUDPH ZKHQ WKH FXUUHQW YLHZ VKRZV D VSHFLILF SRUWLRQ RI WKH FRPSOHWH UXQ
                25
            z   6DYH DV QHWZRUN SURILOH IURP +3{1HWZRUN 9LUWXDOL]DWLRQ{HPXODWLRQ DSSOLFDWLRQV WKHVH SURILOHV
                FDQ EH XSORDGHG
       6DYH WKH ILOH WR WKH UHTXLUHG ORFDWLRQ
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       ,Q WKH 5HVXOWV RU 1HWZRUN 3URILOH SDJH FOLFN , 4  87 EHORZ WKH JUDSKV
       6HOHFW '  ZKLFK OLQNV WR $GPLQLVWUDWLRQ ! 6HWWLQJV ! ([SRUW 7KHVH VHWWLQJV FDQ DOVR EH
         DFFHVVHG GLUHFWO\ LQ WKH $GPLQLVWUDWLRQ PRGXOH




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     1HZ XVHUV FDQ RQO\ EH GHILQHG PRGLILHG DQG GHOHWHG E\ XVHUV ZLWK $GPLQLVWUDWRU SHUPLVVLRQV 2SHUDWRU
     FDQ YLHZ WKHLU RZQ DQG RWKHUVo GHWDLOV EXW QRW PRGLI\ WKHP WKH\ FDQ RQO\ FKDQJH WKHLU RZQ SDVVZRUGV
     )RU GHWDLOV VHH $FFRXQW 6HWWLQJV RQ WKH QH[W SDJH

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       # * 2QO\ $GPLQLVWUDWRUV FDQ DGG 8VHUV

       ,Q WKH $GPLQLVWUDWLRQ PRGXOH FOLFN 3
       &OLFN WKH # 3 LFRQ DQG GHILQH WKH SURSHUWLHV 6HOHFW WKH DFFRXQW W\SH
            z   $GPLQLVWUDWRU IXOO SHUPLVVLRQ
            z   2SHUDWRU FDQ FUHDWH DQG PRGLI\ PRQLWRUV EXW FDQQRW FUHDWH RU PRGLI\ XVHUV HQGSRLQWV RU
                RWKHU VHWWLQJV
       'HILQH D SDVVZRUG RI XS WR  DOSKDQXPHULF FKDUDFWHUV

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       # * 2QO\ $GPLQLVWUDWRUV FDQ PRGLI\ 8VHU GHWDLOV




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    Case
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       *XLGH4:18-cv-00468 Document  42-2 Filed
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                                                12/23/19 Page
                                                          Page49
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          2Q WKH $GPLQLVWUDWLRQ SDJH FOLFN 3 LQ WKH 1HWZRUN &DSWXUH WRROEDU
          'RXEOHFOLFN D XVHU DQG PRGLI\ WKH 8VHUoV SURSHUWLHV DV UHTXLUHG 2QO\ WKH 8VHU 1DPH 3KRQH
            QXPEHU DQG 3DVVZRUG FDQ EH PRGLILHG

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         # * 2QO\ $GPLQLVWUDWRUV FDQ GHOHWH XVHUV KRZHYHU WKH V\VWHPGHILQHG $GPLQLVWUDWRU FDQQRW EH
         GHOHWHG

          2Q WKH $GPLQLVWUDWLRQ SDJH FOLFN 3
          6HOHFW D 8VHU DQG FOLFN WKH @  3 LFRQ
     $OO XVHUV FDQ UHVHW WKHLU RZQ SDVVZRUGV E\ FOLFNLQJ WKH &         LFRQ


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     7R YLHZ \RXU DFFRXQW GHWDLOV FOLFN WKH , '  LFRQ LQ WKH WRROEDU 7KH 1DPH DQG 8VHU 1DPH
     FDQQRW EH PRGLILHG EXW WKH RWKHU ILHOGV FDQ EH XSGDWHG




     0  8  ' 
     7R UHVHW D SDVVZRUG RU FRQGXFW FHUWDLQ RWKHU DFFRXQW XSGDWHV YDOLG 6073 0DLO 6HWWLQJV PXVW EH VHW
     7KHVH VHWWLQJV FDQ EH FRQILJXUHG GXULQJ LQVWDOODWLRQ RU SRVWLQVWDOODWLRQ E\ VHOHFWLQJ ,  
      > '  > 0  8  '
     z    6HQGHU (PDLO $GGUHVV W\SH WKH HPDLO DGGUHVV IURP ZKLFK WKH HPDLOV DUH VHQW
     z    6073 6HUYHU W\SH WKH '16 RU ,3 DGGUHVV RI WKH 6073 6HUYHU ZKLFK VHQGV WKH HPDLO
     z    3RUW E\ GHIDXOW SRUW  RU W\SH D GLIIHUHQW SRUW QXPEHU
     7KLV FRQILJXUDWLRQ GRHV QRW JXDUDQWHH WKDW WKH HPDLO ZLOO EH VHQW VLQFH QHWZRUNLQJ DXWKRUL]DWLRQV DQG
     RWKHU IDFWRUV PD\ SUHYHQW WKLV RSHUDWLRQ )RU WKHVH LVVXHV FRQWDFW \RXU 6\VWHP $GPLQLVWUDWRU




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                                                          Page50
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     8VH WKH 6FKHGXOHU WR VWDUW DQG HQG D 0RQLWRUoV UHFRUGLQJV DFFRUGLQJ WR VSHFLILF WLPHWDEOHV 6FKHGXOHV
     FDQ EH FUHDWHG ZKHQ GHILQLQJ D 0RQLWRU RU ODWHU EXW QRW ZKLOH WKH 0RQLWRU LV UXQQLQJ 7KH 6FKHGXOHU
     VHWV WKH WLPH DFFRUGLQJ WR WKH WLPH RQ WKH PDFKLQH RQ ZKLFK \RX DUH GHILQLQJ WKH 0RQLWRU

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       :KHQ GHILQLQJ RU HGLWLQJ D 0RQLWRU FOLFN WKH '  EXWWRQ
       'HILQH WKH 6WDUW DQG (QG 7LPHV 6HW WKH UHFXUUHQFH LI UHTXLUHG 7KH UHFRUGLQJV FDQ EH VHW WR UHFXU
         GDLO\ ZHHNO\ RU PRQWKO\
       'HILQH WKH GXUDWLRQ RI HDFK UHFRUGLQJ




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     7KLV RFFXUV ZKHQ WKH 1HWZRUN &DSWXUH VHUYHU LV EHKLQG D SUR[\
     /RFDWH WKH +3{1HWZRUN &DSWXUH 6HUYHU VHUYLFH *R WR WKH VHUYLFH SURSHUWLHV DQG RQ WKH )  WDE
     VHOHFW 2    (QWHU WKH DGPLQLVWUDWRU XVHU QDPH DQG SDVVZRUG DQG UHVWDUW WKH VHUYLFH

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     6WDUW E\ YHULI\LQJ WKDW WKH 1HWZRUN &DSWXUH 6HUYHU 6HUYLFH LV 6WDUWHG
     9DOLGDWH WKDW $631(7  LV $OORZHG GHSHQGLQJ XSRQ WKH RSHUDWLQJ V\VWHP LQ WKH :HE 6HUYHU
      ,,6  ,,6 0DQDJHU
     9DOLGDWH WKDW WKH VYF ILOH W\SH LV PDSSHG WR DVSQHWBLVDSLGOO )RU IXUWKHU LQIRUPDWLRQ UHIHU WR
     KWWSPVGQPLFURVRIWFRPHQXVOLEUDU\PVDVS[




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    Case
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          )RU LQIRUPDWLRQ UHJDUGLQJ D EXJ LQ ,,6&HUW2EM FRPSRQHQW RQ :LQGRZV  DQG :LQGRZV 5 UHIHU
            WR KWWSVXSSRUWPLFURVRIWFRPNEHQXV
          ,QVWDOO WKH KRWIL[ DV UHFRPPHQGHG LQ WKH DUWLFOH OLVWHG DERYH
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     )LUVW FOLFN WKH '     EXWWRQ    7KH LVVXH PD\ KDYH EHHQ UHVROYHG VLQFH WKH ODVW VFDQ RU
     WKH 8 LFRQ FRXOG EH UHG LI QR VFDQV KDYH EHHQ FRQGXFWHG \HW ,I LW V VWLOO VKRZLQJ DV LQDFFHVVLEOH
     DIWHU WKH VFDQ FKHFN
     z    7KDW WKH 1HWZRUN &DSWXUH $JHQW 6HUYLFH LV DFWLYH
     z    )LUHZDOO VHWWLQJV IRU GHWDLOV VHH )LUHZDOO &RQILJXUDWLRQ RQ SDJH{ 
     z    )RU 5HPRWH $JHQWV YDOLGDWH WKDW WKH 6HUYHU KRVW QDPH FDQ EH SLQJHG IURP WKH $JHQW KRVW
     z    7R WHVW WR VHH LI WKH SUREOHP LV IURP WKH 6RXUFH WR WKH 7DUJHW RU IURP WKH 7DUJHW WR WKH 6RXUFH \RX
          FDQ VWDUW WZR GLIIHUHQW PRQLWRUV LQ ZKLFK ERWK WKH 6RXUFH DQG 7DUJHW 7KH HUURU PHVVDJH ZLOO OLVW WKH
          HOHPHQW LQ WKH FRQQHFWLRQ LQ ZKLFK WKH SUREOHP RFFXUV
     z    <RX PD\ KDYH QRWLFHG D PHVVDJH GXULQJ WKH LQVWDOODWLRQ WKDW 3RUW  ZKLFK LV UHTXLUHG E\ WKH
          1HWZRUN &DSWXUH $JHQW LV DOUHDG\ LQ XVH 7R UHPHG\ WKLV VLWXDWLRQ GHWHUPLQH ZKLFK FRPSRQHQW LV
          XWLOL]LQJ WKLV SRUW DQG DVVLJQ DQRWKHU SRUW WR WKH FRPSRQHQW 5HVWDUW WKH +3 1& $JHQW 6HUYLFH WKHQ
          FOLFN '   8  DQG WKH LVVXH VKRXOG EH UHVROYHG
     z    ,I WKLV LV QRW VXFFHVVIXO FRQWDFW VXSSRUW DW KWWSVVRIWZDUHVXSSRUWKSFRP

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     7R EH DEOH WR GRZQORDG WKH DJHQW YLD WKH EURZVHU \RXoOO KDYH WR DGMXVW WKH IROORZLQJ VHWWLQJV
          ,Q ,QWHUQHW ([SORUHU RSHQ 7RROV ! ,QWHUQHW 2SWLRQV DQG VHOHFW WKH 6HFXULW\ WDE
          6HOHFW   XQGHU '      4              
          6HOHFW WKH %  OHYHO
          6HOHFW @  LQ WKHVH VHWWLQJV DQG HQDEOH WKH IROORZLQJ
             z   $XWRPDWLF SURPSWLQJ IRU ILOH GRZQORDGLQJ
             z   )LOH GRZQORDG

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     :KHQ \RX VHOHFW D SHHUEDVHG SURWRFRO LI WKH SRUW WKDW \RX KDYH VHOHFWHG RQ WKH 7DUJHW PDFKLQH LV
     DOUHDG\ LQ XVH 1HWZRUN &DSWXUH LV XQDEOH WR FRQGXFW WKH PHDVXUHPHQW

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     &ORVH WKH ,QLWLDOL]LQJ 0RQLWRU SDJH FOLFN &  , DQG UHVWDUW WKH PRQLWRU




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                                                12/23/19 Page
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     1HWZRUN &DSWXUH SURYLGHV H[WHQVLYH VHDUFK FDSDELOLW\ ZKHWKHU \RX DUH ORRNLQJ IRU PRQLWRUV HQGSRLQWV
     UHVXOWV DQG VR RQ )RU GHWDLOV VHH 6HDUFKLQJ IRU 'DWD RQ SDJH{

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     $OWKRXJK D QXPEHU RI LVVXHV FRXOG FDXVH WKLV SUREOHP D FRPPRQ UHDVRQ LV WKDW ,3Y ZKLFK LV QRW
     VXSSRUWHG LQ 1HWZRUN&DWFKHU Y LV HQDEOHG 7R UHVROYH WKLV LVVXH RQ WKH 6RXUFH $JHQW KRVW GHVHOHFW
     !^J GHSHQGLQJ XSRQ \RXU RSHUDWLQJ V\VWHP XVXDOO\ ORFDWHG LQ WKH )  , %  ! q
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     &KHFN WKH 2XWJRLQJ (PDLO 6HUYHU VHWWLQJV $GPLQLVWUDWLRQ PRGXOH WR HQVXUH WKDW WKH\ DUH XS WR GDWH ,I
     WKLV GRHV QRW VROYH WKH SUREOHP FRQWDFW \RXU V\VWHP DGPLQLVWUDWRU DV WKLV LVVXH PD\ EH UHODWHG WR
     6073 FRQILJXUDWLRQ LVVXHV

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     6HW \RXU VFUHHQ UHVROXWLRQ WR [ RU KLJKHU ZLWK D ]RRP OHYHO RI 

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     ,Q WKH 5HVXOWV YLHZ VHOHFW , 4  87  DQG WKHQ VDYH WKH GDWD LQ DQ QW[ ILOH IRUPDW )RU PRUH
     LQIRUPDWLRQ VHH ([SRUWLQJ 'DWD RQ SDJH{

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       7R FRQGXFW FHUWDLQ SHHUEDVHG PHDVXUHPHQWV HQVXUH WKDW ,3 5RXWLQJ LV GLVDEOHG 7R GLVDEOH ,3
         5RXWLQJ DGYDQFHG XVHUV RQO\  ,Q WKH UHJLVWU\ HGLWRU QDYLJDWH WR
          +.(<B/2&$/B0$&+,1( ?6<67(0?&XUUHQW&RQWURO6HW?6HUYLFHV?7FSLS?3DUDPHWHUV
          6HOHFW WKH !8 &  HQWU\
       7R GLVDEOH ,3 URXWLQJ IRU DOO QHWZRUN FRQQHFWLRQV LQVWDOOHG DQG XVHG E\ WKLV FRPSXWHU DVVLJQ D
         YDOXH RI 
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          ,Q WKH  67 ULJKWFOLFN WKH HQWU\ DQG WKHQ FOLFN   ,Q  ]Z67 FOLFN WKH UHTXLUHG
          HQWU\ ! FOLFN 8 ! FOLFN WKH DSSURSULDWH PHQX HQWU\
       &ORVH WKH UHJLVWU\ HGLWRU WKHQ UHERRW

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     2I FRXUVH $V VRRQ DV \RX KLW WKH 5XQ 0RQLWRU LFRQ WKH 5HVXOWV YLHZ DSSHDUV <RX PLJKW KDYH WR ZDLW
     MXVW D ELW XQWLO WKH UHVXOWV DUH VKRZQ LQ WKH JUDSK DV 1HWZRUN &DSWXUH FROOHFWV WKH GDWD 6RRQ \RX VKRXOG
     EH DEOH WR VHH D OLQH JUDSK RU SHUFHQWLOH GLVWULEXWLRQ JUDSK RI WKH ODWHQF\ SDFNHW ORVV DQGRU EDQGZLGWK
     XQWLO WKH PRQLWRU KDV UXQ WKH IXOO GXUDWLRQ $IWHU VRPH WLPH KDV HODSVHG \RX FDQ YLHZ D VSHFLILF SHULRG
     RU WKH HQWLUH GXUDWLRQ )RU GHWDLOV VHH 9LHZLQJ 'DWD RQ SDJH{




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                                          Filed07/02/18
                                                12/23/19 Page
                                                          Page53
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     &KHFN WKH 1HWZRUN &DSWXUH 6HUYLFH LI LW V 6WRSSHG VWDUW LW 7KHQ VHOHFW _ WR UHIUHVK WKH EURZVHU SDJH
     ,I WKLV LV XQVXFFHVVIXO FRQWDFW VXSSRUW DW KWWSVVRIWZDUHVXSSRUWKSFRP

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     ,I \RX KDYH D SURIHVVLRQDO OLFHQVH \RX FDQ UXQ XS WR  0RQLWRUV FRQFXUUHQWO\

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     :HOO \RX PLJKW QRW \RX FDQ NHHS DOO \RXU PRQLWRUV LQ WKH GHIDXOW IROGHU WKDW LV SUHVHQW ZKHQ \RX ILUVW
     RSHQ 1HWZRUN &DSWXUH +RZHYHU IROGHUV NHHS \RXU PRQLWRUV RUJDQL]HG DQG DV \RX XVH 1HWZRUN
     &DSWXUH \RX PD\ KDYH PDQ\ VFHQDULRV <RX FDQ FKRRVH WR JURXS \RXU PRQLWRUV DFFRUGLQJ WR YDULRXV
     FULWHULD VXFK JHRJUDSKLF ORFDWLRQV W\SHV RI DSSOLFDWLRQV HWF
     z   7R DGG D IROGHU FOLFN WKH ,  LFRQ DQG UHQDPH WKH IROGHU
     z   7R DGG VXEIROGHUV XQGHU HDFK IROGHU FOLFN WKH #  LFRQ ZKHQ WKH )ROGHU LV VHOHFWHG DQG
         UHQDPH LW
     z   <RX FDQ DOVR GUDJ DQG GURS 0RQLWRUV IURP RQH IROGHU WR DQRWKHU

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     <HV DV ORQJ DV WKH IROGHU RU LWV VXEIROGHUV GR QRW KDYH DQ\ DFWLYH UXQV WKDW DUH FXUUHQWO\ UHFRUGLQJ

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     7KH 1HWZRUN &DSWXUH $JHQW LV LQVWDOOHG DV SDUW RI WKH 1HWZRUN &DSWXUH 6HUYHU
     7KHUHIRUH \RX FDQ PHDVXUH ODWHQF\ SDFNHW ORVV RU XSVWUHDP EDQGZLGWK DYDLODELOLW\ IURP WKH 6HUYHU
     ZLWKRXW LQVWDOOLQJ WKH 1HWZRUN &DSWXUH $JHQW LQ DQ\ RWKHU ORFDWLRQ
     )RU H[DPSOH LI \RX KDYH LQVWDOOHG 1HWZRUN &DSWXUH LQ D GDWDFHQWHU LQ 1HZ <RUN DQG QHHG WR PHDVXUH
     ODWHQF\ SDFNHW ORVV DQG XSVWUHDP EDQGZLGWK WR DQ\ RWKHU ORFDWLRQ DGGUHVVDEOH RYHU WKH QHWZRUN \RX
     FDQ GR VR ZLWKRXW GHSOR\LQJ DGGLWLRQDO 1HWZRUN &DSWXUH $JHQWV ,I WKH 1HWZRUN &DSWXUH 6HUYHU LV EHKLQG
     1$7 LW FDQ SDUWDNH LQ ERWK SHHUOHVV DQG SHHUEDVHG PRQLWRULQJ
     +RZHYHU WKHUH DUH D FRXSOH RI VFHQDULRV ZKHUH DGGLWLRQDO DJHQWV DUH UHTXLUHG
     z   0HDVXULQJ IURP D 6HFRQGDU\ /RFDWLRQ EHORZ
     z   0HDVXULQJ %LGLUHFWLRQDO %DQGZLGWK $YDLODELOLW\ RQ WKH QH[W SDJH
     z   'HILQLQJ WKH ,QWHUYDO IRU &RQFXUUHQW %DQGZLGWK 0RQLWRUV RQ SDJH{

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     )RU H[DPSOH LI \RX KDYH D 1HWZRUN &DSWXUH 6HUYHU LQVWDOOHG LQ \RXU GDWD FHQWHU LQ 1HZ <RUN EXW \RX
     UHTXLUH ODWHQF\ SDFNHW ORVV DQG XSVWUHDP PHDVXUHPHQWV IURP /RQGRQ WR D GHVWLQDWLRQ LQ 7RN\R \RX
     FRXOG LQVWDOO D 1HWZRUN &DSWXUH $JHQW LQ /RQGRQ 7KHQ \RX FRXOG PHDVXUH WKHVH PHWULFV IURP /RQGRQ WR
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     7R PHDVXUH ELGLUHFWLRQDO EDQGZLGWK PHDVXUHPHQWV WR DQ\ ORFDWLRQ \RX ZLOO DOVR QHHG DQ $JHQW DW WKH
     7DUJHW ORFDWLRQ )RU H[DPSOH WR PHDVXUH IURP 1HZ <RUN WR 7RN\R \RX ZLOO KDYH WR LQVWDOO DQ DJHQW LQ
     7RN\R 7KLV DOVR DSSOLHV WR PHDVXUHPHQWV IURP /RQGRQ WR 7RN\R
     1RWH WKDW WKH VDPH $JHQW PD\ EH WKH 7DUJHW IRU RQH PHDVXUHPHQW \HW EH WKH 6RXUFH IRU DQRWKHU




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     7HFKQLFDO VXSSRUW LV DYDLODEOH WR DOO +3 6RIWZDUH /WG FXVWRPHUV WKURXJK WKH +3 19{VLWH
     KWWSKSFRPJRQY 7HFKQLFDO VXSSRUW PD\ EH REWDLQHG WKURXJK WKH VXSSRUW VLWH
     KWWSVVRIWZDUHVXSSRUWKSFRP




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         4:18-cv-00468 Document  42-2 Filed
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           4:18-cv-00468 Document
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                  Case 4:18-cv-00468 Document
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                                                   Filed 12/23/19
                                                         07/02/18 Page
                                                                  Page 331
                                                                       2 of of 464 PageID
                                                                            3 PageID      #: 1098
                                                                                      #: 419


Shunra NetworkCatcher™
Capture Real-World Network Impairments Including Latency, Packet Loss and Bandwidth



About Shunra
When deploying applications
across WAN, Web, Mobile
or Cloud-based networks,
risk mitigation and cost
avoidance are paramount.
Today, 80% of the costs
associated with application
development occur
in remediating failed
or underperforming
applications after
deployment, when the
ineffective application has
already had a negative
impact on the end user or        It is often difficult to know and precisely emulate    network responds to ICMP, UDP, HTTP and TCP
customer experience.             network behavior in a pre-production test              communications. Network characteristics are
                                 environment due to the constantly changing             easily gathered and analyzed by Network Catcher
Shunra offers a proactive        nature of a production network. Shunra                 for use in Shunra Performance Suite, enabling
approach to application          NetworkCatcher is a highly flexible and powerful       a precise emulation of production network
performance engineering          network monitor that enables organizations             conditions in your test lab. To facilitate rapid
(APE). The Shunra solution       to easily and accurately record, import and            testing of mobile applications, NetworkCatcher
discovers, emulates,             replay real-world network behavior, including          also features a searchable library of global mobile
predicts and analyzes the        conditions such as latency, packet loss and            and broadband network profiles, enabling
                                 available bandwidth.                                   organizations to quickly test applications against
performance of applications
                                                                                        typical network conditions between major cities.
over real-world networks.        NetworkCatcher enables unsurpassed precision
As a result, Shunra delivers     in recreating production network conditions
customized performance           in a pre-deployment test lab. With Shunra
                                                                                        Automated Playback of
insight, enabling pre-           PerformanceSuite™ and NetworkCatcher                   Network Behavior
production remediation and       powering the application test environment,             Record and playback network behavior of links
optimization, and confidence     organizations are able to test applications under      across the entire production network
in application performance       the most accurate and true-to-life conditions
                                 possible.                                               Record, store, analyze and playback link
prior to deployment.
                                                                                          conditions

Shunra is the industry-          Automated Recording and                                 Actively monitor the behavior of multiple links
recognized authority in          Playback of WAN, Web, Mobile                             24x7
Application Performance          and Cloud Networks                                      Replay production network conditions in the
Engineering (APE), offering                                                               development/test environment
                                 NetworkCatcher enables scheduled recording
over a decade of experience                                                              Enable recorded network statistics at set
                                 and automated analysis of network behavior,
with some of the most                                                                     intervals to playback from a central repository
                                 including the ability to quickly identify best-case,
complex and sophisticated
                                 worst-case and average network performance.             Seamlessly import production network
networks in the world.           Using a flexible set of network communication            conditions into the Shunra test environment
                                 protocols, NetworkCatcher captures network
                                                                                         Safe and secure: does not detect or store
                                 behavior and provides insight into how the
                                                                                          network traffic



                                                                                  WAN. Web. Mobile.
                                                                                            EXHIBIT A--330
                                                                                                          Cloud.
                                                                                  Confidence in Application Performance™
Shunra NetworkCatcher™
        Case 4:18-cv-00519-ALM
                    Case 4:18-cv-00468 Document
                                       Document 42-2
                                                1-12 Filed
                                                     Filed 12/23/19
                                                           07/02/18 Page
                                                                    Page 332
                                                                         3 of of 464 PageID
                                                                              3 PageID      #: 1099
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About Application
Performance
Engineering ( APE)
APE is the discipline applied
at every phase of the
application lifecycle that
ensures an application will
be designed, implemented
and operationally supported
to meet its non-functional
performance requirements.
APE includes the roles,
skills, activities, practices
and solutions required
to confidently deploy
and manage application
performance.

APE — Best Practices
ttD
    Discovery:
      iscovery:identify
                identify
    and record real-world         Why NetworkCatcher?                                   Key Features
    infrastructure and network     Record network conditions between end users          Pre-recorded network profiles for emulating
    conditions, business            and the datacenter for accurate performance           typical mobile and broadband network
    processes, application          testing, and conduct the most accurate                conditions between major global cities
    topology and deployment         scalability testing possible
    scenarios                                                                            Measure and record real network conditions for
                                   Record conditions to and from multiple                any reachable location using ICPM, TCP or UDP
t5FTU4FU6Qincorporate
                                    locations simultaneously for WAN, Web,
    network behavior, network                                                            Go anywhere agent can be deployed securely
                                    Mobile and Cloud
    emulation and business                                                                to remote machines without the need to open
    process automation scripts     Pre-recorded library off global mobile and            multiple firewall ports
    into the test environment       broadband network profiles
                                                         prrofiles enables rapid
                                                                                         Schedule and record up to 100 different
                                                      applications
                                    testing of mobile appliccations
tTesting:integrate with                                                               monitors simultaneously for up to 30 days and
   automation tools and            Identify best-case, worst-case and average            store recordings indefinitely
   enable single-user and           performance values within a given period of
                                                                                         Easily find network conditions within a specific
   multi-site/multi-user load       time
                                                                                          time period using a graphical zoom bar
   testing                         Built-in bandwidth availability measurements:
tAnalysis:conduct thorough                                                           Export network conditions for replay in test
                                    unidirectional estimate, bi-directional estimate
   results analysis to identify                                                           environment
                                    and bi-directional sample
    potential bottlenecks and
                                                                                         Support for 32- and 64-bit Windows Server
    validate performance and       Measure the latency between two locations
                                                                                          2008 and 2003 OS
   SLO compliance                   using a TCP Handshake

t3FNFEJBUJPOBOE                                                                     Built-in MySQL database stores thousands of
   0QUJNJ[BUJPOimplement                                                                network profiles
   recommended best
   practices to improve
    performance and calculate
                                  Contact Us
    performance ROI               Call: 1.877.474.8672 | Email: sales@shunra.com | Visit: www.shunra.com




                                                                                   WAN. Web. Mobile.
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Case Case
     4:18-cv-00519-ALM
           4:18-cv-00468 Document
                         Document 42-2
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                                             07/02/18 Page
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                                         Filed 12/23/19
                                               07/02/18 Page
                                                        Page 334
                                                             2 of of 464 PageID
                                                                  6 PageID      #: 1101
                                                                            #: 422


                                                                                                     Data Sheet
                                                                                                     Application Development, Test & Delivery




LoadRunner
Micro Focus® LoadRunner software is the industry-standard software for performance engineering.
Generate real-life loads. Identify and diagnose problems. Deploy with conﬁdence.


Understanding Application                          The Inside Story on LoadRunner                    Click here to learn how LoadRunner can help you
Performance                                        With an intuitive record and playback mecha-      deliver high-performing applications.
How do you know whether your mission-critical      nism, including the patented TruClient tech-
applications meet the performance and scal-        nology, LoadRunner reproduces real business
ability requirements of your business? How do      processes that a user would perform in pro-
you decrease the risk of a catastrophic failure    duction. These scripts can then be easily modi-
when deploying to production? Are your ap-         ﬁed to emulate real user behavior.
plications performing optimally?
                                                   LoadRunner then emulates hundreds or thou-
Enterprise applications are becoming increas-      sands of concurrent virtual users, with minimal
ingly complex. With modern applications, there     hardware, to apply accurate workloads to any
are many moving parts that can easily become       application. As it drives load against the sys-
points of failure if not tested prior to deploy-   tem, LoadRunner captures end-user response
ment. Platforms such as mobile, Cloud, and         times for business processes and transactions
hybrid environments offer their own share of       to determine whether the application can meet
challenges. LoadRunner software, used by           the required service-level agreements. Non-
thousands of businesses around the world, is       intrusive, real-time performance monitors from
a comprehensive solution for testing system        Micro Focus SiteScope captures real-time
behavior and performance. It provides an ef-       performance data from every component of
ﬁcient and robust means to verify that your        application infrastructure, while Micro Focus
application’s architecture is built for more ef-   Diagnostics collects application-layer and
ﬁcient performance and reliability. LoadRunner     code-level performance data. By leveraging
helps you:                                         Micro Focus Network Virtualization and Micro
                                                   Focus Service Virtualization, you can eliminate
  Test a broad range of applications,
                                                   and control unknown variables and isolate per-
  including the latest Web and Mobile
                                                   formance risks.
  technologies, ERP/CRM applications, and
  many legacy systems.
                                                   After the test completes, the LoadRunner
  Run high-scale tests using minimal               analysis engine provides a single view of
  hardware, including any mix of physical          end-user response time, infrastructure-level
  and virtual environments, including public       and code-level performance; and includes the
  Cloud infrastructure.                            patented auto-correlation engine to identify
  Identify end-to end performance bottlenecks      the most likely causes of performance issues.
  using advanced monitoring and analysis
  tools, and ensure that new or upgraded
  applications meet the performance
  requirements of your business.




                                                                                                                       EXHIBIT A--333
       Case Case
            4:18-cv-00519-ALM
                  4:18-cv-00468 Document
                                Document 42-2
                                         1-13 Filed
                                              Filed 12/23/19
                                                    07/02/18 Page
                                                             Page 335
                                                                  3 of of 464 PageID
                                                                       6 PageID      #: 1102
                                                                                 #: 423
Data Sheet
LoadRunner




                                                   applications. TruClient is embedded in the          provides the ability to seamlessly leverage
                                                   browser and provides interactive recording and      public cloud infrastructure to deploy load
                                                   scripting, dramatically reducing the amount of      generators (LGs) to scale up and down based
                                                   programming required. This gives you the ability    on your performance testing needs, without
                                                   to various levels of user activity, from the GUI    complicated network conﬁguration.
                                                   level down to the transport and socket level,
                                                   depending on the skill set available and the        The deployment of cloud-based LGs is built
                                                   level of customization required. TruClient sup-     into LoadRunner, signiﬁcantly reduces provi-
                                                   ports most AJAX applications, regardless of the     sioning time, while maintaining security and
                                                   framework used; making testing of Web 2.0,          control. You can add multiple cloud accounts
Figure 1. LoadRunner Analysis: A view of           and Mobile Web applications faster, easier, and     and manage network profiles for connect-
cross-results trending capabilities, showing a     more comprehensive.                                 ing to your various LGs. You can also secure
comparison of increased system scalability and                                                         host communications using public/private
optimized response-time performance                                                                    key pairs, and provision hosts using standard
                                                                                                       templates or by creating your own. Tests can
Test Against a Broad Range of                                                                          be executed with any mix of load generators
Applications and Protocols                                                                             within your network or in the public cloud in the
LoadRunner supports performance testing for                                                            cloud. We support various cloud environments
a wide range of application environments and                                                           such as Amazon EC2, Microsoft Azure, Google
protocols, including Web/Mobile, Web ser-                                                              Compute Engine, or DigitalOcean.
vices, MQ, HTML5, WebSockets, AJAX, Flex,
RDP, Database, Remote Terminal Emulators,                                                              LoadRunner is now available in the Microsoft
Citrix, Java, .NET, Oracle, and SAP. An easy-to-                                                       Azure Marketplace and Amazon AWS, providing
use scripting and debugging engine leverages                                                           you the ﬂexibility to run your load and perfor-
                                                   Figure 2. The patented Micro Focus TruClient
data format extensions and correlation studio                                                          mance testing from the cloud, reducing infra-
                                                   technology provides a browser-embedded,
to reduce the amount of time spent scripting.      interactive way of scripting next-generation        structure costs to execute your tests.
                                                   Web-based applications
Simplify Analysis and Reporting                                                                        Deliver Enterprise Load Generation,
With its Bubble-Up analysis capabilities,          Scale Up Tests Leveraging the                       Monitoring, and Diagnostics
LoadRunner helps you quickly determine             Public Cloud                                        LoadRunner can generate realistic loads scal-
which transactions passed or failed the set        LoadRunner supports testing of applications         ing up to hundreds and thousands of virtual
service-level objectives, as well as some po-      on all platforms. Whether the application is run-   users (VUs) to reproduce realistic conditions.
tential causes of failure. A strong analysis       ning in the cloud or in-house, on bare-metal or     LoadRunner integrates with SiteScope to pro-
engine helps you slice and dice data in many       virtual machines, or in a hybrid environment;       vide more than 60 non-intrusive monitors to
ways to easily pinpoint the root cause of the      LoadRunner can help test the application be-        measure the impact of load testing on every
problems. You can also use templates to gen-       fore it goes live, so that you can deploy with      component of the application. LoadRunner
erate multiple custom reports to serve the         conﬁdence.                                          also seamlessly integrates with Diagnostics,
needs of various stakeholders.                                                                         allowing you to drill down into applications
                                                   With cloud testing, you can quickly and elasti-     level issues to ﬁnd the root cause of problems
Record and Replay a Variety of                     cally scale up tests to meet the demands of         across heterogeneous application stacks;
Web 2.0 Technologies                               your customer-facing business applications,         including J2EE, .Net, SAP, Oracle and SOA
TruClient technology is a browser-based virtual    reducing the cost and overhead of manag-            based applications.
user that supports next-generation Web-based       ing dedicated machines. LoadRunner now




2



                                                                                                                           EXHIBIT A--334
  Case Case
       4:18-cv-00519-ALM
             4:18-cv-00468 Document
                           Document 42-2
                                    1-13 Filed
                                         Filed 12/23/19
                                               07/02/18 Page
                                                        Page 336
                                                             4 of of 464 PageID
                                                                  6 PageID      #: 1103
                                                                            #: 424




Mobile Application Testing                         Network Virtualization Support                      In addition, the Diagnostics Proﬁler software
LoadRunner is the most complete solution           Mobile application performance is critical to       allows Developers to view and debug perfor-
for mobile application performance testing;        the success of a business. As much as 70%           mance issues at the code level within their
including Mobile Web, Native and Hybrid ap-        of the application response time is caused by       test environment.
plications. The TruClient—Mobile Web protocol      network conditions, and optimizing applica-
supports the rapid testing of browser-based        tions to run on Mobile is impossible without        Continuous Delivery
mobile applications, and the TruClient—Native      including realistic network conditions in each      LoadRunner provides an addin for Jenkins
Mobile protocol provides support for native,       test. The impact of network conditions isn’t only   Continuous Integration platform: this add-in
Web and Hybrid applications. Micro Focus so-       on Mobile users, but on the entire application      executes LoadRunner scenarios and reports
lutions for mobile testing can be used to test     infrastructure That is why LoadRunner seam-         pass/fail status at the end of a build job. There
mobile applications against any platform and       lessly integrates with Network Virtualization to    are also APIs for automating the analysis and
OS. LoadRunner seamlessly integrates with          capture and include realistic network condi-        reporting of completed tests.
Network Virtualization enabling realistic          tions during each test.
network conditions during each test.                                                                   Community Content
                                                                                                       To connect users within the largest perfor-
Mobile Application Recording Options                                                                   mance engineering community in the world,
When it comes to Mobile testing, one method                                                            LoadRunner integrates with the AppDelivery
does not ﬁt all. Whether you have access to a                                                          Marketplace. The AppDelivery Marketplace
physical device, application or device emula-                                                          provides a single portal for Micro Focus perfor-
tor, or trafﬁc capture from any available Mobile                                                       mance testing users and partners to share and
device cloud; the methods used for capturing                                                           distribute content with the entire user commu-
application usage will vary with each deploy-                                                          nity, who can access and automatically install
ment model. That is why LoadRunner includes        Continuous Testing Support                          Function Libraries, Correlation Rules, Data
multiple methods for recording Mobile applica-     Integrations for Developers                         Format Extensions and other add-ins directly
tion scripts, to meet the needs of any Mobile      To enable load testing earlier in the application   from VuGen.
development project. Virtual User Generator        lifecycle—which is particularly relevant in agile
supports the following Mobile application          environments—LoadRunner provides IDE to             Additional Micro Focus Application
scripting methods:                                 integrate with leading development environ-         Lifecycle Integrations
  Server-side trafﬁc capture                       ments Visual Studio and Eclipse; allowing de-       To facilitate intelligent release decisions,
                                                   velopers to run unit tests using the LoadRunner     LoadRunner is integrated with industry-
  PCAP trafﬁc recording
                                                   engine. This integration lets Developers create     leading quality software, such as Micro
  Mobile Device Emulator                           LoadRunner scripts directly within the IDE, and     Focus Quality Center (QC), and Application
  Proxy recording                                  contribute to performance testing efforts ear-      Lifecycle Management (ALM). Leveraging
  TruClient—Mobile Web (for mobile-web             lier in the application lifecycle. LoadRunner       these complementary products together with
  applications)                                    also supports execution of JUnit, NUnit and         LoadRunner provides a comprehensive so-
                                                   Selenium scripts as part of the test scenario,      lution for managing release risk, so you can
  TruClient—Native Mobile (for native,
                                                   allowing you to leverage Unit tests the devel-      make informed decisions prior to going live.
  browser-based, or hybrid mobile
                                                   opers are already creating. LoadRunner inte-
  applications)
                                                   grates with Git Hub too, allowing you to upload
                                                   scripts from a Git repository.




www.microfocus.com                                                                                                                                    3



                                                                                                                       EXHIBIT A--335
        Case Case
             4:18-cv-00519-ALM
                   4:18-cv-00468 Document
                                 Document 42-2
                                          1-13 Filed
                                               Filed 12/23/19
                                                     07/02/18 Page
                                                              Page 337
                                                                   5 of of 464 PageID
                                                                        6 PageID      #: 1104
                                                                                  #: 425
Data Sheet
LoadRunner




Complete integration with Micro Focus Uniﬁed          Helps you establish intelligent service-level     retirement. Furthermore, by providing uniﬁed
Functional Testing (UFT) and LeanFT helps             agreements before applications go live            management and automation solutions, Micro
bridge the functional testing gap and elimi-          Shortens test cycles to accelerate delivery       Focus offers customers not simply more tools
nate the risk caused by external dependencies         of high-quality applications                      and integrations, but greater simplicity. The
component services. API tests authored in UFT                                                           result for enterprise application teams is im-
                                                      Pinpoints end-user, system-level, and
can be executed directly in the LoadRunner                                                              proved predictability, repeatability, quality, and
                                                      code-level bottlenecks rapidly and
Controller as part of a performance test.                                                               change readiness in both the core and com-
                                                      with ease
                                                                                                        plete lifecycle.
Integrations with Production                          Reduces the cost of defects by testing
Application-performance and service-level             earlier in the application lifecycle              Micro Focus Performance
management doesn’t end when load testing is                                                             Testing Offerings
done. In fact, service-level management begins
when the system goes live. During the transi-                                                           Performance Testing from Anywhere, for
                                                    LoadRunner Helps Detect                             Any Size and Any Type of Environment
tion from prerelease to production, you can
use LoadRunner scripts within Micro Focus           Pre-Production Issues                               The agility in how business wants IT to de-
Business Systems Management (BSM) soft-             “With the help of LoadRunner                        liver has drastically increased. Micro Focus’s
ware to monitor application performance, avail-                                                         objective is to provide a menu of options on
                                                    through load testing in general                     performance testing solutions to support any
ability, and service levels in production under
real-user workloads. Common technologies
                                                    we have found many issues that                      type of environment, application, methodology,
in Micro Focus products such as Diagnostics         we would not have been able to                      maturity, and consumption model that the cus-
and SiteScope, which integrate with both            handle in production without loss                   tomer have to allow them to accelerate the
LoadRunner and BSM, help bridge the gap be-         of service and business.”                           delivery applications that perform with quality.
tween testing and production. These integra-
tions, both upstream to QA and downstream           IT MANAGER                                          Micro Focus provides high-quality software and
into production, make LoadRunner an ideal so-       Large enterprise ﬁnancial services company          services that address all aspects of your soft-
lution for performance engineering across the       (TVID: F3E-C13-172)                                 ware application lifecycle needs. With Micro
application lifecycle.                                                                                  Focus, you have access to standards-based,
                                                                                                        modular, multiplatform software coupled with
LoadRunner Key Beneﬁts                                                                                  global services and support.
                                                    See what other customers are saying about the new
    Reduces cost of application downtime            Micro Focus LoadRunner software.
    related to performance issues in production                                                         To generate real-life loads and identify and diag-
    Supports performance testing of new                                                                 nose problems, visit: software.microfocus.
                                                    About Micro Focus Software                          com/software/performance-testing
    technologies together with your existing,
    legacy applications
                                                    Application Delivery
                                                    Management Solutions                                For an overview of Micro Focus software services,
    Accurately tests a mix of mobile and                                                                visit: microfocus.com/softwareservices
                                                    Software Application Delivery Management
    Internet users, reducing the risk of
                                                    solutions help ensure modernization initiatives
    performance bottleneck when bringing                                                                To access technical interactive support, visit
                                                    deliver business outcomes instead of failing
    new mobile applications to production                                                               Software Support Online at: softwaresupport.
                                                    under the burden of outdated, legacy delivery
    Decreases the risk of deploying systems         mechanisms. Where rival solutions mistake           hpe.com
    that do not meet performance requirements       the software development lifecycle for a total
    Reduces hardware and software costs by          picture of the application, Micro Focus sees        Learn More At
    accurately predicting application scalability   core delivery in the context of the complete ap-    microfocus.com/loadrunner
    and capacity                                    plication lifecycle—from business idea through




4



                                                                                                                             EXHIBIT A--336
    Case Case
         4:18-cv-00519-ALM
               4:18-cv-00468 Document
                             Document 42-2
                                      1-13 Filed
                                           Filed 12/23/19
                                                 07/02/18 Page
                                                          Page 338
                                                               6 of of 464 PageID
                                                                    6 PageID      #: 1105
                                                                              #: 426




                                                                                                                                                                                   www.microfocus.com




                                                                                                                                                                                Micro Focus
                                                                                                                                                                                UK Headquarters
                                                                                                                                                                                United Kingdom
                                                                                                                                                                                +44 (0) 1635 565200

                                                                                                                                                                                U.S. Headquarters
                                                                                                                                                                                Rockville, Maryland
                                                                                                                                                                                301 838 5000
                                                                                                                                                                                877 772 4450

                                                                                                                                                                                Additional contact information and ofﬁce locations:
                                                                                                                                                                                www.microfocus.com




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                                                                                                                                                                                                   EXHIBIT A--337
Case Case
     4:18-cv-00519-ALM
           4:18-cv-00468 Document
                         Document 42-2
                                  1-14 Filed
                                       Filed 12/23/19
                                             07/02/18 Page
                                                      Page 339
                                                           1 of of 464 PageID
                                                                5 PageID      #: 1106
                                                                          #: 427




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                                                                     EXHIBIT A--338
Case Case
     4:18-cv-00519-ALM
           4:18-cv-00468 Document
                         Document 42-2
                                  1-14 Filed
                                       Filed 12/23/19
                                             07/02/18 Page
                                                      Page 340
                                                           2 of of 464 PageID
                                                                5 PageID      #: 1107
                                                                          #: 428




                                                                     EXHIBIT A--339
Case Case
     4:18-cv-00519-ALM
           4:18-cv-00468 Document
                         Document 42-2
                                  1-14 Filed
                                       Filed 12/23/19
                                             07/02/18 Page
                                                      Page 341
                                                           3 of of 464 PageID
                                                                5 PageID      #: 1108
                                                                          #: 429




                                                                     EXHIBIT A--340
Case Case
     4:18-cv-00519-ALM
           4:18-cv-00468 Document
                         Document 42-2
                                  1-14 Filed
                                       Filed 12/23/19
                                             07/02/18 Page
                                                      Page 342
                                                           4 of of 464 PageID
                                                                5 PageID      #: 1109
                                                                          #: 430




                                                                     EXHIBIT A--341
Case Case
     4:18-cv-00519-ALM
           4:18-cv-00468 Document
                         Document 42-2
                                  1-14 Filed
                                       Filed 12/23/19
                                             07/02/18 Page
                                                      Page 343
                                                           5 of of 464 PageID
                                                                5 PageID      #: 1110
                                                                          #: 431




                                                                     EXHIBIT A--342
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 344 of 464 PageID #: 1111




                        EXHIBIT 2




                                                                                     EXHIBIT A--343
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 345 of 464 PageID #: 1112




                                                                                     EXHIBIT A--344
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 346 of 464 PageID #: 1113

                                                  Claim 1, U.S. Pat. No. 8,924,192


   Claim Element                                                 Evidence of Infringement

1. A system for          Bank of America has proprietary software products, that may also integrate third party development tools,
developing an            for the development and testing of mobile applications that are believed to meet the elements of this claim.
application for a        On information and belief, Bank of America has developed their own Bank of America-related products
mobile device            that are believed to be infringing, including at least a product named UI TestRunner. As these are software
comprising: a software   products whose functionality cannot be discerned from publicly available sources, Wapp has served
authoring interface      discovery on Bank of America seeking additional information and will supplement these charts once such
configured to            discovery has been produced.
simultaneously
visually emulate, via
one or more profile
display windows, a
plurality of network
characteristics
indicative of
performance of the
mobile device when
executing the
application; wherein
the software authoring
interface is further
configured to simulate
a network connection
state encountered by
the mobile device.




                                                                                                                       EXHIBIT A--345
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 347 of 464 PageID #: 1114

                                                 Claim 2, U.S. Pat. No. 8,924,192

  Claim Element                                                 Evidence of Infringement

2. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software authoring      On information and belief, Bank of America has developed their own Bank of America-related products
interface is            that are believed to be infringing, including at least a product named UI TestRunner. As these are software
configured to enable    products whose functionality cannot be discerned from publicly available sources, Wapp has served
a user to select from   discovery on Bank of America seeking additional information and will supplement these charts once such
one or more             discovery has been produced.
connection
simulations for
testing how well
mobile content
performs on the
mobile device.




                                                                                                                       EXHIBIT A--346
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 348 of 464 PageID #: 1115

                                               Claim 3, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

3. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more            On information and belief, Bank of America has developed their own Bank of America-related products that
connection             are believed to be infringing, including at least a product named UI TestRunner. As these are software
simulations are        products whose functionality cannot be discerned from publicly available sources, Wapp has served
configured to          discovery on Bank of America seeking additional information and will supplement these charts once such
simulate wireless      discovery has been produced.
transmission of
content to the
mobile device based
on the selected
connection
simulation.




                                                                                                                    EXHIBIT A--347
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 349 of 464 PageID #: 1116

                                                Claim 4, U.S. Pat. No. 8,924,192


  Claim Element                                                 Evidence of Infringement

4. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
connection              On information and belief, Bank of America has developed their own Bank of America-related products that
simulation includes     are believed to be infringing, including at least a product named UI TestRunner. As these are software
one or more profiles.   products whose functionality cannot be discerned from publicly available sources, Wapp has served
                        discovery on Bank of America seeking additional information and will supplement these charts once such
                        discovery has been produced.




                                                                                                                     EXHIBIT A--348
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 350 of 464 PageID #: 1117

                                               Claim 5, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

5. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 4, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
profiles include       On information and belief, Bank of America has developed their own Bank of America-related products that
preset profiles.       are believed to be infringing, including at least a product named UI TestRunner. As these are software
                       products whose functionality cannot be discerned from publicly available sources, Wapp has served
                       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--349
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 351 of 464 PageID #: 1118

                                               Claim 6, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

6. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 4, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
profiles are           On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to manage the   products whose functionality cannot be discerned from publicly available sources, Wapp has served
profiles.              discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--350
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 352 of 464 PageID #: 1119

                                               Claim 7, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

7. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 4, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
profiles are           On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to create       products whose functionality cannot be discerned from publicly available sources, Wapp has served
custom profiles.       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--351
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 353 of 464 PageID #: 1120

                                                Claim 8, U.S. Pat. No. 8,924,192

  Claim Element                                                 Evidence of Infringement

8. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more             On information and belief, Bank of America has developed their own Bank of America-related products that
connection              are believed to be infringing, including at least a product named UI TestRunner. As these are software
simulations are         products whose functionality cannot be discerned from publicly available sources, Wapp has served
based on different      discovery on Bank of America seeking additional information and will supplement these charts once such
connection statistics   discovery has been produced.
reported by one or
more mobile devices
used in non-
simulated
environments.




                                                                                                                     EXHIBIT A--352
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 354 of 464 PageID #: 1121

                                               Claim 9, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

9. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more            On information and belief, Bank of America has developed their own Bank of America-related products that
connection             are believed to be infringing, including at least a product named UI TestRunner. As these are software
simulations are        products whose functionality cannot be discerned from publicly available sources, Wapp has served
based on data of       discovery on Bank of America seeking additional information and will supplement these charts once such
interaction with       discovery has been produced.
network operators in
non-simulated
environments.




                                                                                                                    EXHIBIT A--353
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 355 of 464 PageID #: 1122

                                               Claim 10, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

10. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 9, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
data includes live     On information and belief, Bank of America has developed their own Bank of America-related products that
network profiles,      are believed to be infringing, including at least a product named UI TestRunner. As these are software
real-time bandwidth    products whose functionality cannot be discerned from publicly available sources, Wapp has served
profiles, or both.     discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--354
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 356 of 464 PageID #: 1123

                                               Claim 11, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

11. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 9, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
data includes data     On information and belief, Bank of America has developed their own Bank of America-related products that
representing one or    are believed to be infringing, including at least a product named UI TestRunner. As these are software
more mobile            products whose functionality cannot be discerned from publicly available sources, Wapp has served
devices.               discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--355
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 357 of 464 PageID #: 1124

                                                Claim 12, U.S. Pat. No. 8,924,192

  Claim Element                                                 Evidence of Infringement

12. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software authoring      On information and belief, Bank of America has developed their own Bank of America-related products that
interface is            are believed to be infringing, including at least a product named UI TestRunner. As these are software
configured to allow     products whose functionality cannot be discerned from publicly available sources, Wapp has served
a user to simulate an   discovery on Bank of America seeking additional information and will supplement these charts once such
incoming sms            discovery has been produced.
message.




                                                                                                                     EXHIBIT A--356
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 358 of 464 PageID #: 1125

                                                Claim 13, U.S. Pat. No. 8,924,192

  Claim Element                                                 Evidence of Infringement

13. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software authoring      On information and belief, Bank of America has developed their own Bank of America-related products that
interface is            are believed to be infringing, including at least a product named UI TestRunner. As these are software
configured to allow     products whose functionality cannot be discerned from publicly available sources, Wapp has served
a user to simulate an   discovery on Bank of America seeking additional information and will supplement these charts once such
incoming phone call.    discovery has been produced.




                                                                                                                     EXHIBIT A--357
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 359 of 464 PageID #: 1126

                                                Claim 14, U.S. Pat. No. 8,924,192

  Claim Element                                                 Evidence of Infringement

14. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, further        for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising a testing    On information and belief, Bank of America has developed their own Bank of America-related products that
interface configured    are believed to be infringing, including at least a product named UI TestRunner. As these are software
to accept user inputs   products whose functionality cannot be discerned from publicly available sources, Wapp has served
for selecting           discovery on Bank of America seeking additional information and will supplement these charts once such
available simulated     discovery has been produced.
or non-simulated
connection states.




                                                                                                                     EXHIBIT A--358
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 360 of 464 PageID #: 1127

                                               Claim 15, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

15. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software authoring     On information and belief, Bank of America has developed their own Bank of America-related products that
interface has access   are believed to be infringing, including at least a product named UI TestRunner. As these are software
to mobile devices in   products whose functionality cannot be discerned from publicly available sources, Wapp has served
geographical           discovery on Bank of America seeking additional information and will supplement these charts once such
markets worldwide      discovery has been produced.
to create simulated
and/or non-
simulated network
environments.




                                                                                                                    EXHIBIT A--359
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 361 of 464 PageID #: 1128

                                               Claim 16, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

16. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software authoring     On information and belief, Bank of America has developed their own Bank of America-related products that
interface has access   are believed to be infringing, including at least a product named UI TestRunner. As these are software
to real-time           products whose functionality cannot be discerned from publicly available sources, Wapp has served
interaction with       discovery on Bank of America seeking additional information and will supplement these charts once such
network operators to   discovery has been produced.
measure and
emulate network
characteristics.




                                                                                                                    EXHIBIT A--360
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 362 of 464 PageID #: 1129

                                                 Claim 60, U.S. Pat. No. 8,924,192

   Claim Element                                                 Evidence of Infringement

60. A system             Bank of America has proprietary software products, that may also integrate third party development tools,
comprising: an           for the development and testing of mobile applications that are believed to meet the elements of this claim.
application configured   On information and belief, Bank of America has developed their own Bank of America-related products that
to enable a user to      are believed to be infringing, including at least a product named UI TestRunner. As these are software
modify a photo on the    products whose functionality cannot be discerned from publicly available sources, Wapp has served
mobile device,           discovery on Bank of America seeking additional information and will supplement these charts once such
wherein the              discovery has been produced.
application is
developed using a
software authoring
platform configured to
simultaneously
visually emulate, via
one or more profile
display windows, a
plurality of hardware
characteristics
indicative of
performance of the
mobile device when
executing the
application.




                                                                                                                      EXHIBIT A--361
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 363 of 464 PageID #: 1130

                                              Claim 61, U.S. Pat. No. 8,924,192

  Claim Element                                               Evidence of Infringement

61. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 60, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
the application is    On information and belief, Bank of America has developed their own Bank of America-related products that
configured to allow   are believed to be infringing, including at least a product named UI TestRunner. As these are software
an end user to add    products whose functionality cannot be discerned from publicly available sources, Wapp has served
content to modify     discovery on Bank of America seeking additional information and will supplement these charts once such
the photo.            discovery has been produced.




                                                                                                                   EXHIBIT A--362
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 364 of 464 PageID #: 1131

                                               Claim 62, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

62. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 61, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the content includes   On information and belief, Bank of America has developed their own Bank of America-related products that
text.                  are believed to be infringing, including at least a product named UI TestRunner. As these are software
                       products whose functionality cannot be discerned from publicly available sources, Wapp has served
                       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--363
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 365 of 464 PageID #: 1132

                                              Claim 63, U.S. Pat. No. 8,924,192

  Claim Element                                               Evidence of Infringement

63. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 62, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
the text includes a   On information and belief, Bank of America has developed their own Bank of America-related products that
caption.              are believed to be infringing, including at least a product named UI TestRunner. As these are software
                      products whose functionality cannot be discerned from publicly available sources, Wapp has served
                      discovery on Bank of America seeking additional information and will supplement these charts once such
                      discovery has been produced.




                                                                                                                   EXHIBIT A--364
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 366 of 464 PageID #: 1133

                                               Claim 64 U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

64. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 61, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the content includes   On information and belief, Bank of America has developed their own Bank of America-related products that
an image, animation,   are believed to be infringing, including at least a product named UI TestRunner. As these are software
or both.               products whose functionality cannot be discerned from publicly available sources, Wapp has served
                       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--365
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 367 of 464 PageID #: 1134

                                              Claim 65, U.S. Pat. No. 8,924,192

  Claim Element                                               Evidence of Infringement

65. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 60, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
the application is    On information and belief, Bank of America has developed their own Bank of America-related products that
configured to allow   are believed to be infringing, including at least a product named UI TestRunner. As these are software
an end user to        products whose functionality cannot be discerned from publicly available sources, Wapp has served
distribute the        discovery on Bank of America seeking additional information and will supplement these charts once such
modified photo        discovery has been produced.
through a server or
other connection to
the internet.




                                                                                                                   EXHIBIT A--366
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 368 of 464 PageID #: 1135

                                               Claim 66, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

66. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 60, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the application is     On information and belief, Bank of America has developed their own Bank of America-related products that
configured to allow    are believed to be infringing, including at least a product named UI TestRunner. As these are software
an end user to         products whose functionality cannot be discerned from publicly available sources, Wapp has served
manage or update       discovery on Bank of America seeking additional information and will supplement these charts once such
the modified photo     discovery has been produced.
or photo application
through a server or
other connection to
the internet.




                                                                                                                    EXHIBIT A--367
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 369 of 464 PageID #: 1136

                                              Claim 67, U.S. Pat. No. 8,924,192

  Claim Element                                               Evidence of Infringement

67. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 60, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
mobile revenues are   On information and belief, Bank of America has developed their own Bank of America-related products that
created using the     are believed to be infringing, including at least a product named UI TestRunner. As these are software
modified photo or     products whose functionality cannot be discerned from publicly available sources, Wapp has served
application.          discovery on Bank of America seeking additional information and will supplement these charts once such
                      discovery has been produced.




                                                                                                                   EXHIBIT A--368
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 370 of 464 PageID #: 1137

                                               Claim 68, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

68. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 67, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the revenues include   On information and belief, Bank of America has developed their own Bank of America-related products that
ads.                   are believed to be infringing, including at least a product named UI TestRunner. As these are software
                       products whose functionality cannot be discerned from publicly available sources, Wapp has served
                       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--369
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 371 of 464 PageID #: 1138

                                               Claim 69, U.S. Pat. No. 8,924,192

  Claim Element                                                Evidence of Infringement

69. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 67, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the revenues include   On information and belief, Bank of America has developed their own Bank of America-related products that
brand marketing.       are believed to be infringing, including at least a product named UI TestRunner. As these are software
                       products whose functionality cannot be discerned from publicly available sources, Wapp has served
                       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                    EXHIBIT A--370
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 372 of 464 PageID #: 1139




                                                                                     EXHIBIT A--371
               Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 373 of 464 PageID #: 1140

                                                   Claim 1, U.S. Pat. No. 9,298,864


   Claim Element                                                  Evidence of Infringement

1. A system for testing
an application for a      Bank of America has proprietary software products, that may also integrate third party development tools,
mobile device             for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising: software      On information and belief, Bank of America has developed their own Bank of America-related products
configured to simulate,   that are believed to be infringing, including at least a product named UI TestRunner. As these are software
via one or more profile   products whose functionality cannot be discerned from publicly available sources, Wapp has served
display windows, a        discovery on Bank of America seeking additional information and will supplement these charts once such
plurality of network      discovery has been produced.
characteristics
indicative of
performance of the
mobile device when
executing the
application; wherein
the network
characteristics are
based on data of
interaction with
networks in non-
simulated
environments.




                                                                                                                        EXHIBIT A--372
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 374 of 464 PageID #: 1141

                                                Claim 2, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

2. The system of
claim 1, wherein the   Bank of America has proprietary software products, that may also integrate third party development tools,
software is further    for the development and testing of mobile applications that are believed to meet the elements of this claim.
configured to          On information and belief, Bank of America has developed their own Bank of America-related products
capture network        that are believed to be infringing, including at least a product named UI TestRunner. As these are software
profiles from a        products whose functionality cannot be discerned from publicly available sources, Wapp has served
plurality of           discovery on Bank of America seeking additional information and will supplement these charts once such
geographical           discovery has been produced.
locations.




                                                                                                                      EXHIBIT A--373
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 375 of 464 PageID #: 1142

                                                 Claim 3, U.S. Pat. No. 9,298,864

  Claim Element                                                  Evidence of Infringement

3. The system of         Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the     for the development and testing of mobile applications that are believed to meet the elements of this claim.
network profiles can     On information and belief, Bank of America has developed their own Bank of America-related products that
either be saved in a     are believed to be infringing, including at least a product named UI TestRunner. As these are software
storage medium, or       products whose functionality cannot be discerned from publicly available sources, Wapp has served
stored on a server, or   discovery on Bank of America seeking additional information and will supplement these charts once such
both.                    discovery has been produced.




                                                                                                                      EXHIBIT A--374
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 376 of 464 PageID #: 1143

                                               Claim 4, U.S. Pat. No. 9,298,864


  Claim Element                                                Evidence of Infringement

4. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 3, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is further    On information and belief, Bank of America has developed their own Bank of America-related products that
configured to access   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a library of network   products whose functionality cannot be discerned from publicly available sources, Wapp has served
profiles.              discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--375
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 377 of 464 PageID #: 1144

                                               Claim 5, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

5. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 4, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
network profiles are   On information and belief, Bank of America has developed their own Bank of America-related products that
displayed using        are believed to be infringing, including at least a product named UI TestRunner. As these are software
either a map, or a     products whose functionality cannot be discerned from publicly available sources, Wapp has served
pull-down list, or     discovery on Bank of America seeking additional information and will supplement these charts once such
both.                  discovery has been produced.




                                                                                                                     EXHIBIT A--376
               Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 378 of 464 PageID #: 1145

                                                 Claim 6, U.S. Pat. No. 9,298,864

  Claim Element                                                  Evidence of Infringement

6. The system of         Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the     for the development and testing of mobile applications that are believed to meet the elements of this claim.
data includes either     On information and belief, Bank of America has developed their own Bank of America-related products that
live network             are believed to be infringing, including at least a product named UI TestRunner. As these are software
profiles, or real-time   products whose functionality cannot be discerned from publicly available sources, Wapp has served
bandwidth profiles,      discovery on Bank of America seeking additional information and will supplement these charts once such
or both.                 discovery has been produced.




                                                                                                                       EXHIBIT A--377
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 379 of 464 PageID #: 1146

                                               Claim 7, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

7. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more network    On information and belief, Bank of America has developed their own Bank of America-related products that
characteristics are    are believed to be infringing, including at least a product named UI TestRunner. As these are software
based on data of       products whose functionality cannot be discerned from publicly available sources, Wapp has served
interaction with one   discovery on Bank of America seeking additional information and will supplement these charts once such
or more mobile         discovery has been produced.
devices used in non-
simulated
environments.




                                                                                                                     EXHIBIT A--378
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 380 of 464 PageID #: 1147

                                               Claim 8, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

8. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is further    On information and belief, Bank of America has developed their own Bank of America-related products that
configured to create   are believed to be infringing, including at least a product named UI TestRunner. As these are software
one or more            products whose functionality cannot be discerned from publicly available sources, Wapp has served
scenarios that         discovery on Bank of America seeking additional information and will supplement these charts once such
include scripts that   discovery has been produced.
impact either the
performance of the
application, or the
network, or both.




                                                                                                                     EXHIBIT A--379
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 381 of 464 PageID #: 1148

                                                Claim 9, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

9. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 8, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more             On information and belief, Bank of America has developed their own Bank of America-related products that
scenarios define one    are believed to be infringing, including at least a product named UI TestRunner. As these are software
or more events that     products whose functionality cannot be discerned from publicly available sources, Wapp has served
occur during the test   discovery on Bank of America seeking additional information and will supplement these charts once such
which includes          discovery has been produced.
defining one or more
virtual users to
simulate real users.




                                                                                                                      EXHIBIT A--380
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 382 of 464 PageID #: 1149

                                               Claim 10, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

10. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 9, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more virtual    On information and belief, Bank of America has developed their own Bank of America-related products that
users emulate          are believed to be infringing, including at least a product named UI TestRunner. As these are software
actions of real user   products whose functionality cannot be discerned from publicly available sources, Wapp has served
behavior.              discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--381
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 383 of 464 PageID #: 1150

                                               Claim 11, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

11. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 10, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the actions that are   On information and belief, Bank of America has developed their own Bank of America-related products that
performed by one or    are believed to be infringing, including at least a product named UI TestRunner. As these are software
more virtual users     products whose functionality cannot be discerned from publicly available sources, Wapp has served
are recorded to        discovery on Bank of America seeking additional information and will supplement these charts once such
generate a script      discovery has been produced.
which can be
modified to emulate
real user behavior.




                                                                                                                     EXHIBIT A--382
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 384 of 464 PageID #: 1151

                                              Claim 12, U.S. Pat. No. 9,298,864

  Claim Element                                               Evidence of Infringement

12. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 11, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
the scripts include   On information and belief, Bank of America has developed their own Bank of America-related products that
one or more           are believed to be infringing, including at least a product named UI TestRunner. As these are software
functions that        products whose functionality cannot be discerned from publicly available sources, Wapp has served
measure and record    discovery on Bank of America seeking additional information and will supplement these charts once such
performance of        discovery has been produced.
either the
application, or the
network, or both.




                                                                                                                    EXHIBIT A--383
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 385 of 464 PageID #: 1152

                                               Claim 13, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

13. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is further    On information and belief, Bank of America has developed their own Bank of America-related products that
configured to          are believed to be infringing, including at least a product named UI TestRunner. As these are software
display data           products whose functionality cannot be discerned from publicly available sources, Wapp has served
graphically which is   discovery on Bank of America seeking additional information and will supplement these charts once such
configured to enable   discovery has been produced.
a user to identify
either application
performance, or
network
performance, or
both.




                                                                                                                     EXHIBIT A--384
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 386 of 464 PageID #: 1153

                                               Claim 14, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

14. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is further    On information and belief, Bank of America has developed their own Bank of America-related products that
configured to          are believed to be infringing, including at least a product named UI TestRunner. As these are software
interact with a        products whose functionality cannot be discerned from publicly available sources, Wapp has served
network to enable a    discovery on Bank of America seeking additional information and will supplement these charts once such
user to update the     discovery has been produced.
software.




                                                                                                                     EXHIBIT A--385
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 387 of 464 PageID #: 1154

                                               Claim 15, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

15. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is further    On information and belief, Bank of America has developed their own Bank of America-related products that
configured to be       are believed to be infringing, including at least a product named UI TestRunner. As these are software
hosted by either a     products whose functionality cannot be discerned from publicly available sources, Wapp has served
vendor, or a service   discovery on Bank of America seeking additional information and will supplement these charts once such
provider, or both      discovery has been produced.
and distributed to
one or more users
via the internet.




                                                                                                                     EXHIBIT A--386
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 388 of 464 PageID #: 1155

                                                Claim 16, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

16. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 15, wherein       for the development and testing of mobile applications that are believed to meet the elements of this claim.
either the vendor, or   On information and belief, Bank of America has developed their own Bank of America-related products that
the service provider,   are believed to be infringing, including at least a product named UI TestRunner. As these are software
or both charge fees     products whose functionality cannot be discerned from publicly available sources, Wapp has served
for using the           discovery on Bank of America seeking additional information and will supplement these charts once such
software.               discovery has been produced.




                                                                                                                      EXHIBIT A--387
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 389 of 464 PageID #: 1156

                                                Claim 17, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

17. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is further     On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable    are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to select from   products whose functionality cannot be discerned from publicly available sources, Wapp has served
one or more network     discovery on Bank of America seeking additional information and will supplement these charts once such
characteristics for     discovery has been produced.
testing how well
mobile content
performs on the
mobile device.




                                                                                                                      EXHIBIT A--388
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 390 of 464 PageID #: 1157

                                               Claim 18, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

18. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 17, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the network            On information and belief, Bank of America has developed their own Bank of America-related products that
characteristics        are believed to be infringing, including at least a product named UI TestRunner. As these are software
includes one or more   products whose functionality cannot be discerned from publicly available sources, Wapp has served
network profiles.      discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--389
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 391 of 464 PageID #: 1158

                                               Claim 19, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

19. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 18, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the network profiles   On information and belief, Bank of America has developed their own Bank of America-related products that
are configured to      are believed to be infringing, including at least a product named UI TestRunner. As these are software
enable a user to       products whose functionality cannot be discerned from publicly available sources, Wapp has served
either manage the      discovery on Bank of America seeking additional information and will supplement these charts once such
profiles, or create    discovery has been produced.
custom profiles, or
both.




                                                                                                                     EXHIBIT A--390
                  Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 392 of 464 PageID #: 1159

                                                      Claim 20, U.S. Pat. No. 9,298,864

   Claim Element                                                      Evidence of Infringement

20. A method for              Bank of America has proprietary software products, that may also integrate third party development tools,
emulating an application      for the development and testing of mobile applications that are believed to meet the elements of this claim.
playing on an
application player in         On information and belief, Bank of America has developed their own Bank of America-related products that
each of a plurality of        are believed to be infringing, including at least a product named UI TestRunner. As these are software
mobile devices, the           products whose functionality cannot be discerned from publicly available sources, Wapp has served
method comprising:            discovery on Bank of America seeking additional information and will supplement these charts once such
retrieving characteristics,   discovery has been produced.
indicative of
performance, for each of
the mobile devices;
emulating each of the
mobile devices in real
time using respective
models running on a
processor extrinsic to the
mobile devices, wherein
each of the models is
based on the retrieved
characteristics; playing
the application in real
time using the
application player within
each of the models;
monitoring the
application playing in
each of the models to
determine resource
utilization information
by the application for
each of the mobile
devices; and displaying
the resource utilization
information for at least
one of the mobile
devices.




                                                                                                                            EXHIBIT A--391
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 393 of 464 PageID #: 1160

                                                Claim 21, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

21. The method of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 20, wherein       for the development and testing of mobile applications that are believed to meet the elements of this claim.
the step of             On information and belief, Bank of America has developed their own Bank of America-related products that
displaying              are believed to be infringing, including at least a product named UI TestRunner. As these are software
comprises               products whose functionality cannot be discerned from publicly available sources, Wapp has served
displaying the          discovery on Bank of America seeking additional information and will supplement these charts once such
resource utilization    discovery has been produced.
information
graphically using a
timeline numbered
to indicate points in
time during the
execution of the
application.




                                                                                                                      EXHIBIT A--392
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 394 of 464 PageID #: 1161

                                                 Claim 22, U.S. Pat. No. 9,298,864

  Claim Element                                                  Evidence of Infringement

22. The method of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 20, wherein        for the development and testing of mobile applications that are believed to meet the elements of this claim.
the step of retrieving   On information and belief, Bank of America has developed their own Bank of America-related products that
further includes         are believed to be infringing, including at least a product named UI TestRunner. As these are software
interacting with a       products whose functionality cannot be discerned from publicly available sources, Wapp has served
user to select the       discovery on Bank of America seeking additional information and will supplement these charts once such
plurality of mobile      discovery has been produced.
devices from a list
of mobile devices
stored in a library
containing
characteristics
indicative of
performance of the
mobile devices.




                                                                                                                       EXHIBIT A--393
                Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 395 of 464 PageID #: 1162

                                                    Claim 23, U.S. Pat. No. 9,298,864

   Claim Element                                                    Evidence of Infringement

23. The method of claim     Bank of America has proprietary software products, that may also integrate third party development tools,
20, wherein step of         for the development and testing of mobile applications that are believed to meet the elements of this claim.
emulating comprises:
determining, based upon     On information and belief, Bank of America has developed their own Bank of America-related products that
the characteristics, for    are believed to be infringing, including at least a product named UI TestRunner. As these are software
each mobile device: the     products whose functionality cannot be discerned from publicly available sources, Wapp has served
display size of the         discovery on Bank of America seeking additional information and will supplement these charts once such
mobile device; the          discovery has been produced.
amount of random
access memory (RAM);
the amount of non-
volatile memory; and the
processor speed; and for
each said mobile device,
generating the respective
model based upon one or
more of the display size,
the amount of RAM, the
amount of non-volatile
memory, and the
processor type.




                                                                                                                          EXHIBIT A--394
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 396 of 464 PageID #: 1163

                                               Claim 24, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

24. The method of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 20, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the steps of playing   On information and belief, Bank of America has developed their own Bank of America-related products that
and monitoring         are believed to be infringing, including at least a product named UI TestRunner. As these are software
simulate execution     products whose functionality cannot be discerned from publicly available sources, Wapp has served
of one or more         discovery on Bank of America seeking additional information and will supplement these charts once such
frames of a frame-     discovery has been produced.
based application.




                                                                                                                     EXHIBIT A--395
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 397 of 464 PageID #: 1164

                                                Claim 25, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

25. The method of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 20, further       for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising              On information and belief, Bank of America has developed their own Bank of America-related products that
identifying one or      are believed to be infringing, including at least a product named UI TestRunner. As these are software
more frames of a        products whose functionality cannot be discerned from publicly available sources, Wapp has served
frame-based             discovery on Bank of America seeking additional information and will supplement these charts once such
application where       discovery has been produced.
resource utilization
of the application
exceeds a maximum
resource availability
threshold of any one
of the mobile
devices.




                                                                                                                      EXHIBIT A--396
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 398 of 464 PageID #: 1165

                                               Claim 26, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

26. The method of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 25, further      for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising             On information and belief, Bank of America has developed their own Bank of America-related products that
displaying the first   are believed to be infringing, including at least a product named UI TestRunner. As these are software
identified frame of    products whose functionality cannot be discerned from publicly available sources, Wapp has served
the application to     discovery on Bank of America seeking additional information and will supplement these charts once such
indicate a crash of    discovery has been produced.
the application on
the emulated mobile
device.




                                                                                                                     EXHIBIT A--397
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 399 of 464 PageID #: 1166

                                                Claim 27, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

27. The method of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 20, further       for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising              On information and belief, Bank of America has developed their own Bank of America-related products that
identifying one or      are believed to be infringing, including at least a product named UI TestRunner. As these are software
more frames of a        products whose functionality cannot be discerned from publicly available sources, Wapp has served
frame-based             discovery on Bank of America seeking additional information and will supplement these charts once such
application where       discovery has been produced.
resource utilization
of the application
exceeds a maximum
resource availability
threshold of any one
of the mobile
devices, wherein the
threshold defaults to
a maximum resource
availability for the
emulated mobile
device.




                                                                                                                      EXHIBIT A--398
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 400 of 464 PageID #: 1167

                                                Claim 28, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

28. The method of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 20, further       for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising              On information and belief, Bank of America has developed their own Bank of America-related products that
identifying one or      are believed to be infringing, including at least a product named UI TestRunner. As these are software
more frames of a        products whose functionality cannot be discerned from publicly available sources, Wapp has served
frame-based             discovery on Bank of America seeking additional information and will supplement these charts once such
application where       discovery has been produced.
resource utilization
of the application
exceeds a maximum
resource availability
threshold of any one
of the mobile
devices, wherein the
threshold is
modified to
dynamically adjust
resource availability
to the application.




                                                                                                                      EXHIBIT A--399
                 Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 401 of 464 PageID #: 1168

                                                     Claim 29, U.S. Pat. No. 9,298,864

   Claim Element                                                     Evidence of Infringement

29. A method for             Bank of America has proprietary software products, that may also integrate third party development tools,
emulating an application     for the development and testing of mobile applications that are believed to meet the elements of this claim.
playing on at least one
mobile device                On information and belief, Bank of America has developed their own Bank of America-related products that
comprising: receiving        are believed to be infringing, including at least a product named UI TestRunner. As these are software
instructions to select       products whose functionality cannot be discerned from publicly available sources, Wapp has served
each said mobile device      discovery on Bank of America seeking additional information and will supplement these charts once such
from a list including        discovery has been produced.
characteristics indicative
of performance of each
said mobile device;
emulating each said
mobile device using a
respective model,
wherein each said model
is based upon the
characteristics of a
respective said mobile
device; playing the
application in real time
within each said model;
monitoring each said
model to determine
resource utilization of
the application for each
said mobile device; and
displaying the resource
utilization information.




                                                                                                                           EXHIBIT A--400
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 402 of 464 PageID #: 1169

                                               Claim 30, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

30. The method of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 29, further      for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising             On information and belief, Bank of America has developed their own Bank of America-related products that
publishing the         are believed to be infringing, including at least a product named UI TestRunner. As these are software
application to the     products whose functionality cannot be discerned from publicly available sources, Wapp has served
mobile device once     discovery on Bank of America seeking additional information and will supplement these charts once such
resource utilization   discovery has been produced.
is determined to be
within available
resources of the
mobile device.




                                                                                                                     EXHIBIT A--401
                 Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 403 of 464 PageID #: 1170

                                                     Claim 31, U.S. Pat. No. 9,298,864

   Claim Element                                                     Evidence of Infringement

31. A method for             Bank of America has proprietary software products, that may also integrate third party development tools,
emulating a frame-based      for the development and testing of mobile applications that are believed to meet the elements of this claim.
application playing on a
mobile device that           On information and belief, Bank of America has developed their own Bank of America-related products that
includes an application      are believed to be infringing, including at least a product named UI TestRunner. As these are software
player, the method           products whose functionality cannot be discerned from publicly available sources, Wapp has served
comprising: retrieving       discovery on Bank of America seeking additional information and will supplement these charts once such
characteristics indicative   discovery has been produced.
of performance of the
mobile device;
emulating, on a
processor extrinsic to the
mobile device, the
mobile device as a
model based upon the
retrieved characteristics;
playing the application
in real time within the
model; monitoring the
application playing in
the model to determine
utilization of the mobile
device's resources by the
application; identifying a
frame of the application
where resource
utilization by the
application exceeds a
maximum resource
availability threshold of
the mobile device; and
displaying the identified
frame to indicate a crash
of the application on the
emulated mobile device.




                                                                                                                           EXHIBIT A--402
                 Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 404 of 464 PageID #: 1171

                                                     Claim 32, U.S. Pat. No. 9,298,864

   Claim Element                                                     Evidence of Infringement

32. A method for             Bank of America has proprietary software products, that may also integrate third party development tools,
developing an                for the development and testing of mobile applications that are believed to meet the elements of this claim.
application to play on a
mobile device that           On information and belief, Bank of America has developed their own Bank of America-related products that
includes an application      are believed to be infringing, including at least a product named UI TestRunner. As these are software
player, the method           products whose functionality cannot be discerned from publicly available sources, Wapp has served
comprising:                  discovery on Bank of America seeking additional information and will supplement these charts once such
downloading, via the         discovery has been produced.
Internet, computer-
readable instructions for
executing the
application; determining
resource utilization of
the application when
executed on the mobile
device by: emulating the
mobile device on a
processor extrinsic to the
mobile device using a
model based on the
characteristics; loading
the application into the
model; and monitoring
the application playing
in real time within the
model to determine
resource utilization of
the application for the
mobile device; and
repeating the steps of
receiving and
determining until the
resource utilization when
running the application
is no greater than
resource availability of
the mobile device.




                                                                                                                           EXHIBIT A--403
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 405 of 464 PageID #: 1172

                                                Claim 33, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

33. The method of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 32, further       for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising selecting    On information and belief, Bank of America has developed their own Bank of America-related products that
the mobile device       are believed to be infringing, including at least a product named UI TestRunner. As these are software
from a list of mobile   products whose functionality cannot be discerned from publicly available sources, Wapp has served
devices containing      discovery on Bank of America seeking additional information and will supplement these charts once such
characteristics         discovery has been produced.
indicative of
performance of the
mobile devices.




                                                                                                                      EXHIBIT A--404
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 406 of 464 PageID #: 1173

                                              Claim 34, U.S. Pat. No. 9,298,864

  Claim Element                                               Evidence of Infringement

34. The method of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 33, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
the step of           On information and belief, Bank of America has developed their own Bank of America-related products that
downloading is        are believed to be infringing, including at least a product named UI TestRunner. As these are software
responsive to an      products whose functionality cannot be discerned from publicly available sources, Wapp has served
online payment to a   discovery on Bank of America seeking additional information and will supplement these charts once such
third party.          discovery has been produced.




                                                                                                                    EXHIBIT A--405
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 407 of 464 PageID #: 1174

                                               Claim 35, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

35. The method of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 34, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the online payment     On information and belief, Bank of America has developed their own Bank of America-related products that
comprises one of a     are believed to be infringing, including at least a product named UI TestRunner. As these are software
subscription fee and   products whose functionality cannot be discerned from publicly available sources, Wapp has served
a usage fee.           discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--406
                 Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 408 of 464 PageID #: 1175

                                                     Claim 36, U.S. Pat. No. 9,298,864

   Claim Element                                                     Evidence of Infringement

36. A software product       Bank of America has proprietary software products, that may also integrate third party development tools,
comprising instructions,     for the development and testing of mobile applications that are believed to meet the elements of this claim.
stored on computer-
readable media, wherein      On information and belief, Bank of America has developed their own Bank of America-related products that
the instructions, when       are believed to be infringing, including at least a product named UI TestRunner. As these are software
executed by a computer,      products whose functionality cannot be discerned from publicly available sources, Wapp has served
perform steps emulating      discovery on Bank of America seeking additional information and will supplement these charts once such
and profiling a frame-       discovery has been produced.
based application to play
on a plurality of mobile
devices each including
an application player,
comprising: instructions
for retrieving
characteristics indicative
of performance for each
of the mobile devices;
instructions for
emulating each of the
mobile devices on a
processor extrinsic
thereto using a
respective model based
upon the characteristics
for each respective
model; instructions for
playing the application
within each of the
models; and instructions
for monitoring the
application playing in
each of the models to
determine resource
utilization of the
application for each of
the mobile devices.




                                                                                                                           EXHIBIT A--407
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 409 of 464 PageID #: 1176

                                                 Claim 37, U.S. Pat. No. 9,298,864

  Claim Element                                                  Evidence of Infringement

37. An emulator for      Bank of America has proprietary software products, that may also integrate third party development tools,
profiling an             for the development and testing of mobile applications that are believed to meet the elements of this claim.
application running      On information and belief, Bank of America has developed their own Bank of America-related products that
on a plurality of        are believed to be infringing, including at least a product named UI TestRunner. As these are software
mobile devices           products whose functionality cannot be discerned from publicly available sources, Wapp has served
comprising: a model      discovery on Bank of America seeking additional information and will supplement these charts once such
of each of the           discovery has been produced.
mobile devices
based upon
characteristics of the
respective mobile
device; wherein the
model uses an
application player to
play the application
within each of the
models on a
processor extrinsic
to the mobile device;
and a monitor for
determining
resource utilization
of the application
when played by the
respective mobile
device.




                                                                                                                       EXHIBIT A--408
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 410 of 464 PageID #: 1177

                                               Claim 38, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

38. The emulator of    Bank of America has proprietary software products, that may also integrate third party development tools,
claim 37, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the monitor            On information and belief, Bank of America has developed their own Bank of America-related products that
comprises means for    are believed to be infringing, including at least a product named UI TestRunner. As these are software
displaying the         products whose functionality cannot be discerned from publicly available sources, Wapp has served
resource utilization   discovery on Bank of America seeking additional information and will supplement these charts once such
relative to a          discovery has been produced.
particular point in
time during the
execution of the
application.




                                                                                                                     EXHIBIT A--409
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 411 of 464 PageID #: 1178

                                                Claim 39, U.S. Pat. No. 9,298,864

  Claim Element                                                 Evidence of Infringement

39. A development       Bank of America has proprietary software products, that may also integrate third party development tools,
server for supporting   for the development and testing of mobile applications that are believed to meet the elements of this claim.
a plurality of          On information and belief, Bank of America has developed their own Bank of America-related products that
environments for        are believed to be infringing, including at least a product named UI TestRunner. As these are software
developing              products whose functionality cannot be discerned from publicly available sources, Wapp has served
applications to run     discovery on Bank of America seeking additional information and will supplement these charts once such
on a plurality of       discovery has been produced.
mobile devices,
comprising: a
network profile
library storing one
or more network
profiles defining
operation of a
communication
network for
communicating with
the mobile devices;
and a device model
library storing one
or more mobile
devices.




                                                                                                                      EXHIBIT A--410
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 412 of 464 PageID #: 1179

                                               Claim 40, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

40. The                Bank of America has proprietary software products, that may also integrate third party development tools,
development server     for the development and testing of mobile applications that are believed to meet the elements of this claim.
of claim 39, wherein   On information and belief, Bank of America has developed their own Bank of America-related products that
the device model       are believed to be infringing, including at least a product named UI TestRunner. As these are software
defines a player for   products whose functionality cannot be discerned from publicly available sources, Wapp has served
running the            discovery on Bank of America seeking additional information and will supplement these charts once such
applications on the    discovery has been produced.
device models.




                                                                                                                     EXHIBIT A--411
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 413 of 464 PageID #: 1180

                                               Claim 41, U.S. Pat. No. 9,298,864

  Claim Element                                                Evidence of Infringement

41. The                Bank of America has proprietary software products, that may also integrate third party development tools,
development server     for the development and testing of mobile applications that are believed to meet the elements of this claim.
of claim 39, further   On information and belief, Bank of America has developed their own Bank of America-related products that
comprising an          are believed to be infringing, including at least a product named UI TestRunner. As these are software
emulator for           products whose functionality cannot be discerned from publicly available sources, Wapp has served
emulating the          discovery on Bank of America seeking additional information and will supplement these charts once such
applications in real   discovery has been produced.
time on a processor
extrinsic to the
mobile devices,
wherein the output
of the emulator is
published to one or
more of the
environments.




                                                                                                                     EXHIBIT A--412
Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 414 of 464 PageID #: 1181




                                                                                     EXHIBIT A--413
               Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 415 of 464 PageID #: 1182

                                                    Claim 1, U.S. Pat. No. 9,971,678


   Claim Element                                                   Evidence of Infringement

1. A system for testing    Bank of America has proprietary software products, that may also integrate third party development tools,
an application for a       for the development and testing of mobile applications that are believed to meet the elements of this claim.
mobile device              On information and belief, Bank of America has developed their own Bank of America-related products
comprising: a software     that are believed to be infringing, including at least a product named UI TestRunner. As these are software
testing interface          products whose functionality cannot be discerned from publicly available sources, Wapp has served
configured to              discovery on Bank of America seeking additional information and will supplement these charts once such
simultaneously             discovery has been produced.
visually simulate, via
one or more profile
display windows, a
plurality of operator
network characteristics
including at least
bandwidth availability
indicative of
performance of the
mobile device when
executing the
application; wherein
the bandwidth
availability is based at
least in part on
bandwidth data
predetermined from
interactions between
one or more mobile
devices and at least
one operator network.




                                                                                                                         EXHIBIT A--414
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 416 of 464 PageID #: 1183

                                                 Claim 2, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

2. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is             On information and belief, Bank of America has developed their own Bank of America-related products
configured to enable    that are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to select from   products whose functionality cannot be discerned from publicly available sources, Wapp has served
one or more             discovery on Bank of America seeking additional information and will supplement these charts once such
connection              discovery has been produced.
simulations for
testing how well
mobile content
performs on the
mobile device.




                                                                                                                       EXHIBIT A--415
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 417 of 464 PageID #: 1184

                                               Claim 3, U.S. Pat. No. 9,971,678



  Claim Element                                                Evidence of Infringement

3. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more            On information and belief, Bank of America has developed their own Bank of America-related products that
connection             are believed to be infringing, including at least a product named UI TestRunner. As these are software
simulations are        products whose functionality cannot be discerned from publicly available sources, Wapp has served
configured to          discovery on Bank of America seeking additional information and will supplement these charts once such
simulate wireless      discovery has been produced.
transmission of
content to the
mobile device based
on the selected
connection
simulation.




                                                                                                                    EXHIBIT A--416
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 418 of 464 PageID #: 1185

                                                Claim 4, U.S. Pat. No. 9,971,678




  Claim Element                                                 Evidence of Infringement

4. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
connection              On information and belief, Bank of America has developed their own Bank of America-related products that
simulation includes     are believed to be infringing, including at least a product named UI TestRunner. As these are software
one or more profiles.   products whose functionality cannot be discerned from publicly available sources, Wapp has served
                        discovery on Bank of America seeking additional information and will supplement these charts once such
                        discovery has been produced.




                                                                                                                      EXHIBIT A--417
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 419 of 464 PageID #: 1186

                                               Claim 5, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

5. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 4, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
profiles include       On information and belief, Bank of America has developed their own Bank of America-related products that
preset profiles.       are believed to be infringing, including at least a product named UI TestRunner. As these are software
                       products whose functionality cannot be discerned from publicly available sources, Wapp has served
                       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--418
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 420 of 464 PageID #: 1187

                                               Claim 6, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

6. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 4, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
profiles are           On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to manage the   products whose functionality cannot be discerned from publicly available sources, Wapp has served
profiles.              discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--419
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 421 of 464 PageID #: 1188

                                               Claim 7, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

7. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 4, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
profiles are           On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to create       products whose functionality cannot be discerned from publicly available sources, Wapp has served
custom profiles.       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--420
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 422 of 464 PageID #: 1189

                                                Claim 8, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

8. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more             On information and belief, Bank of America has developed their own Bank of America-related products that
connection              are believed to be infringing, including at least a product named UI TestRunner. As these are software
simulations are         products whose functionality cannot be discerned from publicly available sources, Wapp has served
based on different      discovery on Bank of America seeking additional information and will supplement these charts once such
connection statistics   discovery has been produced.
reported by one or
more mobile devices
used in non-
simulated
environments.




                                                                                                                      EXHIBIT A--421
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 423 of 464 PageID #: 1190

                                               Claim 9, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

9. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 2, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
one or more            On information and belief, Bank of America has developed their own Bank of America-related products that
connection             are believed to be infringing, including at least a product named UI TestRunner. As these are software
simulations are        products whose functionality cannot be discerned from publicly available sources, Wapp has served
based on data of       discovery on Bank of America seeking additional information and will supplement these charts once such
interaction with       discovery has been produced.
network operators in
non-simulated
environments.




                                                                                                                     EXHIBIT A--422
               Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 424 of 464 PageID #: 1191

                                                 Claim 10, U.S. Pat. No. 9,971,678

  Claim Element                                                  Evidence of Infringement

10. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 9, wherein the     for the development and testing of mobile applications that are believed to meet the elements of this claim.
data includes either     On information and belief, Bank of America has developed their own Bank of America-related products that
live network             are believed to be infringing, including at least a product named UI TestRunner. As these are software
profiles, or real-time   products whose functionality cannot be discerned from publicly available sources, Wapp has served
bandwidth profiles,      discovery on Bank of America seeking additional information and will supplement these charts once such
or both.                 discovery has been produced.




                                                                                                                       EXHIBIT A--423
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 425 of 464 PageID #: 1192

                                               Claim 11, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

11. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 9, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
data includes data     On information and belief, Bank of America has developed their own Bank of America-related products that
representing one or    are believed to be infringing, including at least a product named UI TestRunner. As these are software
more mobile            products whose functionality cannot be discerned from publicly available sources, Wapp has served
devices.               discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--424
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 426 of 464 PageID #: 1193

                                                Claim 12, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

12. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is             On information and belief, Bank of America has developed their own Bank of America-related products that
configured to allow     are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to simulate an   products whose functionality cannot be discerned from publicly available sources, Wapp has served
incoming sms            discovery on Bank of America seeking additional information and will supplement these charts once such
message.                discovery has been produced.




                                                                                                                      EXHIBIT A--425
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 427 of 464 PageID #: 1194

                                                Claim 13, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

13. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is             On information and belief, Bank of America has developed their own Bank of America-related products that
configured to allow     are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to simulate an   products whose functionality cannot be discerned from publicly available sources, Wapp has served
incoming phone call.    discovery on Bank of America seeking additional information and will supplement these charts once such
                        discovery has been produced.




                                                                                                                      EXHIBIT A--426
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 428 of 464 PageID #: 1195

                                                Claim 14, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

14. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, further        for the development and testing of mobile applications that are believed to meet the elements of this claim.
comprising a testing    On information and belief, Bank of America has developed their own Bank of America-related products that
interface configured    are believed to be infringing, including at least a product named UI TestRunner. As these are software
to accept user inputs   products whose functionality cannot be discerned from publicly available sources, Wapp has served
for selecting           discovery on Bank of America seeking additional information and will supplement these charts once such
available simulated     discovery has been produced.
and/or non-
simulated
connection states.




                                                                                                                      EXHIBIT A--427
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 429 of 464 PageID #: 1196

                                               Claim 15, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

15. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software has access    On information and belief, Bank of America has developed their own Bank of America-related products that
to mobile devices in   are believed to be infringing, including at least a product named UI TestRunner. As these are software
geographical           products whose functionality cannot be discerned from publicly available sources, Wapp has served
locations worldwide    discovery on Bank of America seeking additional information and will supplement these charts once such
to create simulated    discovery has been produced.
and/or non-
simulated network
environments.




                                                                                                                     EXHIBIT A--428
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 430 of 464 PageID #: 1197

                                               Claim 16, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

16. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software has access    On information and belief, Bank of America has developed their own Bank of America-related products that
to real-time           are believed to be infringing, including at least a product named UI TestRunner. As these are software
interaction with       products whose functionality cannot be discerned from publicly available sources, Wapp has served
network operators to   discovery on Bank of America seeking additional information and will supplement these charts once such
measure and            discovery has been produced.
simulate network
characteristics.




                                                                                                                     EXHIBIT A--429
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 431 of 464 PageID #: 1198

                                               Claim 17, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

17. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software has access    On information and belief, Bank of America has developed their own Bank of America-related products that
to one or more         are believed to be infringing, including at least a product named UI TestRunner. As these are software
operator networks in   products whose functionality cannot be discerned from publicly available sources, Wapp has served
geographical           discovery on Bank of America seeking additional information and will supplement these charts once such
locations worldwide    discovery has been produced.
to create either
simulated network
environments, or
non-simulated
network
environments, or
both.




                                                                                                                     EXHIBIT A--430
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 432 of 464 PageID #: 1199

                                                Claim 18, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

18. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is             On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable    are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to select from   products whose functionality cannot be discerned from publicly available sources, Wapp has served
one or more operator    discovery on Bank of America seeking additional information and will supplement these charts once such
networks in             discovery has been produced.
geographical
locations worldwide
to create a network
environment.




                                                                                                                      EXHIBIT A--431
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 433 of 464 PageID #: 1200

                                              Claim 19, U.S. Pat. No. 9,971,678

  Claim Element                                               Evidence of Infringement

19. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 18, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
the one or more       On information and belief, Bank of America has developed their own Bank of America-related products that
operator networks     are believed to be infringing, including at least a product named UI TestRunner. As these are software
are displayed using   products whose functionality cannot be discerned from publicly available sources, Wapp has served
either a map, or a    discovery on Bank of America seeking additional information and will supplement these charts once such
pull-down list, or    discovery has been produced.
both.




                                                                                                                    EXHIBIT A--432
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 434 of 464 PageID #: 1201

                                              Claim 20, U.S. Pat. No. 9,971,678

  Claim Element                                               Evidence of Infringement

20. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 18, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
the network           On information and belief, Bank of America has developed their own Bank of America-related products that
environment is        are believed to be infringing, including at least a product named UI TestRunner. As these are software
based upon either a   products whose functionality cannot be discerned from publicly available sources, Wapp has served
bandwidth, or data    discovery on Bank of America seeking additional information and will supplement these charts once such
transfer, or both     discovery has been produced.
associated with the
operator network.




                                                                                                                    EXHIBIT A--433
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 435 of 464 PageID #: 1202

                                               Claim 21, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

21. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software is further    On information and belief, Bank of America has developed their own Bank of America-related products that
configured to          are believed to be infringing, including at least a product named UI TestRunner. As these are software
display data to        products whose functionality cannot be discerned from publicly available sources, Wapp has served
identify application   discovery on Bank of America seeking additional information and will supplement these charts once such
performance.           discovery has been produced.




                                                                                                                     EXHIBIT A--434
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 436 of 464 PageID #: 1203

                                              Claim 22, U.S. Pat. No. 9,971,678

  Claim Element                                               Evidence of Infringement

22. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 21, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
the user can manage   On information and belief, Bank of America has developed their own Bank of America-related products that
the data.             are believed to be infringing, including at least a product named UI TestRunner. As these are software
                      products whose functionality cannot be discerned from publicly available sources, Wapp has served
                      discovery on Bank of America seeking additional information and will supplement these charts once such
                      discovery has been produced.




                                                                                                                    EXHIBIT A--435
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 437 of 464 PageID #: 1204

                                               Claim 23, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

23. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software includes      On information and belief, Bank of America has developed their own Bank of America-related products that
fees for interacting   are believed to be infringing, including at least a product named UI TestRunner. As these are software
with the network.      products whose functionality cannot be discerned from publicly available sources, Wapp has served
                       discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--436
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 438 of 464 PageID #: 1205

                                               Claim 24, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

24. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software includes      On information and belief, Bank of America has developed their own Bank of America-related products that
fees for               are believed to be infringing, including at least a product named UI TestRunner. As these are software
downloading            products whose functionality cannot be discerned from publicly available sources, Wapp has served
updates.               discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--437
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 439 of 464 PageID #: 1206

                                               Claim 25, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

25. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 1, wherein the   for the development and testing of mobile applications that are believed to meet the elements of this claim.
software includes      On information and belief, Bank of America has developed their own Bank of America-related products that
fees for content       are believed to be infringing, including at least a product named UI TestRunner. As these are software
management             products whose functionality cannot be discerned from publicly available sources, Wapp has served
services.              discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--438
                 Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 440 of 464 PageID #: 1207

                                                     Claim 26, U.S. Pat. No. 9,971,678

   Claim Element                                                     Evidence of Infringement

26. A system for testing     Bank of America has proprietary software products, that may also integrate third party development tools,
an application for a         for the development and testing of mobile applications that are believed to meet the elements of this claim.
mobile device
comprising: a software       On information and belief, Bank of America has developed their own Bank of America-related products that
testing interface            are believed to be infringing, including at least a product named UI TestRunner. As these are software
configured to                products whose functionality cannot be discerned from publicly available sources, Wapp has served
simultaneously visually      discovery on Bank of America seeking additional information and will supplement these charts once such
simulate, via one or         discovery has been produced.
more profile display
windows, a plurality of
operator network
characteristics including
at least bandwidth
availability indicative of
performance of the
mobile device when
executing the
application; wherein the
bandwidth availability is
based at least in part on
bandwidth data
predetermined from
interactions between one
or more mobile devices
and at least one operator
network and the
software is further
configured to display
data of either application
performance, or network
performance, or both.




                                                                                                                           EXHIBIT A--439
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 441 of 464 PageID #: 1208

                                                Claim 27, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

27. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 26, wherein       for the development and testing of mobile applications that are believed to meet the elements of this claim.
the data is displayed   On information and belief, Bank of America has developed their own Bank of America-related products that
graphically.            are believed to be infringing, including at least a product named UI TestRunner. As these are software
                        products whose functionality cannot be discerned from publicly available sources, Wapp has served
                        discovery on Bank of America seeking additional information and will supplement these charts once such
                        discovery has been produced.




                                                                                                                      EXHIBIT A--440
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 442 of 464 PageID #: 1209

                                             Claim 28, U.S. Pat. No. 9,971,678

  Claim Element                                              Evidence of Infringement

28. The system of    Bank of America has proprietary software products, that may also integrate third party development tools,
claim 26, wherein    for the development and testing of mobile applications that are believed to meet the elements of this claim.
the data includes    On information and belief, Bank of America has developed their own Bank of America-related products that
interaction with     are believed to be infringing, including at least a product named UI TestRunner. As these are software
either simulated     products whose functionality cannot be discerned from publicly available sources, Wapp has served
network              discovery on Bank of America seeking additional information and will supplement these charts once such
environments, or     discovery has been produced.
non-simulated
network
environments, or
both.




                                                                                                                   EXHIBIT A--441
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 443 of 464 PageID #: 1210

                                                Claim 29, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

29. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 26, wherein       for the development and testing of mobile applications that are believed to meet the elements of this claim.
the data includes       On information and belief, Bank of America has developed their own Bank of America-related products that
resource utilization    are believed to be infringing, including at least a product named UI TestRunner. As these are software
of either application   products whose functionality cannot be discerned from publicly available sources, Wapp has served
performance, or         discovery on Bank of America seeking additional information and will supplement these charts once such
network                 discovery has been produced.
performance, or
both.




                                                                                                                      EXHIBIT A--442
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 444 of 464 PageID #: 1211

                                             Claim 30, U.S. Pat. No. 9,971,678

  Claim Element                                              Evidence of Infringement

30. The system of    Bank of America has proprietary software products, that may also integrate third party development tools,
claim 29, wherein    for the development and testing of mobile applications that are believed to meet the elements of this claim.
the resource         On information and belief, Bank of America has developed their own Bank of America-related products that
utilization          are believed to be infringing, including at least a product named UI TestRunner. As these are software
information is       products whose functionality cannot be discerned from publicly available sources, Wapp has served
displayed            discovery on Bank of America seeking additional information and will supplement these charts once such
graphically.         discovery has been produced.




                                                                                                                   EXHIBIT A--443
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 445 of 464 PageID #: 1212

                                               Claim 31, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

31. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 29, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the resource           On information and belief, Bank of America has developed their own Bank of America-related products that
utilization includes   are believed to be infringing, including at least a product named UI TestRunner. As these are software
interaction with a     products whose functionality cannot be discerned from publicly available sources, Wapp has served
network.               discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--444
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 446 of 464 PageID #: 1213

                                               Claim 32, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

32. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 29, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the resource           On information and belief, Bank of America has developed their own Bank of America-related products that
utilization includes   are believed to be infringing, including at least a product named UI TestRunner. As these are software
either live network    products whose functionality cannot be discerned from publicly available sources, Wapp has served
effects, or scripted   discovery on Bank of America seeking additional information and will supplement these charts once such
network effects, or    discovery has been produced.
both.




                                                                                                                     EXHIBIT A--445
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 447 of 464 PageID #: 1214

                                               Claim 33, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

33. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 26, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the data is            On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to identify     products whose functionality cannot be discerned from publicly available sources, Wapp has served
performance of         discovery on Bank of America seeking additional information and will supplement these charts once such
either the             discovery has been produced.
application, or
network, or both.




                                                                                                                     EXHIBIT A--446
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 448 of 464 PageID #: 1215

                                               Claim 34, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

34. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 26, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the data is            On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to evaluate     products whose functionality cannot be discerned from publicly available sources, Wapp has served
performance of         discovery on Bank of America seeking additional information and will supplement these charts once such
either the             discovery has been produced.
application, or
network, or both.




                                                                                                                     EXHIBIT A--447
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 449 of 464 PageID #: 1216

                                               Claim 35, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

35. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 26, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the data is            On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to correct      products whose functionality cannot be discerned from publicly available sources, Wapp has served
application            discovery on Bank of America seeking additional information and will supplement these charts once such
performance.           discovery has been produced.




                                                                                                                     EXHIBIT A--448
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 450 of 464 PageID #: 1217

                                               Claim 36, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

36. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 26, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the data is            On information and belief, Bank of America has developed their own Bank of America-related products that
configured to enable   are believed to be infringing, including at least a product named UI TestRunner. As these are software
a user to either       products whose functionality cannot be discerned from publicly available sources, Wapp has served
manage the data, or    discovery on Bank of America seeking additional information and will supplement these charts once such
modify the data, or    discovery has been produced.
both.




                                                                                                                     EXHIBIT A--449
                 Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 451 of 464 PageID #: 1218

                                                     Claim 37, U.S. Pat. No. 9,971,678

   Claim Element                                                     Evidence of Infringement

37. A system for testing     Bank of America has proprietary software products, that may also integrate third party development tools,
an application for a         for the development and testing of mobile applications that are believed to meet the elements of this claim.
mobile device
comprising: a software       On information and belief, Bank of America has developed their own Bank of America-related products that
testing interface            are believed to be infringing, including at least a product named UI TestRunner. As these are software
configured to                products whose functionality cannot be discerned from publicly available sources, Wapp has served
simultaneously visually      discovery on Bank of America seeking additional information and will supplement these charts once such
simulate, via one or         discovery has been produced.
more profile display
windows, a plurality of
operator network
characteristics including
at least bandwidth
availability indicative of
performance of the
mobile device when
executing the
application; wherein the
bandwidth availability is
based at least in part on
bandwidth data
predetermined from
interactions between one
or more mobile devices
and at least one operator
network and the
software is further
configured to interact
with a network.




                                                                                                                           EXHIBIT A--450
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 452 of 464 PageID #: 1219

                                              Claim 38, U.S. Pat. No. 9,971,678

  Claim Element                                               Evidence of Infringement

38. The system of     Bank of America has proprietary software products, that may also integrate third party development tools,
claim 37, wherein     for the development and testing of mobile applications that are believed to meet the elements of this claim.
interaction with a    On information and belief, Bank of America has developed their own Bank of America-related products that
network enables a     are believed to be infringing, including at least a product named UI TestRunner. As these are software
user to update the    products whose functionality cannot be discerned from publicly available sources, Wapp has served
software.             discovery on Bank of America seeking additional information and will supplement these charts once such
                      discovery has been produced.




                                                                                                                    EXHIBIT A--451
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 453 of 464 PageID #: 1220

                                                Claim 39, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

39. A development       Bank of America has proprietary software products, that may also integrate third party development tools,
server for supporting   for the development and testing of mobile applications that are believed to meet the elements of this claim.
a plurality of          On information and belief, Bank of America has developed their own Bank of America-related products that
environments for        are believed to be infringing, including at least a product named UI TestRunner. As these are software
developing              products whose functionality cannot be discerned from publicly available sources, Wapp has served
applications to run     discovery on Bank of America seeking additional information and will supplement these charts once such
on a plurality of       discovery has been produced.
mobile devices,
comprising: a
network profile
library storing one
or more network
profiles defining
operation of a
communication
network for
communicating with
the mobile devices;
and a device model
library storing one
or more mobile
devices.




                                                                                                                      EXHIBIT A--452
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 454 of 464 PageID #: 1221

                                                Claim 40, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

40. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 37, wherein       for the development and testing of mobile applications that are believed to meet the elements of this claim.
interaction with a      On information and belief, Bank of America has developed their own Bank of America-related products that
network enables a       are believed to be infringing, including at least a product named UI TestRunner. As these are software
user to interact with   products whose functionality cannot be discerned from publicly available sources, Wapp has served
one or more operator    discovery on Bank of America seeking additional information and will supplement these charts once such
networks.               discovery has been produced.




                                                                                                                      EXHIBIT A--453
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 455 of 464 PageID #: 1222

                                                Claim 41, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

41. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 40, wherein       for the development and testing of mobile applications that are believed to meet the elements of this claim.
interaction with one    On information and belief, Bank of America has developed their own Bank of America-related products that
or more operator        are believed to be infringing, including at least a product named UI TestRunner. As these are software
networks enables a      products whose functionality cannot be discerned from publicly available sources, Wapp has served
user to update either   discovery on Bank of America seeking additional information and will supplement these charts once such
network                 discovery has been produced.
characteristics, or
device
characteristics, or
both.




                                                                                                                      EXHIBIT A--454
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 456 of 464 PageID #: 1223

                                               Claim 42, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

42. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 37, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the software           On information and belief, Bank of America has developed their own Bank of America-related products that
includes fees for      are believed to be infringing, including at least a product named UI TestRunner. As these are software
interacting with the   products whose functionality cannot be discerned from publicly available sources, Wapp has served
network.               discovery on Bank of America seeking additional information and will supplement these charts once such
                       discovery has been produced.




                                                                                                                     EXHIBIT A--455
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 457 of 464 PageID #: 1224

                                             Claim 43, U.S. Pat. No. 9,971,678

  Claim Element                                              Evidence of Infringement

43. The system of    Bank of America has proprietary software products, that may also integrate third party development tools,
claim 37, wherein    for the development and testing of mobile applications that are believed to meet the elements of this claim.
the software         On information and belief, Bank of America has developed their own Bank of America-related products that
includes fees for    are believed to be infringing, including at least a product named UI TestRunner. As these are software
downloading          products whose functionality cannot be discerned from publicly available sources, Wapp has served
updates.             discovery on Bank of America seeking additional information and will supplement these charts once such
                     discovery has been produced.




                                                                                                                   EXHIBIT A--456
            Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 458 of 464 PageID #: 1225

                                             Claim 44, U.S. Pat. No. 9,971,678

  Claim Element                                              Evidence of Infringement

44. The system of    Bank of America has proprietary software products, that may also integrate third party development tools,
claim 37, wherein    for the development and testing of mobile applications that are believed to meet the elements of this claim.
the software         On information and belief, Bank of America has developed their own Bank of America-related products that
includes fees for    are believed to be infringing, including at least a product named UI TestRunner. As these are software
content management   products whose functionality cannot be discerned from publicly available sources, Wapp has served
services.            discovery on Bank of America seeking additional information and will supplement these charts once such
                     discovery has been produced.




                                                                                                                   EXHIBIT A--457
                 Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 459 of 464 PageID #: 1226

                                                     Claim 45, U.S. Pat. No. 9,971,678

   Claim Element                                                     Evidence of Infringement

45. A system for testing     Bank of America has proprietary software products, that may also integrate third party development tools,
an application for a         for the development and testing of mobile applications that are believed to meet the elements of this claim.
mobile device
comprising: a software       On information and belief, Bank of America has developed their own Bank of America-related products that
testing interface            are believed to be infringing, including at least a product named UI TestRunner. As these are software
configured to                products whose functionality cannot be discerned from publicly available sources, Wapp has served
simultaneously visually      discovery on Bank of America seeking additional information and will supplement these charts once such
simulate, via one or         discovery has been produced.
more profile display
windows, a plurality of
operator network
characteristics including
at least bandwidth
availability indicative of
performance of the
mobile device when
executing the
application; wherein the
bandwidth availability is
based at least in part on
bandwidth data
predetermined from
interactions between one
or more mobile devices
and at least one operator
network and interaction
with a network enables
the software to import
real-world mobile
network profiles.




                                                                                                                           EXHIBIT A--458
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 460 of 464 PageID #: 1227

                                                Claim 46, U.S. Pat. No. 9,971,678

  Claim Element                                                 Evidence of Infringement

46. The system of       Bank of America has proprietary software products, that may also integrate third party development tools,
claim 45, wherein       for the development and testing of mobile applications that are believed to meet the elements of this claim.
the software is         On information and belief, Bank of America has developed their own Bank of America-related products that
further configured to   are believed to be infringing, including at least a product named UI TestRunner. As these are software
allow tests to be       products whose functionality cannot be discerned from publicly available sources, Wapp has served
managed and results     discovery on Bank of America seeking additional information and will supplement these charts once such
analyzed from a         discovery has been produced.
personal computer
or mobile device.




                                                                                                                      EXHIBIT A--459
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 461 of 464 PageID #: 1228

                                               Claim 47, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

47. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 45, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the software can       On information and belief, Bank of America has developed their own Bank of America-related products that
import real-world      are believed to be infringing, including at least a product named UI TestRunner. As these are software
mobile network         products whose functionality cannot be discerned from publicly available sources, Wapp has served
profiles captured by   discovery on Bank of America seeking additional information and will supplement these charts once such
one or more            discovery has been produced.
networks.




                                                                                                                     EXHIBIT A--460
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 462 of 464 PageID #: 1229

                                               Claim 48, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

48. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 45, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the software can       On information and belief, Bank of America has developed their own Bank of America-related products that
import real-world      are believed to be infringing, including at least a product named UI TestRunner. As these are software
mobile network         products whose functionality cannot be discerned from publicly available sources, Wapp has served
profiles provided by   discovery on Bank of America seeking additional information and will supplement these charts once such
a storage library of   discovery has been produced.
mobile network
conditions.




                                                                                                                     EXHIBIT A--461
             Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 463 of 464 PageID #: 1230

                                               Claim 49, U.S. Pat. No. 9,971,678

  Claim Element                                                Evidence of Infringement

49. The system of      Bank of America has proprietary software products, that may also integrate third party development tools,
claim 45, wherein      for the development and testing of mobile applications that are believed to meet the elements of this claim.
the software can       On information and belief, Bank of America has developed their own Bank of America-related products that
import real-world      are believed to be infringing, including at least a product named UI TestRunner. As these are software
mobile network         products whose functionality cannot be discerned from publicly available sources, Wapp has served
profiles from          discovery on Bank of America seeking additional information and will supplement these charts once such
geographical           discovery has been produced.
locations worldwide.




                                                                                                                     EXHIBIT A--462
              Case 4:18-cv-00519-ALM Document 42-2 Filed 12/23/19 Page 464 of 464 PageID #: 1231

                                                 Claim 50, U.S. Pat. No. 9,971,678

   Claim Element                                                 Evidence of Infringement

50. The system of        Bank of America has proprietary software products, that may also integrate third party development tools,
claim 45, wherein the    for the development and testing of mobile applications that are believed to meet the elements of this claim.
software enables a       On information and belief, Bank of America has developed their own Bank of America-related products that
user to discover and     are believed to be infringing, including at least a product named UI TestRunner. As these are software
import network           products whose functionality cannot be discerned from publicly available sources, Wapp has served
conditions from          discovery on Bank of America seeking additional information and will supplement these charts once such
geographical locations   discovery has been produced.
worldwide.




                                                                                                                       EXHIBIT A--463
